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14                                                                     14
15                                                                     15
16                                                                     16
17                                                                     17
18                                                                     18
19                                                                     19
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 1             PROCEEDINGS                                          1 Baker Metals in Dallas.
 2           MR. PETERSEN: Okay. And, Counsel, just                 2    Q. And how long have you worked for Baker Metals?
 3 before we begin with the deposition, under the rules             3    A. Well, this month it will be just about a year.
 4 for the Northern District; is that correct?                      4    Q. Where did you work prior to Baker Metals?
 5           MR. MCCOMBER: That's correct.                          5    A. I worked for a company called Sea Cross.
 6           MR. PETERSEN: And the witness will read                6    Q. And how long did you work for Sea Cross?
 7 and sign.                                                        7    A. Seven months.
 8           MR. MCCOMBER: Okay.                                    8    Q. And where did you work prior to Sea Cross?
 9           MR. PETERSEN: And if the interpreter                   9    A. With Mr. Patel.
10 could just state his qualifications for the record.             10    Q. And for the company Shan Namkeen?
11           THE INTERPRETER: Yes, Jody Quillian,                  11    A. Yes.
12 master license number 1583.                                     12    Q. Who do you live with at your home?
13           MR. PETERSEN: Okay. Thank you, Counsel.               13    A. Just my wife and I have two children.
14               DIMAS RODRIGUEZ,                                  14    Q. And what is your wife's name?
15 having been first duly sworn, testified as follows:             15    A. Ana Maria De La Cruz.
16                EXAMINATION                                      16    Q. And you have two children?
17 BY MR. MCCOMBER:                                                17    A. Yes.
18    Q. Mr. Rodriguez, can you please state your full             18    Q. And you understand your deposition is being
19 name for the record?                                            19 taken today in a lawsuit filed by you against my
20    A. Dimas Rodriguez.                                          20 clients, Shan Namkeen, and some of the people that work
21    Q. Where do you live, sir?                                   21 with Shan Namkeen?
22    A. Carrollton.                                               22    A. Yes.
23    Q. What is your address?                                     23    Q. Have you ever had your deposition taken
24    A. 1910 Josey Lane, Apartment 159, Carrollton,               24 before?
25 Texas 76005.                                                    25    A. No.
                                                          Page 6                                                          Page 8
 1    Q. How long have you lived at that address?                   1    Q. Do you understand your testimony today is
 2    A. Five years.                                                2 under oath just as if you were in front of a judge or
 3    Q. So since approximately 2012?                               3 jury?
 4    A. Yes. Yes.                                                  4    A. Yes.
 5    Q. And you lived there the entire time you worked             5    Q. And the same penalties for truthfulness and
 6 for Shan Namkeen?                                                6 perjury apply today?
 7    A. You're asking if I lived there?                            7    A. Yes.
 8    Q. Did you live there the whole time you worked               8    Q. Other than this case, have you ever sued
 9 for Shan Namkeen?                                                9 anyone before?
10    A. Well, before that I lived in another apartment            10    A. No.
11 and then I moved.                                               11    Q. Have you ever been sued?
12    Q. Where did you live prior to living on Josey               12    A. No.
13 Lane?                                                           13    Q. Have you ever filed for bankruptcy?
14    A. Well, it was there on Josey Lane as well, but             14    A. No.
15 some other apartments.                                          15    Q. Do you have a criminal record of any kind?
16    Q. Do you rent your apartment?                               16    A. No.
17    A. Yes.                                                      17    Q. Have you ever been charged with a crime either
18    Q. Did you sign a lease for that apartment?                  18 in the United States or Mexico?
19    A. Yes.                                                      19    A. No.
20    Q. Was the lease in English or Spanish?                      20    Q. Have you ever been arrested in the last ten
21    A. It was in Spanish.                                        21 years?
22    Q. Did you and your wife both sign the lease?                22    A. No.
23    A. Yes.                                                      23    Q. And what are your children's names that live
24    Q. Where are you currently employed?                         24 at your home?
25    A. I'm working for a place called Baker McDuff --            25    A. Luis Armando Rodriguez. Luis Armando
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 1 Rodriguez, yes. Well, it's Luis Armando De La Cruz.        1           Are you able to understand some English?
 2 It's Rodriguez De La Cruz. And then Alejandro              2     A. A little.
 3 Rodriguez De La Cruz.                                      3     Q. And so I noticed you understood what I asked a
 4      Q. So you have three total children?                  4 minute ago, but can you understand some of the things
 5      A. Well, two boys and a girl, yes.                    5 I'm saying to you here today?
 6      Q. Okay. Do you have a driver's license, sir?         6     A. No.
 7      A. No.                                                7     Q. Are you able to read English at all?
 8      Q. Have you ever had a driver's license?              8     A. A little.
 9      A. Yes.                                               9     Q. Are you able to read a newspaper?
10      Q. When did you have a driver's license?             10     A. No.
11      A. In California.                                    11     Q. What types of things do you read in English?
12      Q. What year was that?                               12     A. Well, for example, important things for me, I
13      A. Well, it would be like in '85 or '86. Well, I     13 try to do it.
14   lived there for many years and I had two or three       14     Q. So, for example, documents you sign in your
15   licenses and they all expired.                          15 daily life, you try to read those?
16      Q. Have you ever had a Texas driver's license?       16     A. Yes, I try to read them to understand them.
17      A. No.                                               17     Q. If there's something you don't understand in
18      Q. Why not?                                          18 an English document, who do you ask to explain it to
19      A. Well, I haven't applied for one.                  19 you?
20      Q. Do you drive?                                     20     A. Well, I look for people who are closest to me,
21      A. Yes.                                              21 people that can help me.
22      Q. Did you drive here today?                         22     Q. And who are those people?
23      A. Yes.                                              23     A. My children.
24      Q. So you drive illegally?                           24     Q. So your children are able to read and
25      A. Yes.                                              25 understand English?
                                                  Page 10                                                             Page 12
 1      Q. And have you done that the entire time you've      1    A. Yes.
 2   lived in Texas?                                          2    Q. And so if you have something that you need to
 3      A. Yes.                                               3 read that you don't understand, you would utilize one
 4      Q. Do you have car insurance?                         4 of your children to do that?
 5      A. Yes.                                               5    A. Yes.
 6      Q. Do you own a vehicle?                              6    Q. Have you talked to anyone at Shan Namkeen
 7      A. Well, no, it's in my wife's name.                  7 since you filed this lawsuit in October of 2015?
 8      Q. Does your family have more than one vehicle?       8    A. No.
 9      A. Yes.                                               9    Q. Have you ever tape recorded any conversation
10      Q. How many vehicles?                                10 with anyone at Shan Namkeen?
11      A. Three.                                            11    A. No.
12      Q. What vehicle do you drive regularly?              12    Q. Do you have any physical or mental impairment
13      A. A Ford Expedition.                                13 that prevents you from telling the truth, sir?
14      Q. And how long have you driven that vehicle?        14    A. No.
15      A. It's been a little over a year.                   15    Q. Do you understand that when you sign a
16      Q. Prior to that, what vehicle did you drive?        16 document in Texas you're deemed to have understood that
17      A. A van, a caravan.                                 17 document?
18      Q. Like a minivan?                                   18    A. Yes.
19      A. Yes.                                              19    Q. And you understand as part of your daily life
20      Q. And how long did you drive the minivan?           20 when you sign documents that you're agreeing to be
21      A. Like for ten years.                               21 bound by the terms of that document?
22      Q. Okay. Did you drive the minivan the entire        22    A. Yes.
23   time you worked for Shan Namkeen?                       23    Q. And you understand that's true even if you
24      A. Yes.                                              24 don't fully understand all the English in that
25      Q. Are you -- strike that.                           25 document?

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 1     A. Well, no, if I don't understand it, I won't              1 take them to work at the company and I took them. And
 2 sign it.                                                        2 so that day he hired me. Well, he asked me if I wanted
 3     Q. Right. So if you sign it, you understood that            3 to work for him and I said yes, so I stayed there and I
 4 document?                                                       4 worked for him.
 5     A. Yes.                                                     5     Q. (BY MR. MCCOMBER) What were you hired to do?
 6     Q. And it's your obligation to go get someone               6     A. Well, a little bit of everything.
 7 else to read it and help you understand it if you don't         7     Q. Tell me exactly the things you were doing?
 8 understand it.                                                  8     A. Oh, I would mix the flour and so I would
 9     A. Yes.                                                     9 package or pack the product that they made there.
10     Q. And so if you've signed a document, I can --            10 Well, I would sweep and I would mop. We would sweep
11 strike that.                                                   11 and we would mop.
12             If you sign a document, you would agree            12     Q. So when you started working at Shan Namkeen,
13 that you've read and understood that document before           13 how many employees would work with you at a time?
14 you signed it?                                                 14     A. There were six of us.
15     A. Yes.                                                    15     Q. So there were six employees during a shift
16     Q. What is your educational background, sir?               16 where product was being made?
17     A. I went up through sixth grade of elementary             17           THE INTERPRETER: And the interpreter is
18 school in Mexico.                                              18 getting clarification.
19     Q. Do you hold any professional certifications or          19     A. Yes, we are the ones that were there
20 license?                                                       20 permanently and we were in charge, but sometimes
21     A. Well, I have my passport and my I.D.                    21 Mr. Patel would come and help us.
22     Q. And is your passport one of Mexican                     22     Q. (BY MR. MCCOMBER) And so Mr. Patel, you're
23 citizenship?                                                   23 referring to Shailesh?
24             MR. PETERSEN: Objection, relevance. You            24     A. Yes, every day he was there, but just for a
25 can answer.                                                    25 while, because he was the one that would then go and
                                                        Page 14                                                          Page 16
 1     A. Well, if the attorney tells me not to answer             1 distribute his product.
 2 it, then I won't answer it.                                     2     Q. And so during the time period you worked at
 3            MR. PETERSEN: No, you can answer the                 3 Shan Namkeen, Shailesh was the one who delivered the
 4 question.                                                       4 product to the customers, correct?
 5     A. Yes, I have it and it's Mexican.                         5     A. Yes.
 6     Q. (BY MR. MCCOMBER) When did you start working             6     Q. While you were at Shan Namkeen, did anyone
 7 at Shan Namkeen?                                                7 else ever deliver the product to the customers?
 8     A. I don't remember the day, but it was June of             8     A. Well, yes, when he wasn't able to do it his
 9 2013.                                                           9 wife would or his brother.
10     Q. And how did it come to be that you were hired           10     Q. Anyone else?
11 to work for Shan Namkeen?                                      11     A. Well, there was another person, Angel and I,
12     A. Because a son of mine went there. He was a              12 and sometimes we would take it to one or two places,
13 minor, he was still in school and he was on vacation.          13 but not always.
14 And so he was going to work at that company.                   14     Q. And my question is very specific. Did you
15            THE INTERPRETER: And the interpreter is             15 ever deliver product to a customer?
16 getting clarification.                                         16     A. Yes.
17     A. And so there was a lady that worked there at            17     Q. What customer?
18 the company and one day they didn't have a ride to get         18     A. To a place called -- what's the name of it?
19 back home. And so Mr. Patel's wife gave them a ride            19 Indian Buffet.
20 and left them like halfway. And so they arrived at the         20     Q. And when did you do that?
21 house about 7:00 in the evening. And so then I talked          21     A. Well, during the time I was working for him.
22 with Shailesh and I asked why didn't she take them all         22     Q. Can you tell me how often you did that?
23 the way to my house or I could have gone to pick them          23     A. Well, sometimes once a month or twice a month.
24 up.                                                            24     Q. Did you ever deliver to any other customers of
25            And so he said the next day for me to               25 Shan Namkeen?

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 1     A. No.                                                     1    Q. On Saturdays and Sundays you claim you worked
 2     Q. How many employees did it take to run the               2 and you didn't clock in on the computer?
 3 manufacturing process at Shan Namkeen?                         3    A. No.
 4     A. Well, we were always the same ones.                     4    Q. Who did you work with on Saturday and Sundays?
 5     Q. And that was a total of six people?                     5    A. Sometimes the six of us would go and sometimes
 6     A. Well, it was six or seven. I don't remember             6 even my wife would come and help me.
 7 exactly. Well, the area I was in there were three of           7    Q. Why did you not clock in on Saturdays and
 8 us.                                                            8 Sundays?
 9     Q. What's the minimum amount of employees it               9    A. They didn't want us to punch in.
10 would take to run the operation?                              10    Q. Who didn't want you to punch in?
11           THE INTERPRETER: The interpreter is                 11    A. Well, Marissa or the brother or Mr. Patel,
12 getting clarification.                                        12 they were the ones, and the computers were turned off.
13     A. Well, during the eight hours that we were              13    Q. Why would they not want you to clock in on the
14 there we were the ones that did everything. I don't           14 computer?
15 really know how many people were needed.                      15    A. Well, I don't know why. They would just pay
16     Q. (BY MR. MCCOMBER) So when you worked at Shan           16 us cash on those days.
17 Namkeen on an eight-hour shift, there was always six          17    Q. Did you ever ask why you weren't allowed to
18 people there, approximately.                                  18 clock in on the weekends?
19     A. Yes.                                                   19    A. No.
20     Q. Did you ever work at Shan Namkeen by yourself?         20    Q. You never asked anyone?
21     A. No. Well, during a period of time I would go           21    A. No.
22 and open up and I would be there by myself for maybe an       22    Q. Now, I'll tell you the factory was not open on
23 hour, an hour and a half.                                     23 Saturday or Sunday, so how is it you were working on
24           MR. MCCOMBER: I'm going to object to the            24 Saturday and Sunday?
25 nonresponsive portion of that answer.                         25    A. They opened the factory and they would call us
                                                      Page 18                                                              Page 20
 1     Q. (BY MR. MCCOMBER) Did your job duties ever              1 for us to come and work because they had product that
 2 change at Shan Namkeen from 2013 to 2015?                      2 needed to be processed.
 3     A. No.                                                     3    Q. What evidence do you have that you ever worked
 4     Q. Who was your direct supervisor at Shan                  4 on a Saturday or Sunday?
 5 Namkeen?                                                       5    A. Well, my wife would go with me and they were
 6     A. Well, it would be Mr. Patel's wife Maritsa. I           6 also there themselves.
 7 don't really know what her name is, Maritsa. Well,             7    Q. Tell me exactly the employees that you claim
 8 they called her Marissa or Maritsa.                            8 will say you worked on Saturdays and Sundays?
 9     Q. So Mr. and Mrs. Patel were your supervisors?            9    A. Well, like Angel, my wife, and then another
10     A. Well, I suppose so.                                    10 lady whose name is Fabiola. Well, on Saturdays it was
11     Q. Anyone else?                                           11 mainly just my wife and I, Mr. Patel, his wife, his
12     A. Well, also their brother. Well, Mr. Patel's            12 brother and sometimes Fabiola would go, but not always.
13 brother.                                                      13 And my children even went, my daughter Victoria and
14     Q. Who made your work schedule?                           14 also Luis Armando would go sometimes.
15     A. Well, when we would arrive and when we would           15    Q. And is it your testimony on these days when
16 leave we would just punch in and punch out on a               16 these individuals were there you would be making
17 computer.                                                     17 product?
18     Q. And was that true the entire time you were             18    A. Yes.
19 there?                                                        19    Q. When is the first time you worked on a
20     A. Yes.                                                   20 Saturday or Sunday for Shan Namkeen?
21     Q. So when you arrived at work you clocked in on          21    A. Well, I don't remember -- I don't remember the
22 a computer and when you left work you clocked out on          22 dates, but even before I was hired sometimes I would go
23 that computer?                                                23 work there on a Saturday and I would go and help my
24     A. Yes, except for Saturdays and Sundays. On              24 wife, because she was called to come work there.
25 those days, no.                                               25            But before that they had the company in

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 1 another place in a little room behind the laundromat in            1 computer.
 2 Carrollton and I would go and help out.                            2    A. No, not always.
 3            (Deposition Exhibit 1 marked.)                          3    Q. Well, I'm looking at Exhibit Number 1 and
 4     Q. (BY MR. MCCOMBER) And that -- strike that.                  4 these are the weeks that print out from the computer in
 5            Shan Namkeen when you worked for them,                  5 2013. Do you recognize this document?
 6 their address was 2731 National Circle, Garland, Texas.            6    A. No -- well, the signature is mine, but during
 7     A. Yes.                                                        7 that year I did not punch in.
 8     Q. And it was there since 2011?                                8    Q. Well, look through Exhibit Number 1.
 9     A. Well, I was there from 2013 to 2015.                        9    A. (The witness complied.)
10     Q. Right. So you never -- well, strike that.                  10    Q. Sir, actually take a look at it and read it.
11            When you said you started working                      11    A. (The witness complied.)
12 weekends before you were even hired, that had to have             12           (Pause.)
13 been prior to 2011, because that's when that facility             13    A. This signature is original, all the rest of
14 moved.                                                            14 them are copies.
15     A. Well, yes, but they had a room over here in                15           MR. MCCOMBER: I'm going to object as
16 Carrollton and my wife helped them and I did and then             16 nonresponsive, move to strike your answer.
17 some other workers as well.                                       17    Q. (BY MR. MCCOMBER) Is the signature on the
18            MR. MCCOMBER: I'm going to object as                   18 first page your signature?
19 nonresponsive and move to strike that answer.                     19    A. Yes.
20     Q. (BY MR. MCCOMBER) I'm going to hand you what               20    Q. And that's on Exhibit Number 1?
21 has been marked Exhibit Number 1. Now, I have reviewed            21    A. Yes.
22 the documents you've provided to your lawyers in this             22    Q. Is your signature on the remaining pages of
23 case. Do you understand that?                                     23 Exhibit Number 1?
24     A. Yes.                                                       24    A. Yes.
25     Q. You have produced no records in this case                  25    Q. Did you sign each of those pages?
                                                           Page 22                                                             Page 24
 1 showing that you worked at Shan Namkeen prior to August            1    A. Well, yes.
 2 2013.                                                              2    Q. And when you received a printout showing the
 3            THE INTERPRETER: The interpreter is                     3 time worked for each week, you signed those documents.
 4 going to get clarification.                                        4    A. This is not a signature. This is a copy.
 5     A. Well, I started in 2013 in June. And so up                  5           MR. MCCOMBER: Objection, move to strike.
 6 until December I wasn't punching in. They paid me                  6    Q. (BY MR. MCCOMBER) It will -- just answer my
 7 cash. They paid me $40 for eight hours.                            7 question. Your signature is on all the pages of
 8     Q. (BY MR. MCCOMBER) Well, I'm going to show you               8 Exhibit 1, true?
 9 what is Exhibit 1, which shows that you were punching              9    A. Yes.
10 in in August 2013.                                                10    Q. And Exhibit 1 is a copy of those pages that
11     A. No.                                                        11 were printed out by my client.
12     Q. Is this your signature on Exhibit Number 1?                12    A. Well, I recognize this. The rest of them I
13     A. Well, they could punch in on the computer                  13 don't know.
14 without my being there. They could do that.                       14    Q. Well, you're under oath today, and so you need
15            MR. MCCOMBER: Objection, nonresponsive,                15 to tell me whether or not these are your signatures on
16 move to strike.                                                   16 every page of this Exhibit 1.
17     Q. (BY MR. MCCOMBER) Is that your signature on                17    A. Yes.
18 Exhibit 1?                                                        18    Q. So my client is going to testify that each
19     A. Yes.                                                       19 week you were given this sheet documenting the hours
20     Q. And so when Shan Namkeen after you punched in              20 you worked for that week and you signed it to confirm
21 to the computer or whoever punched into the computer,             21 that was correct. Do you dispute that?
22 if that's your testimony -- strike that.                          22    A. Yes.
23            When you punched into the computer at the              23    Q. Why would you sign the documents in Exhibit 1
24 end of the week, you would receive a printout showing             24 if they didn't correctly document the hours that you
25 the hours you worked for the week, according to the               25 worked for that pay period?

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 1    A. Well, I did sign them, but sometimes they                   1 wasn't reflected on the computer, I wasn't paid for
 2 would give us documents to sign that covered five or              2 that. And on Saturdays and Sundays, well, I was paid
 3 six weeks. They didn't always just give them to us                3 cash for that.
 4 piecemeal.                                                        4           MR. MCCOMBER: Objection, nonresponsive
 5    Q. Did you review those documents to make sure                 5 and move to strike that answer.
 6 they were correct before you signed them?                         6    Q. (BY MR. MCCOMBER) Did you ever -- strike
 7    A. No.                                                         7 that.
 8    Q. Why didn't you do that?                                     8           Did you ever raise with Mr. Patel or
 9    A. Because it would be on Fridays and we would                 9 anyone at Shan Namkeen for the entirety of 2013 --
10 have to stay later to clean up and I just really wanted          10 strike that. Let me ask a better question.
11 to get home.                                                     11           Exhibit 1 reflects your time entries for
12    Q. So it's not important to you to make sure that             12 2013?
13 your pay is correct?                                             13    A. Yes.
14           THE INTERPRETER: The interpreter is                    14    Q. Did you ever tell anyone at Shan Namkeen that
15 going to get clarification.                                      15 anything in Exhibit 1 was incorrect?
16    A. Well, the check that he would give me, I did               16    A. No.
17 look at that, but not the papers that I signed.                  17    Q. And so the time sheets when you clocked in
18    Q. (BY MR. MCCOMBER) But you understood earlier               18 would just be during the week.
19 that if you signed something you're agreeing that you            19    A. Yes.
20 understand it and that you agree with it, right?                 20    Q. And so if I'm looking at the first page of
21    A. Yes.                                                       21 Exhibit Number 1, do you see that it says you worked 20
22    Q. And when you got your check each week you                  22 hours the week of August 26th, 2013?
23 looked at it to make sure it was payment in full for             23    A. Yes.
24 the hours you worked, didn't you?                                24    Q. Do you know whether you worked that Saturday
25    A. Yes.                                                       25 or Sunday?
                                                          Page 26                                                             Page 28
 1    Q. Did you ever tell anyone at Shan Namkeen that               1    A. Well, I don't remember the exact dates, but I
 2 your check was incorrect and that you were not being              2 would go up two or three weekends a month on those
 3 paid for the hours that you worked?                               3 Saturdays.
 4    A. Yes.                                                        4    Q. Well, what I'm trying to understand is, if
 5    Q. Who did you tell?                                           5 you're only working 20 hours during the week, why would
 6    A. Shailesh, Mr. Patel.                                        6 you be needed to work on the weekend? Why not just run
 7    Q. And when did you do that?                                   7 those shifts during the week?
 8    A. Well, on three occasions that they didn't pay               8    A. Well, I don't know. He was the one that
 9 me all of the time that I had worked and then he                  9 planned all of the production, and so if he needed to
10 rectified that later.                                            10 do some production on Saturdays and Sundays, well, he
11    Q. So while you worked at Shan Namkeen there were             11 would call us and tell us to go.
12 three instances when you felt you did not get paid the           12    Q. And who are you referring to?
13 full amount?                                                     13    A. Mr. Patel.
14    A. Yes.                                                       14    Q. Do you have -- strike that.
15    Q. And you raised that issue with Mr. Patel?                  15          Can you tell me any date specifically
16    A. Yes.                                                       16 that you worked on a Saturday as you sit here today
17    Q. And he corrected it?                                       17 under oath?
18    A. Yes.                                                       18    A. No.
19    Q. And so you were paid for all of the amount                 19    Q. As you sit here today under oath, can you tell
20 that you worked while you were at Shan Namkeen?                  20 me any specific Sunday that you worked at Shan Namkeen?
21    A. Yes.                                                       21    A. Well, I don't know the dates, but there were
22    Q. There was never a time where you worked and                22 many Saturdays, there were many Sundays and I don't
23 you didn't get paid for what you worked?                         23 know the dates, but there were many of those days that
24    A. Well, whatever that I punched in on the                    24 I did work -- that we worked.
25 computer it would be here. But any overtime I did that           25          MR. MCCOMBER: I'm going to object as

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 1 nonresponsive, move to strike.                                    1            THE INTERPRETER: Can counsel show --
 2     Q. (BY MR. MCCOMBER) Do you have any document                 2            MR. MCCOMBER: Sure.
 3 that you can show me that shows that you worked on                3            THE INTERPRETER: -- the interpreter?
 4 either a Saturday or a Sunday at any time from 2013 to            4            MR. MCCOMBER: There's the hours, there's
 5 2015 at Shan Namkeen?                                             5 the rate, yeah.
 6     A. No.                                                        6            THE INTERPRETER: Thank you.
 7     Q. When you say you were paid with cash, who gave             7    A. Well, yes, I'm looking at it.
 8 you the cash?                                                     8    Q. (BY MR. MCCOMBER) And so do you dispute that
 9     A. Mr. Patel.                                                 9 you were paid $7.25 per hour by Shan Namkeen in 2013?
10     Q. Did anyone else ever give you cash other than             10    A. Well, I disagree with this. I disagree with
11 Mr. Patel?                                                       11 this, because -- I disagree with this, because from
12     A. No.                                                       12 June to December in 2013 they paid me cash.
13           (Deposition Exhibit 2 marked.)                         13    Q. You do not -- strike that.
14     Q. (BY MR. MCCOMBER) Now, when you received your             14            Were you paid cash in addition to checks
15 check at the end of each week, you also received a               15 or were you only paid cash?
16 statement that indicated the number of hours you worked          16    A. Only cash.
17 that week as well as the amount of pay you received per          17    Q. Were you paid $7.25 an hour in 2013?
18 hour, correct?                                                   18    A. Well, they paid me $40 per eight hours of
19     A. Yes.                                                      19 work, so what would that come out to?
20     Q. And then at the end of each year you worked               20    Q. You claim you were paid $5 an hour in 2013?
21 for Shan Namkeen you received a W-2; is that correct?            21    A. Well, I never really added it up, I just saw
22     A. Yes.                                                      22 the $40.
23     Q. Do you recognize Exhibit 2 as being the W-2               23    Q. Well, as you sit here today, is it your
24 you received from Shan Namkeen in 2013?                          24 testimony you were paid $5 an hour by Shan Namkeen in
25     A. Yes.                                                      25 2013?
                                                          Page 30                                                             Page 32
 1     Q. When you received Exhibit 2, did you tell                  1    A. Yes.
 2 anyone at Shan Namkeen that it was incorrect?                     2    Q. And your testimony today under oath is you
 3     A. No.                                                        3 never received a check for your payment in 2013?
 4     Q. Did you tell anyone Exhibit 2 was incorrect?               4    A. Not until December, no.
 5     A. No.                                                        5    Q. December of 2013 is the first time you
 6     Q. Exhibit 2 only reflects income you received by             6 received a check from Shan Namkeen.
 7 check from Shan Namkeen for hours where you clocked in            7    A. In 2014.
 8 on the computer. Do you understand that?                          8    Q. So from June 2013 until December 2014 your
 9     A. Yes.                                                       9 testimony is you were paid only in cash by Shan
10     Q. And you didn't raise that issue with anyone               10 Namkeen?
11 that the cash you said you were paid was not on Exhibit          11    A. Yes.
12 Number 2?                                                        12    Q. You testified earlier that you received a
13     A. No.                                                       13 check on Friday.
14     Q. Did it concern you that Social Security,                  14    A. Well, on Fridays, yes, when I would punch in
15 Medicare and those type of items were not being                  15 on the computer.
16 withheld from the cash that you said you received from           16    Q. Okay. So this -- this makes no sense what
17 Shan Namkeen?                                                    17 you're telling me, so let me try to clarify. Are you
18     A. No.                                                       18 saying you got a check and cash, because you got a
19           (Deposition Exhibit 3 marked.)                         19 check on Friday for what you punched into the computer
20     Q. (BY MR. MCCOMBER) I'm now going to hand you               20 and then you got cash for what you worked that you
21 Exhibit 3. I'll represent to you that Exhibit 3                  21 didn't punch in on the computer, or are you claiming
22 reflects the payments you received from Shan Namkeen in          22 you only got cash?
23 2013, according to their payroll records. Do you see             23    A. Just cash.
24 on Exhibit 3 that the rate of pay you received for 2013          24    Q. Until December 2014?
25 was $7.25 per hour?                                              25    A. Until December of 2013.

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 1      Q. Okay.                                                      1    A. In Mexico.
 2      A. In 2014 is when they started to pay me by                  2    Q. Do you own a farm in Mexico?
 3   check.                                                           3    A. Well, not a farm, but I have some property
 4      Q. And so in 2014 did you receive only checks or              4 that I use for agriculture.
 5   cash and checks in 2014?                                         5    Q. Do you have an agricultural business in
 6      A. Checks and cash.                                           6 Mexico?
 7      Q. Is the same true for 2015?                                 7    A. No.
 8      A. Also.                                                      8    Q. What type of agricultural work do you do on
 9      Q. Why would you agree to accept a check for                  9 your farm?
10   $7 -- well, strike that.                                        10    A. Well, we plant corn and beans, peaches,
11            Why would you work for less than $7.25 an              11 apples. And then also we plant wheat for the cattle.
12   hour in 2013?                                                   12    Q. And so you have cattle in addition to planting
13      A. Well, I needed to work to be able to live.                13 that occurs on your farm?
14      Q. Did you go look for another job?                          14    A. No.
15      A. When I was with him working I didn't look for             15    Q. Do you have employees?
16   another job.                                                    16    A. I have three children who work there.
17      Q. Did you ever ask why you weren't being paid               17           (Deposition Exhibit 4 marked.)
18   more than $5 an hour in 2013?                                   18    Q. (BY MR. MCCOMBER) You indicated earlier that
19      A. Not during all of 2013, I didn't ask.                     19 you talked to Mr. Patel on three occasions when you
20      Q. What did you do with your cash once you                   20 felt that your pay was incorrect, correct?
21   received it from Mr. Patel?                                     21    A. Yes.
22      A. Well, I would use it for my own personal                  22    Q. Did you ever talk to him and say that you were
23   finances, for my rent and for my bills, for food.               23 underpaid for your hourly rate?
24      Q. Did you deposit your cash in the bank?                    24    A. No.
25      A. No, I didn't have enough to be able to deposit            25    Q. Never did that?
                                                           Page 34                                                           Page 36
 1 it.                                                                1    A. No.
 2       Q. Did you have a bank account in 2013?                      2    Q. Did you ever tell him that you felt you were
 3       A. I think so, yes.                                          3 not paid correctly for overtime?
 4       Q. Do you know what bank it was at?                          4    A. No.
 5       A. Chase.                                                    5    Q. Do you think that if you had talked to
 6       Q. Do you still have that Chase Bank account?                6 Mr. Patel he would have tried to work something out
 7       A. I still do, yes.                                          7 with you?
 8       Q. Have you had the same Chase Bank account since            8           MR. PETERSEN: Objection, calls for
 9 2013?                                                              9 speculation. You can answer.
10       A. I've been with that bank for like 15 years.              10    A. Well, I never did ask him those questions, but
11       Q. Do you have any other bank accounts?                     11 in 2014 I did ask for a raise and he did give me a one
12       A. No.                                                      12 dollar raise.
13       Q. Did you ever deposit any cash you received               13    Q. (BY MR. MCCOMBER) And so you told him on
14 from Mr. Patel into your bank account?                            14 three occasions your check was incorrect and he fixed
15       A. No.                                                      15 that, right?
16       Q. Since 2013, have you applied for a loan with             16    A. Yes.
17 any bank?                                                         17    Q. You asked him for a raise and he gave you a
18       A. No.                                                      18 raise, correct?
19       Q. Have you received a payday loan or a title               19    A. Yes.
20 loan or anything like that since 2013?                            20    Q. You asked him for advances on your paycheck
21       A. No.                                                      21 regularly and he gave you those advances whenever you
22       Q. Have you applied for a mortgage since 2013?              22 asked for them.
23       A. No.                                                      23    A. Well, later when I would ask it of him he
24       Q. Do you own any property in the United States             24 would give that to me like a week later or two weeks
25 or Mexico?                                                        25 later.

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  1    Q. But he did give you advances on your paycheck              1 Exhibit 4, correct?
  2 if you asked for them, right?                                    2    A. Yes.
  3    A. Well, he lent me money, but he never gave me               3    Q. Which shows that you looked at those documents
  4 an advance.                                                      4 and signed it?
  5    Q. And so -- but he lent you money whenever you               5    A. Yes.
  6 asked for it, didn't he?                                         6    Q. Did you ever tell Mr. Patel or anyone at Shan
  7    A. Yes, because I didn't have enough for all of               7 Namkeen that any of these hour reports were incorrect
  8 my finances with what I was earning, so he did lend me           8 in 2014?
  9 some money.                                                      9    A. Yes.
 10    Q. Did you appreciate that or not?                           10    Q. Which one?
 11    A. Yes.                                                      11    A. Well, I talked to him about -- on Fridays when
 12    Q. And so whenever you asked him for these type              12 they had us work a half an hour later. And so when we
 13 of things he helped you, didn't he?                             13 would go punch out on the computer, the computer was
 14    A. Yes.                                                      14 already turned off. And I talked to him about that on
 15    Q. Then what makes you think if you had talked to            15 two occasions and I asked him why they did that. And
 16 him about your claim that you were underpaid that he            16 he said he was going to fix that problem, but he never
 17 would not have worked something out with you?                   17 did.
 18    A. Well, I never thought about talking to him.               18    Q. Did you ask him to pay you for any hours you
 19    Q. Was it not very important to you?                         19 worked past 4:00 o'clock?
 20    A. Well, it was important for me, but I was                  20    A. No.
 21 appreciative of the fact that he gave me work.                  21    Q. Well, I want to have you turn to page SNI 52
 22    Q. But you understand Mr. Patel can't fix a                  22 in Exhibit Number 4. Do you see that page?
 23 problem unless you tell him about it.                           23    A. Yes.
 24    A. Yes.                                                      24    Q. On March 24th, 2014 you clocked out at
 25    Q. Do you take some responsibility because you               25 4:10 p.m. Do you see that?
                                                          Page 38                                                           Page 40
  1 didn't talk to Mr. Patel?                                        1    A. Yes.
  2    A. Well, I just never thought about doing it, and             2    Q. On March 25th, 2014 you clocked out at
  3 he didn't say anything to me either.                             3 4:10 p.m. as well, correct?
  4    Q. Do you think Mr. Patel intentionally tried to              4    A. Yes.
  5 harm you in any way?                                             5    Q. On March 28th, 2014 you clocked out at
  6    A. No.                                                        6 4:10 p.m. as well, correct?
  7    Q. Do you think -- Mr. Patel was generous with                7    A. Yes. Why always at the same time, the same
  8 you, wasn't he?                                                  8 hour?
  9    A. Yes.                                                       9    Q. There may be a point in time when we can ask
 10    Q. And he was generous to your family.                       10 some questions, but hold on and let me get through this
 11    A. Yes.                                                      11 part.
 12    Q. Why didn't you give him an opportunity to work            12            Looking at Exhibit 4, SNI 63 -- looking
 13 out your dispute with him?                                      13 at this document in Exhibit 4, on June the 9th, 2014
 14    A. Well, I don't have anything bad to say about              14 you clocked out at 4:10 p.m. Do you see that?
 15 him. He's a good person. But if he's so good, why               15    A. Yes.
 16 didn't he pay those overtime hours that he owed me?             16    Q. And on June 12th, 2014 you clocked out at
 17 Why did he take those away from me? And I just never            17 4:10 p.m., correct?
 18 said anything.                                                  18    A. Yes.
 19           MR. MCCOMBER: Objection, nonresponsive,               19    Q. And on other days that week you clocked out at
 20 move to strike.                                                 20 4:00 p.m., correct?
 21    Q. (BY MR. MCCOMBER) Looking at Exhibit Number               21    A. Yes.
 22 4, these are the printouts for the computer clock               22    Q. Looking ahead in Exhibit 4 to SNI 65, on June
 23 in/clock out for 2014. Do you see that? Yes?                    23 26th, 2014 you clocked out at 4:10 p.m. Do you see
 24    A. Yes.                                                      24 that?
 25    Q. And your signature is on the documents in                 25            THE INTERPRETER: And the interpreter is
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  1 going to need clarification.                                       1 there were times when you were clocked in early for a
  2    A. Well, my -- the hour -- the time that I left                 2 shift and times that you clocked out early for shifts.
  3 was 4:00 o'clock, but here it says 4:10, so where they             3 Do you remember that?
  4 say 4:10, I don't know about that.                                 4     A. Well, if there was no more work and then we
  5    Q. (BY MR. MCCOMBER) So you disagree with these                 5 left work early, then we would punch out early.
  6 time records that show you clocking out after                      6     Q. But my point is on any given day you said that
  7 4:00 o'clock p.m.?                                                 7 you may have already been clocked in by the time you
  8    A. Yes, I'm in disagreement with that, because                  8 arrived at work, correct?
  9 they would punch us out and also sometimes punch us in.            9     A. Well, no, but when I would get to work, I
 10 Sometimes when I would arrive in the morning I was                10 don't know who did it, but I was already punched in.
 11 already punched in. In fact, Angel punched all of us              11     Q. Did you ever look at your time sheet and
 12 in and out.                                                       12 determine if there were any hours that you were not
 13    Q. So some days you would be clocked in before                 13 paid for during a given week in 2014?
 14 you even got to work?                                             14     A. No.
 15    A. Yes. Sometimes I was already punched in, yes.               15     Q. You simply signed the documents in Exhibit 4
 16 And when I was on my way to work I was already punched            16 indicating that they were correct?
 17 in. It might be Angel or him or his wife.                         17     A. Yes.
 18    Q. So do you think you were ever underpaid for                 18     Q. And you never talked to Mr. Patel about it?
 19 hours on the time clock in 2014?                                  19     A. No.
 20    A. Those ten minutes I was never paid for. I                   20     Q. Now, looking through Exhibit 4, are you able
 21 would work my eight hours, but those ten minutes we               21 to tell me any of these weeks in 2014 where you worked
 22 were never paid for.                                              22 on either a Saturday or a Sunday that are not reflected
 23    Q. So it's your testimony that the hours set                   23 in Exhibit 4?
 24 forth on these time sheets in 2014 you were not paid              24     A. Yes, there are a lot of them.
 25 for?                                                              25     Q. Tell me the first day.
                                                            Page 42                                                              Page 44
  1    A. Those minutes --                                             1     A. I don't have the exact date, but per month we
  2           THE INTERPRETER: And the interpreter is                  2 would go two or three times a month.
  3 going to need clarification.                                       3     Q. Can you give me any date that you worked in
  4    A. If we worked 16 hours or 24 hours, they did                  4 2014 on either a Saturday or a Sunday?
  5 pay us for that.                                                   5     A. No.
  6    Q. (BY MR. MCCOMBER) So you're saying if it was                 6     Q. Do you understand that in a typical eight-hour
  7 over at 4:00 o'clock, you didn't paid for that period              7 shift at Shan Namkeen you can produce 400 bags of
  8 of time that was clocked out later than 4:00 o'clock?              8 product?
  9    A. Well, no, and, in fact, when I would leave at                9     A. Okay.
 10 4:00 o'clock I would have to drive from Garland to                10            THE INTERPRETER: The interpreter is
 11 Carrollton, taking product with me. My wife would pack            11 going to get clarification.
 12 that up and I didn't get paid for that and that was at            12     A. Well, I was able to even do 600 bags during
 13 least an hour's worth of work. And then I had to take             13 five hours of work from 10:00 to 3:30 or 4:00.
 14 it back the next day.                                             14     Q. (BY MR. MCCOMBER) How many bags did you make
 15           MR. MCCOMBER: I'm going to object as                    15 during a shift on either a Saturday or a Sunday?
 16 nonresponsive, move to strike your answer. Why don't              16     A. Well, it was the same thing. It would depend
 17 we take a quick break.                                            17 on how much time I was working there. There was a line
 18           THE WITNESS: Okay.                                      18 there and it couldn't be stopped and I had to pack
 19           (Recess taken.)                                         19 everything that was coming down the line.
 20    Q. (BY MR. MCCOMBER) Before we took the break,                 20     Q. And so you testified today that you worked two
 21 Mr. Rodriguez, we were talking about the employee time            21 to three days a month on either a Saturday or a Sunday,
 22 detail from 2014 which is Exhibit 4. Do you recall                22 correct?
 23 that?                                                             23     A. Yes.
 24    A. Yes.                                                        24     Q. And that's when you claim you were paid cash
 25    Q. Now, you indicated earlier that you believe                 25 for your time?

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  1    A. Yes.                                                      1 than in Texas?
  2    Q. And there's no record anywhere of that?                   2     A. No.
  3    A. No.                                                       3     Q. Do you know of any customer that purchased
  4    Q. During those eight-hour weekend shifts, how               4 product from Shan Namkeen outside the state of Texas?
  5 many bags would be made in each shift on average?               5     A. No. I didn't check on that, I just worked.
  6    A. Well, it would depend. It wasn't an exact                 6     Q. So you don't know anything about who the
  7 amount. Well, there were these boxes and each box had           7 customers for Shan Namkeen were?
  8 20 bags in it. And so sometimes we would put 15, 20,            8     A. No.
  9 up to 32 bags in there during the five hours that we            9     Q. Are you aware of where Shan Namkeen purchased
 10 worked.                                                        10 the equipment to make their product?
 11    Q. And so are you able to estimate approximately            11     A. No.
 12 how many bags you would make per shift on a weekend?           12     Q. Are you aware of where Shan Namkeen purchased
 13    A. Well, the least amount was between 400 and 600           13 the products to make its snack cakes?
 14 bags during the shift that I worked.                           14     A. You mean the flour and all of that? I don't
 15    Q. And what was the most that was done?                     15 know.
 16    A. Well, 600 or 650, because the machine couldn't           16     Q. So you don't know where any of the ingredients
 17 do more.                                                       17 were purchased to make Shan Namkeen's products, do you?
 18    Q. So the maximum that could happen was 600 to              18     A. Well, I did see that the wrappers came from
 19 650 per eight-hour shift?                                      19 India, but as far as the flour -- well, I saw that it
 20    A. And -- well, that was during a five-hour                 20 would arrive, but I didn't really pay attention on
 21 shift, because it was a process. First the flour had           21 that. I was just focused on doing my job.
 22 to be mixed and then went through a cooking process            22     Q. Do you know whether these packages, which you
 23 before other things could be done, and then during two         23 think had -- were from India, came from someplace
 24 hours we had to be doing other things besides that.            24 locally or were they shipped from India?
 25    Q. And so that whole process took around eight              25     A. They were shipped from India to here. They
                                                         Page 46                                                              Page 48
  1 hours?                                                          1 came on a car of a train.
  2    A. Yes.                                                      2     Q. How do you know that?
  3    Q. And that's what you did on the weekends you               3     A. Well, it would arrive to where we worked and
  4 say you worked?                                                 4 we would unload it.
  5    A. Yes.                                                      5     Q. Did you use any of the ingredients that came
  6    Q. And tell me, once that product was made                   6 from India as part of your job?
  7 Mr. Patel would deliver it to restaurants and grocery           7     A. No.
  8 stores in the Dallas-Fort Worth area?                           8     Q. Did you handle any ingredients or packaging as
  9    A. Yes. Yes, he had his contracts. He also sent              9 part of your job that was not purchased in Texas?
 10 products to Austin and Houston.                                10     A. No.
 11    Q. Did he deliver the products to Austin or                 11     Q. Did you make any products at Shan Namkeen that
 12 Houston?                                                       12 were sold outside of Texas?
 13    A. No, a truck would arrive and then be loaded.             13     A. No.
 14    Q. And would the product go to grocery stores and           14     Q. Did you use the telephone at any time when you
 15 restaurants in Austin and Houston?                             15 were at Shan Namkeen to conduct Shan Namkeen business?
 16    A. I don't know about that.                                 16     A. No.
 17    Q. Do you know -- strike that.                              17     Q. Did you use any shipping or U.S. Postal
 18           Did the product mostly go to restaurants             18 Service services while you were working at Shan
 19 or did it mostly go to grocery stores?                         19 Namkeen?
 20    A. I don't know.                                            20     A. No.
 21    Q. Do you know of any customers that Mr. Patel              21     Q. So you weren't involved with the shipping of
 22 sent product to that were not in Austin, Houston or            22 the products at Shan Namkeen?
 23 Dallas-Fort Worth?                                             23     A. No.
 24    A. No.                                                      24     Q. Is it your recollection that the majority of
 25    Q. Did you ever send product to anyplace other              25 the products that were made were delivered by Mr. Patel

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  1 to local groceries and restaurants?                               1     A. That day when we finished they would pay us.
  2    A. Yes.                                                        2     Q. Were you ever paid more than $5 an hour in
  3    Q. What types of products does Shan Namkeen make?              3 cash at any time from 2013 to 2015?
  4    A. Well, it's just a lot of Indian food.                       4     A. I think so.
  5    Q. Is it a snack food, a savory snack food?                    5     Q. When did that change?
  6    A. Well, I don't know how they use it. Well,                   6     A. Well, he would pay us what he wanted to pay
  7 it's like us when we use a tortilla for our food.                 7 us, whatever he happened to have in his wallet.
  8 Well, and I think that they use it, you know, like the            8 Sometimes it would be 50, it would be 40, it would be
  9 pita and the -- I really don't eat their food, so I               9 60. I never asked. I was in agreement with whatever
 10 really don't have any idea, but I think they use it and          10 he paid me.
 11 they mix it with their food.                                     11     Q. So for an eight-hour shift on the weekend, is
 12    Q. Did you take lunch breaks during an eight-hour             12 it your testimony sometimes you were paid $5 an hour?
 13 shift at Shan Namkeen?                                           13     A. I think so.
 14    A. Half an hour, yes.                                         14     Q. And sometimes you were paid 6.25 an hour?
 15    Q. Every day?                                                 15     A. Yes.
 16    A. Yes.                                                       16     Q. And sometimes you were paid $7.50 an hour?
 17    Q. And you never worked through lunch?                        17     A. Yes, because the pay would be different. Of
 18    A. No.                                                        18 course, when it was more, then it was more.
 19    Q. Where was the computer located that you would              19     Q. Did you keep track of the days that you were
 20 clock in and out of at Shan Namkeen?                             20 paid $7.50 an hour versus the days you were paid $5 an
 21    A. Well, it's in the area where we work on a                  21 hour?
 22 little table.                                                    22     A. No, I was just content with whatever he paid
 23    Q. Is there any other device or worksheet that                23 me. That was all.
 24 keeps track of the hours worked at Shan Namkeen other            24     Q. But in this lawsuit you're seeking money for
 25 than that computer?                                              25 time you say you spent on a Saturday that you were not
                                                           Page 50                                                              Page 52
  1     A. Well, there they have their office and --                  1 paid correctly. Do you understand that?
  2 well, they have it.                                               2     A. Yes.
  3     Q. Are you aware of any separate timekeeping                  3     Q. How much money is that that you want from my
  4 documents other than the computer?                                4 client?
  5     A. Well, they would do their work in the office               5     A. Well, I don't really have the exact time that
  6 and then they would print it out on the computer where            6 I worked during that time.
  7 we would punch in and out.                                        7     Q. But you filed a lawsuit asking my client for
  8     Q. And then you would sign that document,                     8 that money.
  9 correct?                                                          9     A. Well, I'm not really even asking for a certain
 10     A. Yes.                                                      10 amount, an exact amount, I just want the time that I
 11     Q. We already talked about that?                             11 worked to be tallied up and for me to be paid according
 12     A. Yes.                                                      12 to that time. I don't really have an exact amount.
 13     Q. And you didn't keep any separate time --                  13     Q. How can we tally up that time when you didn't
 14 strike that.                                                     14 keep track of it?
 15            And you didn't keep track of your time in             15           MR. PETERSEN: Objection, calls for a
 16 any separate way, did you?                                       16 legal conclusion. You can answer.
 17     A. No.                                                       17     A. I don't know.
 18     Q. And you were paid on a weekly basis at Shan               18     Q. (BY MR. MCCOMBER) Well, my client is going to
 19 Namkeen?                                                         19 testify that you were paid correctly for all the time
 20     A. Yes.                                                      20 that you worked, and that in Exhibit 4 and the other
 21     Q. Every Friday?                                             21 exhibits you've seen they tracked your time correctly.
 22     A. Yes, regularly Fridays.                                   22 Do you have any documents that dispute the records from
 23     Q. If you worked on the weekend, were you paid               23 my client?
 24 the following Friday or were you paid in cash the day            24     A. No.
 25 you worked?                                                      25           MR. PETERSEN: Object to the sidebar

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  1 regarding the defendant's testimony. At least one of             1 sometimes it would be a woman.
  2 them is in the room and has not been deposed. You can            2     Q. But it was always at Indian Buffet?
  3 answer.                                                          3     A. I only went there.
  4    Q. (BY MR. MCCOMBER) Now, you said earlier you                4     Q. Who asked you to make that delivery?
  5 delivered once or twice a month product to Indian                5     A. It would be Mr. Patel. If he wasn't there,
  6 Buffet. Do you remember that?                                    6 then his wife would ask me to take it.
  7    A. Yes.                                                       7     Q. Did you do it as a favor to Mr. and Mrs.
  8    Q. And that's a true statement?                               8 Patel?
  9    A. Yes.                                                       9     A. Well, yes.
 10    Q. When you went to Indian Buffet, how did you               10     Q. And it was on your way home?
 11 determine how much product to bring in to them?                 11     A. Well, it was a little bit farther past my
 12    A. Well, when I would clock out and it was                   12 house, maybe 15 minutes past. I would go there and
 13 4:00 o'clock and that Indian Buffet was close to where          13 deliver it and come back to my house.
 14 I lived, he would give me the amount that I had to              14     Q. Did you ever ask to be paid for making those
 15 deliver. I would just go there and deliver it.                  15 trips?
 16    Q. Did you talk to anyone at Indian Buffet?                  16     A. I never asked him for money as far as my work
 17    A. Well, I would just enter and just deliver it              17 for other things, just what's on here.
 18 to the person that was there, some person who was in            18     Q. In Exhibit 4?
 19 charge that had a little office there.                          19     A. Yes.
 20    Q. Did you bring any documents with you for                  20     Q. Do you know if Mr. Patel ever included some
 21 Indian Buffet to sign?                                          21 time for those deliveries in your time cards for
 22    A. I would just leave the product there and he               22 Exhibit 4?
 23 would tell me, "Just tell them to call me or I'll call          23     A. No.
 24 them." I would just arrive and deliver the product.             24     Q. How do you know that?
 25    Q. Was there any day of the week that you                    25     A. Well, I knew more or less the hours that I had
                                                         Page 54                                                              Page 56
  1 delivered the product to Indian Buffet?                          1 worked and what would be on my check and I never saw
  2    A. Well, it wasn't an exact day, it could be                  2 any extra hours on my check.
  3 Monday, it could be a Tuesday. It was during the days            3    Q. I thought you testified earlier that you never
  4 that I worked for him.                                           4 looked at these in great detail like that.
  5    Q. Who is the person that you talked to at Indian             5    A. Well, not so much this, but my check, I always
  6 Buffet?                                                          6 had it in my mind how many hours I worked and how much
  7    A. Well, it was a lady that worked there and I                7 I was going to get paid. So ever since I started
  8 didn't even ask her name. I would just say, "Well,               8 working there I had that mentally down as far as what
  9 here, this is what they're delivering to you and see             9 should be on my check.
 10 you later."                                                     10    Q. So you would sign the documents in Exhibit 4,
 11    Q. And you didn't have them sign any documents               11 because you thought they were correct, right?
 12 from Shan Namkeen?                                              12    A. Yes.
 13    A. Nothing.                                                  13    Q. And you never asked Mr. Patel for more money
 14    Q. And they didn't give you any form of payment?             14 for time you spent delivering to Indian Buffet?
 15    A. No.                                                       15    A. No, never.
 16    Q. How much product did you deliver to Indian                16    Q. Do you think he would have paid you for that
 17 Buffet at any given time?                                       17 time if you asked for it?
 18    A. Well, it would be two, three or four boxes.               18    A. I don't know. I never did it. Well, I'm the
 19    Q. And you think you did this once or twice a                19 type of person that -- one day he sent me out to get
 20 month?                                                          20 some food and three pennies were left over and I gave
 21    A. Yes.                                                      21 him back those three pennies. I'm not the type of
 22    Q. And that's the only customer you ever                     22 person that asks for something that I don't deserve to
 23 delivered to?                                                   23 have.
 24    A. Sometimes -- well, sometimes it would be                  24    Q. So you didn't ask for money for the deliveries
 25 different people. Sometimes there would be a man,               25 because you didn't believe you deserved money for it?

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  1    A. Well, as far as my capacity, the way that I             1    A. No.
  2 am, that's just not the way that I am to ask for more         2    Q. And then you didn't charge them for these
  3 money.                                                        3 deliveries you made from time to time?
  4    Q. Well, you asked Mr. Patel for a raise, didn't           4    A. No.
  5 you?                                                          5    Q. Do you think that's fair?
  6    A. Well, that has to do with work that I'm doing.          6    A. Well, yes. I'm appreciative of what he lent
  7 I'm not asking that to be given to me as a present,           7 me. And so what's here is here, but what I'm talking
  8 it's for work that I'm doing for him.                         8 about is what I worked and what I wasn't paid for.
  9    Q. Then why wouldn't you ask if you believed you           9    Q. And what is that?
 10 were doing work doing deliveries that you were not           10    A. Well, one would suppose that Saturdays and
 11 getting paid for, to ask for that money?                     11 Sundays was overtime. And so all of the times that I
 12    A. Well, because he asked me to do that as a              12 punched in and out of here, then I would work an hour
 13 favor, and so I did it.                                      13 extra to go to the laundromat to unload the product
 14    Q. And you agreed to do it as a favor?                    14 there.
 15    A. Yes.                                                   15    Q. Well, you just told me you did that as a
 16    Q. And you agreed to do it without getting paid?          16 favor.
 17    A. Well, I never thought that he would pay me for         17    A. Well, yes, that's true.
 18 that and he didn't, and so that's just the way it was.       18    Q. So do you want to get paid for that or not?
 19    Q. So you did it as a favor.                              19    A. Yes, I would like to have some compensation
 20    A. Yes.                                                   20 for that.
 21    Q. And you said when you made deliveries to the           21    Q. For something you did as a favor?
 22 other -- strike that.                                        22    A. Well, yes, because of the favor that I did for
 23           And when you said earlier you made                 23 him and also I did a lot of favors for him as far as
 24 deliveries from Shan Namkeen to the laundromat, you          24 the work that I did for him. The favors that he did
 25 made those deliveries as a favor as well?                    25 for me I paid those back. But he hasn't paid me for
                                                       Page 58                                                           Page 60
  1    A. No, I did that on my own volition and he never          1 the favors that I did for him.
  2 forced me to do it. I just did it to help.                    2    Q. Well, you understand that according to the
  3    Q. And your family would help Mr. Patel's family           3 time sheets in Exhibit 4 that there are weeks that even
  4 from time to time, right?                                     4 if you worked eight hours on Saturday or Sunday you
  5    A. Well, my wife worked for eight hours -- I               5 would still not reach 40 hours for the week?
  6 mean, my -- my wife worked for eight hours for his wife       6    A. Well, yes, I understand that, but sometimes we
  7 and then she also did some packing there at that              7 would work four or five days and then it was Saturdays
  8 laundromat.                                                   8 and Sundays.
  9           MR. MCCOMBER: I'm going to move to                  9    Q. And that's my point. How am I supposed to
 10 strike as nonresponsive.                                     10 know looking at Exhibit 4 which weeks you worked more
 11    Q. (BY MR. MCCOMBER) The real point was,                  11 than 40 hours?
 12 Mr. and Mrs. Patel did favors for your family as well,       12    A. Well, I never -- I don't have any documents,
 13 right?                                                       13 so I didn't keep any or record any documents, I just
 14    A. Well, not really favors. I mean, we did work           14 know and my wife knows the hours that we worked.
 15 for them and they paid us for that work.                     15    Q. But if we were trying to pick the week where
 16    Q. But the Patels also gave you and your wife             16 you claim you were owed overtime, you would have to
 17 loans when you needed them, right?                           17 guess?
 18    A. Yes, and we paid everything back. We always            18    A. Well, perhaps if I really thought about it
 19 paid everything back. We don't owe them anything.            19 I could remember it. But what I'm saying is during the
 20    Q. But I'm saying that was a favor they did for           20 time I worked there I would go two or three weekends
 21 you like the favors you did for them in making these         21 per month to do this extra work.
 22 deliveries.                                                  22    Q. Look through Exhibit 4 and tell me the work
 23    A. Well, yes.                                             23 weeks in which you worked more than 40 hours per week.
 24    Q. And they didn't charge you interest on the             24    A. Well, it's not going to be there. Because in
 25 loans, did they?                                             25 these documents they never let it be more than 40

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  1 hours. After that, then they just paid you cash.                 1    Q. Take a look at Exhibit 5. Do you recognize
  2     Q. Now, let's look at Exhibit 4, then, and go                2 Exhibit 5?
  3 through this by week. Did you work more than 40 hours            3    A. Well, I didn't sign this. It's not signed by
  4 for Shan Namkeen the week of December 28th, 2013?                4 me.
  5     A. I don't remember.                                         5    Q. These are your documents you produced in this
  6     Q. Turn the page to the next page in Exhibit 4.              6 case.
  7     A. (The witness complied.)                                   7    A. Okay. That's okay, yes.
  8     Q. Did you work more than 40 hours the week of               8    Q. If you look in the bottom right-hand corner,
  9 January 9th, 2014?                                               9 do you see how it says PL?
 10     A. Well, there are the days.                                10    A. Yes.
 11           MR. MCCOMBER: Objection, nonresponsive.               11    Q. That means those are your documents.
 12     Q. (BY MR. MCCOMBER) As you sit here today are              12    A. Okay.
 13 you able to tell me whether the week of January 9th,            13    Q. Did you provide these documents to your
 14 2014 you worked more than 40 hours?                             14 lawyer?
 15     A. Well, no, they aren't here. I don't remember.            15    A. Yes.
 16     Q. And you don't have a remembrance if you worked           16    Q. And these are the check stubs you received
 17 any additional days that week that are not on this              17 after working a week at Shan Namkeen?
 18 list.                                                           18    A. Yes.
 19     A. No.                                                      19    Q. After receiving any of the check stubs in
 20     Q. And we could go through the entire Exhibit 4             20 Exhibit 5, did you ever complain to Mr. Patel or anyone
 21 and your answer would be the same for each week.                21 at Shan Namkeen that they were incorrect?
 22     A. Yes. Well, here it's more than -- it's 42                22    A. No.
 23 hours.                                                          23    Q. Is this your writing on the front page of
 24     Q. Which are you referring to?                              24 Exhibit 5?
 25     A. Well, here it's 42 hours. Where does it say              25    A. No, that isn't my handwriting.
                                                          Page 62                                                          Page 64
  1 that it's overtime?                                              1    Q. Do you know whose it could be?
  2           THE INTERPRETER: Interpreter comment.                  2    A. No.
  3 This is SNI 0044. SNI 44.                                        3    Q. Did you ever receive a bonus from Shan Namkeen
  4     Q. (BY MR. MCCOMBER) Yeah, that's the number of              4 for the holidays?
  5 hours you were listed as working that week, correct?             5    A. Well, on Christmas I remember the first year I
  6     A. Yes.                                                      6 was given a hundred dollars and then the second year
  7     Q. And then you would get a check later for the              7 $50.
  8 hours you worked, right?                                         8    Q. So in 2013 did you receive a hundred dollars?
  9     A. Yes.                                                      9    A. Yes.
 10     Q. And the testimony that I've seen and the                 10    Q. And then if you look at the last page of
 11 documents I've seen reflect that on weeks you worked            11 Exhibit 5, it appears you received a hundred dollar
 12 more than 40 hours you were paid overtime for that              12 bonus in December of 2014.
 13 amount.                                                         13    A. That bonus is what he gave me at Christmas?
 14     A. Well, they never paid me overtime. There was             14    Q. It says bonus. That's what I'm asking you.
 15 just one time when he went on vacation to India with            15    A. He never gave me a bonus, just those two times
 16 his wife, the whole family, like for a month -- well,           16 that he gave me that money at Christmas.
 17 three weeks or a month. So everyone would start work            17    Q. And that was 2013, 2014.
 18 at 7:00, but I would start at 6:00 to open up the               18    A. Yes.
 19 place. And so I am conscious of the fact that they              19    Q. And do you have any reason to dispute that you
 20 paid me overtime for that amount of time, but after             20 got a hundred dollars in December of 2014 as a bonus?
 21 that, no more.                                                  21    A. No, I don't know.
 22     Q. Did you ever check your check stubs to see if            22           (Deposition Exhibit 6 marked.)
 23 you were getting overtime or not?                               23    Q. (BY MR. MCCOMBER) I'm going to hand you
 24     A. Yes. Yes, and I did see them on there for                24 Exhibit 6. Is Exhibit 6 the W-2 you received from
 25 that time.                                                      25 Shan Namkeen in 2014?

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  1    A. Yes, I have it.                                            1 able to get someone to take me over to my area to help
  2    Q. Did you ever tell anyone at Shan Namkeen that              2 me. And so he said, "Okay, just stay here and I'll
  3 this W-2 was incorrect, because it didn't include these          3 give you that dollar raise." But I didn't ask for that
  4 cash payments that you believe you received?                     4 of him, he gave it to me.
  5    A. No. No, I never asked anything.                            5    Q. Did you appreciate it?
  6    Q. Did you ever tell anyone that it was                       6    A. Of course.
  7 incorrect?                                                       7    Q. Were you mad at him for that whole situation?
  8    A. No, I would just take this for them to fill                8    A. No.
  9 out all the documents for my taxes every year and I              9    Q. Did you feel like you were mistreated at all
 10 never told them anything, I just took them this.                10 during that situation?
 11    Q. You knew that Exhibit 6 didn't include the                11    A. No.
 12 cash payments, though, didn't you?                              12    Q. And, in fact, it shows in September 2014 you
 13    A. Yes.                                                      13 got another raise to $10 per hour; is that correct?
 14    Q. But you never told anyone at your tax preparer            14    A. Yes.
 15 about that?                                                     15    Q. Did you ask for that raise?
 16    A. No. Well, they also never asked me. This my               16    A. Yes.
 17 wife and I filled out together as far as our work that          17    Q. Is that the one you were referring to earlier
 18 we did there.                                                   18 where you asked Mr. Patel for the raise?
 19           (Deposition Exhibit 7 marked.)                        19    A. Yes, that's the last raise that I asked of
 20    Q. (BY MR. MCCOMBER) I'm now going to hand you               20 him.
 21 Exhibit 7. Exhibit 7 is the payroll register for                21    Q. So is it your testimony that in 2014 even
 22 Shan Namkeen for 2014. And this shows that starting in          22 though you received two raises during those years, up
 23 January of 2014 that they were paying you $8 an hour.           23 to $10 per hour, that you were still working on the
 24    A. Yes.                                                      24 weekends for $5 an hour for cash?
 25    Q. Is that true?                                             25    A. Well, I never did say that he was paying me
                                                          Page 66                                                         Page 68
  1    A. Yes.                                                       1 $5 an hour, I just received the money that he gave me.
  2    Q. And then if you go through Exhibit 7, it shows             2 I never added it up and I never said it was $5 an hour.
  3 $8 per hour until June of 2014 when it increases to              3    Q. How much were you paid per hour in 2014 when
  4 $9 per hour.                                                     4 you worked for cash?
  5    A. Yes.                                                       5    A. Well, I never did tally that up. As I said
  6    Q. Is that when you asked for the raise from                  6 before, and I'm going to repeat this, sometimes he
  7 Mr. Patel?                                                       7 would give me 40, sometimes 50, sometimes 60.
  8    A. Well, that raise happened because one day I                8    Q. Putting aside overtime, do you think you
  9 was sick. And so I asked that Angel be put in the                9 worked any hours in 2014 that you were not paid for?
 10 position where I was, because I had a really bad cold           10    A. No, he always paid me.
 11 and I had to be bent over there. And so he tried to go          11    Q. But you believe you're owed some additional
 12 tell Angel that and his wife, but they didn't want to           12 overtime for the weeks you worked more than 40 hours,
 13 do that, they didn't want to go there. So he told me,           13 correct?
 14 "Stay there and I'll give you a dollar raise."                  14    A. Yes.
 15           And so after that, then he left and his               15    Q. But you can't tell me what that is?
 16 wife came and his wife said, "Okay, stop doing that and         16    A. No.
 17 go home." And I stayed there even though I was sick             17    Q. What other employees have received cash
 18 working the rest of my shift. I said, "No, I don't              18 payments from Mr. Patel for working on the weekend?
 19 want to leave. I want you to help me." And I stayed             19    A. Well, I just know about my wife. The rest of
 20 there until the shift was over even though I was sick.          20 them I don't know.
 21    Q. And Ms. Patel, she said you could leave if you            21    Q. So other than your wife, you don't have
 22 wanted to, though, right?                                       22 personal knowledge of anyone else being paid in cash?
 23    A. Well, we never talked about my leaving. I                 23    A. No, and that wasn't my business. I just did
 24 just asked for someone to come and help me. And he              24 my work.
 25 tried to get someone to come and help me, but he wasn't         25    Q. Did any employee ever tell you they were also
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  1 paid in cash?                                                   1 all I can say is she worked more years for him than I
  2    A. No, and I didn't ask that.                                2 and her situation is even greater than mine, but I
  3    Q. But you and other employees sometimes went to             3 can't really comment on it.
  4 work together and went home together, didn't you?               4           MR. MCCOMBER: I'm going to object as
  5    A. Yes.                                                      5 nonresponsive and move to strike that answer.
  6    Q. And you and other employees spent time                    6           THE INTERPRETER: This is an interpreter
  7 together working for shifts at Shan Namkeen.                    7 comment. The interpreter was just interpreting what
  8    A. Yes.                                                      8 you said about that.
  9    Q. And from 2013 to 2015 no employee at Shan                 9           MR. MCCOMBER: Right.
 10 Namkeen ever told you they were paid in cash.                  10    A. Well, you're asking me about my wife, but I'm
 11    A. Well, I didn't talk about things like that               11 just telling you I really don't want to comment on her
 12 with them.                                                     12 situation.
 13    Q. And they never told you that either, did they?           13    Q. (BY MR. MCCOMBER) Well, unless your lawyer
 14    A. No.                                                      14 instructs you not to answer, you're going to have to.
 15    Q. So the only person as you sit here today that            15    A. Okay.
 16 you can testify under oath that received a cash payment        16    Q. And my question -- I'm going to rephrase it --
 17 from Shan Namkeen is you and your wife?                        17 is pretty simple. It's really yes or no. Has your
 18    A. Well, yes, she would say, "Look, he gave me              18 wife ever told you she's owed money by Shan Namkeen?
 19 this," and I would say, "Well, he gave me this."               19    A. Yes.
 20    Q. But nobody else?                                         20           MR. PETERSEN: And I -- well, okay.
 21    A. No.                                                      21    Q. (BY MR. MCCOMBER) When did she tell you that?
 22    Q. You said your children worked at Shan Namkeen.           22           MR. PETERSEN: Okay. And, Counsel, I
 23 Were they ever paid in cash?                                   23 think we're getting awfully -- or close to spousal
 24    A. Always. He always gave them cash. They never             24 privilege. And her issue here, what we're talking
 25 received a paycheck. Well, there's my daughter                 25 about, the particulars of --
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  1 Victoria that worked there and then also Dimas, a child         1           MR. MCCOMBER: I said when. Yeah, I'm
  2 I had with another lady, and he would work there on his         2 very clear with my questions.
  3 vacations. And he always was given $40 a day cash.              3           MR. PETERSEN: Okay.
  4    Q. Do you think Victoria was ever underpaid any              4           MR. MCCOMBER: And you have referenced
  5 amount of money that she worked at Shan Namkeen?                5 her in your pleadings, so I'm free to ask about it. So
  6    A. Well, no, he always paid them, but he always              6 if you think there's a privilege, then assert it, but
  7 paid them what he wanted to give them.                          7 just -- I'm asking very specific questions.
  8    Q. Do you believe Victoria is owed any money as              8           MR. PETERSEN: Okay.
  9 you sit here today by Shan Namkeen?                             9    Q. (BY MR. MCCOMBER) Okay. So ready?
 10    A. No. No, it's okay.                                       10    A. Yeah, I'm ready.
 11    Q. As you sit here today is Dimas owed any money            11    Q. When did he -- when did she tell you that?
 12 by Shan Namkeen?                                               12    A. Well, she didn't just tell me one time, but
 13    A. No, they were happy. Even if they were given             13 many times. And you-all will find that out in due
 14 $10, you know, they're kids.                                   14 time, because really her case is bigger than mine.
 15    Q. As you sit here today, do you believe your               15    Q. You think she's going to file a lawsuit?
 16 wife is owed any money that she -- strike that.                16    A. I don't know.
 17          As you sit here today, do you believe                 17    Q. Then why would you say that?
 18 your wife is owed any money by Shan Namkeen for hours          18    A. Well, you're asking me if she's talked with me
 19 that she worked, but was not paid for?                         19 and she's my wife and she trusts me.
 20    A. Well, that would be something that she would             20    Q. Well, you're talking about a case and so are
 21 have to figure out in her own time. I'm not really             21 you saying she's going to sue Shan Namkeen?
 22 getting into that, I'm just talking about my case.             22    A. I'm just saying that her case is larger than
 23    Q. Has she ever told you that she's owed money by           23 mine, but I'm not saying she's going to sue anybody. I
 24 Shan Namkeen?                                                  24 don't know anything about that.
 25    A. Well, I can't really comment on her situation,           25    Q. And this is another yes or no question. Do
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  1 you know if she's talked to a lawyer about her                      1 us out at 4:00 o'clock when we were working and she
  2 employment at Shan Namkeen?                                         2 treated us badly. I talked with Shailesh two or three
  3       A. I don't know.                                              3 times about that to ask him to talk to her and tell her
  4       Q. So we talked about 2013 and '14, correct?                  4 to treat us better, but she never did.
  5       A. Yes.                                                       5            MR. MCCOMBER: Objection, nonresponsive,
  6       Q. You signed your time sheets after you received             6 move to strike.
  7 them, correct?                                                      7     Q. (BY MR. MCCOMBER) Your last day of work, who
  8       A. Yes.                                                       8 did you talk to about leaving the company?
  9       Q. And then you started receiving checks in 2014?             9     A. Well, when she started to be aggressive with
 10       A. Yes.                                                      10 me, I just left. And I didn't even punch out, I just
 11       Q. And you received those checks and your stub               11 left and went to my house.
 12 reflecting the hours worked for that pay week.                     12     Q. How did you get your final check?
 13       A. Yes.                                                      13     A. Well, I think Shailesh took the check to my
 14       Q. And you never complained to Shan Namkeen that             14 wife at the laundromat and then she gave it to me.
 15 any of those documents were incorrect?                             15     Q. I'm going to hand you Exhibit 8.
 16       A. Well, I'm going to repeat that I told them two            16     A. Well, in fact, that check was not given to me,
 17 or three times and he corrected that.                              17 because I owed him $200 and so I still owed him some
 18       Q. And so other than those two or three times                18 money. That check didn't take care of all of that
 19 that were corrected you never spoke to Shan Namkeen                19 amount. And so the amount that was still owed to him,
 20 about any incorrect payment?                                       20 that was taken out of my wife's paycheck.
 21       A. No.                                                       21            MR. MCCOMBER: I'm going to object to the
 22       Q. What was your last day of work at Shan                    22 nonresponsive portion of that answer.
 23 Namkeen?                                                           23     Q. (BY MR. MCCOMBER) Do you recognize Exhibit 8?
 24       A. I don't remember the exact date, but it was               24     A. Yes.
 25 October 2015? 2014? No, 2015.                                      25     Q. Is that your signature on Exhibit 8, page 2?
                                                             Page 74                                                               Page 76
  1    Q. So October of 2015 you quit at Shan Namkeen,                  1     A. Yes.
  2 right?                                                              2     Q. And you said earlier -- strike that.
  3    A. Well, yes, I left there because his wife was                  3           You testified earlier that when you sign
  4 very aggressive with me. I didn't want to argue with                4 something you're agreeing that you understand it,
  5 her. And she was the type of woman that treated all of              5 right?
  6 us very badly.                                                      6     A. Yes.
  7    Q. You told me earlier that she didn't treat you                 7     Q. And you signed Exhibit 8?
  8 badly.                                                              8     A. Yes.
  9    A. Shailesh is a very good person, a special                     9     Q. And then the fourth paragraph of Exhibit 8 --
 10 person, but you never asked me about his wife.                     10           THE INTERPRETER: May I ask counsel to
 11    Q. When I referred to Mr. and Mrs. Patel being                  11 point it out? Thank you.
 12 generous with you earlier, that's what I was referring             12     Q. (BY MR. MCCOMBER) It says, "I have been paid
 13 to.                                                                13 in full for all hours worked by me since the inception
 14    A. Well, I never talked about money with that                   14 of my employment with Shan Namkeen, Inc." And it says,
 15 lady, I only talked about money with him. Because if I             15 "I have no wage an hour, minimum wage, overtime wage or
 16 had talked to her about money, I don't think she would             16 any other claims whatsoever against Shan Namkeen, Inc."
 17 have lent me any.                                                  17           And so you understood by signing this you
 18    Q. So is it fair to say that any conversations                  18 were agreeing that you don't have any of the claims
 19 you had while you were employed at Shan Namkeen about              19 that you're asserting in this lawsuit.
 20 money or hours all happened with Mr. Patel?                        20           MR. PETERSEN: And I'll object that it
 21    A. Yes, with him or with his brother. I think                   21 calls for a legal conclusion. You can answer.
 22 with his brother I spoke on a couple of occasions.                 22     A. Well, as far as this, I can't really tell you
 23    Q. Did Ms. Patel ever set your schedule of when                 23 much, because after I left I never talked with them
 24 you were supposed to work?                                         24 again. I never signed anything with them.
 25    A. Yes, and she was the one that would then punch               25     Q. (BY MR. MCCOMBER) You signed Exhibit 8,

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  1 right?                                                         1 could ask questions if you had difficulty reading it,
  2    A. Well, this paper, does this have to do with              2 correct?
  3 when I was resigning from the company or what is this          3    A. Yes.
  4 about?                                                         4    Q. And by signing it you agree you understood
  5          MR. MCCOMBER: I'm going to object as                  5 what you were signing?
  6 nonresponsive.                                                 6    A. Yes.
  7    Q. (BY MR. MCCOMBER) My question is, you signed             7    Q. And it means that you don't have any claims
  8 Exhibit 8.                                                     8 for unpaid wages against Shan Namkeen based on this
  9    A. Well, it's my signature, but I don't really              9 agreement?
 10 understand what that is.                                      10            MR. PETERSEN: Objection, calls for a
 11    Q. Well, your signature means you agree to what            11 legal conclusion. You can answer.
 12 you signed. You said that earlier.                            12    A. Well, let's see. Let's see if this is legal
 13    A. Okay.                                                   13 or not. Well, this document -- well, it's okay.
 14    Q. Did someone else sign your name to this                 14    Q. (BY MR. MCCOMBER) It says on Exhibit 8 that
 15 document?                                                     15 you would get a hundred dollars. Do you know if that
 16    A. Well, from what I understand is this document           16 hundred dollars was credited against what you owed Shan
 17 after I resigned -- well, this was taken to my house          17 Namkeen for your loan?
 18 and they asked me to sign this so that I would just           18    A. Well, I owed them some money that I was not
 19 stop this case.                                               19 able to pay off completely with that last paycheck and
 20    Q. Well -- so you signed this document at your             20 so it was still owed to him. That was taken out of my
 21 home, correct?                                                21 wife's check, that that debt would be paid up.
 22    A. There are more documents like this and they             22    Q. If Shan Namkeen's records reflect that a
 23 were speaking to my wife about them. And since my wife 23 hundred dollars was credited to the amount you were
 24 doesn't understand English very well they had a               24 loaned after this agreement, do you have any reason to
 25 son-in-law of mine there to interpret. So that they           25 dispute that?
                                                        Page 78                                                              Page 80
  1 could convince me to not go through with this case, for        1     A. No. Well, he lent me the money and I repaid
  2 me to just resign from this case and not to do it.             2 it and thank you.
  3 They made three different documents like this. They            3     Q. With respect to this document, it also says
  4 made them up and I did sign them. That's the truth.            4 Shan Namkeen would give you a reference -- a good
  5    Q. Well, I'm going to get to all those documents,           5 reference to future employers.
  6 don't worry.                                                   6     A. Well, I haven't used that at all.
  7    A. Okay.                                                    7     Q. Do you think they would do that if asked?
  8    Q. But the first one I want to talk about is                8     A. Well, I don't know. I haven't used that and I
  9 dated October 9th, 2015, which is Exhibit 8, and that's        9 haven't asked them for that. I have a good job now and
 10 what you signed.                                              10 I never even mentioned that I worked for them.
 11    A. Okay. Okay. Yes, it's my signature.                     11     Q. Are you aware in any way of Shan Namkeen not
 12    Q. And you signed this at your home?                       12 fulfilling their obligations under Exhibit 8?
 13    A. I signed it at a job that I had at Sea Cross.           13     A. I'm sorry?
 14 My wife arrived there -- my wife arrived there, my            14     Q. Has Shan Namkeen done what it's supposed to do
 15 son-in-law and then a brother of Shailesh. And so they        15 under this Exhibit 8?
 16 called me and had me sign this, and so they were trying       16     A. I don't know.
 17 to convince me to sign this document.                         17     Q. Were you forced to sign Exhibit 8 by anyone at
 18    Q. And you agreed to do it?                                18 Shan Namkeen?
 19    A. I just signed it because my wife was asking             19     A. Well, during about two weeks I didn't want to
 20 for me to sign it, because they were always talking to        20 sign this document, but they were being very demanding
 21 my wife about this and telling her to tell me not to do       21 with my wife and getting her to try to get me to sign
 22 this.                                                         22 this document.
 23    Q. So the point is you signed it.                          23     Q. This document was signed your last day of work
 24    A. Yes.                                                    24 at Shan Namkeen.
 25    Q. And you had your son-in-law there who you               25     A. That's a lie. That's not true. I left that

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  1 company and I never returned and I never have returned.            1 going to take them off the case, saying that I didn't
  2       Q. How do we know that date is incorrect?                    2 need them anymore. That they could come to some
  3       A. I'm just telling you what I told you before.              3 agreement with them and that I wasn't going to have to
  4 I left that company because of what happened. I never              4 be involved anymore. So all of that was happening when
  5 returned to sign any documents.                                    5 they were telling me these things. And so that's why I
  6       Q. So you signed Exhibit 8 sometime later and at             6 didn't bring them the documents.
  7 your new job.                                                      7           The last thing that happened, my wife
  8       A. Like three or four weeks later I signed. This             8 asked for a document from them at the very end, that
  9 is not my handwriting. They put these dates on there               9 this case was a pretty complicated one and that they
 10 when they wanted to. This is my handwriting, but not              10 take responsibility for this. And so the third
 11 this. They later put those dates whenever they wanted             11 document, I think, was signed by him, by me, my wife
 12 to.                                                               12 and I think his brother.
 13       Q. Your testimony today under oath is you                   13           And so that third document is saying that
 14 remember signing Exhibit 8 and the date being blank?              14 they're going to take responsibility for this
 15       A. That's what it was, blank, and I just signed             15 complicated situation. And that the company was
 16 it.                                                               16 agreeing to pay me what they needed to pay me so that
 17       Q. When you signed Exhibit 8, had you already               17 nothing would happen to me. But all of these documents
 18 filed a lawsuit against my client?                                18 they drew up, I just signed them.
 19       A. Yes. Well, the day that I left, the next day             19           MR. MCCOMBER: I'm going to object as
 20 I came here.                                                      20 nonresponsive.
 21       Q. Why didn't you show Exhibit 8 to your lawyers?           21    Q. (BY MR. MCCOMBER) And I have a lot of
 22       A. Well, when they gave it to me I did bring it             22 questions about what you asked, but I don't think it
 23 and I showed it to them. When I had it in my hand,                23 was responsive to my questions.
 24 then I came and showed it to them.                                24           You could have taken Exhibit 8 to your
 25       Q. Before you signed it?                                    25 lawyer before you signed it.
                                                            Page 82                                                             Page 84
  1       A. No, already signed.                                       1    A. Yes. Yes. And I didn't do it.
  2       Q. Did anyone at Shan Namkeen threaten you in any            2    Q. Okay.
  3 way and make you sign Exhibit 8?                                   3           MR. MCCOMBER: Let's go ahead and take a
  4       A. Well, I never talked with them about anything.            4 lunch break.
  5 I don't know why they enthused my wife so much, I don't            5           (Recess taken.)
  6 know what they might have told her, but I never talked             6    Q. (BY MR. MCCOMBER) Mr. Rodriguez, before we
  7 to them about anything.                                            7 took a break we were talking about your employment at
  8       Q. So since you didn't talk to anyone at Shan                8 Shan Namkeen. I'd like to ask you a few more questions
  9 Namkeen about signing Exhibit 8, they clearly didn't               9 about some of the things we talked about this morning.
 10 threaten you personally in any way.                               10           Now, you indicated that there were days
 11       A. No, they never threatened me.                            11 on the weekends that you worked at Shan Namkeen where
 12       Q. Are you testifying today that anyone at Shan             12 you were paid in cash, correct?
 13 Namkeen threatened your wife in any way to get you to             13    A. Yes.
 14 sign Exhibit 8?                                                   14    Q. Now, was it mostly on Saturdays or was it
 15       A. Well, no, not -- not -- no, that's really an             15 Saturdays and Sundays or can you give us a better idea
 16 incorrect word. I'm not saying that they ever                     16 of how often a month you would work these shifts on the
 17 threatened. I'm not saying that they threatened                   17 weekend?
 18 anybody. This is a word that's not correct. I'm just              18    A. Only on Saturdays and Sundays they paid me
 19 saying that they spoke with her, but I'm not saying               19 cash.
 20 that they ever threatened her.                                    20    Q. And was it -- did you work on mostly Saturdays
 21       Q. Okay. You could have taken Exhibit 8 to your             21 or mostly on Sundays?
 22 lawyer before you signed it, couldn't you?                        22    A. Well, sometimes both days, sometimes just one
 23       A. I didn't bring them to them, because there are           23 of those days.
 24 three documents. This is one of three documents. The              24    Q. And so when you told me earlier that you would
 25 next one, I signed it to authorize the fact that I was            25 work three to four times per month, is that three to

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  1 four days per month or three to four weekends being              1 when they needed her she would also go on Saturday.
  2 both Saturday and Sunday?                                        2    Q. So when you worked Saturdays in 2013 -- strike
  3     A. Five or six days per month.                               3 that.
  4     Q. And those days might be Saturdays and Sundays?            4           When you worked Saturdays or Sundays in
  5     A. Yes.                                                      5 2013 where you were paid cash, you would have worked
  6     Q. And was this consistent throughout your time              6 with Angel, Ms. Patel, Ana, Fabiola, Amelia most
  7 at Shan Namkeen?                                                 7 likely.
  8     A. Yes.                                                      8    A. Yes, but not always. It wasn't always a sure
  9     Q. And so when you worked -- starting with 2013,             9 thing that we all were going to be there. Sometimes he
 10 when you worked weekend shifts, either Saturday or              10 might just call three people in. It depended on what
 11 Sunday in 2013, who were the employees that worked with         11 he wanted to produce.
 12 you?                                                            12    Q. Was there anyone else other than these people
 13     A. Well, it was Maritsa and Angel. Well, that's             13 that we just mentioned that worked with you on either a
 14 what we called her, Maritsa. It was Mr. Patel's wife.           14 Saturday or a Sunday?
 15 And Angel, my wife and I and Shailesh's brother.                15    A. Well, no, and I really don't remember, because
 16 Shailesh sometimes was with us, but it wasn't a sure            16 there were some people that would just come and work
 17 thing. Sometimes he would just come and load up and             17 for a week or two and then they'd leave and I don't
 18 then he would leave.                                            18 really remember them.
 19     Q. And so the typical group was Angel, correct?             19    Q. And are these the same people that worked with
 20     A. Yes.                                                     20 you in 2013 through 2015 on Saturdays and Sundays?
 21     Q. Ms. Patel?                                               21    A. A lot of them are not there any longer. For
 22     A. Yes.                                                     22 example, Amelia, she practically left when I started to
 23     Q. Ana, your wife?                                          23 work there.
 24     A. Yes.                                                     24    Q. With respect to -- strike that.
 25     Q. You?                                                     25           I don't understand how Amelia could have
                                                          Page 86                                                          Page 88
  1     A. Yes.                                                      1 left when you started to work, but she still worked
  2     Q. And who were the others that completed that               2 with you on the weekends. Can you explain that?
  3 shift?                                                           3    A. Well, when I started to work there she would
  4     A. Well, it was for sure us. Sometimes there                 4 go to work on Saturdays, but then shortly after I
  5 might be one other employee. But we would just do what           5 started to work there she stopped working there and
  6 we were able to do.                                              6 didn't go to work there any longer.
  7     Q. And who were the other employees that would               7    Q. And so were you able to run a shift with just
  8 help from time to time on these weekend shifts?                  8 you, Angel, Ms. Patel, Ana and Fabiola?
  9     A. Fabiola. Well, it would be mainly her.                    9    A. Yes, and Fabiola wasn't used that much. For
 10 Sometimes there would be some other people, but there           10 sure I would go, my wife and Angel.
 11 was a lot of turnover. Some would come and go.                  11    Q. And so Angel was always there when you guys
 12     Q. What about Amelia?                                       12 worked on the weekends?
 13     A. Amelia worked there for just a short period of           13    A. Yes, he was always there.
 14 time while I was there. When I started to work there            14    Q. And this is true from 2013 through 2015?
 15 Amelia left.                                                    15    A. It was the same thing always.
 16     Q. And she -- so she never worked on a weekend              16    Q. Now, when you went to work at Shan Namkeen,
 17 with you?                                                       17 did the employees that you worked with, did y'all
 18     A. Yes, she did arrive there.                               18 carpool together to work?
 19     Q. Did she ever work you on a weekend after you             19    A. No, different vehicles. Well, I had a vehicle
 20 started working there?                                          20 and Angel did.
 21     A. Yes.                                                     21    Q. Did anyone ride with you to and from work from
 22     Q. And she -- so every now and again she would              22 Shan Namkeen?
 23 still work a shift?                                             23    A. Fabiola always went with me.
 24     A. Well, she did work her shift from Monday to              24    Q. And is that true for when you worked on
 25 Thursday, Monday to Friday, Monday to Wednesday. And            25 Saturdays and Sundays?

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  1    A. Yes. Yes, she didn't drive. I always took                  1    Q. Other than the three times that you spoke with
  2 her.                                                             2 Mr. Patel regarding inconsistencies with your pay, did
  3    Q. When you worked on Saturdays and Sundays from              3 you talk with anyone at Shan Namkeen indicating that
  4 2013 to 2015, was your wife Ana always with you for              4 these check stubs or your payment was incorrect as
  5 those shifts?                                                    5 reflected in Exhibit 10?
  6    A. Yes.                                                       6    A. No.
  7    Q. Did you ever work on a weekend without Ana or              7    Q. And looking at Exhibit 10 in the bottom
  8 Angel?                                                           8 right-hand corner, which is PL Docs 30.
  9    A. Yes, but almost always with them.                          9           THE INTERPRETER: On the third page?
 10    Q. Do you know the dough recipe for the products             10           MR. MCCOMBER: 30.
 11 at Shan Namkeen?                                                11    Q. (BY MR. MCCOMBER) Do you see on this page of
 12    A. One part of it, but not all of it.                        12 Exhibit Number 10 that it's your pay period ending
 13    Q. So you would need someone to work with you                13 July 10th, 2015?
 14 whenever you ran a shift that would know how to mix the         14    A. It -- well, it was over in July, right?
 15 dough, correct?                                                 15    Q. Yeah, July 10th, 2015.
 16    A. Yes.                                                      16           THE INTERPRETER: The interpreter
 17           (Deposition Exhibit 9 marked.)                        17 misinterpreted. The interpreter said June and not
 18    Q. (BY MR. MCCOMBER) Now, I'm going to hand you              18 July.
 19 what has been marked Exhibit 9. Exhibit 9 is the time           19           MR. MCCOMBER: Thank you.
 20 employee -- strike that.                                        20    Q. (BY MR. MCCOMBER) Do you see that?
 21           Exhibit 9 is the employee time detail for             21    A. Yes, I see it.
 22 2015. And are these the documents that would print out          22    Q. Do you see where you're paid for five hours of
 23 from the computer that kept the time that you logged in         23 overtime on that check?
 24 and out of and that you would sign?                             24    A. Yes.
 25    A. Yes.                                                      25    Q. And you were paid time and a half for those
                                                          Page 90                                                           Page 92
  1    Q. And it's your signature on the pages of                    1 overtime hours?
  2 Exhibit 9?                                                       2    A. Yes.
  3    A. Yes.                                                       3           THE INTERPRETER: Interpreter comment.
  4    Q. And did you ever speak with someone -- you                 4 The interpreter wanted to see where that was so he
  5 indicated -- strike that.                                        5 could focus.
  6           You indicated earlier there were three                 6           MR. MCCOMBER: It's in the top right-hand
  7 occasions when you talked to Mr. Patel about your check          7 corner.
  8 being incorrect.                                                 8           THE INTERPRETER: Thank you.
  9    A. Yes.                                                       9    Q. (BY MR. MCCOMBER) And was this the time when
 10    Q. Do you know if it was during 2015 for any of              10 you said Mr. Patel was out of town?
 11 these records?                                                  11    A. Yes.
 12    A. Well, I don't remember if it was 2014 or 2015.            12    Q. And looking again at the next page, PL Docs
 13 It happened many times, but it didn't happen                    13 37, do you see on this page for the week ending July 17
 14 frequently.                                                     14 there was an advance of $300 on that check?
 15    Q. And in any event -- so other than those                   15    A. Perhaps that was one of the loans that he gave
 16 instances you never talked to Mr. Patel or anyone at            16 me.
 17 Shan Namkeen that these numbers in Exhibit 9 were               17    Q. And then year to date it looks at that point
 18 incorrect?                                                      18 in time you had received a loan of $950 as of that
 19    A. No.                                                       19 date. Do you see that?
 20           (Deposition Exhibit 10 marked.)                       20    A. Yes.
 21    Q. (BY MR. MCCOMBER) I'm going to hand you                   21    Q. And why are you making a distinction between
 22 what's been marked Exhibit 10. Does Exhibit 10 contain          22 an advance and a loan?
 23 the payment stubs you received with your paycheck in            23    A. Well, they weren't advances. What he would
 24 2015 from Shan Namkeen?                                         24 lend to me he would take out of my check every week.
 25    A. Yes.                                                      25 If I'm asking for a loan, then I don't have any extra

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  1 money to pay any advances.                                      1    Q. Did she threaten you physically?
  2    Q. Well, for example, I guess in my mind a loan              2    A. No, just verbally.
  3 means that you're borrowing money and paying interest,          3    Q. Did she use curse words to you?
  4 and an advance seems to be you're getting paid before           4    A. Well, not real bad, but yes.
  5 you actually work for time that you're going to work.           5    Q. What did she say?
  6    A. Yes.                                                      6    A. Well, the problem was -- well, it had to do
  7    Q. Now, earlier we talked about the loans or                 7 with a machine. And there was a new person working on
  8 advances you received from Shan Namkeen. My records             8 that machine. And so when you turn that machine on and
  9 reflect that in June -- strike that.                            9 before it warms up, the dough will stick to it. And so
 10            My records reflect that in January of               10 he didn't know what to do.
 11 2014 you were given a loan or advance of a thousand            11          And so I was on one side, she was on the
 12 dollars.                                                       12 other. And so she asked me why the machine was doing
 13    A. It was money that was lent.                              13 that, and I said, "I don't know. Well, you know." And
 14    Q. And what was the purpose of that thousand                14 so I said, "Well, you know what you're doing." And she
 15 dollar loan?                                                   15 goes -- so she said, "Okay. Well, if you don't know
 16    A. Well, my father at that time was sick and he             16 what this is about, then shut up and go do the work
 17 died, and so he was offering me some property to buy,          17 that you do know how to do." And so there was an exit
 18 and so that's the money that I used so I could have            18 door and when she told me that, well, I just decided to
 19 enough to buy that property.                                   19 leave.
 20    Q. And were you grateful that Mr. Patel and                 20    Q. Did this conversation happen in English?
 21 Mrs. Patel were willing to do that?                            21    A. No, she speaks a lot of Spanish.
 22    A. Yes.                                                     22    Q. So your testimony is she spoke to you in
 23    Q. And then in March 2014 it appears you borrowed           23 Spanish?
 24 another $1,400, and then in June another $100, and then        24    A. Well, she mixes up three languages, the Indian
 25 in October another $500. Do you agree with that?               25 language, English and Spanish, and, you know, you're
                                                         Page 94                                                          Page 96
  1    A. Yes.                                                      1 able to understand one of those words.
  2    Q. And then in January of 2015 you got another               2    Q. So the records in Exhibit 9 reflect your last
  3 $500 loan?                                                      3 day of work was October 9th, 2015.
  4    A. Yes.                                                      4    A. I think so, yes.
  5    Q. And then in May of 2015 you got another $1,200            5    Q. And you believe that's the right day?
  6 loan?                                                           6    A. Well, yes. Perhaps, yes.
  7    A. Yes.                                                      7    Q. Had you ever considered quitting before that
  8    Q. And then in September 2015 you got an advance             8 day?
  9 of another $200.                                                9    A. No.
 10    A. Yes.                                                     10    Q. So that one conversation caused you to give up
 11    Q. And what day did you decide that you were                11 a job that you've had for three years?
 12 going to quit coming back to work at Shan Namkeen?             12    A. Well, I was really tired. She had harassed me
 13    A. No, I always wanted to work there. I was                 13 many times before that and I was just fed up.
 14 happy working there. I liked it.                               14    Q. And in 2015 you had just asked for another
 15    Q. Then why did you quit?                                   15 loan of $400 seven days before that, on October 2nd,
 16    A. Well, I'm going to tell you one more time.               16 2015.
 17 The lady accosted me and I don't like to be accosted           17    A. I think so.
 18 and so I decided to leave.                                     18    Q. And so you prior to walking out and getting
 19    Q. You were accosted?                                       19 your last check still owed Shan Namkeen $500?
 20    A. Yes.                                                     20    A. Yes. I don't remember the amount, but I did
 21    Q. What does that mean?                                     21 owe him.
 22    A. Well, accosted me -- well, annoying me, using            22    Q. And then your last check was $240.11, which
 23 aggressive words.                                              23 went to that balance.
 24    Q. Did she touch you?                                       24    A. Yes.
 25    A. No.                                                      25    Q. And after the application of the hundred
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  1 dollar credit you received for signing Exhibit 8, Shan            1 were paid $10 an hour for the entirety of 2015?
  2 Namkeen's records show that you still owe them $159.89.           2    A. Yes.
  3     A. Perhaps so. And then that money was given to               3    Q. Is that correct?
  4 him through my wife's check.                                      4    A. Well, as far as they're paying me that, they
  5           MR. MCCOMBER: I'm going to object to the                5 paid me that. But I don't remember when they started
  6 nonresponsive part of that answer.                                6 to pay me that.
  7     Q. (BY MR. MCCOMBER) Your wife Ana also received              7    Q. Are you able to identify any week in 2015 that
  8 from her employer loans as well, correct?                         8 you believe you specifically worked over 40 hours, but
  9     A. Well, those loans were for both of us, and so              9 were not paid overtime?
 10 when we would ask for those loans, then sometimes they 10              A. Well, I don't really know exactly, but as far
 11 would take half of the money out of her pay and half of          11 as my having worked them -- those hours, I did work
 12 the money out of mine to pay back those loans.                   12 them.
 13     Q. Did you ever -- strike that.                              13    Q. But you can't tell me the specific week in
 14           As you sit here today, have you ever gone              14 2015 that you worked more than 40 hours, but were not
 15 back to see if all the money you were loaned has been            15 paid overtime, can you?
 16 paid back?                                                       16    A. No.
 17     A. Yes, and I had in my mind what I owed and then            17    Q. And you can't tell me a specific day in 2015
 18 I was told what was still owed. "Well, that was taken            18 that you believe you made a delivery and you were not
 19 out of your wife's check."                                       19 paid for that time, can you?
 20     Q. Who told you that?                                        20    A. No.
 21     A. My wife. She said, "Well, they took out of my             21    Q. And you can't tell me a specific day in 2015
 22 check what you still owed them."                                 22 when you believe you worked after you were clocked out
 23     Q. Do you know if that's true or not?                        23 at 4:00 o'clock and were unpaid for that time, can you?
 24     A. Yes, of course, I believe her.                            24    A. Yes.
 25     Q. But you haven't done anything on your own to              25    Q. And the same is true for 2014 and 2013?
                                                           Page 98                                                          Page 100
  1 confirm whether that is true or not.                              1    A. Yes.
  2    A. No. Well, my wife still ought to have a check               2          (Deposition Exhibit 13 marked.)
  3 stub.                                                             3    Q. (BY MR. MCCOMBER) I'm now going to hand you
  4           (Deposition Exhibit 11 marked.)                         4 what's marked Exhibit 13. Your last day of work was
  5    Q. (BY MR. MCCOMBER) I'm going to hand you                     5 October 9th, 2015.
  6 Exhibit 11. At the end of 2015 you received a W-2 from            6    A. Yes.
  7 Shan Namkeen, correct?                                            7    Q. And Exhibit 13 was the lawsuit you filed
  8    A. Yes.                                                        8 against my clients on October 19th, 2015. Do you see
  9    Q. Did you ever tell anyone at Shan Namkeen that               9 that?
 10 this was incorrect, because it did not include cash              10    A. Yes.
 11 payments you received working on Saturdays and Sundays?          11    Q. Did you read and approve of your lawyer filing
 12    A. No.                                                        12 Exhibit 13?
 13    Q. Do you know how much you made total in 2015                13    A. Yes.
 14 when you add in the cash payments?                               14    Q. Don't tell me what you said to your lawyer.
 15    A. I'm not sure.                                              15 My question is simply prior to October 9th, 2015, your
 16    Q. And you've never tried to make that                        16 last day at work, had you spoken with a lawyer at all
 17 calculation?                                                     17 about this case?
 18    A. No.                                                        18    A. No.
 19           (Deposition Exhibit 12 marked.)                        19    Q. Is it your testimony that the first day you
 20    Q. (BY MR. MCCOMBER) I'm going to hand you                    20 spoke with a lawyer was October 10th, 2015, the day
 21 what's been marked Exhibit 12. On Exhibit 12 this is             21 after you quit work?
 22 the payroll register for 2015, which shows the payments          22    A. Well, possibly. I don't remember exactly the
 23 made to you by Shan Namkeen. Do you see that?                    23 day. I did it as soon as possible. I think the first
 24    A. Yes.                                                       24 time I came here they were not here, but I did do it as
 25    Q. And you see how their records reflect that you             25 soon as possible after quitting here.

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  1    Q. And so you're referring to the law office                1    Q. And you signed it and told them to mail it?
  2 we're here at today?                                           2    A. No.
  3    A. Yes.                                                     3    Q. Why did you sign it when you know that that
  4    Q. And without telling me any communications you            4 means you agree to it?
  5 had with any lawyer, how did you get the name of this          5    A. Well, no -- well, no. These letters -- well,
  6 law firm to contact?                                           6 I don't know anything. I just signed them. Well, I
  7    A. Fabiola gave it to me.                                   7 signed them, but there are a lot of things about these
  8    Q. Did she say anything to you about using these            8 letters that don't really have to do with us. They
  9 lawyers?                                                       9 made them up. And they were the ones that signed it,
 10    A. No, she just gave me one of their business              10 my daughter, my brother-in-law. He and his brother
 11 cards.                                                        11 went to mail it.
 12    Q. Do you know where she got that?                         12    Q. You signed it, though, right?
 13    A. No.                                                     13    A. Yes.
 14    Q. Do you know if she ever hired the law firm for          14    Q. Explain to me why you keep sending things and
 15 anything?                                                     15 signing documents that say you don't want -- you don't
 16    A. Well, she had a friend that had had a similar           16 have any claims against my clients?
 17 case here and they represented him.                           17    A. Well, because he was talking with my daughter
 18    Q. Was it anything related to Shan Namkeen?                18 and my wife and my son-in-law and they were telling me
 19    A. Yes.                                                    19 to drop this.
 20    Q. Who was that friend?                                    20    Q. Why didn't you just drop it?
 21    A. I don't know. Fabiola just told me, but I               21    A. Well, I think my wife was convinced by him,
 22 don't know his name.                                          22 because she had a good friendship with him, and so I
 23    Q. But it was a male?                                      23 think that's why.
 24    A. Yes.                                                    24           MR. MCCOMBER: Objection, nonresponsive.
 25    Q. Have you ever talked to that person?                    25    Q. (BY MR. MCCOMBER) Why didn't you just drop
                                                      Page 102                                                            Page 104
  1    A. No, I've just seen him one time and I just saw           1 the case if that's what you wanted to do in Exhibit 14?
  2 him. I don't even know who he is.                              2    A. Well, I didn't do it.
  3            (Deposition Exhibit 14 marked.)                     3    Q. And you're telling your lawyer in Exhibit 14
  4    Q. (BY MR. MCCOMBER) I'm going to hand you                  4 to drop this case, that you don't want to file it.
  5 Exhibit 14. Is that your signature on Exhibit 14?              5    A. Well, I didn't tell them that, I just brought
  6    A. Yes.                                                     6 the proof of the things that they gave me.
  7    Q. And that's a letter dated February 5th, 2016             7    Q. And you also put in this letter that you
  8 to your attorney?                                              8 thought about the case and realized that you were paid
  9    A. Yes.                                                     9 in full and weren't owed any money, right?
 10    Q. And this letter was also sent to Shan Namkeen,          10    A. No.
 11 correct?                                                      11    Q. So your signature doesn't mean anything?
 12    A. To whom did I send it?                                  12    A. It's just my signature.
 13    Q. To Shan Namkeen. Look at the second page.               13    Q. I told you earlier that when you sign
 14    A. Well, I didn't send it to him.                          14 something in Texas it means you understand it and you
 15    Q. Did you put this letter in the mailbox,                 15 agree to it. And you agreed with that.
 16 Exhibit 14?                                                   16    A. Yes.
 17    A. He put it in there.                                     17    Q. And you agree with that, right?
 18            MR. MCCOMBER: I'm going to object as               18    A. Well, that I signed it, yes, but I'm not in
 19 nonresponsive, move to strike.                                19 agreement that I made out this letter.
 20    Q. (BY MR. MCCOMBER) Did you put Exhibit 14 in             20    Q. But that language was already in the letter
 21 the mailbox?                                                  21 before you signed it, wasn't it?
 22    A. No.                                                     22    A. Yes.
 23    Q. Who did you give it to after you signed it?             23    Q. And you had your son-in-law there if you had
 24    A. To my daughter and to my son-in-law and also            24 any questions about what that letter said, didn't you?
 25 to my wife.                                                   25    A. Well, he read to me what was on there and I
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  1 signed it.                                                       1    A. I don't know.
  2    Q. Do you know who dropped it in the mailbox?                 2    Q. Can you read that number on Exhibit 15?
  3    A. Well, it was the four of them, my daughter, my             3    A. Yes, but this is her paperwork, not mine. I
  4 son-in-law, he and his brother.                                  4 don't have any reason to be going into her paperwork.
  5    Q. Well, if your whole family doesn't want you                5    Q. Well, sir, then why did you produce that as
  6 filing this lawsuit because they think you were paid             6 part of this lawsuit?
  7 everything you were entitled to get from Shan Namkeen,           7    A. This?
  8 why do you feel differently?                                     8    Q. Yes.
  9            MR. PETERSEN: Objection, misstates the                9    A. Well, perhaps it was among my papers, but I
 10 record. You can answer.                                         10 don't have any reason to have done that.
 11    A. Well, after seeing all of this, I saw that it             11    Q. Do you have any reason as you sit here
 12 wasn't correct.                                                 12 today -- strike that.
 13    Q. (BY MR. MCCOMBER) What are you referring to?              13           Do you have any reason as you sit here
 14    A. After seeing all of this paperwork. That's                14 today to dispute that your wife was paid $15,080 in
 15 why I went to them to see if they could help me.                15 2015 from S-2 Brothers?
 16    Q. Well, what you told me today is we looked                 16    A. No.
 17 through all the paperwork on this table and nothing in          17    Q. Looking at Exhibit 16, is this the 2015
 18 there supports the fact that you worked on any day,             18 W-2 you received from Johnston Temporary Services?
 19 either Saturday or Sunday.                                      19    A. I think so.
 20    A. Yes.                                                      20    Q. And they paid you $1,092.95?
 21    Q. Do you have any document that you looked at               21    A. Yes.
 22 that convinced you that you're owed money from                  22    Q. And so looking at Exhibit 11, 15 and 16, the
 23 Shan Namkeen?                                                   23 total amount of money reflected paid to you and your
 24    A. No.                                                       24 wife in 2015 is $29,708.
 25            (Deposition Exhibits 15-16 marked.)                  25    A. Well, yes, there it is.
                                                        Page 106                                                           Page 108
  1    Q. (BY MR. MCCOMBER) I'm going to hand you                    1    Q. And do you have any reason to dispute that's
  2 Exhibit 15 and Exhibit 16.                                       2 what the W-2 income you and your wife received for
  3            MR. MCCOMBER: And then do you have                    3 2015?
  4 Exhibit 11?                                                      4    A. No.
  5            THE INTERPRETER: Yes.                                 5    Q. And that amount does not include any cash
  6    Q. (BY MR. MCCOMBER) So Exhibit 11 is your W-2                6 payments made to either you or your wife from Shan
  7 from Shan Namkeen for 2015, correct?                             7 Namkeen, does it?
  8            THE INTERPRETER: The year again,                      8    A. No, it doesn't.
  9 Counsel?                                                         9           (Deposition Exhibit 17 marked.)
 10            MR. MCCOMBER: 2015.                                  10    Q. (BY MR. MCCOMBER) I'm now going to hand you
 11    A. Yes.                                                      11 Exhibit 17. Is Exhibit 17 the 2015 income tax return
 12    Q. (BY MR. MCCOMBER) And that year from Shan                 12 you produced in this lawsuit?
 13 Namkeen, they reported your income as $13,535, correct?         13    A. Yes.
 14    A. Yes.                                                      14    Q. And have you ever spoken with these tax
 15    Q. Which did not include any cash payments,                  15 preparers at Garcia & King?
 16 correct?                                                        16    A. Only about my taxes.
 17    A. No, it didn't.                                            17    Q. Now, looking at the second paragraph of
 18    Q. And then if you look at Exhibit Number 15,                18 Exhibit 17, the first page, it says, "We will prepare
 19 this is the W-2 for your wife's employment at                   19 your 2015 federal and state income tax returns. We
 20 S-2 Brothers, correct?                                          20 will depend on you to provide the information we need
 21    A. I don't know. I don't know about her. I know              21 to prepare a complete and accurate return." So your
 22 about mine.                                                     22 tax preparer is relying on you to provide them with
 23    Q. Well, do you agree with me that Exhibit 15,               23 accurate information, correct?
 24 which was produced by you in this lawsuit, shows that           24    A. Yes.
 25 she was paid $15,080 by S-2 Brothers in 2015?                   25    Q. Now, if you'll look on Exhibit 17 at the
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  1 bottom right-hand corner at PL Docs 56. Do you see                1      A. No.
  2 that it says Chase Bank at the top of this page?                  2      Q. What other income did you not report in 2015
  3           THE INTERPRETER: Counsel?                               3   to the IRS?
  4           MR. MCCOMBER: Right there.                              4      A. Just those. I don't have any more businesses.
  5    A. Yes.                                                        5            (Deposition Exhibits 18-19 marked.)
  6    Q. (BY MR. MCCOMBER) Is that the same Chase Bank               6      Q. (BY MR. MCCOMBER) I'm going to hand you
  7 account you've had for the last ten years?                        7   Exhibit 18 and 19. And Exhibit 18 is you and your
  8    A. Yes.                                                        8   wife's 2014 tax return, correct?
  9    Q. And you received a deposit of $926 as a tax                 9      A. Yes.
 10 refund for the year 2015, correct?                               10      Q. And I presume that in 2014 you did not report
 11    A. Yes.                                                       11   any cash income to the IRS for that year either, did
 12    Q. And looking ahead to PL Docs 57 of Exhibit                 12   you?
 13 17 -- and you understand this document was going to the          13      A. No, I didn't.
 14 IRS, correct?                                                    14      Q. But you signed Exhibit 18 under penalty of
 15    A. Yes.                                                       15   perjury?
 16    Q. And it says under part two of this page,                   16      A. Yes.
 17 "Under penalties of perjury, I declare that I have               17      Q. And then Exhibit 19, you and your wife did not
 18 examined a copy of my electronic individual income tax           18   report any cash income that year for 2013 either, did
 19 return and accompanying schedules and statements for             19   you?
 20 the tax year ending December 31st, 2015. And to the              20      A. No.
 21 best of my knowledge and belief it is true, correct and          21      Q. But you also signed Exhibit 19 under penalty
 22 complete."                                                       22   of perjury, correct?
 23    A. Yes.                                                       23      A. Yes.
 24    Q. And you understand that your tax professional,             24            MR. PETERSEN: And, Counsel, was there
 25 Garcia & King, signed this tax return on behalf of you           25   supposed to be an extra copy of Exhibit 19?
                                                         Page 110                                                            Page 112
  1 and your wife under penalty of perjury.                           1               MR. MCCOMBER: It's under there as well.
  2    A. Well, yes, and I signed what we filled out.                 2 Sorry, they're sticking together.
  3    Q. And you received a tax refund based on what                 3               MR. PETERSEN: That's fine. I just
  4 you filled out and submitted and signed.                          4 wanted to make sure that the documents were correct.
  5    A. Yes, and they told me what I was going to                   5               (Pause.)
  6 receive and what they would be depositing.                        6               MR. MCCOMBER: Why don't we go ahead and
  7    Q. And then looking at page PL Docs 58 of Exhibit              7 take a five-minute break and just stretch our legs a
  8 17, this is the page where you report your income for             8 little bit.
  9 the year 2015. Do you see that?                                   9               (Recess taken.)
 10    A. Yes.                                                       10     Q. (BY MR. MCCOMBER) Mr. Rodriguez, before we
 11    Q. And you and your wife's income as reported was             11 took a break we were talking about a few things, but I
 12 $29,708. Do you see that?                                        12 want to follow-up on something that we talked about a
 13    A. Yes.                                                       13 little earlier. You indicated earlier that you had
 14    Q. You didn't report any cash income you received             14 sent a letter that you wanted to drop the case against
 15 from Shan Namkeen that you're saying you received as             15 my clients, and then you looked at some paperwork and
 16 part of this lawsuit.                                            16 decided you still wanted to go forward with this
 17    A. No, I didn't.                                              17 lawsuit. What was that paperwork?
 18    Q. And you knew you received that money, didn't               18     A. Well, no, I didn't send anything.
 19 you, in 2015?                                                    19     Q. What paperwork did you look at?
 20    A. Yes.                                                       20     A. Well, the letters that you were showing me.
 21    Q. And you didn't disclose it to the IRS?                     21 That letter that you said that I put in the mailbox.
 22    A. No.                                                        22     Q. That's what changed your mind about filing
 23    Q. Did you disclose any of the income your wife               23 this lawsuit?
 24 makes on her business of cleaning houses on the side             24     A. Well, the lawsuit was already filed when those
 25 either?                                                          25 letters appeared.

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  1     Q. What is it that made you want to continue --            1    A. It's called Maria La Imaculada La Catolica.
  2 what -- strike that.                                           2    Q. This is a Catholic church?
  3            What document did you look at that                  3    A. Yes.
  4 convinced you that you wanted to continue with this            4    Q. Were you raised Catholic?
  5 lawsuit?                                                       5    A. Yes.
  6     A. The three documents that they made for me.              6    Q. How long have you been a member of this
  7     Q. So there's nothing that you have that                   7 church?
  8 convinced you to continue with the lawsuit?                    8    A. Well, since I came here and I've been here for
  9     A. No.                                                     9 ten years. I'm not really a member, I just visit.
 10     Q. Now, when you work a shift, you indicated              10    Q. Which mass do you typically attend?
 11 Monday through Friday the shift starts at around              11    A. At 6:30 in the evening on Sundays.
 12 7:00 a.m. and ends around 4:00 p.m.; is that correct?         12    Q. You indicated several times during your
 13     A. Well, it starts at 7:30 until 4:00.                    13 testimony -- you talked about Shirish Patel. Do you
 14     Q. Is that the same -- strike that.                       14 remember that?
 15            Are the same hours done on Saturday and            15    A. Yes, I remember him.
 16 Sunday?                                                       16    Q. Tell me about -- do you have any instances
 17     A. Well, sometimes it would be the same time, but         17 where you feel like you were mistreated by him?
 18 sometimes later.                                              18    A. No.
 19     Q. What was the usual time for a Saturday or              19    Q. What about Shailesh?
 20 Sunday shift?                                                 20    A. No.
 21     A. Well, we would start at 8:00 or 9:00 in the            21    Q. Anyone mistreat you at all other than what
 22 morning and work until we finished doing everything we 22 you've described today while you worked at
 23 needed done, but we didn't usually go past 4:00.              23 Shan Namkeen?
 24     Q. And this is true from 2013 through 2015?               24    A. No. Well, Shailesh and his brother are very
 25     A. Yes.                                                   25 nice people. The wife, well, maybe she was very tense,
                                                       Page 114                                                           Page 116
  1      Q. Prior to your deposition today, did you meet           1 having to deal with work, so she harassed me at work.
  2   with anyone about preparing for your deposition?             2 She used aggressive words with me.
  3      A. No.                                                    3    Q. Aggressive words. What are examples of that?
  4      Q. You never met with your lawyers at all?                4    A. Well, she was very mad and she would be
  5      A. No. Well, I did come early. I came an hour             5 annoyed and she would talk to me in a very annoyed way.
  6   early and I was talking with them.                           6 I'm not going to say that really she used bad, bad
  7      Q. Did you do anything else to prepare for your           7 words.
  8   deposition other than that?                                  8    Q. Have you worked for tougher employers than
  9      A. No.                                                    9 that?
 10      Q. Did you bring any documents with you today?           10    A. Well, some companies have been better and the
 11      A. No.                                                   11 people there are more patient and they use better words
 12      Q. Do you have a phone?                                  12 when they're asking you to do this or that.
 13      A. Yes.                                                  13           MR. MCCOMBER: I'm going to object as
 14      Q. Do you send text messages?                            14 nonresponsive.
 15      A. No.                                                   15    Q. (BY MR. MCCOMBER) My question was really,
 16      Q. Do you send e-mails?                                  16 have you worked for a tougher boss than Ms. Patel?
 17      A. No.                                                   17    A. No.
 18      Q. You've never sent a text message?                     18    Q. Well, consider yourself lucky. Any other
 19      A. No.                                                   19 specific instance where you can tell me about when
 20      Q. Are you a religious man?                              20 Ms. Patel was aggressive with you in any way?
 21      A. Yes.                                                  21    A. No, and if I saw her outside of work she
 22      Q. Do you go to church on Sunday?                        22 always treated me well. It was just at work she was
 23      A. Yes. Yes, I do. Not every Sunday, because I           23 very tense and maybe that was why.
 24   do have a job on the weekends.                              24    Q. Who had the power to hire you or fire you at
 25      Q. What church do you go to?                             25 Shan Namkeen?

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  1    A. Well, he hired me. But she was like the                  1 paragraph?
  2 manager there and she was the one that gave us orders          2    A. Well, this isn't what I delivered, this is
  3 and instructions and she was in charge there.                  3 what I would take from the company to the laundromat.
  4    Q. Did Ms. Patel have any role in your pay?                 4 I left at 4:00 and then I would arrive over here at
  5    A. No.                                                      5 5:00 and then I still had to unload all of that at the
  6    Q. Did you ever deal with any payment issues with           6 laundromat. And so then what my wife had packaged up
  7 anyone except for Mr. Patel?                                   7 the day before, then in the morning I had to load that
  8    A. No.                                                      8 up, and I had to put that in there and then take it
  9    Q. So you never had any payment -- so Shirish               9 over there and that was during the time that I wasn't
 10 Patel didn't have anything to do with your pay?               10 clocking in.
 11    A. Well, he and his brother dealt with the                 11    Q. Well, Shan Namkeen has no record of you
 12 payments. And so when I talked with him, he just said         12 working that period of time at the company. Do you
 13 that I had to wait to talk with him.                          13 have any evidence that you worked there during that
 14    Q. So the person who had the final decision was            14 period of time?
 15 Shailesh on your pay, correct?                                15    A. Well, my wife knows about it because she was
 16    A. Yes.                                                    16 the one that packed everything up and then I was the
 17    Q. Did Shirish have any other role with your               17 one that took it over there.
 18 employment? Did he supervise you in any way?                  18    Q. What exactly -- tell me where you say your
 19    A. Well, he also gave me orders.                           19 wife was. What address was your wife at?
 20    Q. How often was that?                                     20    A. I don't know the exact address, but it's Coin
 21    A. Not very often. Well, he always remained                21 Laundry on Josey Lane.
 22 peaceful and he never annoyed me.                             22    Q. Which was near your home, correct?
 23    Q. And you always understood that Shailesh had             23    A. Yes, it's very close.
 24 the final say in decisions regarding your employment,         24    Q. So three hours a week, how many trips was that
 25 correct?                                                      25 back and forth between the Coin Laundry and
                                                       Page 118                                                           Page 120
  1    A. Well, yes.                                               1 Shan Namkeen?
  2             (Deposition Exhibit 20 marked.)                    2    A. Well, I always went to work there. If I
  3    Q. (BY MR. MCCOMBER) I'm going to hand you                  3 worked three or four days, I was always taking that.
  4 Exhibit 20. Exhibit 20 is the amended complaint you            4    Q. But you can't tell me what specific day you
  5 filed in this lawsuit on January 23rd, 2017. Do you            5 did this, can you?
  6 see that?                                                      6    A. Well, on the days where I clocked in, because
  7    A. Yes.                                                     7 all of the days I clocked in I was bringing things from
  8    Q. Did you review Exhibit 20 and approve of it to           8 over there.
  9 be filed?                                                      9    Q. So you're claiming -- well, you didn't clock
 10    A. Yes.                                                    10 in any day between June and August 25th.
 11    Q. Did you read it yourself or have someone read           11    A. June, no. Not of 2013.
 12 it with you?                                                  12    Q. You didn't clock in until August of 2013.
 13    A. Well, they read it to me themselves. Well,              13    A. Not until December of 2014. Because that's
 14 the lady who is here.                                         14 why I asked him why he wasn't paying me by check. And
 15    Q. Someone helped read it with you?                        15 so he said, okay. And that's when I filled out these
 16    A. Yes.                                                    16 documents, because there weren't even any documents
 17    Q. I'm going to ask you a few questions about              17 that had been filled out.
 18 your allegations here. Looking at page 8 of Exhibit           18    Q. Do you have those documents?
 19 20, on paragraph 20 it says, "From on or about June           19    A. No, because I just filled out -- well, you
 20 15th, 2013 through on or about August 25th, 2013,             20 know, like that application and then they kept that,
 21 plaintiff Dimas Rodriguez worked an average of three          21 and then with that, then they made out my check.
 22 completely unpaid hours per week delivering goods for         22    Q. So from June 15th, 2013 to August 25th, 2013,
 23 the defendants." Is that a true statement?                    23 what days did you make deliveries back and forth
 24    A. Yes.                                                    24 between the Coin Laundry?
 25    Q. What -- what are you talking about in that              25    A. Every day that I went to work there. If I

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  1 didn't go to work, then I didn't do it.                        1 truck, so I would leave her off there and then she'd
  2    Q. So your testimony is every day you worked you            2 get her truck and go on home.
  3 picked up product at the Coin Laundry and drove it to          3    Q. Was there ever days when you did not bring
  4 Shan Namkeen?                                                  4 some product from Shan Namkeen to the coin operated
  5    A. Yes. Well, I would pick it up over there,                5 laundry after work?
  6 they would produce it. And I would take it over to the         6    A. Well, there were very few days that I didn't
  7 Coin Laundry where my wife worked, because then she            7 take something there. In fact, really most of the time
  8 would pack it into the correct bags. And then in the           8 I did.
  9 morning I would go and pick up the boxes that have             9    Q. Are you testifying today under oath that every
 10 already been packed and then I would take them to the         10 time you worked at Shan Namkeen that that shift ended
 11 workplace in Garland at that company.                         11 and you took product to the Coin Laundry?
 12    Q. So you picked up fully packaged product in the          12    A. Well, there were some days that I had to leave
 13 morning and drove that to Shan Namkeen?                       13 early, like maybe 1:00 or 2:00, because I had things to
 14    A. Yes.                                                    14 do, and then on that day I didn't bring anything.
 15    Q. And at night you took unpackaged product from           15    Q. Did you leave any product -- when you left --
 16 Shan Namkeen to the Coin Laundry to be packaged into          16 strike that.
 17 bags.                                                         17            When you picked up product at the coin
 18    A. Not at night, it was when I would clock out at          18 operated laundry in the morning on the way to work, did
 19 4:00 o'clock. Well, I didn't make any special trips,          19 you take all the product that was there and bring it to
 20 it was only after I would finish working and he would         20 Shan Namkeen?
 21 say, well, take three or four or two or one box.              21    A. What was packaged, yes. Sometimes I didn't,
 22    Q. And you would leave work around 4:00 o'clock            22 because it wouldn't fit into my van, because there was
 23 p.m., correct, at Shan Namkeen?                               23 a lot there and it wouldn't fit.
 24    A. Yes, it was 4:00 o'clock.                               24    Q. But did you take the majority of the product
 25    Q. And how long did it take you to get to the              25 at the Coin Laundry back to Shan Namkeen?
                                                       Page 122                                                          Page 124
  1 Coin Laundry?                                                  1    A. Yes.
  2    A. An hour, sometimes more, sometimes less. It              2    Q. And most of the time you would take all the
  3 would depend on traffic.                                       3 product that was there unless it wouldn't fit in your
  4    Q. Did anyone at Shan Namkeen ever tell you a               4 van?
  5 certain time that you had to be at the Coin Laundry?           5    A. Well, no, sometimes I had to take those tubs
  6    A. No. Well, no, and I could get there late                 6 that were empty and I'd take them over there so they
  7 because it was open.                                           7 could put more product into them.
  8    Q. And you could run errands in between --                  8    Q. Who at the coin operated laundry packaged this
  9 personal errands on the way home before you stopped            9 material you brought to them?
 10 there too, correct?                                           10    A. My wife.
 11    A. Yes. Well, but I couldn't really take many              11    Q. So it's your testimony that your wife sometime
 12 people there or many things there in the van with me,         12 after 4:00 o'clock in the afternoon would package this
 13 because -- well, it smelled a lot like oil in the van.        13 product for Shan Namkeen that you brought and that you
 14    Q. And you testified earlier that someone was              14 would take it back the next morning to Shan Namkeen?
 15 always with you that you were driving home with, right?       15    A. No, what I took to her that day, then she
 16    A. Yes.                                                    16 would package another day. I was taking things that I
 17    Q. Who was that person?                                    17 had taken the day before, so I would take something to
 18    A. Fabiola.                                                18 her and then -- two days later, and then I would take
 19    Q. Did Fabiola go with you to the Coin Laundry?            19 that back.
 20    A. Yes.                                                    20    Q. I feel like your story keeps changing as we
 21    Q. Every time you worked?                                  21 ask about it, so I'm going to ask you a few more
 22    A. Yes. Yes, because I gave her a ride.                    22 questions. What time during the day did your wife Ana
 23    Q. And you dropped her off at home afterward?              23 package this material you brought to the coin operated
 24    A. Well, there was a supermarket called El Rancho          24 laundry?
 25 near my house and that's where she would leave her            25    A. Okay. Well, her work was working in the

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  1 laundry. She would start work at 7:00 in the morning.             1 average straight time rate of $5 per hour and was
  2 So she had to maintain those two jobs. She had to                 2 required to work off the clock an average of eight
  3 maintain the laundry clean, attend to the customers and           3 hours per day on an average of three Saturdays or
  4 then also work on the product. They wanted to keep her            4 Sundays per month for which he was always paid in cash
  5 busy.                                                             5 at a straight time rate of $5 per hour only."
  6    Q. And so --                                                   6     A. Yes.
  7           MR. MCCOMBER: Objection, nonresponsive.                 7     Q. That's true?
  8    Q. (BY MR. MCCOMBER) What time during the day                  8     A. Yes.
  9 did she package this material?                                    9     Q. Well, you told me earlier that sometimes you
 10    A. Well, she didn't have a specific time, she                 10 got paid $5 per hour, sometimes six, sometimes seven.
 11 could sit down and do it for 15 minutes and then she             11     A. Well, here, you know, it's kind of like you're
 12 had to go attend to a customer, and then she could go            12 trying to confuse me. I didn't really tally up or keep
 13 back to that, but then a customer might call her. So             13 a count of what they were paying me. I would just
 14 she would just do it during the day.                             14 receive my pay in cash. I didn't know if it was five,
 15    Q. How is that possible when she would have to go             15 six or $7 per hour. I would just receive my $40 for my
 16 to a separate room in order to package that material?            16 eight hours of work.
 17    A. It wasn't a separate room. There was a little              17     Q. Do you know whether from June 15th, 2013 to
 18 window there. It was just this wall that divided her             18 August 25th, 2013 you were ever paid more than $5 per
 19 from the customers and there was a little camera in              19 hour?
 20 there.                                                           20     A. No.
 21    Q. There's no door to get into that room from                 21     Q. You don't know what you were paid that period
 22 inside the laundromat, is there?                                 22 of time, do you?
 23    A. Yes, there's one just like this to go into                 23     A. Well, what I do know is that they -- that I
 24 that room.                                                       24 was given the $40.
 25    Q. So you can go directly from the laundromat                 25     Q. Only $40 for eight hours during that period of
                                                       Page 126                                                               Page 128
  1 inside the laundromat to that room?                               1 time.
  2    A. Yes, you would just go through that door and                2     A. Yes.
  3 then go into that room where she was packing.                     3     Q. Page 9 of Exhibit 20, paragraph 23. You say,
  4    Q. And you're as sure about that as all your                   4 "From on or about August 26th, 2013 through on or about
  5 testimony today?                                                  5 October 9th, 2015 claimant Dimas Rodriguez was paid an
  6    A. Of course, I know that laundromat very well                 6 average straight time rate of $9 per hour, but was
  7 for all the time that my wife worked there. In fact, I            7 required to work off the clock an average of eight
  8 would go sometimes and help her do the packing.                   8 hours per day on an average of three Saturdays or
  9    Q. All right. Let's look back at Exhibit 20,                   9 Sundays per month for which he was always paid in cash
 10 page 8. And exhibit -- on that page it says, "From on            10 at a straight time rate only." So you were actually
 11 or about August 26th, 2013 through on or about October           11 paid $9 an hour during that period of time, aren't you?
 12 9th, 2015 plaintiff Dimas Rodriguez was paid an average          12     A. Well --
 13 straight time rate of $9 per hour, but worked an                 13             MR. PETERSEN: Objection, misstates the
 14 average of three completely unpaid hours delivering              14 record. You can answer.
 15 goods for defendants." Is that a true statement?                 15     A. Well, yes, and then, you know, they gave me
 16    A. Well, this word delivering is a little                     16 that raise. It was $9 and then after that $10 during
 17 misleading. It sounds as if I was delivering the                 17 that time.
 18 product to the restaurants.                                      18     Q. (BY MR. MCCOMBER) So on the days you worked
 19    Q. And you're referring here to the fact that you             19 on Saturdays or Sundays you were paid at least $9 an
 20 claim you were taking product from Shan Namkeen to the           20 hour, although in cash, right?
 21 Coin Laundry and back, right?                                    21     A. I just received the money that I was given,
 22    A. Yes.                                                       22 50 or $60. I don't know if that was $9 per hour or
 23    Q. Looking at paragraph number 22 it says, "From              23 not.
 24 on or about June 15th, 2013 through on or about August           24     Q. Well, that's what you put in this document,
 25 25th, 2013 plaintiff Dimas Rodriguez was paid an                 25 isn't it?

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  1    A. Well, yes.                                                   1 move to strike.
  2    Q. And that's what you approved your lawyer to                  2    Q. (BY MR. MCCOMBER) Was she working with you at
  3 file in this case, didn't you?                                     3 Shan Namkeen after 4:00 o'clock p.m.?
  4    A. Yes.                                                         4    A. No.
  5    Q. So do you want to change your story now or                   5    Q. So she quit working and you kept working?
  6 not?                                                               6    A. You mean working there at the company?
  7    A. No, it's okay like that.                                     7    Q. Yes.
  8    Q. So 2013 to 2015 when you worked on the                       8    A. Or when we would be coming to them to unload
  9 weekends you got paid at least $9 an hour, right?                  9 the product at the Coin Laundry?
 10           MR. PETERSEN: Same objection. You can                   10    Q. Well, you testified you continued to work 45
 11 answer.                                                           11 minutes after you clocked out at Shan Namkeen. Was
 12    A. Well, yes. Yes.                                             12 anyone else working with you?
 13    Q. (BY MR. MCCOMBER) Paragraph 24 you say, "From               13    A. No, she was just with me.
 14 on or about August 26th through on or about October               14    Q. Did she witness you working after you were
 15 9th, 2015 plaintiff Dimas Rodriguez continued to work             15 clocked out?
 16 an average of 45 minutes of completely unpaid time per            16    A. Well, she clocked out at the same time I did.
 17 week in defendant's facility after he was clocked out             17            MR. MCCOMBER: Objection, nonresponsive,
 18 by defendants."                                                   18 move to strike.
 19    A. Yes.                                                        19    Q. (BY MR. MCCOMBER) Did she witness you working
 20    Q. But you testified earlier that you thought you              20 after you were clocked out?
 21 were getting paid for all the time you were working at            21    A. Yes.
 22 Shan Namkeen correctly, though, didn't you?                       22    Q. And so when I take her deposition she's going
 23    A. Exactly. And what's here is correct.                        23 to agree with you?
 24 Everything that was clocked in and out is correct. I'm            24    A. I think so. I don't know if she wants to do
 25 not arguing that.                                                 25 it, but she was with me.
                                                           Page 130                                                           Page 132
  1    Q. Well, were you clocking out at 4:00 o'clock to               1       Q. And then -- so you worked for 45 additional
  2 drive to the Coin Laundry or were you hanging around               2 minutes and then you claim you drove to the coin
  3 until almost 5:00 o'clock at Shan Namkeen?                         3 operated laundry?
  4    A. No. No, I would clock out at 4:00 o'clock and                4       A. I didn't work. I clocked out and then I would
  5 after that they didn't pay me.                                     5 load up that product, and then I was just talking about
  6    Q. Did you leave or did you stay there after                    6 how long it would take me to get to the Coin Laundry.
  7 4:00 o'clock at Shan Namkeen?                                      7       Q. So the 45 minutes of being unpaid is the
  8    A. Well, while I was loading up the -- I would                  8 amount of time it took you to go to the Coin Laundry?
  9 load the things into the van and then I would come.                9       A. Yes.
 10    Q. And how long did you say the trip was from                  10       Q. And so when you -- you're actually saying the
 11 Shan Namkeen to the Coin Laundry?                                 11 same thing in paragraphs -- the delivery paragraph as
 12    A. Well, as I said before, it would depend on the              12 you're saying in this paragraph. That's the same
 13 traffic. Sometimes it was less than an hour, sometimes            13 amount of time you're trying to talk about there, isn't
 14 it was an hour, sometimes it was more.                            14 it?
 15    Q. Who was working with you after 4:00 o'clock                 15       A. Yes.
 16 after you were clocked out?                                       16       Q. So the 45 minutes of time you claim you spent
 17    A. No, I just came driving and Fabiola would be                17 working after you clocked out refers to when you're
 18 with me. She would help me to unload them there at the 18 taking the product from Shan Namkeen to the coin
 19 laundromat.                                                       19 operated laundry?
 20    Q. So is it your testimony she also was at work                20       A. Yes.
 21 for 45 minutes after 4:00 o'clock with you?                       21       Q. Now, let's look at paragraph 25 of Exhibit 20.
 22    A. Well, she was with me. She wasn't driving,                  22 It says, "Defendants willfully and intentionally
 23 she was with me as I was driving and we came directly             23 refused to pay plaintiff's overtime wages as required
 24 from work to where we unloaded the product.                       24 by the Fair Labor Standards Act." Now, you indicated
 25           MR. MCCOMBER: Objection, nonresponsive,                 25 earlier that you never asked them to pay you overtime,

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  1 did you?                                                        1           THE INTERPRETER: And the interpreter is
  2    A. Yes, that's correct.                                      2 getting clarification.
  3    Q. So they never refused a request by you to be              3    A. Well, he worked in one warehouse and I worked
  4 paid overtime, did they?                                        4 in the other and there was a fence or wall that divided
  5    A. No.                                                       5 us.
  6    Q. And you don't think the defendants                        6           (Deposition Exhibit 21 marked.)
  7 intentionally tried to withhold money from you, do you?         7    Q. (BY MR. MCCOMBER) I'm going to hand you
  8    A. No.                                                       8 Exhibit 21. Exhibit 21 is a document served by your
  9    Q. Defendants didn't do anything intentionally to            9 lawyers in this case. And looking at Exhibit A to
 10 prevent you from getting paid, did they?                       10 Exhibit 21, it talks about your damages in this case.
 11    A. No.                                                      11 Looking at the first portion it says, "Overtime damages
 12            MR. PETERSEN: And objection, misstates              12 for Dimas Rodriguez." It says, "Completely unpaid
 13 the record. You can answer.                                    13 hours during the period of June 15th, 2013 through
 14            MR. MCCOMBER: Object to the sidebar.                14 October 15th, 2013." It says "$185.13." Do you know
 15    Q. (BY MR. MCCOMBER) So you're claiming in this             15 if that's true or not?
 16 lawsuit you have not been paid certain amounts in 2013,        16    A. No.
 17 '14 and '15, correct?                                          17    Q. You didn't calculate that number, did you?
 18    A. Yes.                                                     18    A. No.
 19    Q. But you haven't calculated what you think                19    Q. Look at the next section that says, "Weekend
 20 those amounts are, have you?                                   20 hours paid at straight time only during period June
 21    A. No.                                                      21 15th, 2013 through October 15th, 2013." And it says
 22    Q. And you never deposited any of the money that            22 "$348.48." Do you see that?
 23 you were given in cash into your bank account?                 23    A. Yes.
 24    A. No.                                                      24    Q. Do you know if that's true or not?
 25    Q. Did any other employee ever complain to you at           25    A. No.
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  1 Shan Namkeen that they were not being paid for time             1    Q. And you didn't calculate that, did you?
  2 that they were working off the clock?                           2    A. No.
  3    A. No.                                                       3    Q. The next one says, "Completely unpaid hours
  4    Q. Were any other employees of Shan Namkeen doing            4 during the period October 16th, 2013 through October
  5 deliveries other than Mr. Patel?                                5 9th, 2015." And that number is $1,390.50. Do you see
  6    A. No, sometimes his brother.                                6 that?
  7    Q. Did Angel do any deliveries?                              7    A. Yes.
  8    A. Yes, he also did them, but I don't know where.            8    Q. Do you know if that's a true number?
  9    Q. Do you know if he was paid for that time?                 9    A. No.
 10    A. No.                                                      10    Q. And you didn't calculate it, did you?
 11    Q. Did you ever talk to Angel about pay at                  11    A. No.
 12 Shan Namkeen?                                                  12    Q. The next one says, "Weekend hours paid at
 13    A. No.                                                      13 straight time only during period October 16th, 2013
 14    Q. You and Angel didn't get along, did you?                 14 through October 9th, 2015." It says "$2,592." Do you
 15    A. Not at the end, no.                                      15 see that?
 16    Q. In fact, didn't you tell Mr. Patel that you              16    A. Yes.
 17 would drop the lawsuit if he fired Angel?                      17    Q. Do you know if that's true or not?
 18    A. No.                                                      18    A. No.
 19    Q. Sir, you're under oath. Did you say that to              19    Q. And you didn't calculate that either, did you?
 20 Mr. Patel?                                                     20    A. No.
 21    A. No.                                                      21    Q. And turning the page of Exhibit A, you'd give
 22    Q. You never said anything like that to him?                22 me the same answers for the rest of those calculated
 23    A. No.                                                      23 numbers, wouldn't you?
 24    Q. Not even as a joke?                                      24    A. Yes.
 25    A. No.                                                      25    Q. And you haven't done any calculation at all of
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  1 what you think you're owed in this case, have you?                1    Q. Who was the employee at the Coin Laundry when
  2     A. No.                                                        2 you delivered that material?
  3     Q. Do you know what -- what number do you think               3    A. I think his name is Jose.
  4 is a fair number to be paid to you?                               4    Q. What about Mihel?
  5            MR. PETERSEN: And I'm going to object on               5            THE INTERPRETER: The interpreter needs
  6 optional completeness for Exhibit A, the introductory             6 clarification on the spelling.
  7 paragraph.                                                        7            MR. MCCOMBER: Is it M-I-H-E-L?
  8     Q. (BY MR. MCCOMBER) Do you -- do you have a                  8            MR. PATEL: Miguel?
  9 number that you think my client should pay you in this            9            MR. MCCOMBER: Miguel.
 10 lawsuit?                                                         10            THE INTERPRETER: Oh, Miguel.
 11     A. No.                                                       11    A. Well, I hardly -- well, I hardly ever spoke
 12     Q. What do you think a fair number would be to               12 with him. I just went to see my wife and I know that
 13 resolve this case?                                               13 his name was Jose.
 14            MR. PETERSEN: Objection, calls for a                  14    Q. (BY MR. MCCOMBER) But when you delivered the
 15 legal conclusion. You can answer.                                15 product after work, your wife was not there, was she?
 16     A. This case is in their hands. Whatever they                16    A. She had already left.
 17 have to do to resolve this case, then it's up to them.           17    Q. Yeah, she worked from 7:00 a.m. to 3:30 p.m.,
 18     Q. (BY MR. MCCOMBER) Are you going to ask a jury             18 correct?
 19 to punish the defendants in this case for some reason?           19    A. Yes.
 20     A. Not to punish them.                                       20    Q. What days of the week did she work at the Coin
 21     Q. Well, you know this is financially punishing              21 Laundry?
 22 them to have this lawsuit pending.                               22    A. She worked six days a week and she was just
 23     A. Yes, but it's a part of my work that I'm owed.            23 off on Saturdays.
 24     Q. But what amount is it? You've never asked                 24    Q. So she worked Monday through Friday and
 25 them for it. What amount do you want them to pay you?            25 Sunday, correct?
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  1    A. Well, I don't know. I think in the long run                 1    A. Yes.
  2 they're going to find out.                                        2    Q. What hours did she work on Sunday?
  3    Q. Well, you know that they have offered you                   3    A. No, she was off on Sundays at the laundry.
  4 money to resolve this case, right?                                4    Q. Did she work on Saturday at the laundry?
  5    A. No.                                                         5    A. No. No, from Monday to Sunday, but then she
  6    Q. They have.                                                  6 was off on Saturdays.
  7    A. No one has offered me any money.                            7    Q. So she works on Sundays, correct?
  8    Q. Do you dispute that they have offered to                    8    A. Yes.
  9 settle this case for several thousand dollars?                    9    Q. She worked at the Coin Laundry every Sunday
 10            MR. PETERSEN: And I'll object to                      10 from 2013 to 2015?
 11 offering settlement negotiations into the record.                11    A. Well, yes, she worked six days a week there
 12    Q. (BY MR. MCCOMBER) Putting aside the number,                12 and -- well, I don't know, the story is a little bit
 13 are you testifying today that you did not know my                13 different. Before they made that little kitchen there
 14 clients had offered a settlement in this case?                   14 where later they used it for packing, because they
 15    A. No.                                                        15 didn't have that company that later they had in
 16    Q. No, you didn't know?                                       16 Garland. They did all the packing in that little room
 17    A. No, I didn't.                                              17 there.
 18            MR. MCCOMBER: Let's take a break and                  18    Q. Well, that was before you started working at
 19 I'll probably wrap up.                                           19 Shan Namkeen, wasn't it?
 20            (Recess taken.)                                       20    A. Yes.
 21    Q. (BY MR. MCCOMBER) Mr. Rodriguez, before we                 21    Q. All right. So let's answer my question.
 22 took a break we were talking about when you said that            22 Okay? She worked on Sundays at the Coin Laundry --
 23 you would deliver some product from Shan Namkeen to the          23 well, strike that.
 24 Coin Laundry. Do you recall that?                                24            Did she work on Saturday or Sunday at the
 25    A. Yes.                                                       25 coin operated laundry?

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  1    A. Sundays.                                                    1       Q. You have no documents that support any of the
  2    Q. And that was true from 2013 to 2015, correct?               2 testimony you're giving me today, do you?
  3    A. Well, I don't know how long she's been working              3       A. No.
  4 that schedule. She's been doing it for quite a while,             4       Q. And your testimony contradicts all of the
  5 nine or ten years. She works many days a week. I do               5 documents I've showed you from Shan Namkeen, doesn't
  6 too. I don't know that they changed her schedule.                 6 it?
  7 Maybe they did from time to time.                                 7       A. Well, yes, if you say so.
  8    Q. Well, as you sit here today are you able to                 8       Q. Do you see how it would be hard for someone to
  9 testify under oath that she quit working on Sundays for           9 believe that Shan Namkeen would have a set of records
 10 some period of time at the Coin Laundry?                         10 that it keeps detailed data on when you work, but then
 11    A. No. No, she's been working there for a long                11 it would just not keep records for when you're saying
 12 time six days a week.                                            12 you worked on Saturday? Do you see how unbelievable
 13    Q. And so she never worked with you at Shan                   13 that is?
 14 Namkeen on a Sunday, did she?                                    14       A. No.
 15    A. Yes.                                                       15       Q. Can you see how it would be hard to believe?
 16    Q. She worked at both?                                        16       A. Well, they have their documents and if I don't
 17    A. She would go with me, because we would leave               17 have any documents, well, I just have it in my head.
 18 Luis or Victoria at the laundromat.                              18       Q. But you don't have any specifics, do you?
 19    Q. When did that happen?                                      19       A. That's true, I don't.
 20    A. When he would call us to tell us that he had               20       Q. And you wish you had, don't you?
 21 work on Sundays.                                                 21             THE INTERPRETER: And the interpreter is
 22    Q. What day?                                                  22 going to get clarification.
 23    A. On Sundays. When she had to work at the                    23       A. I never thought that this was going to happen.
 24 laundromat on Sunday, she would leave Luis or Victoria 24 If I knew that was going to happen, then I would have
 25 in charge.                                                       25 written down everything, my days, my hours and all of
                                                          Page 142                                                            Page 144
  1    Q. Give me a specific day that that happened.                  1 that, but I didn't do that.
  2    A. On the Sundays when he would call us to come                2       Q. (BY MR. MCCOMBER) And you didn't do that
  3 work and I'm going to say again I don't have the exact            3 because you didn't think you were being underpaid, did
  4 days.                                                             4 you?
  5    Q. Some Sunday in the last three years. Is that                5       A. Well, no, I know that they didn't pay me.
  6 what you're telling me?                                           6       Q. But the reason you didn't keep any records is
  7    A. Yes, and during that time we would go on                    7 because you didn't think that anything was wrong with
  8 Sundays. She and I would always go.                               8 how you were being treated, did you?
  9    Q. You realize that it's getting a little absurd               9       A. No.
 10 how much your story is changing today. Do you get                10       Q. So it just wasn't important enough to you to
 11 that?                                                            11 keep records?
 12    A. Well, no, it's not absurd, it's just that                  12       A. Well, no, it was, but I just didn't do it.
 13 you're confusing me. You're talking about work that              13       Q. And do you take responsibility for that?
 14 was done a long time ago and you're talking about work 14                 A. Yes.
 15 that someone else did.                                           15       Q. And you're at fault too for not raising any of
 16    Q. The fact is every time you tell me a fact in               16 these issues with your employer before hauling off and
 17 this case today, like a date or a time, if something             17 filing a lawsuit, right?
 18 happens where that changes, you're just willing to say,          18             MR. PETERSEN: Objection, calls for a
 19 well, there was exceptions to everything.                        19 legal conclusion. You can answer.
 20    A. Well, in this case we're just talking about a              20       A. Yes.
 21 Saturday or a Sunday, but I don't really have exact              21       Q. (BY MR. MCCOMBER) Do you have any other
 22 dates for you.                                                   22 support for your claims in this case that I haven't
 23    Q. You have no dates for anything in this case                23 talked to you about today?
 24 that you can tell me about, do you?                              24       A. No.
 25    A. No.                                                        25       Q. Do you want to change any of your testimony
                                                            DepoTexas, Inc.
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  1 today?                                                            1    Q. And are you aware of any instances where Shan
  2    A. No.                                                         2 Namkeen was trying to market or sell -- strike that.
  3            (Discussion out of the hearing of the                  3           Are you aware of any instances in which
  4 reporter.)                                                        4 Shan Namkeen was trying to sell its Pani Puri in either
  5            MR. MCCOMBER: All right. We'll pass the                5 the state of Illinois or the state of North Carolina
  6 witness.                                                          6 from 2013 to 2015?
  7                 EXAMINATION                                       7           MR. MCCOMBER: Objection, leading and
  8 BY MR. PETERSEN:                                                  8 compound.
  9    Q. All right. Good afternoon, Mr. Rodriguez.                   9    A. Yes.
 10 That means that I now get the chance to ask you a few            10    Q. (BY MR. PETERSEN) And how were you aware of
 11 questions. When you first -- or when you started                 11 that?
 12 working for Shan Namkeen in 2013, who at the company             12    A. Because Mr. Patel would go -- would go to try
 13 set your pay?                                                    13 to get those contracts.
 14    A. Shailesh.                                                  14    Q. And how did you know that Mr. Patel was trying
 15    Q. And there was -- or counsel asked you some                 15 to go get the contracts?
 16 questions earlier about the types of goods that you              16    A. He would tell me.
 17 dealt with at Shan Namkeen and whether you knew if               17    Q. When the raw materials would arrive at Shan
 18 those goods came from outside of Texas or were sold              18 Namkeen, did you ever have to unload any of those?
 19 outside of Texas. Do you remember those questions?               19           MR. MCCOMBER: Objection, leading.
 20    A. Yes.                                                       20    A. Yes. Yes, among all of us that were there.
 21    Q. And did you personally order the ingredients               21 Well, just the men, not the women.
 22 for Shan Namkeen?                                                22    Q. (BY MR. PETERSEN) And what types of things
 23    A. No.                                                        23 did the men at Shan Namkeen have to unload?
 24    Q. Do you know who did?                                       24    A. Well, it would be the flour and the bags,
 25    A. No.                                                        25 boxes.
                                                          Page 146                                                             Page 148
  1    Q. Okay. Did you handle -- or were you                         1    Q. And you testified earlier about transporting
  2 responsible for sending invoices for Shan Namkeen to              2 some of the Pani Puri from the location in Garland to a
  3 the businesses or persons who bought the goods sold by            3 laundromat on Josey Lane.
  4 Shan Namkeen?                                                     4    A. Yes.
  5            MR. MCCOMBER: Objection, compound.                     5    Q. Do you recall that?
  6    A. No.                                                         6    A. Yes.
  7    Q. (BY MR. PETERSEN) Let me ask you this: While                7    Q. Okay. And did you perform that task for Shan
  8 you were working at Shan Namkeen, what kinds of goods             8 Namkeen from 2013 when you started working there until
  9 did you actually -- or what kind of product did you               9 the end of your employment in 2015?
 10 handle?                                                          10           MR. MCCOMBER: Objection, leading.
 11    A. Well, they call it Pani Puri and that's their              11    A. Yes.
 12 type of food. I don't really know what it is. It's               12    Q. (BY MR. PETERSEN) And I'm going to have to
 13 Indian food.                                                     13 ask you to look at a couple of documents here. First
 14    Q. Okay. And do you know -- do you know what                  14 you'll need Exhibit 5 and also Exhibit 4. And in
 15 type -- I'm sorry. Finish your answer.                           15 Exhibit 4, if you could turn to the page with the
 16    A. It's made out of flour. It's food. I don't                 16 number in the bottom right corner PL Docs 005. I'm
 17 know how they use it or what they mix with it.                   17 sorry, in Exhibit 5. Excuse me.
 18    Q. Other than the flour, though, are there other              18    A. (The witness complied.)
 19 things that are mixed in the flour to make the dough?            19    Q. And then if you could turn in Exhibit 4 to the
 20    A. Well, yes, they mix in the ingredients that                20 page SNI 0063.
 21 they have.                                                       21    A. (The witness complied.)
 22    Q. And were you the person who was responsible                22    Q. And I believe earlier counsel represented to
 23 for purchasing the machines that are used to make the            23 you that your checks reflected overtime when the
 24 Pani Puri?                                                       24 employee time details reflected that you worked
 25    A. No.                                                        25 overtime working at Shan Namkeen.

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  1           MR. MCCOMBER: Objection, misstates the                 1 Friday they would have us do a little bit more.
  2 testimony and the evidence.                                      2 Because they knew that we had to wait for the check and
  3    Q. (BY MR. PETERSEN) And if you could look at                 3 that we had to work a little bit more.
  4 the document PL Docs 5. In the top right corner of               4    Q. And earlier -- if you could, I would ask you
  5 that document it reflects pay of 40 hours; is that               5 to turn to Exhibit 14.
  6 accurate?                                                        6    A. (The witness complied.)
  7    A. Yes.                                                       7    Q. I just have a couple of questions about this.
  8    Q. Okay. And if you go down for the lines pay                 8 First, did you type this document?
  9 period beginning June 7th, 2014 and pay period ending            9    A. I don't know how to type.
 10 June 13th, 2014. Okay. And if you'd turn to document            10    Q. Did you ask someone to type it for you?
 11 SNI 0063. It's the employee time detail for the same            11    A. No.
 12 period of time, June 7th, 2014 to June 13th, 2014. And          12    Q. Do you have any idea who did type the
 13 if you'd look at the regular hours column in the middle         13 document?
 14 of that page it reflects a total of 43.01 hours.                14    A. Yes.
 15 Is that accurate?                                               15    Q. Okay. And who do you believe typed the
 16           MR. MCCOMBER: Objection, calls for                    16 document?
 17 speculation.                                                    17    A. Mr. Patel or his brother.
 18    A. Yes, I'm seeing that there.                               18    Q. Okay. And why do you think that?
 19    Q. (BY MR. PETERSEN) Okay. And the 43.01 hours               19    A. Well, they were the ones that took us the
 20 is actually 3.01 hours more for the same time period            20 documents that were already typed out for me to sign.
 21 than is reflected on your paycheck. Is that accurate?           21           MR. MCCOMBER: Objection, nonresponsive.
 22           MR. MCCOMBER: Objection, assumes facts                22    Q. (BY MR. PETERSEN) Now, if you could turn to
 23 not in evidence and misstates the testimony.                    23 Exhibit 21 and turn to the first page of Exhibit A.
 24    A. Yes.                                                      24    A. (The witness complied.)
 25    Q. (BY MR. PETERSEN) During the period that you              25    Q. And just the first paragraph of Exhibit A
                                                         Page 150                                                            Page 152
  1 worked for Shan Namkeen, what day of the week was                1 reads, "The following estimate is only preliminary and
  2 payday?                                                          2 based on the allegations contained in the complaint.
  3    A. Friday.                                                    3 This estimate is subject to change as discovery is
  4    Q. Okay. And how often were you paid?                         4 ongoing." And earlier you were asked -- opposing
  5    A. Every week.                                                5 counsel asked you questions about the allegations in
  6    Q. And how did you receive your check?                        6 your complaint and is it still your testimony that
  7    A. They would give it to us there at the computer             7 those allegations are accurate?
  8 where we punched in and out.                                     8           MR. MCCOMBER: Objection, leading.
  9    Q. Okay. And what time during the day did you                 9    Q. (BY MR. PETERSEN) To your best recollection?
 10 receive your check?                                             10           MR. MCCOMBER: Objection, leading.
 11    A. Like at 4:20, 4:30, 4:15.                                 11    A. Yes.
 12    Q. Okay. And was that before or after you                    12    Q. (BY MR. PETERSEN) I'll ask you this,
 13 clocked out on Friday?                                          13 Mr. Rodriguez: Do you have any formal training as a
 14    A. Afterwards. Well, I was already punched out,              14 lawyer?
 15 the computer was turned off. They would just give us            15           MR. MCCOMBER: Objection, leading.
 16 our checks.                                                     16    A. No.
 17    Q. Okay. And in the time period between the                  17    Q. (BY MR. PETERSEN) And when you were
 18 punch out and the time that you received your check,            18 transporting the snacks from the Garland location to
 19 did you still have to keep working?                             19 the laundromat on Josey Lane, did you try to hide that
 20           MR. MCCOMBER: Objection, leading.                     20 from the defendants?
 21    A. Yes.                                                      21           MR. MCCOMBER: Objection, leading.
 22    Q. (BY MR. PETERSEN) And what type of work did               22    A. No.
 23 you have to do during that period of time?                      23    Q. (BY MR. PETERSEN) Did anyone for Shan Namkeen
 24    A. The same thing. They always knew during the               24 ask you to do that?
 25 week what time we were going to be through. But on              25    A. No.

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  1     Q. I'm sorry, let me clarify that. Did anyone                   1     A. Yes.
  2 for Shan Namkeen ask you to transport the goods from                2     Q. When did that happen?
  3 Garland to Josey Lane and then back from Josey Lane to              3     A. Well, I'm not going to know the dates, but he
  4 Garland?                                                            4 did go.
  5            MR. MCCOMBER: Objection, compound and                    5     Q. What year was it?
  6 leading.                                                            6     A. I think it was in 2015.
  7     A. Yes.                                                         7     Q. Do you know whether any products were ever
  8     Q. (BY MR. PETERSEN) Okay. And who asked you to                 8 sold by Shan Namkeen to either Illinois or North
  9 do that?                                                            9 Carolina?
 10     A. The three of them. Also his wife told me.                   10           THE INTERPRETER: The interpreter is
 11     Q. If you could turn back for just a moment to                 11 going to have to get clarification.
 12 Exhibit 4.                                                         12     A. Well, he hadn't yet sent the products there.
 13     A. (The witness complied.)                                     13 That's all.
 14     Q. The first page of Exhibit 4 will be fine.                   14     Q. (BY MR. MCCOMBER) And so no products were
 15 That's document SNI 0040. The time-in punches on this              15 shipped to either of those states while you worked
 16 employee time detail show a punch-in time of                       16 there, were they?
 17 7:30 exactly a.m. on December 28th, 2013 and a clock-in            17     A. Yes.
 18 time of 7:20 a.m. and zero seconds on December 30th,               18     Q. And so you don't know of any -- like you
 19 2013 and a clock-in time of 7:30 a.m. and zero seconds             19 said -- strike that.
 20 on December 31st, 2013. Do you see that on the                     20           Like -- strike that.
 21 document?                                                          21           Like you testified earlier, you don't
 22     A. Yes.                                                        22 know of any products being sold by Shan Namkeen outside
 23     Q. Did you have a habit when you were working at               23 the state of Texas while you were working there, do
 24 Shan Namkeen of clocking in the exact second the clock             24 you?
 25 ticked from one minute to the next every single morning            25     A. Yes.
                                                            Page 154                                                            Page 156
  1 that you worked there?                                              1     Q. And you indicated also that you unloaded
  2            MR. MCCOMBER: Objection, leading.                        2 products from time to time at Shan Namkeen, correct?
  3     A. No.                                                          3     A. Yes.
  4     Q. (BY MR. PETERSEN) And other than the                         4     Q. You listed flour, bags and boxes, didn't you?
  5 actual -- the employees who were there working, did                 5     A. Yes.
  6 anyone else have the ability to clock the employees                 6     Q. You don't know where any of those ingredients
  7 into the time system that you know of?                              7 or materials came from, do you?
  8     A. Well, they didn't, but they would do it.                     8     A. No, just -- no, just the bags, because he
  9     Q. Okay. And who would do that?                                 9 would have them made over there in India and then they
 10     A. Well, Angel would do it. He would do it for                 10 would be sent over here.
 11 everybody. And -- but at one point I told him not to               11     Q. And you have personal knowledge of someone at
 12 do that anymore, that I would punch in my own starting             12 Shan Namkeen ordering bags from India?
 13 time. But for a long time he did it for me.                        13     A. Yes.
 14     Q. And after the punch-in time was entered on the              14     Q. So you saw someone order bags from India?
 15 time system, whoever did it, do you know what happened             15     A. No, he would go personally to order them.
 16 next in the system with that information?                          16     Q. How do you know that?
 17     A. Well, I just knew that I had been punched in,               17     A. He said that. He said that.
 18 but I didn't really know what was done with that.                  18     Q. He told you that at some point?
 19            MR. PETERSEN: I'll pass the witness.                    19     A. Yes. He told me when he had ordered them and
 20                 EXAMINATION                                        20 when they were going to arrive.
 21 BY MR. MCCOMBER:                                                   21     Q. I'm just guessing, but I bet you don't know
 22     Q. Mr. Rodriguez, you testified a minute ago that              22 the date that happened.
 23 you believe Mr. Patel went on a business trip to North             23     A. No, but he did have them brought from there.
 24 Carolina and/or Illinois to try to sell his products.              24     Q. Anything you believe Mr. Patel or anyone else
 25 Do you recall that?                                                25 brought from outside of Texas to make products at

                                                              DepoTexas, Inc.
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  1 Shan Namkeen?                                                       1    Q. So you don't have any complaints about the way
  2    A. No.                                                           2 you got your check on Friday, do you?
  3    Q. Now, you looked a minute ago at Exhibit Number                3    A. No, just that every Friday they would give it
  4 4. Do you recall that?                                              4 to us late. They never gave it to us at 4:00 o'clock.
  5    A. Yes.                                                          5            MR. MCCOMBER: I object to the
  6    Q. And you don't understand how the time clock                   6 nonresponsive portion of that answer. Pass the
  7 works, you just -- the time goes in and then it prints              7 witness.
  8 out on a sheet, correct?                                            8            MR. PETERSEN: We will reserve any
  9    A. Well, I don't know. I just would arrive and                   9 further questions until a later time up to and
 10 punch in and I don't know where it was printed.                    10 including the time of trial.
 11    Q. But then you would sign the Exhibit 4                        11            MR. MCCOMBER: We will also reserve our
 12 documents indicating that they're correct, right?                  12 remaining questions until the time of trial.
 13    A. Yes.                                                         13            (Pause.)
 14    Q. And you also did not check -- strike that.                   14            MR. MCCOMBER: Back on the record.
 15            You also did not clock in and out at                    15 During today's deposition when we referred to Mr. Patel
 16 lunch, did you?                                                    16 we were referring to the Mr. Patel in the room. And to
 17    A. No.                                                          17 the extent we were referring to Shirish Patel, we named
 18    Q. So your lunch time had to be subtracted from                 18 him by name. Is that everyone's understanding?
 19 the time in Exhibit 4, correct?                                    19            MR. PETERSEN: Yes, Counsel.
 20            MR. PETERSEN: And it calls for a legal                  20            MR. MCCOMBER: Thank you.
 21 conclusion. You can answer.                                        21
 22    A. Well, I know that we took a half an hour for                 22
 23 lunch, and all I know is I just clocked in and clocked             23
 24 out.                                                               24
 25    Q. (BY MR. MCCOMBER) And so you're not asking to                25
                                                         Page 158                                                            Page 160
  1 be paid for a lunch period of time that you didn't                  1            CHANGES AND SIGNATURE
  2 work, are you?                                                      2 WITNESS NAME:                  DATE OF DEPOSITION
  3    A. Well, I would enter at 7:30 and leave at 4:00.                3 DIMAS RODRIGUEZ                    June 27, 2017
  4 How many hours is that?                                             4 PAGE         LINE     CHANGE           REASON
  5    Q. I'm sorry, I'm going to have to ask the                       5 ______________________________________________________
  6 questions.                                                          6 ______________________________________________________
  7    A. Well, that was eight and a half hours and they                7 ______________________________________________________
  8 would take off that half hour.                                      8 ______________________________________________________
  9    Q. Right. And you weren't expecting to be paid                   9 ______________________________________________________
 10 for time at lunch where you didn't work, were you?                 10 ______________________________________________________
 11    A. No, they didn't pay that.                                    11 ______________________________________________________
 12    Q. And then you said you got paid on Fridays,                   12 ______________________________________________________
 13 correct?                                                           13 ______________________________________________________
 14    A. Yes.                                                         14 ______________________________________________________
 15    Q. And if you got your check on a Friday, even                  15 ______________________________________________________
 16 though it was being prepared before you -- strike that.            16 ______________________________________________________
 17            You got your check on Friday and then                   17 ______________________________________________________
 18 when you opened it up and looked at it, if you thought             18 ______________________________________________________
 19 there was something wrong with it, you would bring it              19 ______________________________________________________
 20 to Mr. Patel's attention, wouldn't you?                            20 ______________________________________________________
 21    A. Well, not at that moment, because he wasn't                  21 ______________________________________________________
 22 there. He was hardly ever there.                                   22 ______________________________________________________
 23    Q. But when you did bring it to his attention,                  23 ______________________________________________________
 24 the several times you did he corrected it, didn't he?              24 ______________________________________________________
 25    A. Yes.                                                         25 ______________________________________________________

                                                              DepoTexas, Inc.
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  1        I, DIMAS RODRIGUEZ, have read the foregoing                  1 contains any changes and the reasons therefor;
  2 deposition and hereby affix my signature that same is               2    ____ was not requested by the deponent or a party
  3 true and correct, except as noted above.                            3 before the completion of the deposition.
  4                                                                     4    I further certify that I am neither attorney or
  5                                                                     5 counsel for, nor related to, nor employed by any of the
  6              ________________________________                       6 parties to the action in which this testimony was
                 DIMAS RODRIGUEZ
  7                                                                     7 taken.
  8                                                                     8    Further, I am not a relative or employee of any
  9 THE STATE OF __________ )                                           9 attorney of record in this cause, nor do I have a
 10 COUNTY OF        __________ )                                      10 financial interest in the action.
 11        Before me, ____________________, on this day                11    Subscribed and sworn to on this 5th day of July,
 12 personally appeared DIMAS RODRIGUEZ, known to me (or               12 A.D., 2017.
 13 proved to me under oath) or through ___________________            13
 14 (description of identity card or other document) to be             14
                                                                                     _______________________________
 15 the person whose name is subscribed to the foregoing               15            Jeff L. Foster, CSR, RMR, CRR
                                                                                     Texas CSR No. 5434
 16 instrument and acknowledged to me that they executed               16            Expiration Date: 12/31/2018
                                                                                     DepoTexas, Inc.
 17 the same for the purposes and consideration therein                17            DepoTexas Firm Registration No. 459
                                                                                     6500 Greenville Avenue, Suite 445
 18 expressed.                                                         18            Dallas, Texas 75206
                                                                                     (214) 373-4977
 19        Given under my hand and seal of office this                 19
 20 _____ day of _______________, 2017.                                20
 21                                                                    21
 22                                                                    22
 23              ________________________________                      23
                 NOTARY PUBLIC IN AND FOR
 24              THE STATE OF ___________________                      24
                 MY COMMISSION EXPIRES:
 25              ________________________________                      25
                                                         Page 162
  1        IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF TEXAS
  2             DALLAS DIVISION
  3 DIMAS RODRIGUEZ, and all others )
    similarly situated under 29       )
  4 U.S.C. 216 (b),                )
                           )
  5          Plaintiffs,       ) C.A. NO.
                           ) 3:15-cv-03370-
  6 vs.                      ) BK
                           )
  7 SHAN NAMKEEN, INC. and                )
    SHAILESH PATEL,                     )
  8                        )
             Defendants.          )
  9
 10          REPORTER'S CERTIFICATION
            ORAL DEPOSITION OF DIMAS RODRIGUEZ
 11             June 27, 2017
 12
 13    I, Jeff L. Foster, certified shorthand reporter
 14 in and for the State of Texas, do hereby certify to the
 15 following:
 16    That the witness, DIMAS RODRIGUEZ, was duly sworn
 17 by the officer and that the transcript of the oral
 18 deposition is a true record of the testimony given by
 19 the witness;
 20    I further certify that pursuant to FRCP Rule
 21 30(f)(1) that the signature of the deponent:
 22     _X__ was requested by the deponent or a party
 23 before the completion of the deposition and returned
 24 within 30 days from date or receipt of the transcript.
 25 If returned, the attached Changes and Signature Page

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Employee Time Detail                                                                       f:laplottM.
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EmployNG:                                    Nulle:   Dimas Rodriguez            Pwrlod: 8124/2013 - 8/30/2013

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                                                            APP 275
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                  Page 43 of 293 PageID 1070




Employae Time Detail                                                                          P9docl: 8.'31/2013-9IGl201
                                                                                         Elnpl~:
                                                                                       W0111 Group:
                                                                                               Job:
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Empioy.elD:                               Name:      Dimas Rodriguez            Period: 8/31/2013- 9/612013

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  Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                  Page 44 of 293 PageID 1071



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 Employee Time Detail                                                                          imployM:
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 Employee ID:                                  Name:    Dimas Rod:tguez            Penocl: 9'7/2013 - 9/13/2013

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                                                               APP 277
 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                  Page 45 of 293 PageID 1072



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 Employee Time Detail                                                                    Etnptoyw;
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 EmptoyHID:                                  Name:    Oimas Rodriguez            Period: 911412013 • 912°'2013

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    9119'2013 7:30:0IJ AM    9119"2013 ,:00:00 PU         8.50          0.00         150
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                                                         21.00          000         21.00




9"20/20f3 4:0NO PM                                                                                                 Page3of5




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                                                            APP 278
  Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                      Page 46 of 293 PageID 1073




 Employee T111e Detail




 E,nploywl>:                                   ~:           Dimas Rodriguez            Period: 9121/2013-912712013

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 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                          Page 47 of 293 PageID 1074



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 Employee Time Detail                                                                            &m,ilope:
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                                                                                                     Pa,Tp:


Employee I>:                                   Name:        Dimas Rodnguez               Period: 9128/2013-10/4/2013

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    10/41201:) 7·30:00 AM     tOl4/2013 4:00:00 PM               1.50           6.00         8.50
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10/4l2013 4:04:38 PM




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  Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                      Page 48 of 293 PageID 1075

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  Employee Time Detail                                                                           e.n~:
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  Em,loyMID:                                        Name:    Dimas Rodnguez            Period:    10/512013 • 10/11/2013

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  Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                   Page 49 of 293 PageID 1076




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10/25l201 a3:45.SS PU                                                                                                  Page3ol5



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                                                                 APP 282
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                          Page 50 of 293 PageID 1077



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                                              Manie:       Dimas Rodnguez               Periad: 10/1912013 • 10/25l2013

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 10l23/2013 7:00:00 /IM    1oa3l2013 3;00:GO PM                 a.oo          000            9.00
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Employee Time Detail                                                                        Pwrlod: 11/t6/2013 • 11/22J201
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Employee to:                             Name:        Dimas Rodriguez          Period: 11/16/2013-11/22J2013

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                                                            APP 284
      Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                    Page 52 of 293 PageID 1079
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      Employee Time Detail                                                                        !fflplope:
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      Emplowee IO:                                Name:       Dimas Rodriguez             Period: 10/2612013 - 11/1/2013

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Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                           Page 53 of 293 PageID 1080




Employee Time Detail                                                                P.aod: 11/2/2013 • 11
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  Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                  Page 54 of 293 PageID 1081




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                                                                                                   Job:
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 ~HID:                                         Marne:   Dimas Rodriguez            Peliod: 11/9J2013 -1111612013

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                                                             APP 287
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Employee Tlma Detail                                                               Period: t1/2Y.201S-111291'2013
                                                                             Elnpl.-:
                                                                            WorkGroup:
                                                                                  Job:
                                                                                 Pa,Type:


fmp'°Yee tO:                          Name:    Dimas ~uez              ~rlod: 1112312013 • 1112912013

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  1112T'20J37.30'00AM    11ml2013':00:00PM             UO        0.00     8.50
  11J28120J31:30:00 AM   11/2&!/201H.OO:OO P11         9.50      0.00     8.50
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Employee Time DetaU                                                                          Period: 11./3Q.l2013 • 't2"'20t
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                                                                                        WcnGrvup:
                                                                                               Job:
                                                                                            P-,Tp:


Effl91oyee ID:                               Nau:      Dimas Rodriguez.           Pedod: 11130l2013 -12.1812013

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   1Zf4l2013 7:30:00AM      12U/20134:CIO;OOPM             uo             000        850
   12/5/2013 7:lO:OQ AM     12/5l20133:40:00PM            8.33            0.00       Ul
                                                         25.50            000       26.50




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                                                            APP 289
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 Employee Tune Detail




Empaoye.10:                                 Name:    Dimas Rodriguez              Period: 12/712013 • 12/13/2013

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 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                       Page 58 of 293 PageID 1085



 Employee Time Detail                                                                                               P.-iacl: 1211"'2013-12121
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Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                 Page 59 of 293 PageID 1086




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                                                                                              Pe,Tp:


 Employee ID:                                                                     Period: 12/21/2013 - 12/27/2013
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                Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                           Page 60 of 293 PageID 1087
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            2731 NATIONAL CIRCLE SUITE 101                                                                                  2731 NATIONAL CIRCLE SUITE 101
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            l                                                                                                                                                                                                            DEPOSITION
                                                                                                                            J..wages.
        -·.         ___.. __ ·---- --------·" ---·----t-·-·---·----------- I
                             "
                                                                                                                       1a                   11ps, e1c. 11 L0c111 nane1ax          211~nane                   '
                                                                                                                                                                                                                           EXHIBIT
                                                                                                                                                                                                                                     ~
                             ~..n--
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    ,_ W-2                                 2 al 3           Copy G- For EMPLOYEFS RECORDS.
    ThsWcnna!ionlsbeing~tolllekan1111 ~Se!w:e. l f Y ! l ! ! ~ ~ a t a x
                                                                                                                       - w.2-...                 n.-          2013                     c.i- i
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    ~ · t o ~ panaayoro0wra1C11anmav11e impOSaclonyau dtlil          1n:1
                                                                                                                                                                                                            PL_Docs 0049
                                                                                                               APP 293
                               Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                      Page 61 of 293 PageID 1088
                                                                                                 SHAN NAMKEEN, INC
                                                                                                    Payroll Register
                                                                                    For the Period From Jan 1, 2013 to Dec 31, 2013
Filter Cntena includes I) Employee IDs ROD03 Report order 1s by Check Date Report ,s £!1nted ,n Detail Format
Employee ID                       Pay Type          Pay Hr            Rate          Pay Amt Amount                   Gross    Fed_lncome      Soc_Sec    Medi
 EmplOyff                                                                                                          Advance    soc_sec_ER    Medlcare_E   FUT
MHkedSSNo                                                                                                           SUI_ER
Reference
Date
ROD03                             Regular             2000             7 25         145.00        133.91            14500                        -8.99   -210
DIMAS RODRIGUES                                                                                                       -0.78         -899         -210    -0.87
XXX-XX-1175
2710
8130/13

ROD03                             Regular               20.00           7.25         14500        13391             14500                        -899    -210
DIMAS RODRIGUES                                                                                                       -078          -899         -210    -087
XXX-XX-1175
2714
9/6/13

ROD03                             Regular               2000            7 25         14500        13391             145.00                       -899    -210
DIMAS RODRIGUES                                                                                                                     -8.99        -2.10   -087
XXX-XX-1175
2714
9/13/13                                                                                                               -0.78

ROD03                             Regular               20.00           7 25         14500         133.91           14500                        -899    -2.10
DIMAS RODRIGUES                                                                                                       -078          -899         -210    -0.87
XXX-XX-1175
2722
9/20/13

ROD03                             Regular               32.00            7.25        23200         214 26           232.00                      -14.38   -336
DIMAS RODRIGUES                                                                                                       -1 25        -14 38        -3.36   ·139
XXX-XX-1175
2734
9/27/13

ROD03                             Regular               3600             7.25        261 00        241 04           261.00                      -1618    -3 78
DIMAS RODRIGUES                                                                                                       -1 41        -16.18        -378    ·1 57
XXX-XX-1175
2738
10/4/13

ROD03                             Regular               4000             7 25        290.00        267.81           29000                       -17.98   -4 21
DIMAS RODRIGUES                                                                                                       -1.57        -1798         -4 21   -1.74
XXX-XX-1175
2747
10/11/13


                                                                                                                                                                        DEPOSITION

                                                                                                                                                                    I
RO003                             Regular               3200             7 25        23200         214 26           232.00                      -1438    -3.36
DIMAS RODRIGUES                                                                                                                    -14.38        -3.36   -1.39            EXHIBIT
XXX-XX-1175
2478                                                                                                                                                                      ..3
10/18113                                                                                                              ·1 25
                                                                                                                                                                    I
 11/13/14 at 14 58:3990                                                                                                                                                  Page 1
                                                                                                            CONFIDENTIAL                                                   SNI 0005

                                                                                                                APP 294
                               Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                      Page 62 of 293 PageID 1089
                                                                                                 SHAN NAMKEEN, INC
                                                                                                    Payroll Register
                                                                                    For the Period From Jan 1, 2013 to Dec 31, 2013
Filter Cnteroa includes I) Employee IDs RODO) Report order IS by Check Date Report os pnnted on Detail Format
Employee ID                       Pay Type             Pay Hr           Rate         Pay Amt Amount                  Gross    Fed_lncome      Soc_Sec     Medi
Employee                                                                                                           Advance    soc_sec_ER    Medicare_E    FUT
MaskedSSNo                                                                                                          SUI_ER
Reference
Date

RO003                             Regular               37.00            7.25        26825        247 73            268.25                      -16.63    -3.89
DIMAS RODRIGUES                                                                                                       -145         -1883         -3.89    ·1 81
XXX-XX· 1175
2484
10/25113

RO003                             Regular               32.00           725          23200        214.28            232 00                      -14.38    -3.38
DIMAS RODRIGUES                                                                                                       -1.25        -1438         -338     ·1.39
XXX-XX-1175
2489
11/1/13

RO003                             Regular                8.00           7 25          58.00         53.58            5800                        -380     -084
DIMAS RODRIGUES                                                                                                       -031          -3.80        -0.84    -035
XXX-XX-1175
2499
11/8/13

RO003                             Regular                8.00           725           58.00         53.58            5800                        -3.80    ·084
DIMAS RODRIGUES                                                                                                       -031          -360         -084     -0.35
XXX-XX-1175
2474
11/15/13

RO003                             Regular                 8.00           7 25         58.00         5356             5800                        -3.60    -084
DIMAS RODRIGUES                                                                                                                     -3.80        -084     -035
XXX-XX-1175
2506
11/22/13                                                                                                              -0.31

RO003                             Regular               2400             7.25        17400         16069            174.00                      -1079     ·2 52
DIMAS RODRIGUES                                                                                                       -094         -1079         -252     -1 04
XXX-XX-1175
2514
11/29/13

RO003                             Regular               2150             7 25        15568         14396            15568                        -966     -2.26
DIMAS RODRIGUES                                                                                                       -0.84         -966         -2.26    -094
XXX-XX-1175
2528
 12/6/13

RO003                             Regular               1600             7 25        116.00        107.13            11600                       -7.19    -1.68
DIMAS RODRIGUES                                                                                                       -0.63         -7.19         -1.66   -070
XXX-XX-1175
2534
 12/13/13




 11/13/14 at 14 58:39 90                                                                                                                                            Page· 2
                                                                                                            CONFIDENTIAL                                               SNI 0006

                                                                                                                APP 295
                                      Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                  Page 63 of 293 PageID 1090
                                                                                                      SHAN NAMKEEN, INC
                                                                                                         Payroll Register
                                                                                         For the Period From Jan 1, 2013 to Dec 31, 2013
Filter Criteria includes   I)   Employee IDs RODO) Report order 1s by Check Date Repon is pnnted 1n Detail Format
Employee ID                             Pay Type          Pay Hr            Rate         Pay Amt Amount                  Gross   Fed_lncome      Soc_Sec    Medi
Employee                                                                                                               Advance   Soc_Sec_ER    Medlcare_E   FUT
MaskedSSNo                                                                                                              SUI_ER
Reference
Date

ROD03                                    Regular              1600            725         11600        107 13           116.00                      -7 19   -1.68
DIMAS RODRIGUES                                                                                                          -063          -719         -1.68   -070
XXX-XX-1175
2540
12/20/13

ROD03                                    Regular              16.00           7.25        116.00       10713            116.00                      -719    -168
DIMAS RODRIGUES                                                                                                          -063          -7.19        -1.68   -0.70
XXX-XX-1175
2525
12/27/13




 11/13114 at 14 58.39 90                                                                                                                                               Page:3
                                                                                                                CONFIDENTIAL                                             SNI 0007

                                                                                                                    APP 296
  Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                Page 64 of 293 PageID 1091




 Employee Time Detail                                                                         '-dod:   12/2812013 • 1131201,
                                                                                            ~;
                                                                                        Woril:Group:
                                                                                                Job:
                                                                                            Pa,Type:


 Emptoyee D:                                 Name:   Dimas Rodriguez            Period:      12128/2013 - t/3/2014

                   nna.in               nm.sM BmffcHgtp ·       QfT HolQ      Jata1 Holt$
    12/2Sl2013 7:30-GO AM   J2/28l2013 •:00:00 PM       8 !50          0.00         UO
    t2J30l2013 7,20:00AM    12/3D'20t3 4:00:00 PM       8.$7           0.00         8.87
    12/31/2013 7:30:00 AM
                                -------------
                            12/31/l01U.~ PM             9.50           0.00         UO



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1/31201 .. 4:M·OS PM                                                                                                  Paga4ofl



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                                                           APP 297
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                               Page 65 of 293 PageID 1092




 Employee Time Detail                                                                      Period: 1/41201 .. - 1/10'201.
                                                                                         Emplorte:
                                                                                     Wor1lGraup:
                                                                                              Job:
                                                                                         Pa,Type:


 Employee ID:                               Name:   Dimas Rodriguez            Period:    1/4J201,4 - 1/10/2014

                 llDJ!I                Iin1LQ4 B=911itt:I~     QlIHcurs      Total Hop
    .119#2014 7:20.00AM     1/11»1'4 '4.00:00 PM      8.87         0.00           8.87
     1Jt0120t• 7:20.00AM   1n0t'20t• U0:00 PM         8.50            o.oo        8.50
                                                      17.17           0.00       17.17




111~201' l:55:02 PM



                                                    CONFIDENTIAL                                                            SNI0041

                                                        APP 298
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                  Page 66 of 293 PageID 1093



                                                                                              hdod: 1/11'2014-1/17/2014
Employee Tnne Detail                                                                         Empl~
                                                                                        WOik Cil'Ollp:
                                                                                                 .14b:
                                                                                             Pa,Ty.-:


ErnptopelD;                                  Name:    Dimas Rodriguez            Period: 1/1112014 • 1/17/2014

                lmlll                  !i!JAJ2II    ~tfobtn      Ql!Hotn       Jpbpltto,q
  t/1412014 7:20:00AM      t/1"2014 .t:00:00 PM          8.67           0.00         8.67
  t/1512014 7:1D:OOAM      ll15'20" 4:00:00 PM          8.83            0.00         8.83
  J/1612014 7:30:00 AM     l/11l'20J4 4;10.00 ,--       8.67            0.00         8.87
  1/1712014 7:30.00 AM     1117/2014 4:00:00 PM          8$0            0.00         8.ISO
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                                                           APP 299
 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                Page 67 of 293 PageID 1094




 Emplo,- Time Detail                                                                       Pwriad: 1/C8l2014 • 1124'2014
                                                                                       Empto,ee:
                                                                                      WcirtGroup:
                                                                                              Job:
                                                                                          P-wType:


 EmplOyff 10:                              Name:     Dimas Rodriguez            P8flod: 111812014 - 1J24J2014

                 IiDIJD
    1/Ul2014 7:20:00 AM
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                           1/22i2014 ,:00:00 PM
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                                                       17,17           0.00       17.17




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1131~" 10:5t-Q2AM                                                                                                 Page3of5


                                                       CONFIDENTIAL                                                          SNI 0043

                                                          APP 300
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                                                                                      P9riod: ll25/2014-1/l1/2014
Employee Time Detail
                                                                                  ~=
                                                                                 WcllfCG,aup:
                                                                                        JGb:
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Employ• ID:                                                                P..tod: 1t25Q014 • 1131/2014

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  11271:01"1 1:20:00 AM   112712D1A U0:00 PM       7.67         0.00          1.61
  112812014 7:20:GOAM     1/2812014 4:0t.00 PM     8.67         D.00          8.67
  1129#2014 7:20:00AM     1l2tn014.,~00 PM         UT           Q.00          U7
  1/30tZ0'4 7:20.00 AM    1J30/2014 4:00:00 PM     8.67         o.oo          8.67
  11311201, 7:30:00 ~     1131'2014 4:00:00 PM                  0.00          8.50
                                                  ¢18           0.00




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                                                    APP 301
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                            Page 69 of 293 PageID 1096




Employee r1me Detail                                                                   Pll'lod: 211/2014 - 217/2014
                                                                                     Emplope:
                                                                                 WOllcGtollP!
                                                                                        Job:
                                                                                     PaflWe!

EmployMID:                                                                 Period: 211/2014 • 21712014

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   ~147-20:00AM           2t4/Z01C •:OO:OO PII         S.67        0.00       Ui
   215#201-1 T:20:00 AM   2/512014 •:00:00 PM          8.57        o.oo       8.57
   ~ 1 4 7:30:00 AM       Vlll2014 ,:00:00 PIii        8-50        000        uo
   217/201.. 8:00.00AM    2/7/2014 4:G0:00 PU          8.50                   uo
                                                      34.34                  34.34




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                                                      CONFIDENTIAL                                                     SNI0045

                                                         APP 302
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Employee Time Detail                                                                             Pariod: ~ f 4 • 2/1412014
                                                                                              EmploVff:
                                                                                                   .,.
                                                                                          WorkGroup:

                                                                                              PayTp:


Employeem:                                    Name:     Dimas Rodriguez            Period: 218/2014- 2/14/2014

                li:!!&.ID               liml..Qi4    ltDWl:!m!I    Ql!Hours      TQlljlfglp
  2/10/2()14 1:30.'CIOAM    2110/2014 4:00'00 PM            U>            o.oo        81i0
  2/11/2014 7:30.-00 AM     2111/20144:(]0.00 PM           uo             o.oo        8.50
  2112"2014 1:30.00 AM      2/12J.2014 4:00:00 PM          8.50           0.00        1.50
  2/1 ll2014 7:30.00 AM     2/13/2014 4:00:00 PM           B.50           0.00        a.so
  2/1~14 7:30:00 AM         2114121)1-4 4:00:00 PM         8.50           0.00        a.so
                                                          12.50           0.00       ..2.50




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                                                             APP 303
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                                                                                                 P9rlad: 2115/201•-212112014
Employee Time Detail                                                                           E111p~:
                                                                                          WOrkGroup;
                                                                                                   Job:
                                                                                               Paylype:


Employee ID:                                 NM11:      Dimas Rodriguez            Period:      2/1oQ014- 2121fl014

                 IinUl                   Dnl.Qul    bllllm:1-faus   Qll:lb,,a    Total Hours
    2/17'2014 7:30:00AM     2117.1201• 4:00'00 PM           a.so         0.00           8.50
    2118'2014 7:30:00 AM    21181ZOU 1:00:00 N              5.50          0.00          5.50
    2/1912014 8:00:00 AM    2t1tn01• 3:50:00 PM             7.83          0.00          7il
    2t20.'2014 7:20:00 AM   2'2Gl201• 4:CO:OG PNI           UT            000          8.$7
    212112014 7:20:00 AM    21211201• uo.00 PU              B.!IG         0.00         a.so
                                                           39.00          0.00        39..00




21214014 3:&UO PM                                                                                                      flage30fl



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                                                               APP 304
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 Emptoy.e Time Detail                                                                                Pttlod: 2122/2014 • 2124'201<1
                                                                                                   ElnplafN:
                                                                                               tlotl!Gtoup:
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                                                                                                   PeJT,Pe:


 Employee I&.                                  Name:        Cunas Rodriguez              Period: 2/2212014 • 2/2812014

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    212<112014 1:30:CIOAM    2/2.u20142;30:00 PM                7.00            0.00        700
    2/2912014 T:30:00AM     212&'2.014 12:00:00 PM               4.50           0.00        4.50
    2127/2014 T:30:00AM      2121/2014 3:00:00 PM                7.50           0.00        TSO
    212912014 7:30;00 AM     21.28t2Q14 .f.00-00 PM             8.50            O.D0        a.so
                                                               27.50            0.00       ~750




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212&12m4 4:00:05 PU




                                                              CONFIDENTIAL                                                            SNI 0048

                                                                   APP 305
 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                 Page 73 of 293 PageID 1100




 Employee nme Detail                                                                          Pedod: 311/2014 •
                                                                                            EinptofM:
                                                                                        WarkGloup:
                                                                                                 JOb:
                                                                                            PaJT,iie:



 Employee ID:                                  NlfM:   Dimas Rodnguez            Pertod: 311/2014 •

                   :r.n..!!              liDl.!M Aeau11cf11Kr$   Qlit!Ql!!I    TctalHoura
      3151201-47:20:00AM      31!1201, l:50:00 PM         8.50          0.00         uo
      :wl201-4 7-20:(IC) AM   31612014 4:00-..00 PM       8.67          0.00         8.67
      317'2014 7"2CJ;GO AM    31712014 3:!50:00 PM        8.50          0.00         8.50
                                                         25.67          0.00        25.87




317/2014 3:56:50 PM                                                                                               hft3oft


                                                        CONFIDENTIAL                                                    SNI 0049

                                                            APP 306
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Employff Time Detail



                                              Name:      Dimas Rodeiguez            Period: 31812014 • 3/1412014
                                                     :
                Iil!IJa                 .ll!aJM      lteaulvHoin    Ql!Haura      TatalHotg
  3111'2.0"4 7:20:00 AM    311 t/2014' 4:00.00 PM           8.67           0,00        8.67
  31,2'2014 7-30:00AM      311 Z/201_. .t:00:00 PM          a.so           o.oo        1.50
  1''3'2014 7·30:00AM      311)121)1, U0:00 PM              8.31           G.00        8.33
  3/Ml201'4 7'.20"00/IIA   311-4/2014 3:~PM                 uo             0.00        8.50
                                                           34.00           a.oo       34.00
                                                                                                                    .--   .




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                                                          CONFIDENTIAL                                                        SNI 0050
                                                              APP 307
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                                                                                              Period: 3115n()14 ·3121/201
Employee Time Detli&                                                                      l!&nptOyN:
                                                                                         WotkGnlup:
                                                                                                Job:
                                                                                             Par~:

Enlployee ID:                               Name~       Oimas Rodnguez            Period: 3/15'2014 • 3/21/2014

                nm.Lo                 ~            Bloi!lltl.:laum   QtIHours   !OlilHaur$
   3'17/2014 8·10:00 AM    3117l2014 4:00:00 ,-,             7.83        0.00         7.83
   3119/2.01~ 7:30:00M/.   3119'2014~00:00 PM                &.50        0.00         uo
   3/19t20t4 7:,0:00 AM    31t912D1'4 4:00:00 PM             uo          0.00        8.50
   312111201• 7:30:00AM    ~014 4:00:00PM                    1.50        0.00        uo
   3121120t• a:10;00 NA    3121/2014 4:00:00 PM             7.93         0.00         7.83
                                                           4'-16         0.00       4110




                                                          CONFIDENTIAL                                                      SNI 0051

                                                              APP 308
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                              Page 76 of 293 PageID 1103




Employee Time Detail .                                                                  Pedod: W/2014 • l/2812Dt4
                                                                                    Emplorea:
                                                                                   Vl«IIG~p:
                                                                                          Job:
                                                                                       Pa,T~:


EmplQfff ID:                              N~       Omas Rodriguez            Ptttod: 3/22/2014 • 312812014

               ID.JD                 IimLlllll &~llll!Ho\lB   0/Jl:lmp     TQUIHQur1
   3'2~014 7.3G·OOAM     312412014 4:10:00 PM          U1           D.00        U7
  3'25/2014 7.30:00 AM   3"2$l2014 4;10.00 PM          8.67         0.00        981
  3126'2014 7·30·00AM    31261'2G14 4:00-00 PM         8.50         000         8.50
  3127'2014 7 30:00AM    312712014 4;00-00 PM          8.50         000         8.50
  3128/2014 7·30:00AM    3/2Bl20144:10:00 PM           8.67         000         8.67
                                                      43.01         0.00       4301




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                                                     CONFIDENTIAL                                                      SNI0052
                                                                                                              .•
                                                         APP 309
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Employee Time Detail



Employff ID:                                    Name:   Dimas Rodriguez            Period: 31'2912014 • 4/4/2014

                                                                   QaHocn        I9'111:1mP
   3131/2014 7.30:00 AM   3.'31fNl.4 4-00;00 PM            8.50           0.00         1!1.50
    4/2/2014 7:40-00 AM   4/2/201,43"40:00 PM              8.00           D.00         800
   414120147:30:00AM      41412014'4':00:00PM
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                                                              uo
                                                           8.50
                                                          25.00
                                                                          D.00
                                                                          Q.00        25.00




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                                                         CONFIDENTIAL
                                                             APP 310
                                                                                                                   ..   SNI0053
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 Employee rune Detail




 Employee ID:                                  NanNt:      Dimas Rodriguez             Period: 4/5/2014 -4/11/2014

                 I!ml.Jn                 ~            RfsullfHpulJ     Of[HowJ      Ifflllt:feurS
     .wi2014 7:30:00 MA      .tl8'201.C -4:00:00 PM            UO            0.00          8.50
     4/9/2014 7:20:00MI       ~1.4:00:CIOPM                    8.67          000           &67
    ~0,'2014 7:30.00AM      .rl0i20144:001JO PM                6.50          0.00          l.!O
    At1 t/2014 7:20:00 Ml   .tl1tl201H:OO:OO PM
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                                                                             0.00
                                                                             0.00
                                                                                           U7




-4111fl01U:5H1 PM                                                                                                    Paga 3of6



                                                             CONFIDENTIAL                                                        SNI 0054

                                                                 APP 311
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 Employee Time Detail




 Emptoye•ID:                                  Name:       Dimas Rodeiguez          Period: 4'1212014- 4118/2014

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     4'1l9/2014 7:50:00 AM   411&2014 A:00:00 PM              8.17          o.oo
     4117~01.c 7:30:00 AM    4117/2014 ,UI0:00 PM             8.50          ODO
     '4H912G14 7:20:00AM     4118'2014 3:50:00PM              uo            0.00
                                                             2&.17          0.00     Z517


                                       /     .wit.lj .• L
                                  c




41ttl2014 3 '6:57 PU



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                                                              APP 312
  Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                               Page 80 of 293 PageID 1107




 Employae Time Detail



 Emptoyee ID:                                 Name:   Dimas Rodrigu&Z           Petlod: 4119'1014 -412512014

                   llmLlP                IaJ&1 Ballllittlaln     ~Hours        llafHQ!n
     ~l22i201 .. 7:30:00 PM   ~ 1 4 3:50:00 PM          &33             0.00        8.33
     ~-47.20:00AM             ~1-44.00:00 PM            8.87            0.00        U7
     M25/201-4 7:20.00 AM     4'25/2014 3:50:00 pq      uo              D.00        I.SO
                                                        2550            0.00       25.50




4t25/201.f 3:53:51 PM



                                                       CONFIDENTIAL                                            SNI0056
                                                          APP 313
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                         Page 81 of 293 PageID 1108




Employee ,me Detail




                                                                       Period: 4/2612014 - 51212014

               DDl.l!1               IaaJM B••Hmn        WHauts      ]'.QlalHcys
  ~01, 7:30:00 AM        "29r.201• '--00:00 PM    8.50        O.OG         no
  4/30/2014 7:20;00AM    ~ · ..:oo:oo~            8.17        o.ao         &67
   512120t• n!O·OO AM     512f.!Ot• •moo Pt.a     1.17        0.00         8.57
                                                 25.M         000




                                                 CONFIDENTIAL                                         SNI0057

                                                    APP 314
    Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                              Page 82 of 293 PageID 1109

r


                                                                                             Peftod; 5131201, - 5/9f201il
    Employee Time Detail                                                                Emplope:
                                                                                       WorlcGrcup;
                                                                                               Job:
                                                                                           Pay Type:



    Employee   ,o~                             Name:   Dimas Rodnguez            Period·    5/3l2014 • Si9f20f4

                     DmJ!I               lml.Qsa Blgllla!tfoll~   Q!I.~        TqpfHoors
       ~1~      7:~:00AM      5M/201'4 4:00:00 PM          8.67         0.00        987
       S/71201' no   oo AM    517"'°\4 '4:00.00 PM         8.67         0.00        8.87
       51112014 7:20:00 A»    M/201:4 4:00:00 PM           U7           0.00        8.67
       S/9/'2014 7:A0:00 AM   Sl9f.!014 4:00:00 PLI        U3           0.00        8.33
                                                          34.34         o.oo       34.34




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                                                         CONFIDENTIAL                                                           SNI 0058
                                                             APP 315
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                            Page 83 of 293 PageID 1110




 Employee Time Detail                                                                     ...,._ ~10f.2014 • 5/16121114
                                                                                        e..t.-:
                                                                                    Worl:Glaup:
                                                                                             Job:
                                                                                        Plf!IType:


 Employee ID:                             Name:   Dimas Rodriguez            Period: 5/10/2014 - 5/16/2014

                DrlllJn              IimliM BIP~Hours        QIIHaln       I9JllHounp
   $113/2014 7 20:00AM    5113/2014 4:00:00 PM    U7                0.00         8.67
   911"'2014 7.~00 AM     51t"20144:00:00 PM         uo             o.oo         8.50
   &1512014 7-30.0QAM     5110/20144.00:00 PM        8.50           0.00         9.50
                                                    25.67           0.00       25.67




                                                                                                                 Plge3af6


                                                  CONFIDENTIAL                                                            SNI0059
                                                     APP 316
 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                         Page 84 of 293 PageID 1111




 Employee Time Detail




 Employ" ID;                                       Hime:      Dimas Rodriguez            Period: 5/17!l014 • 512312014

                    llms:.lD.                Iu..Qla      8-LIIIC lmull   QlIHours     TotalHoyrs
     Sl20t2014 7:20:00AM        5'20'201'4 <tOOOO PM               8.67         0.00         1.67
     51%1/2014' 7.20:00 AM      5121/201.& 4;00:00 PM             U7            0.00        t.67
    51221201"' 12:30:00 PM      512212014 4:00:00 PM              3.50          0.00         3.!10
     5123/2014 7: 10·00 AM      51231201-' 4:00:00 Pt.I           U3            0.00         8.83
                                                                 29.67          o.oo       29.67




SIZ3l201, • 01 :i)9 PU



                                                                CONFIDENTIAL                                             SNI 0060

                                                                    APP 317
  Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                  Page 85 of 293 PageID 1112




                                                                                               ~        6124'2014 • Sl30r.?014
 Employee Time Detail
                                                                                         W•~ E..-..:

                                                                                                 Job:
                                                                                             Pavlype:


 El'l'lplOyN I):                               Name:    Olmaa Rodriguez            Period: 512412014 • 513012014

                   Ii!m.!!l               I!l.!IUM Bt91!11~Houra   Ql[t!ma       TAfllHesa
     512f112O14 7 30:00 AM    512612014 2:00.ilO PM         6.50          o.oo        6.50
     5127/2014 7-30:00 AM     512712014 4:00:00 PM          8.50          0.00        8.50
     Sl28l2014 7:30·00AM      Sl28/2014 A:00.00 PM          8.50          0.00        1.$0
    5Q9/201,& 10:oo·OO AM     ~1,,:00.00PM                  6.00          GOO         6.00
     5l30/2014 7:30:00 MIi    513CV201A 3:40:00 PM          e.11          0.00
                                                             -·--·
                                                           37.67          Q.00
                                                                                      8.17
                                                                                     37.67




tit 1'2014 3:13;2$ PU                                                                                                   P,oe3ofl


                                                          CONFIDENTIAL                                                           SNI 0061

                                                              APP 318
 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                   Page 86 of 293 PageID 1113




 Emptoyee Time Detail                                                                          Penoct     513112014 •
                                                                                          E~
                                                                                         Wortc Grollf)!
                                                                                                  Jab:
                                                                                             Par Type:

 Employee ID:                             Name:        Otmas Rodng"ez              Period: 5131/2014 •

                 .IJmUl              J.ill».Ql4   81;s111!1-bft   Ql[Houni       TgtffHPSQ
     612'2014 7:30 OOAM    6/2/201' 4:00:00 PM            850           000           8.50
     6'312014 7:30·00 AM   613'201" 4:0000 PM             850           01))          8.50
     N201.t 7:3~001'M      6/4t2014 4.00:00 PM            850           000           8.50
     61~1• 7:)0;00AM       6i5f2014 4·00:00 PM            850           o.oo          a.so
     61&'2014 7:30:00 AM   M/20H .t.00:00 PM
                                                  ---     B.50
                                                         ~2.50
                                                                        0.00
                                                                        0.00   --- a.so
                                                                                     4250




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MJ/2014 4:05:32 PM



                                                         CONFIDENTIAL                                                   SNI 0062
                                                             APP 319
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                 Page 87 of 293 PageID 1114




Employee Time Detail                                                                       Petfod: 617/201. ·6'13'20l4
                                                                                       Empfa,N:
                                                                                      Wotll Gro\lp:
                                                                                              Job:
                                                                                        PIIJTp:


                                          Nanae:      Dimas Rodriguez           Period: 61712014 • 6/13/2014

               IiDIJD                1a!M        8Jslllll!Hours   oauma        JpglHgm
   6l9i201• f:4Q:OOAM     e&'201' 4:10:00 PM               850       o.oa          8.50
  6/'10/20141:20.00 AM   611Wl014 •:00:00 PM              8$7           0.00       8.87
  81111201• 7;20.00AM    6111ll014 f-.00:00 PM            S.67          000        8.67
  6/1212(114 7:30.00AM   6/1212014 4·10:00 PM             8.67          OOG        $.67
  611~141:20.00AM        6113'2014 4:00:00 PM             11.50         0.00       8.60
                                                         '3.01          0.00      43.01




                                                                                                                 p,g.sot&


                                                         CONFIDENTIAL                                                       SNI 0063
                                                             APP 320
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                             Page 88 of 293 PageID 1115




Employff Time Detail                                                                    Period: ~14'201-4 · 6'20/2014
                                                                                    En!plofte:
                                                                                   Worfc GICM!P:
                                                                                           Job:
                                                                                     Ply Type;


EmployNID:                             N,me:     Dimas Rodriguez            Period: 6114/2014 -6120/2014

               I.iUJl1                   ~ 8- tr• Holo      QtI ti9lo     Iota! Hmu
  e,1e,?Ot4 7:30:00 AM    611~0144:00:00PM .       8.50            0.00        8.50
  6'17/2014 7:30:00 /tM   lff712014<t00:00PM       8.50            0.00        1.50
  &'18/2014 7:30:00 AM    61t8'201u:oo:00 PM       1.50            o.oo        aso
  6119"2014 7:30:00 AM    6119/201-4 4 00:00 PM    8.50            0.00        8.50
                          e1201201 .. ,-00:00 PM   a.so
                                                 o.oo e.so
  ~Ot4 7:30:00 At.I
                                          -------------
                                                  42. 50           0.00       ,2.!JO




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                                                   CONFIDENTIAL                                                           SNI 0064

                                                      APP 321
 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                   Page 89 of 293 PageID 1116




 Employee Time Detail                                                                          Period: !1121/2014-6127/2014
                                                                                              linl~:
                                                                                          Wortc Group:
                                                                                                  Job:
                                                                                            Paflype:


                                             NatM:       Dimas Rodnguez            JJeriod: 612112014 - 8/2712014

                 lilM..!a               ~           Bmu111, tialm   Ql!tjg31!1   JotalHoqfJ
    612"2014 7:30:00 AM     M~1• 1:00:QO PM                 5.50          0.00         5.50
    045/2014 7:30:00AM      8~1• •:00.00NI                  8.50          0.00         850
    6/2Sl2014 7:30:00AM     612t12014 4:10:00 PM            8.67          0.00        8.67
    6/2712014 7:20:00AM     11127J201, •:C0.00 PM           8.67          0.00         8.67
                                                           31.34          0.00        ll.34




6'27120144:03"47 PM



                                                           CONFIDENTIAL                                                       SNI 0065
                                                               APP 322
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                                                                                                     ~         e/281201'· 7/3/201-4
Employee Time Detail                                                                               Eln,.,,_;
                                                                                               WOrkGfollca:
                                                                                                        Job:
                                                                                                   PfltTJP*;


Employee ID:                                  Name:      Dimas Rodriguez             Period: 6'2812014 - 7/312014

                Ilmtt.1!1               li!DUM       BlllaldatHa!n   Oi!t:IAll!I   Jgtaf Ho
  &'30/2014 7:30:00 Ml      6l30/20144:00.00 PM              uo            0.00          8    50
   711ntl14 7:20:00 Ml       7/1/2014 -4:00-00 ~             &.87          0.00          &.67
   7121201" 7:30:00 AM       1l2/2014-4-00:00 PM             8.50          0.00          8.50
   7'31201 .. 7:20:00 NA     713f.!01-4 ,:Q0:00 PU           8.87          0.00          8.67
                                                            3434           0.00         34.34




                                                           CONFIDENTIAL                                                               SNI 0066
                                                               APP 323
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                                                                                          Perioef: 7/5l2014 • 7tt1J2DJ4
 Employee Time Detail                                                                   e.n..,.:
                                                                                    Wod&Graup:
                                                                                            Job:
                                                                                        P-,Typ9:


 Employee ID:                               Name:   Dimas Rodriguez           Period: 7/SJ2014 • 7/11/2014

                 IlD.14               lm.211 Bro!ll[l:!m       Ql[Hpgs       Totflten
      7nJ20t4 7:30:00 AM    7nl201' 4:00:00 P'-1       a.50           0.00       8.SO
      7/81Z014 7:30:00AM    718/2014 3:50:00 PM        l»             000        8.33
     tn0l2014 7:30·00AM    711°'201' 4.00:00 PM        8.50           0.00       uo
    7n112014 7:30:00AM     7111/2014 3:50·00 PM        8.33           o.oo       8.33
                                                      33.66           G.00      33.88




7/11/2014 Hoi:17 PM                                                                                               PaQelof7



                                                     CONFIDENTIAL                                                            SNI0067
                                                         APP 324
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                                                                                                 Period: 7l12/l014 • 7/1712014
 Employee Time Detail                                                                         Eml*l,ee:
                                                                                             WotkGroup:
                                                                                                     Job;
                                                                                                 P#fTfp&:


 Employee lO:                                 Name:        Dimas Rodriguez             Period: 7112/2014. 7/1712014

                  IlmuJ                  ~           Btslllllltt:llilld   ga:Houra   JggjHpur,
     7114'2014 7:40:00 Nlr   711"'2014 3:50:00 PM                8.17         o.oo        8.17
     7/15'2014 7:20:00AM     71W20H 4 00:00 PM                   U7           0.00        8.67
     711~14 7:JO:OOAM        7116/2014 3:50:00 PM                8.33         0.00        s»
     7/11r.2014 7:40:00AM    111112014 .a:oo:oo PM               U3           0.00        8.33
                                                               3350           0.00       l3.50




7117/2014 3:58:'9 PM                                                                                                    Page3of7



                                                             CONFIDENTIAL                                                        SNI 0068
                                                                   APP 325
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 Employee Time Detail                                                                                       f',tdod: 7119/2014 • 712512014
                                                                                                      Emplavee:
                                                                                                     Worl&Group:
                                                                                                            Job:
                                                                                                          PartT,,.:


 Employee 10:                                   NarM:        Dimas Rodriguez                 Period: 7/1912014 • 7125/2014

                   I!l!1!..k!              Eml.,Qyt    Bllillllt!Htlllf&   QlI l::1mlll   Total t!qtllJ
     7121/2014 7:30~.AM         71'2112014-t00-00 PM              8.50           0.00            uo
     f/2212014 7:20:00AM        712212014 3:50 00 PM              8.50           a.oo            8.50
     712312014 7-20:00AM        7J23l2014 4:00 00 PM              8.61           o.oo            8.67
     71241201-4 7~-CO AU        7124"10144:CO:OO PM               8.67           Q.00            8.&7
     7125t201-4 7 30:00AM       7/25'20144:c.l 00 PM              uo             o.oo            8.50
                                                                42.84            0.00




71Z51Z014-4:03;1 Z PM



                                                                CONFIDENTIAL                                                                 SNI0069
                                                                      APP 326
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Employee Time Detail                                                                                 Pvriod; T/2&'2014 • 811/2014
                                                                                                 11:fflplo,":
                                                                                          Wen~
                                                                                                     Job;
                                                                                                 Pa,Type:


                                          ...,._:   Dimas Rodriguez            Period~ 7'26l2014 -811/2014

               Iia!!l                DIIIJ:M RegtnrHoum        00: How,      Iota! Hcwm
  7/28l201-4 7.30:00 AM   7!2Sl2014 4:00:00 PM         UO             0.00         uo
  7J.29l2014 7:30:00AM    7/29t20144:CO:OOPM           8.50           0.00         a.50
  TJ30l2014 7:30:00Ae.t
  7/31/2014 7:30;00.AM
                          1/30l2014':00:00PM
                          7!)1J20144:00:00PM     _______ ____
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                                                     CONFIDENTIAL                                                                   SNl0070
                                                         APP 327
 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                     Page 95 of 293 PageID 1122




                                                                                                   l'ariad: 8116/20,4-8122/2014
 Employee Time Detail                                                                            Empaop.:
                                                                                            W041tGtaup;
                                                                                                      Job:
                                                                                                 Pa,Typ«


                                                Name:       Oimn Rodnguez             Period: 811612014 • 8122/201-4

                   ImJn                    Iim.Qlll     BcaYflrHmus   O!I.l:lm!!J   TptfltiMJ
    8111/2014 7:30:00 ~       8118n014 4·0():00 PM             8.50         0.00         8.50
    8119/2014 7:30.00 N,/J    811912()1,4 4:05:00 Pl4          B.58         0.00         $.58
    8120/2014 7-30:00AM       ~ 1 4 4:05:00 PM                 ua           0.00         158
     er.i?1/l0t4 7:30:00 AM   112i12G1,U:OO:OO PM              8.50         o.oo         8.50


                              (;2                ~~             .           o.oo        34.1EI




                              !/;kt-




1119/2014 12:13 08 PM



                                                             CONFIDENTIAL                                                         SNI 0071
                                                                APP 328
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Employee Time Detail                                                                           Period: 8'23'2014 • 812912014
                                                                                            EnlP'O,N:
                                                                                        WorkGnlup:
                                                                                              Job:
                                                                                            Pa,Type:


Employee IO:                               Name:       Dimas Rodrigue2            Period: 8/2312014 • 8129(.2014

                l!mJa                 IiDI.Qld    Res11111! HquJJ   Q(T . . .   TgyJ Haug
  8/26/20" 7:30:00 AM      f/2Sl2014 4:00;00 PM             t.$0         0.00        8.50
  ~J201• 7:30:00 AM        8'27no144:0G:00 PM               6.50         ODO         UO




                                              b -~
  8128/2014 :':30.1JO NA   8t.W2014 4.00:00 PM              8.50         0.00        &50
  8/29Q014 7-30:00 AM      8'291201-44.0000PM
                                                  -------------
                                                            8.50         000         8.50


                           ~                                                        3.00




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                                                         CONFIDENTIAL                                                            SNI 0072
                                                              APP 329
 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                   Page 97 of 293 PageID 1124




                                                                                               '-tfc,d: 8/30l2014-91512014
 Employee Time Detail                                                                       l!m~:
                                                                                          'WcM'tG,oup:
                                                                                                  Job:
                                                                                             l>-,T,-.:


 Employee ID:                                 Name:     0imas Rodriguez            Period:    813012014 • 9/5/2014

                   n.J.B                !.imt.OJa Blal~I[ !:!mill   Q{Tf::loun   tote! Hovm
      911/2014 7:3,0:00 /tM   911/20144:00~ PM              t.so          o.eo         a.so
      912120141:30:00 AM      9121%0144:00:00 PM            uo            0.00         8.50
      1131201~ 7;30.00AM      9f.J/2014 4:00:00 PM          8.50          0.00        1.50
     914/2014 7:30:00 AM      9141201' 4.00:00 PM           1.50          0.00         uo
     9/Sl2014 7:30:00AM       91512014 4:00:00 PM           8.00          2.50         a.50
                                                                          2.50        42.50




9'19'201412:15.34 PM                                                                                                 Paga3of8



                                                          CONFIDENTIAL                                                          SNI0073
                                                              APP 330
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 EmployN Time Detail                                                                           Plriod: 9/&l2014 - 8(12/2014
                                                                                            EmplcljlN:
                                                                                           WorkGn:,up;
                                                                                                   Job:
                                                                                               Pay Type:


 Empjo)'ee I>:                               Name;       Dimae Rodriguez            Period:     9/612014 - 9/12'.2014

                  In.In                 lill:.0ld   Raoula[ HGIUI   0£Il:!'2uii   Ittll HQum
     919120t4 7.30:00AM       9'Q/2014 4:00:00 PM            8.50          0.00         8.50
    9110t.Z014 7 30:00 />M   9110/201•U:1~00PM              UT             o.oo         867
    9111/2014 7:30:00.AM     9'11'201U 00-00 Pl,I           aeo            0.00         850
    5'12/2014 7:30:00AM      9112/2014 4.10:00 PM           8.57           0.00         8.87
                                                           34.34           D00         34.~




                             0~:-




9119/20'412:17:22 PM


                                                          CONFIDENTIAL                                                        SNI 0074
                                                               APP 331
  Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                     Page 99 of 293 PageID 1126




                                                                                                  PetiOd; 9Jt312014 • Wt
 Employee Time Detail                                                                           Empq•:
                                                                                            WcrllGroup;
                                                                                                    Job;
                                                                                                Pay Type:


 Employee ID:                                 Nante:   Olma$ Rodriguez                Period: 9/13/2014 -9/19/2014

                  I!!YJn                 liml.!M BteM,la{ Hoon          PfI t19YG    I@ Hew,
     8/16120,4 7:20:00 AM    9/1612G14 4:00:00 PM         8.67               0.00        3.&7
     9(17120t4 7:30;00 AU    9111Q0144:00:00PM            1.50               0.00        B.50
     911et.2014 7:30:00 /W   9118/2014 ~00.00 PM          8.50               0.00        UO
                                                                 uo
     91191201, 7:30:oo AM    9.119'2014 4.00:00 PM
                                                     -------------
                                                          a.so               o.oo
                                                                             0.llO      34.17

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                       r I,/(~}, -, f:tJ,                        ::s.




9'19'2014 4:10:33 PM



                                                         CONFIDENTIAL                                                      SNI 0075
                                                             APP 332
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                               Page 100 of 293 PageID 1127




Employee Time o.tail




                                            Name:   Dlmas Rodriguez            Period: 9/'l0l2014 • 9/2612014

                IiDIJll                Il1lluM BtllW H9ln      0/T Hoots     IPIII Hmn
  9122/2014 7:30:00 AM     tm/2014 4:00:00 PM         S.50            o.oo        8.50
  9'23110t•7:30:001'M      91231201-4 4:00:00 PM      8.50            o.oo        a.so
  91241201, 7:30:CIO/IM    9'2~144·00:00 PM           8.50            o.oo        uo
  ~ 1 4 7:30:00AM          912!/2G144-00:001'U        8.!50           0.00        8.50
  9l26/2014 7.30:00 Alli
                    ~
                           im/201H.:00 00 PM
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                                                      UO
                                                     -Z.50
                                                                      0.00
                                                                      0.00
                                                                                  8.50
                                                                                 Q.90



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                                                     CONFIDENTIAL                                                     SNI 0076
                                                         APP 333
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Employee Tnna Detail




                                                      Mame:   Dimas Rodriguez            Period: 9127J2014 ~ 101312014

               D:13*..!n                          D.muM   Rgll( HPYt     0/I Haul$     I<AA! Hguo
  i12!112014 T:30:00AM           9/2912014 4.00.00 PM            8.50           000          8.50
  9f.J0/2014 7·30:00/IM          913W201-1-4:00:00 PM            8.50           0.00         8.!50
  i01112014 no:00AA1
  1oqJ201,4 7:30.00AM
  10lll201• 7:30:00 AM
                                1w1no1411.30:00AM
                                 10/2/201,U:4)0:00 PM
                                 100l20t• 4:0000 PM     ___________
                                                                 4 oo
                                                                 8.50
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                                                               CONFIDENTIAL                                                 SNI0077
                                                                   APP 334
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                       Page 102 of 293 PageID 1129




Employee Time Detail




Employee IO:                                  Hanle:      Dirpls Rodriguez            Period: 10/412014~ 10/1012014

                 !imU)                   l!DI.Qsd     Rcs,ull( Hqtn    Oft Hqurs    IN! l1AYI\
  I0181Z01 .. 11:30:00 AM    10All20144~00 PM                 4.50           0.00         uo
   1Q/9r.Z0149:00110AIII     10l9/'l014 4;00:00 PM            7.00           0.00         7.00
  10/1012014 7:30:00AM      t0110l201-i 3:50:00 PM            8.33           0.00         U3
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                                                             CONFIDENTIAL                                             SNI 0078
                                                                 APP 335
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                     Page 103 of 293 PageID 1130




 Employee irme Detail



                                              Name:       Dimas Rodriguez            Period: 10/1112014 • 1011712014

                  IimlJn                 ~           "-'-t l:IQIIII   D!J:Haurl    IQtaltlPIO
   10t151lD14 7 40:00AM     111115'2014 l:50:00 PM            UT            0.00         8.17
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10f17l.2014 3:41:53PM


                                                            CONFIDENTIAL                                               SNI 0079
                                                                APP 336
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                Page 104 of 293 PageID 1131




                                                                                             'Periao: 1011$12014-10l24l201
Employee Tima Detail                                                                   Einpk)fee:
                                                                                      WorllGn,uo:
                                                                                               Job;
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Employee- I>:                               NalM:     Omas Rodriguez            P1wtod: 10/18/2014 • 10124Q014

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  1Cll'22l2014 N0:00 AM    10l22/2014 4:00:00 PM         8.51          0.00        8.IST
  1012312014 7:30-00 AM    1ctml2014 4 . ~ PM            8.50          0.00        8.6G
  10124!2014 7:30:00AM     1~1-t 4:00:00 ?M              850           o.oo        uo
                                                                       0.00       H.67




totZ<1/2014 3:55:56 PU


                                                        CONFIDENTIAL                                                         SNI0080
                                                           APP 337
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                       Page 105 of 293 PageID 1132



                                                                                                 Period: , ~ , . • tOl3tJ2014
Employee Tim• Detail                                                                          EtnpfoJte:
                                                                                              WM~
                                                                                                      Job:
                                                                                                  PatTn,t:


Employee ID:                                     Name:      Olntas Rodriguez            Period: 10f.2:5'2014 • 10/31/2014

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  1CW291'Z014 7:30:00 Ar.I   10t'29#2014' 4:00:00 PM           8.50            0.00        8.50
  10t30l2014 7:30:00 /iH     1~1A 4.00:00 PM                   aaa             0.00        8.50
  1001'2014 7.30:00 NI       1Gt3 Jl201A A:00:00 PM            a.so            0.00        uo
                                                              25.5()           0.00




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                                                              CONFIDENTIAL                                                      SNI 0081
                                                                 APP 338
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                  Page 106 of 293 PageID 1133




 Employee Time Oaf.ail




                                             Name:      Dimas Rodriguez            Period:    11111201-4 - 11nl2014

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     f ll5/2014 720.00 AM   111&201-H:00-00 N               a.s1          a.oo         u1
     111'61201-41.20:00AM   l tl&f2014 '-00;00 PM

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t 1121120f4 3:33:08 PM                                                                                            Pagl3at5


                                                         CONFIDENTIAL                                                    SNI0082
                                                             APP 339
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                    Page 107 of 293 PageID 1134




                                                                                                  Period: 1tllr.Z014 • f lf14'201-t
 Employee Time Detail                                                                       fl.m,&arw:
                                                                                           WarttO,.,.
                                                                                                    Job:
                                                                                                P_,Type:


                                                                                    Period; 1118120t4-11/14J201<1

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  11/13'2014 7·20:00Mt     11113'2014':QO:OOPM                  U?         D.00         U7
  t 1114/201_. 7:30:00AM   11114/201,t .f:G0:00 PM
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                                                             CONFIDENTIAL                                                             SNI0083
                                                                 APP 340
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                           Page 108 of 293 PageID 1135




 Employee rme o.tail                                                                                    ,-,tod: 11115'2014 -11121120,.
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                                                                                                          Job:



 Em,loyee IO:                                    Name:       OimaS Rodtiguez             Period: 1111512014 -11/2112014

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    11l1!ll20147:30:00AM      11119'2Dt4 4:0G«l PU                8.50       0.00             a.so
    11./204014 7:2Cl:OO N,A   11/2012014 •1:10-00 PM              a.a,         0.00           U3
    Hl21J2014 7:2ll:00 AM     11/21,'2014 4-00:<IO PM             &.67         0.00           8.67
                                                                 2600          0.00          2900




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                                                                CONFIDENTIAL                                                             SNI 0084
                                                                     APP 341
  Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                     Page 109 of 293 PageID 1136




 Employee Time Detail                                                                             P9dod: 1 f122120f4 • 11/2tl201
                                                                                                e,nptopa:
                                                                                            WanG,wp;
                                                                                                     Job:
                                                                                                PayTyps:


 Employee IP:                                       Mama:   Dimas Rodriguez           Period: 11J2212014 - 11128l2014

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    11124/.2014 7-30:00AM        11/2'412014 4. tQ;OO PM       8.67           0.00       867




                                            a~.;
    1 1 ~ 4 7;31):(10.AM         t112$120144:tO:OOPM           8.87           0.00       U7
    111261201' 7.30:00AM
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t 1'26120M 3:59: JIS PM.                                                                                                 P1Qe 3 ol 5



                                                              CONFIDENTIAL                                                             SNI 0085
                                                                  APP 342
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                   Page 110 of 293 PageID 1137




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 Employee Time Detail                                                                          ~:
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                                                                                            PayTypr.


 Employee IO:                                 Name:       Dimas Rodriguez           Pel'lod:   11r.?9a014 - 121512014

                  Dml.lJl                 ]jmjM      .Reoula[ UQl!IS   Mt:fmul     Wttoum
    12/3l2014 no:ooAM       l21312014 &.00:00 PU               U7           0.00       U1
    12f4J2014 7:20:00 AM    12/4'201-4 '1:00:00 PU             8.67         000        1..87
    12/5QQt4 7;:t0:00AM     12/5/2014 4 00:00 PM               U7           o.oo       8.67
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                                                            CONFIDENTIAL                                                      SNI 0086
                                                                APP 343
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                      Page 111 of 293 PageID 1138




  Employee Time Detail                                                                               Period: f2/6l2014 • , 2,1,12014
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                                                                                                 hyTn,r.


 Employee ID:                                    Name:       Dimas Rodriguez            Period:     121612014 - 12112/2014

                    ll!M.lll                ~           Rmt!IJl:Houls   Q![Homs       Iota! Hours
     12/10/201-4 7:30-00 AMI   12110l20l4 41IO:OO PM            8.:50       Q.00            uo
     12111/201-4 7:30:00 AM    12/11/2014 4:ott.00 PM           850            0.00         8.50
     12112'201• 7:30:0DAM      12/12/2014 4.00:00 PM            8.50           0.00         B.50
                                                                               0.00        25.50




 t2/11J:Z014 C:01 33 PM                                                                                                      Page3af5




                                                            CONFIDENTIAL                                                               SNI 0087
                                                                APP 344
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 Employee Time Detail                                                                                Pttlod: 12/131201•- 12118/201
                                                                                                   Emplo,-:
                                                                                               Wo,tc Group:
                                                                                                       Jcib:
                                                                                                 Payl'ype:


 Employee to:                                     Name:       Dimas Rodriguez           Period:     12/1312014 -12/19/2014

                   Iim!t.lJJ                 IlDI..O.II   Rl!laila[ ti~   ~Hmn         ttWHovra
    t2/16"2014 7;lS.00 AM      12118'201" 4·00:00 PM              3.58          0.00        8.58
    12/171201' 7;30.00 AM      1211712014 4 00:00 PM              1.50          ODO         uo
    1211&'201' 7;25.0GAM       1219111201<1 <I 00:00 PM           3.58          o.oo        8.58
    12/19"20141 7:$0:00 AM     11/19/2014 400:00 PM               8.17          0.00        8.t7
                                                                 33.83          0.00       33.83




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12/1S11'2ot4 S:9:30 PV                                                                                                     PlgelofS



                                                                 CONFIDENTIAL                                                         SNI 0088
                                                                      APP 345
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                       Page 113 of 293 PageID 1140




 Employee Time Detail                                                                               Period:   12120120T• • f2'2tl201
                                                                                                  Elnpqee:
                                                                                              WortGnlav-
                                                                                                       Job:
                                                                                                  Pay Type:


 EmployN tO:                                   Name:      Dimas Rodrigllez            Period: 1212012014-1212612014

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    1 ~ 1 4 7·30:00~         12ml201•U:OO:OO PU               850            0.00         uo
    1Zl23l201'4 7-20:00 AM   12/23l'2014 3:50:00 PU           8.50           0.00         uo
    1~41201-4 1.:al:00 NI,   12/2-4120U 3:30:00 PM            8.17           0.00         8.11
                                                             25.17           000         2$ 17




1212.cr.!014 3:27:27 PV




                                                             CONFIDENTIAL                                                              SNI 0089
                                                                APP 346
         Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                    Page 114 of 293 PageID 1141




              DIWlS RODRl::;UES                                                        EC1ployee ID: ROD03
                                                                                       Social Sec f
                                  This Check       Year to Dai::e
     Gross                            320.00          1,600.00                              Hours              Rate                       Total
     Soc_Sec                       · -19 .84            -99.20 Regular                      40.00              8.00                      320.00
     Medicare                          --4.64           -23.20
     Advance                        -295.52            -827. 46
                                                          ·.~




     Net Check:                  vor:>                              'i'otal                                                              320.00
          Pay Period Be~in.,ing: Feb 8, 2014                                                   Check Date:· 2/14/14
             Pay Period Ending:_ Feb14,2014                                           Weeks in Pa~ Period: 1
                                                  SHAN NAMKEEN, 11-ie -
                                                  5440 ~OHAWK CT      .
         .F
                                                  THE COLONY, TX 75056

                                     .
                                    ...              Ched< Number:                                             Feb 14, 2014

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       VOID
                                                                                                     - VOID




              DIMAS RODRIGUES
              12879 S JOSEY lN 170
              FARMERS BRANCH, TX 75234




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         DIMAS ·ROD!UGu"ES                                                          ·En!Plcyee !D: .:FIOD03
                                                                                    Social Sec#
                             Thi.II Checic      Year to Date
                                                                                        · Bo-::irs            Rate                   Total
 Gross                            320.00          1,600.00
 Soc__.sec                        -19.84             -99 .20 Rec;ular                   40.00            a.'oo·.            ... ·    320.00
Medicare·                          -4.64           . -23.20
Advance                         -295.52             -827.46




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                                                                                                                                    I      EXHIBIT
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Net Check:                  VOIP. ·                             Total                  40.00                                        320.00
    Pay Period Beginning: Feb 81 2014                                                          -Check Date: 2/14/H
       .Pay ?eriod .Ending: Feb 14., 2014                                          Weeks in Pay Pe=iod: 1

                                                  Check Number: 2579


                                                                                                                                PL_Docs 0001
                                                                  APP 347
                   Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                          Page 115 of 293 PageID 1142




                              DIMAS ROD!UG.JES                                                          Employee ID: ROD03
                                                                                                        Social Sec.f
                                                 This C:ieck        Year to Date
             Gross                                   22,.00           4,964.00·                             Hours                 Rate                 Total
             Soc_Sec                                    -13.89         -307. 74 lle-;w.ar                   28.00                  !LOO                224.00
             Medicare                                    -3.25           -71.SS
            .Apva.,ce                                                -1,900.00




          Net Check:                              $206.86                           Total                  28.00                                      224.00
                           ?ay Period Beginning: May 17, 2014                                                  Check Date; 5/23/14
                              Pay Period l!'.ndii::g: May 23, 2014                                    Weeks in Pay Period: 1
                                                                    SHAN AAMKEEN, INC
                                                                    5440 MOHAWK CT
                                                                    THE COLONY, TX 75056

                                                                       Check Number:      2765                                    May 23, 2014
                           :.··:--:.

                                                                                                                         206.86
         .:::: ...... _.                                                                                                                            . ..
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     ~:~ ~~t~\tundred Six and 86/100 D~li~
                             DIMAS RODRIGUES
                             12879 S JOSEY LN 170
                             FARMERS BRANCH. TX 75234




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                     DIM1>-.S RODF.IG~ES.                                                            E111p;.ciyee· I~~- .ROD03
                                                                                                     Social Sec f
                                            This C!leck          Year to Date .
                                                                                                          Hours                  Rat:.e            l'otal
  Gross                                              224.00         41.964. 00
 Soc_sec                                             -13.89.         -.307 •.14 Requl·a:-                28.00              e:oo· ·. .. .          224.00
Medicare                                              -3.25           -71 • .95
Advance                                                           -11900.00'
. ·r:·                                                                                 ••• • ·: 't




                                                                                  APP 348
        Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                               Page 116 of 293 PageID 1143




              DIMAS RODRIGUES                                                                     Employee :D: ROD03
                                                                                                  Social Sec f
                                        This Check                  Year to Date
   G:::-oss                                 288.00                     5,252.00                       Hours                    Rate                 ':otal
  SOC..,!.Sec                               -17.86                      -325. 60 Regu.:.ar            36.00                    8.00                 288.00
  Medicare                                   -4. l!I                     -76.13
  Advance                                                             -l,9C0.00




  Ket Check:                              $2€5.96                                  Total             36.00                                       288.00
         Pay Period Begirining: May 24, 2014                                                             Check Date: 5/30/14
            Pay Period E:idiog·: May 30, 2014                                                   Weeks in Pay Period: l
                                                                   SHAH NAMKEEN, INC
                                                                   5440 MOHAWK CT
                                                                   THE COLONY, TX 75056

                                                                      Check Number:    2n4                                    May 30, 2014


                                                                                                                    265.96
                                                                                                                            ·' . : .           ·:.:. :. :.
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              DIMAS RODRIGUES
              12879 SJOSEYLN 170
              FARMERS BRANCH, TX 75234

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        !>:tas RODP.1GUES                                                                    • .Emplc,yae--· ID: .R!.ID03
                                                                                               Social Sec t
                                     :rhis Check                 ~ear to Date
                                                                                                    Bours                   Rate             Iotal
Gross                                     288.00                    5,252.00
Soc_sec                                   -17.86                     -32s. 60 ReClllllar          36.00                8: 00       :         288.DO
Medic~e                                    -4.18                      -:76.13
                                                                  -1>900.00.




                                                                                  APP 349
                     Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                      Page 117 of 293 PageID 1144




                                   DIM.llS R(?D;;iIGOE_S
                                                         .                                                                                           E.-np.loyee ID: ROD03
                                                                                                                                                     Social Sec f
                                                                          This-Check                  Year to Date
               Gross                                                          320.00                    5,572.00                                          !!ours                     Rate                            l'otal
               Soc_Sec                                                        -19.84                           -3,s. u        Regular                     ,o.co                      8.00                            320.00
               Medicare                                                        -4.64                            -so. 77
               Advance                                                            -100.00                 -2,000.00




              Net-C!leck:             $195.52                                                                                   Total                    40.00                                                       320.00
                  Pay Period Beginning: May 31, 2014                                                                                                        Check Date: 6/6/14
                      Pay ~erlod Ending: Jun 6, 2014                                                                                               Weeks in Pay Pe~ioq: l
                                                                                                                        ..
                                                                                                      SHAN NAIIIKEEN, INC
                                                                                                      5440.MOHAWK CT
                                                                                                      THE COLONY, TX 75056

                                                                                                            Check Number;             2785                                          Jun 6, 2014



                                                                                                                                                                          195.52
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                                  DIMAS RODRIGUES
                                  12879 SJOSEYt.N 170
                                  FARMERS BRANCH. TX 75234




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                      DIMAS                    ROU!UGUES                                                                                        . :ZU.pl.oye,e,.   m·~- ~ODOJ
                                                                                                                                                · :Social Sec f
                                                                   This Check                   Year to Date
                                                                                                                                                        Hours                    Rate                          l'ot"al
       Gross                                                                 320.00               51 572. 00
       Soc_Sec                                                               -19.84                     -345. 4t Requlc                               '40.00                  a.'oo                ..
                                                                                                                                                                                                   •          320.00                       •
      'Medicare                                                               -4.64                       -·B0.'17
       .Advance                                                            -100.00·                  .-2.,000.00·
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·-    Net Check:· ·'- ·
                  Pay Peri~~ Begimiing: May 31., 2014'
                                                             .~ ·· ··-·· $'1.95;52 · · -:::~- _-_-;:. ·                  · '1'ota1           · .:. ·:. 40.-00         ··a·'
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                        ·Pay
                         Period ~ding~ . .Jun 6, 2011··.                                                             .                         Jleeks·. . "il:i.PaY Period: 1                                                                            .




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                   Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                              Page 118 of 293 PageID 1145




                            DIMAS RODRIGUES                                                                                                   Employee ID: ROD03
                                                                                                                                              Social Sec f.
                                                            · Tt.i~ · check ·                    Year to Date
               Gross                                               320.00                          s,&92.00 .                                    Sours                    Rate                   Total
              Soc_Sec                                              -19 ._84                         :..365.-28 Reg,..ilar                        40.00                    8.0C                   320.00
              Medicare                                               -4-.64                           -85.41
              Advance                                             -100.C0                         -2,100.00




              Ne:: Check:                                       .$195. 52                                            Total                      40.00                                           320.00
                       ?ay Period Beginning: J-..n    ·2014                          1;                                                             Check Date: 6/13/14
                          Pay Perio: End=.~: Jun 13, 2014                                                                                  Weeks in Pay Period: 1

                                                                                                 SHAN NAMKEEN, INC
                                                                                                 $440 MOHAWK CT
                                                                                                 THE COLONY, TX 75056

                                                                                                   Chad< Number: 2792                                                     Jun 13, 2014

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                                                                                                                                                              195.52
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         1.,_. ~'-~~ljundred               Ninety-Five and          5?N P9 Dollars
          ~   ~--:.-. -.~                                       ...··                             ..........
                            DIMAS RODRIGUES
                            12879SJOSEYLN170 .
                            FARMERS BRANCH, TX 7523'!



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                                                           This Check                      Year     to .DZlte-· ~.:.
                                                                                                                                                llours                Rate                Total
        Gross                                                  320.00                            s, 892. 00
        SocJec                                                                                    ·-36s. 2~· l(equ:1:ar·-                     40.00                a: oo -·.• :··<.:      320.00
       .Medicare
       ·:Advance                                             ·-100• .00
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    .,:-:,:~ :,.. · Pay Peri~d 3ndinr.r:                        -~-i3.,
                                                                                     2014
                                                                                      ·2014       · ,·:: '. · ·. ·       . ·. ·_._.· ·
                                                                                                                                                . '; \::hec:k Date:
                                                                                                                                         :Weeks ..in.Pay Period-: 1 · · · ·
                                                                                                                                                                           6/13i~~- - .
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r!IJ.~ffi!~!Jr:i1BL · 1~1Rll}~t~ti~~~;i:~f~~f~~1n1;,~~·]                                                           APP 351
                    Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                           Page 119 of 293 PageID 1146




                                DIMAS·RODRIGvES                                                                                                          Employee Ip: _ROD~3
                                                                                                                                                         Social
                                                                                                                                                          .     Sect
                                                                                                                                                                   ,·:
                                                                    This Check                    Year ~o Date
               Gross                                                    360.00.                             6,252.00      ,                                   :Sours                          Rate                Total
               Soc_Sec                                                  -22.32                               -3&7.60 Regular                                  40.00                             9.00              360.0(I
               Medicare                                                  -5.22                                -90.63
               Advance                                                                                     -2,100.00




             Net Check:             $332_. 46                                                                             Total                              40.00                                              360.00
                 Pay ?eriod Begixming: J;m 14, 2014                                                                                                            C~eck Date: 6/20/14
                    Pay Peribd Ending: Jun 20, 2014                                                                                                   Weeks ~D Pay Period: 1
                                                                                           .. SHAN NAMKEEN, INC
                                                                                              5440.MOHAWK CT
                                                                                              THE COLONY, TX 75056.

                                                                                                           Check Number:        2799                                                          Jun 20, 2014


                                                                                                                .. :·-:                                                         332.46
                                                                                                                                                                                          ......··:            _:-.   ·-~ ....
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           ~.-:.' .~ - ·.,r;
                               DIMAS RODRIGUES
                               12879 SJOSEYLN 170
                               FARMERS BRANCH. TX 75234




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                                                          -This Check                     Yea: to Date.·.-. •
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      Gross                                                    360.00                          6,252.00                                                     Bours                         Rate                Total
     ·soc_sec                                                  -22.32                                 .:.3l!1.~o· ·1tec;u1.ar ··=                        40.00                      9,;09·::, :-:. ,..::     360.00
     Medicare·                                                  -5.22                          -90.63
   · _Advance                                                                              -21 J,00. 00
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   -.qet      -Che~{-.{:~--·:• ~ . · ·: · · $.33i.:-;f                                    •I: •
                                                                                                                     Total.                             40.00                                                360.00 :
               Pay P~od Beginning: Jun 14.,         2014: ."
                       Pay Period E!lding: Jun 20,· 201t°.                                                                                        Weeks in Pay Period:: 1
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                                    Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                                                                 Page 120 of 293 PageID 1147




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                                               ')>IMAS                 RODlUGU£S                                                                                                                                Employee ro: ROD:13
                                                                                                                                                                                                                Social Seo I
                                                                                                 This Checlc                                   Year to Date
                               Gross                                                                      261.00                                 6,513.00                                                           Bou.rs                           Rate                         Toi;al
                               Soc_sec                                                                    -16.18                                         -403; 78 Regular                                           29.00                            9.00                        261.00
                               Medicare                                                                       -3. 78                                      -94.41
                               Acvance                                                                                                              -2,100.00




                             Ne~         C~eck:              s241·. 04                                                                                                         Total                               29.00                                                       261.0!l
                                         Pay Per~od Beginning: jun 21, 2014                                                                                                                                        . _Check Date: 6/27/14
                                            ?_ay Period Ending: Jun 27, 2014                                                                                                                             Weeks· .in ?ay Period: 1
                                                                                                                                               SHAN NAMKEiE°N, INC
                                                                                                                                               5440 MOHAWK CT
                                                                                                                                               !JiE COLONY, TX 75056
                                                                                                                                                    Check Number:                         2858                                                       Jun27,2014
                                                                 :'   -...                                                                                                                                                        .·..
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                            ·:· .. _:[wo Hurxjred Forty-One and O~ 00 Dollars
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                                               DIMAS RODRIGUES
                                               12879 S JOSEY LN 170
                                             · FA_RMERS BRANCH, TX 75234




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                                                                                                                                                                      . -..                           Employee ;[I)~ :ROD03
                                     DIMAS. RODRIGUES

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                                                                                                                                               6, sl.3. o·o                                                      Bours                            Rate                     ·Total                 ···
                  Gross                                                                          261~00                                                                                                                                                                         . ·. ·....- . .·::-.
                · s·oc.3ec                                                                       -:16 .18                                       ·'-'403. 78 . Requl:·ar .                                       2.9. 00                        g".: 0.0_; : :.: ; _,;.., . ' 261. 00
           . .Medicare                                                                             ..:3_ 78                                        -.94.41                                                                                                                    -;..
            ·Advance                                                                                                                      -2,100.00
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           .'Na.Chedc~-                      __ -~
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                    : ·''·: ··pay Period .Beginning: Jun '21, 2014                                                                                                                                                     .:c:h,eclc Date:
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                                 Pay Period hdi:Dg: .:run -z;t., 2011                                                                                                                                Wee'ks in Pa~ P~riod:
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       Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                             Page 121 of 293 PageID 1148




            D!MAS RCDRIGUES                                                                   Employee ID: '.ROD03
                                                                                              Soeial Sec f
                                This Chee~              Year to Date
                                    288.Q0                6,801.00                                 Ho~rs                   Rate            To.:.al
    Gross
                                                           -421. 6 4 Reg-.2lar                     32.00                   9.00           288.0C,
    Soe_Sec                          -:!.7.86
    Medicare.                         -4.18                  -98.59
    Advance                                              -2,lJ0.00




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                                                                                                                                                         .,
    Net Check:                                                          Total
                                                                                                      Check Date: 7/3/~,
                                                                                                                                                          i
           Pay ?eriod Beginning: Jun 27, 2Cl4
              Pay Peri~d Ending: Jul3,2014                                                   Weeks i~ Pay Pe~iod: 1

                                                       SHAN·NAMKEErt iNC
                                                       5440 MOHAWK CT
                                                       THE COLONY, TX 75056

                                                          Check Number:                                                    Jul 3, 2014


                                                                                                                .265.96


      ·rwo Hunclrei:I Sfxty·Fllfe and 96/rnO Dolars

              DIMAS RODRIGUES
              12879 S JOSEY LN 170
              FA~ERS BRANCH, TX 75234




          DIMAS· RODicrGUES •
                                                                     -'·· -•·h--~·-.:----   E?l!P:.oyee-·.ID:·ROJ:>03
                                                                                            Social Sec t
                             This Check               Year to Date                                                         ~te           Total
  Gross                          288.00                 €, 801. 00 ·
                                                         -421. 64 B.eqular                        32.00               9.00               288.00
  Soc..,Sec                      -17.86
  Medicare                        -4.18                  ·-98.59

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     ';Pai~tt::.:·:';: ;: ;\::\ .. .1:,.. :::.t::                j                                                          ~/3/14          .        .



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                                                                      APP 354
                                                                               Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                                                                                                                                                                                                                                                                            Page 122 of 293 PageID 1149




                                                                                                . D!MftS RODRIGUES                                                                                                                                                                                                                                                                                                                                                    Employee ID: ROD03
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Social Sec t
                                                                                                                                                                                                                                                                   This Check                                                                                                                                          Year to Date
                                                             Gross                                                                                                                                                                                                     288.00                                                                                                                                                       7,089.00                               Roers          Rate             To-cal
                                                             Soc_Sec                                                                                                                                                                                                   -17.86                                                                                                                                                        -439. 50 Regtlar                      32. 00         9.00             288.00
                                                            Medica:e                                                                                                                                                                                                                                                 -4.18                                                                                                           -102. 77
                                                            .Advar:ce                                                                                                                                                                                                                            -;1.00.00                                                                                                                         -2, 200.00·




                                                        Net Check:                                                                                                                                                                                                                     .$165.96                                                                                                                                               To-ca:                       32.00                           288 .00
                                                                                              Pay ?eriod Beg-inning.: Jul 5, 2014                                                                                                                                                                                                                                                                                                                                            Check Date: 7/11/1.4
                                                                                                                        Pay Period Ending: JuJ 11, 2014                                                                                                                                                                                                                                                                                                             Weeks in Pay Period: 1

                                                                                                                                                                                                                                                                                                                                                                                                                     SHAN'f-l4MKEEit, INC
                                                                                                                                                                                                                                                                                                                                                                                                                    5440UOHAWKCT
                                                                                                                                                                                                                                                                                                                                                                                                                    THE .COLONY, TX 75056

                                                                                                                                                                                                                                                                                                                                                                                                                                   Check Number:    2873                                  Jul 11, 2Qj4



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                                                                             One f:iunclred Sixty-F,ve and 96/100 Dolars

                                                                                                             DIMAS RODRIGUES
                                                                                                             1287.9 S JOSEY LN 170
                                                                                                             FARMERS BRANCH, TX 75234




                                                                                     DIMAS RQDi!!GOES __                                                                                                                                                                                                                                                                                                                                                          ~P loyee ITl: ROD03_
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Soqia1 Sec #
                                                                                                                                                                                                                                   This Check                                                                                                                                                  Year to Date
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ·Boui:s           Rate            Tota.1- .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         j
                                     Gross                                                                                                                                                                                             288.00                                                                                                                                                             7,089.00
                                    Soc_sec                                                                                                                                                                                            -17.:86                                                                                                                                                             :..439_ 50 Re~ar                                            32.00           9.00              288.00
                                  Medicare·                                                                                                                                                                                             -4-18                                                                                                                                                             .-102.17
                                                                                                                                                                                                                                                                                                                                                                                                        _-2.,200. 00
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                                  Advance                                                                                                                                                                                            -100.00
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                                                                    Pay· Perio·d                                              Check Date: 7/11114                  B~inni.nSJ:                                                                                                              Jul· S~ 2{)14                                                                                                                                              ~ · :-
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           DIMAS RODRIGUES                                                         Employee m: ROD03
                                                                                   Social Sec f
                                This Check        Year to Date
  Gross                             288.00          7,377.00                          Hours             Rate                    Tctal
  Soc_Sec                           -17.86           -457.36 Regular                   32.00            9.00                    288.00
  Medicare                           -4.18           -106.95
  .Advance                         -100.00         -2,300.00




 Ne-: Check:                       $165.96                          Total             32.00                                     288.00
        Pay Period Beginning: Jul 12, 2014                                                    · eheck Date: 7/18/14
           Pay Pe:::-iod E:i.ding: Jul 18, 2014                                   Weeks in Pay Period: l
                                                  Sf-'.AN NAMKEcii, INC
                                                  5440 MOHAWK-CT
                                                  THE COLONY, TX 75056

                                                     Check Number.        2837                          Ju! 18, 2014



                                                                                                   165.96


    ·0ne.Hunqred Sixty-Five and 961100 Dolars

           DIMAS RODRIGUES
           12879 S JOSEY LN 170
           FARMERS BRANCH, TX 75234




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    - DD!AS ROp!UGUES                                                            b\Ployee Ef'RODi,3
                                                                                 :Social- Sec t
                         :rhis Check            Year to· Da~e                                                               Total
                                                                                     Hours             .Rate
Gross                         288.00               7,377.00
Soc_Sec.                      -17.86               ·.-457.• 36 Reqular'             '32. 00           9.00             288.00
Medicare                       -4.18                -106• .95
Advance                     -100.00              ·-2,300. 00
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                                                                 APP 356
        Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                         Page 124 of 293 PageID 1151




            DI~ RODRIGUES                                                                                 Employee Ii:>: ROD03
                                                                                                          Social Sec f
                                    This Check                  Year to Date
   G:i:oss                                   360.00                7,737.00                                     Hou=s             Rate            To~al
   Soc_Sec                                   -22.32                 -479. 68 Regi..l.ar                          40.00            9.00            360.00
   Medica:e                                   -5.22                 -112.17
   Advance                                  -100.00               -2, 400. 00




  Net Check:                  $232.46                                           Total                           40.00                            360.00
         Pay Pe 7 iod Beginning: Jul 19, 2014                                                                            C~eck Date: 7/25/14
            Pay Period Ending: J_ul 25, 2014                                                           Weeks in Pay Period: 1
                                                                SHAN NAMKEEN;INC
                                                                2731 NATIONAL CIR
                                                                GARLAND, TX 75041

                                                                    Qi.eek Number:   2844                                         Jul 25.2014



                                                                                                                             232.46


    ·. 1~. Hundred Thirty-Two and 46/100 Dollais
              DIMAS RODRIGUES
             12879 S JOSEY LN 170
            FARME'RS.B.RANCH, TX 75234




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        DIMAS RODl:(!GUES --· ·                       ....   -··. ---·-.   ~~                     · Elfl.';>1-r,yee m: ROD03
                                                                                                   :Social Sec #
                             This -ChecJc.                   Year :co Date
                                                                                                              · Bours           ztate           ·Tt>t~
Gross                                   360.00                    7,737.00
Soc_:Sec                                -22.32                   . -479.68 :itequl~                           40. 00.          .9.00·           360.00
.Medica:e:                               -5.22                   . -112.17
.Advance                                                     .. :f.r 400. 00




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        Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                         Page 125 of 293 PageID 1152




              DIMAS RODRIGUES                                                                 Employee ID: ROD03
                                                                                              Social Sec #
                                   Thi& Check                Year to Date
      Gross                            288.00                  8,025.00                          Sours                   Rate               Total
     Soc_sec                           -17.86                   -4.9 7. 54 Regular               32. 00                  9.00              288.00
     Medicare                           -4.18                   -116.35
     Advance                          -100.00                 -2,500.00




    Net Check:             $!65.96                                             Total             32. 00                                    288.00
        Pay Period Beginning: Jul 26, 2014                                                           Checlc Date: 8/1/1~
           Pay Period Ending: Aug 1, 2014                                                   Weeks in Pay Period: ~
                                                            SHAN NAMKEEN, iNC
                                                            2731 NATION.AL CIR
                                                            GARLA!"D, TX ?5041

                                                                Check Number:    2884                                   Aug 1, 2014
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                                                                                                              165.96
                                                                                                                                                               I
        One Hundred Sixty-Five and 96/100 Dolars
          _.._......~,. .....                                                                                                                             "J
                                                                                                                                                               I
              DIMAS RODRIGUES
              12879 S JOSEY LN 170
              FARMERS BRANCH, TX 75234
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          OIMAS RODRIGUES                                                                  Er.iployee 'ID: :ROD03
                                                                                           Sociaf Sec f
                                This Checlt ·             Year to Date
                                                                                              · .Hours                 Rate              Total
 ·Gross                             288.00                  · s~ 025. oo
 Soo_sec                            -17.86                     .:.491.54 ReQUl.ar             32:00                  .9.-00              288.00
 ldeclica:-e •.                      -4._18.                 .-11€-35
. Advance                         -100.00                  -2,5CO.OO




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     Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                                                Page 126 of 293 PageID 1153



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                                                                                                                                                           Employee ~: ROD03
                 DI~ RODR:GUES
                                                                                                                                                           Social Sec f
                                                                                             '.!ea:: -::o Date
                                                                                                                                                                                                                               ·I
                                              This Check
                                                                                                  3,609.0il                                                          Hours                      Rate              Total
  Gross                                                  288.00
                                                                                                   -595.1€ Regular                                                   32.00                      9.00              288.00
  Soc_Sec                                                -11.8~
  Medicare                                                -4.18                                    -139.33
  Advance                                                                                       -2J 500. 00

                                 ·•



                                                                                                                             Total                                   32.00                                        288.00
  Net Check:             $265.96
      ?ay ?eriod 3eginni~g: Sep 13, 2014                                                                                                                                      Check Date: 9/13/14
         Pay Period Ending: Sep 19, 2014                                                                                                                 Weeks __
                                                                                                                                                                in.....__Pay Per~od: 1

                                                                                              SHAN NAM~.t:N,Jl.¢·
                                                                                             2731 NATIOfU.!.. Cl~·
                                                                                             GARLAND, T:X 75041

                                                                                                  Check Number:                  2937                                                            Sep 19, 2014



                                                                                                                                                                                            265.96
                                                                                 -- ......
 .. ~f~:~undred Sixty-Aie and 96/,oo Dolars
                                                                                                                                                                                                                              -I
                 DIMAS RODRIGUES
                 12879 s JOSEY LN 170
                 FARMERS BRANCH, TX 75234                                                                                 ~-
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                                                                                                                -· . -:                        :_ : .. Emplcyee              ID:     ROD03
                                                                                                                                                       ·social Sec -t
                                            :rhis ·Check                                   Year to Date                                                                                         Rate             Total
                                                                                                                                                                 Bo~s
·-Gross                                            -28S.OQ                                   9,~09.00.'.
                                                                                              -595. 76 .Requl-ar                                              '32.00                          9.00               288.00
Soc~ec                                         · -a.'1.86
Medi:eare                                             _:;_ 1'8'
                                 ...·....




                                                                                                                          APP 359
       Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                 Page 127 of 293 PageID 1154




               DIMAS R~::>RIGUES                                                                Employee ID: ROD03
                                                                                                Social Sec. f
                                           This Check      ~ear to Date
     GrO:!iS                                   400.00        10,009.00                                   Hours             Rate             Total
      FecL.Income                               -0.96             -0. 96 Regi;.lar                       40. 00        10.CO                400.00
     ·soc_Sec                                  -24.80          -620. 56·
      Medicare                                  -5.80          -145.13
      Advance                                                -2,500.00




     Net Check:                               $368.44                       To-cal                   40.00                                400.00
          ?ay Period Bagi:ming: Sep 2·0, 20H,                                                   Checlt Date: 9/26/14
             Pay Peri_od Ending: Sep 26, 2014                                          Weeks ~n Pay Period: 1
                                                           SHAN WAMk:=cH, INC
                                                           2731 NATIONAL aR
                                                           GARLAND, TX 75041

                                                              Check Number.    2944                                        Sep26,2014
                                                                                                                     ;.·
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                                                                                                                  368.44
                                                                                                                                         •.,;   ..
 ~   ;· /tji~~e Hunued ~8ght and 44/100 Dollars
     .... · • . DIMAS RODRIGUES
                12879 S JOSEY LN 170
                FARMERS BRANCH, TX 75234




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          . ·... ·•.
                                  . -.
        DIMAS RODRIGm:S                                                               E:uployee .ID: "'..0T>03 _.
                                                                                      ·socj,al Sec i
                                         This .Check    Year to Date
                                                                                                  Bours               Rate              Total
Gross                                        !00.00      J.0~ 009·. 00
FecLincome                                    -0.96            -:-0. 9·5 Reqular-               40.00              J.O:. 60             400.00
Soc_sec                                      ;-24.80        -62-0..56 ..
Medicare                                       -5.80         -145.13
Advance                                                 : :-2r500. 08                  .·   {                                                        .·"t
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                                                                           APP 360
      Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                     Page 128 of 293 PageID 1155




           DIMAS RODRIGUES                                                                                                     Employee ID: ROD03 .
                                                                                                                               Social Sec f
                                             This Check                     Year to Date
   Gross                                         380.00                         10,389.C,O                                               Hours             Rate                              l'ota1
   Fed_!ncome                                                                        -0. 96 RegU:ar                                      38.00            10.00                              380.00
   Soc_Sec                                       -23.56                           -6?4.J.2
   Medicare                                          -5:s1                        -150.64
   Advance                                                                      -2,500.00




   Net Check:              $350.9:3                                                                       ':otal                        38.:)0                                               380.00
       Pay ~eriod ~eginn~ng: Sep 27, 2014                                                                                           Check Date: 10/?114
          Pay Period Er.ding: Oct 3, 2014                                                                                  Weeks in Pay Period: 1
                                                                            Sn.ilN NAMKEEN, iNC
                                                                            2731 NATIONAL CIR
                                                                            GARLAND, TX ?5041

                                                                                Check Number:                   2954                                        Oct 3, 2014



                                                                                                                                                   350.93


       .. . Hundred Fifty and 93/100 Dollars
      ·Three                              .
           DIMAS RODRIGUES
           12879 S JOSEYLN 170
           FARMERS BRANCH, TX 75234




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                                   This Check                         Year to Date ·                                                     .                                                    .
G=oss
Fed.....Income
Soc_sec
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                                              -23.56
                                                                          10~ 389. 00
                                                                             . -0.96 Recrular
                                                                            -6~4-12
                                                                                                                                :Hours
                                                                                                                               38.00
                                                                                                                                                       .Rate
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                                                                                                                                                                                    380.00                I
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Medicare·                                      -5.51                      . -150.61                                 .              .'        ·      · -         ,..                      ·        ·   ·




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                  Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                Page 129 of 293 PageID 1156




                               D:::MAS .RODRIGUES                                                                                             Employee ID: RO~03
                                                                                                                                              Social Sec: f
                                                                         This Check                      Ye":%" to :>ate
    Gross                                                                    240.00                        10, Si4. 00                           Hoi:rs                      Rate              Total
    Fed_Income                                                                                                         -0. 96 Regci.ar           24.00                      10.00             24:>.oo
    Soc_,sec                                                                 -14.88                         -6"10.47
    Medicare                                                                  -3.48                         -156.80                                      "
    Advance                                                                                               -2, 500·. 00




   Net ·check:                                                             $221.6~                                                Total          24.00                                       240.00
                         Pay ?eriod Beginning: Oct 11, 2014                                                                                          Check Date: 10/17/14
                            Pay Period Ending: Oct17,2014                                                                                   Weeks in Pay Perio~: 1
                                                                                                        SHAN AAMKEEN, tNC
                                                                                                        2731 NATION.AL CIR
                                                                                                        GARLAND, TX 75041

                                                                                                           Check Number:            2965                                    Oct17, 2014
                                  .:.·
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                                                                                                                                                                  221.64
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  :....t~ :Hundred Twenty-One aod 6411_ 00 Dollars                                                                                                                                                                         I
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                           . DIMAS .RODRIGUES
                            ·12879 S JOSEY LN 170
                            FARMERS BRANCH, TX 75234
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          · !l::00.S RODP.IGOES·                                                                                                           ::::m;.loyee ID: ~OD03
                                                                                                                                           Social Sec #
                                                                    This Check                        Year to Date- .:
                                                                                                                                              · llours                     ·Rate          Total
-Gross.                                                                   Mo_.oo                       10,.814.00 ·
Feel.Income                                                                                                . -~:-96.      ·Recrular·          24.00                ·10.-00 · ~-: .-_..:   240.00
Soc_j;ec .•                                                               -14.88                         .-610.41
Medicare                                                                 . 73".48                         -1.56.80




                                                                                                                             APP 362
             Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                                                                      Page 130 of 293 PageID 1157


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                   D"l!'.AS -RODRIGUES                                                                                                                                               Emp:oyee ID: .ROD03 ·. . . ·, . ·
                                                                                                                                                                                    .socS,al seq ·t
                                                               This Check                                     Year to !la-::e
       Gross                                                       240.00                                      11,054.00                                                                        Eou:::-s       Rate                              Total
       Fecl_lnco1&e-                                                                                                -o. 96 Res,.uar                                                             24.00·        10. 00                             24.0.00                     \
       Soc_sec                                                           -14.88                                  -685.35
       Medicare                                                           -3.         ,s                         -160_.28
       Advan::e                                                                                                -2,500.00




      Net Check:              $221.64                                                                                                       Total                                               24.00                                        240.00
          Pay Period Beginnir.g: Oct 18, 2014                                                                                                                                            Check Date: ~0./24,ll4
             ?ay Period E:iding: Oct24,2014                                                                                                                                     Weeks in Pay Period: 1
                                                                                                              SHAN HAMKEEN, INC
                                                                                                              2731 NATIONAL CIR
                                                                                                              GARLAND, TX 75041

                                                                                                                Chad< Numbar.                         ~70                                                       Oct24, 2014




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                                                                                                                                                                                                           221.64
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  .~-.. ·.·.:;-.DIMAS RODRIGUES
                12879 S JOSEY LN 170
                       FARMERS BRANCH, TX 75234

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              DDSAS RODRIGUES
                                                                                                        ..... ·- ..                                                          Social· Sec i
                                                                                                        ...
                                                          l'his Check                                 Yeu to Date                                                                          Bours              Rate:                        TotaJ..
 -Gross·                                                       240.00                                     ;i_~ 0~4-. -0~ _   .• _ _
                                                                                                                                                                                                            10; 00·
 Fed.Jncome
 Soc_'Sec
                                                                   .·....... .
                                                                ·-14.88                   '·:·.--· C.
                                                                                                         ... '·....0.-96 Reqtilar .
                                                                                                        ·T'::::.685. 35 . ·. ' •.:::· ~                                                                                           .•       240.00

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                 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                  Page 131 of 293 PageID 1158
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                        DIMAS RODRIGUES                                                                              · Employee :.D: ROD03
                                                                                                                       Social Sec f
                                                   This Check    Year to Date
           Gross                                       240.00      11,934.00                                                  Sours                         Rate                   Total
           Fed_lncome                                                  . -0.96 Regular                                        24.00                        10.00                   240.00
           S::>c_Sec                                   -14.88         -739.91
           Meciica=e                                    -3·.48        -173.04
           Advance                       .             -50.0t'    -:-2, 650. 00




         Net Check;·            $171.64                                             Total                                     24. 00                                          240.00
             Pay Period B~ginnin;: Nov 15, 2014                                                                              Check ~ate: 11/21/14
                P~y Period Ending: Nov 21. 2014                                                                     Weeks in Pay Period: 1
                                                                 ·SHAN NAMKEEN,~NC.
                                                                  2731 NATIONAL CIR
                                                                  GARLAND, TX 75041

                                                                   Chad{ Number:             2996                                                           Nov21,2014


                                                                                     ~   '   -· .
                                                                                                                                                     171.64


                One HundredS~enty-Oneanq 641100 Dollars

                       .-DIMAS .RCDRIGUES
                        12879 S J6SEY LN 170
                        FARMERS BRANCH. TX 75234




                                              This. Cl:eck."                                                                                               Rate            l'otal
                                                                                                                             Hours
     Gross                                        240.00
     FecLincoma                                                                                                         24.00                         l'C>. 00           240.00
     Soc....Sec. ~ ,·.                              :...]4.88.                                                                                                                                                    J-
'·. Medicare • ~ .
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                 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                     Page 132 of 293 PageID 1159



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                       DIMAS RODR:i:GtJES                                                                                       Emplcyee ID: ROD03
                                                                                                                                Social Sec f
                                                    This Check             Year to Date
               Gross                                    240.00              :2,654.00                                              Eours                 Rate                      Total
               Feil..lncorne                                                     -0. 96 Regcl.~r                                   24.00                10.00                      240.00
            Soc_Sec                                           -14.68          -784.55
            Medicare                                           -3. 48.        -183. ,0
            Advance                                           -~0.00        -2, 750. 00




           Net Check:                    $171. 64                                                  Total                          24.00                                           240.0:>
                     Pay Period ~eginning: Dec 6, 2014                                                                                  Check Date: 12/12/14
                        P&y· Period Ending: Dec 12, 2014                                                                       Weeks in ?ay_Period: 1
                                                                           ·sHAN NAMKEEN, INC
                                                                            2731 NATIONAL QR
                                                                           «;iAJt~D, TX 75041

          ...                                                               • Check Number:               2823                                            Dec 12,2014



                                                                                                                                                    171.64
;

                   One Hundred Seventy-One an(! 64/100 Dollars

                       DIW.S RODRIGUES
                       12879 S JOSEY LN 170
                       FARMERS BAANCH;lX 75234

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                    -DIMAS .RODJUGUES · :
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                                              This Check                                                                          :Hours                Rate                    · ~otal
         Gross                                    24-0.00
     · · r~ncome                                          •   ?-    ••••
                                                                                                                                21. oo·              10.00                      240.00
        :Soc...,Sec ·                                  -'14~88




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  Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                Page 133 of 293 PageID 1160




                                                                                               E?llployee ID: ROD03
      DIMAS RODRIGUES
                                                                                               Social Sec f
                                   'Dis Check                      Year to Date
                                                                    12,91,.00                     !iours                     Rate             Total.
Gross                                 .320.00
                                                                         -0. 96 Reg-.ilar         32.00                     10.00             320.00
FedJnco:ne
Soc_Sec                                 -19.84                        -804.39
Medicare                                    -4.6-4                    -188.12
Advance                                 -SO.OD                      -2, 800. 00




                                                                                    Total         n.oo                                        320.00
Net Check:              .$2i5.52
    Pay ?eriod Beginni~g: ~ec 13, 2014                                                                 Check Date: 12/19/14
       Pay .Period Ending: Dec 19, 2014                                                       Weeks in Pay Period: l
                                                                     SHAN NAMKEEN, INC
                                                                   . 2731 NATIONAL CIR
                                                                     GARLAND, TX 75041

                                                                      Check Number:    3528                                   Dec 19, 2014

                                                                     ~-.
                                                                                                                         245.52'


 .. Two J:iundred Forty-Five and 52/100 Dollars

       DIMAS RODRIGUES                                                                                                                                     •
       12879 S JOSEY LN 170
       FARMERS BRANCH, TX 75234




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                                                                                              Employee U,.: RODU3
    DIMAS ROD:R!GOES
                                                                                              Social ~ec i
                                  Tb.is checlc·                -Year to Date                      Hours                      Rate            Total
                                       320-00                    12,974.00
                                                                                                 32. 00 .                 10.00              320.00
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                                     ·'-1.9.84:                       -804~3.9
                                        -t-6l                        ·-188.J.2 ·
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       Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                            Page 134 of 293 PageID 1161



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                  :>I.MAS RODRIGUES                                                                                                    .Employee ID: ROD03
                                                                                                                                       Soci,l Sec f
                                         This Check                   Year to Date
     Gross                                    3,0.00                   13,314.00                                                                Hours                      Ra-ce                         Total
     Fed_Income                                                             -0.96 Regula_r                                                      2LOO                      10.00                          240.00
     Soc_$ec                                  -21.08                     -825.47 Bonus                                                      100.00                         l.00                          100.00
     Medicare                                  -4.93                     -193.()5
     Aclvance                                 -50.00                        -2;0so.oo




    Net Check:             $263.99                                                                    Total                                124.00                                                        .34C. 00
        Pay Period-Begionic;: Dec 20, 2014                                                                                               Check Date: 12/26/14
           Pay Period Encing: Dec 26, 2014                                                                                      Weeks in F'ay Period: 1
                                                                     SHAN NAMKEEN, INC
                                                                     2731 NATIONAL CIR
                                                                     GARLAND, TX 7~1

                                                                             Check Number:                    3534                                                         Dec26,2014

                                                                                                                                                .,
                                                                                                                                                               263.99


       Two Hundred Sixty-Three and 99/100 Dollars

                  OIMAS RODRIGUES
                  12879 SJOSEYLN 170
                  FARMERS BRANCH, TX 75234


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           D ~ RODRiGUES ·                                                                                               . Employee                   ID: .ROD03
                                                                                                                          · Social .Sec #
                                    :rhis Cleek              Year. to Date
                                                                                                                                           liours                         .Rate                    l'ota1
    ·Gross                               340.00               13,314.00
  .FecLincome                                                            · -0.96 Reqular                                         .24.00                              10. 00                      240.00·
                                                                                                                             ..
   $oc~Sec:                                              ·· ,         : -825. 4 7 Bonus                                         !1.00.00                              1,00                       1:00.00
                                                                                                                                                                                                                            ..
 . Medicare                                            ... ~~,\, -193. OS.                       .       ..                                .,
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                                             Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                                                   Page 135 of 293 PageID 1162
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                                                                    13 314.00                                       0.96
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    o~ -_                      llddr..., and ZIP coda                                                                                   c Employal'• 1111118, adcne1. and 211' code
      SHAN NAMKEEN, INC                                                                                                                  SHAN NAMKEEN, INC
      2731 NATIONAL CIRCLE SUITE 101                                                                                                     2731 NATIONAL CIRCLE SUITE 101

      GARLAND                                                                         TX 75041                                           GARLAND                                                                        TX             75041
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      12879 S JOSEY LN 170                                                       .
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                                                                                                                                         12879 S JOSEY LN 170
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      FARMERS BRANCH                                                                  TX        75234                                    FARMl!:RS BRANCH                                                              TX              75234
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               eddle11 mv! ZID code                                                                                                                                             onde
     d Como! numbor              7 Soc111 aecuflty dp1                                     8Alocahlclllpa                                                                         7 Social HCIJllly lips                          a Allocated Ups
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      13                                                                                                                                  13


       16   sr.       Employe,'1 alale ID number .........             ~.~~~'.~..~.~.~::~.... :~.~~..~ . : : ' . :.....
                                                                                                                                          11 Stale Emplol'e,'utal• ID number                            18 Stele wages. tips, etc.             17 Stale Income 1111<
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       18 local wegee. Upo, etc              18 l.acll lncame laJc                201.ocellly-                                                                                                                       ZOl.ocalty,wna
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                                                                                                                                                              APP 368
                            Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                      Page 136 of 293 PageID 1163
                                                                                             SHAN NAMKEEN, INC
                                                                                                Payroll Register
                                                                                For the Period From Jan 1, 2014 to Dec 31, 2014
F•er Criteria includes 1) Emp~ IDs ROD03 Report order IS by Check Date Report IS prrted n Detail Format.

Employee ID              Pay Type                 Pay Hr             Rate         Pay Amt       Amount            Gross      FICl_tncome     Soc_Sec     Midi
Employee                                                                                                        Advance      Soc_sec_ER    Medlcare_E    FUT
MnklCISSNo                                                                                                       SUI_ER
Reference
Date
ROD03                    Regular                   24.00             8.00        192.00          1TT.32          19200                         -11.90    -278
DIMAS RODRIGUES                                                                                                   -1.04           ·1190         •278     -115
XXX-XX-1175
2579
1/3114

ROD03                    Regular                   1600              8.00        12800           11820           12800                           .7 94   •1.86
DIMAS RODRIGUES                                                                                                   -0.69            -7.94         -1.86   -077
XXX·XX·1175
2584
1/10,114

ROD03                    Regular                   3200              8.00        256.00          236.42          256.00                        -1587     -3.71
DIMAS RODRIGUES                                                                                                   -1.38           ·15.87        -3.71    -1 54
XXX·XX-1175
2591
1/17/14

ROD03                      ReglNI'                 16.00             8.00        12800           118 20           12800                          .7 94   ·186
DIMAS RODRIGUES                                                                                                    -0.69           -7.94         •1.86   .() 77
XXX·XX·1175
2595
1/25/14

ROD03                       Regular                4000              800         320.00                           320.00                       ·19.84    -464
DIMAS RODRIGUES                                                                                                  -29552           -1984          -464    -192
l00(.)0(.1175
0000
 1/31/14                                                                                                             -1.73

ROD03                       Regular                3200              8.00        25600                            256.00                       -15.87    -3 71
DIMAS RODRIGUES                                                                                                  -23642           -1587         -3.71    -1 54
l00(.)0(.1175
0000
2/7/14                                                                                                               -138


ROD03                       RegoJar                40.00             8.00        32000                            32000                        -1984     -464
DIMAS RODRIGUES                                                                                                  -295.52          ·19.84         -464    -1.92
XXX·XX-1175
0000
2/14/14                                                                                                              -1.73


                                                                                                                                                         -464           DEPOSITION

                                                                                                                                                                  'II
ROD03                       Regular                40.00             800          32000           12298           32000                         ·19.84
DIMAS RODRIGUES                                                                                                  -172.54          ·1984          -464    -1.92
XXX·XX-1175                                                                                                                                                               EXHIBIT
2634
2/21/14                                                                                                              .173                                                    7
12/8/IS at 14 29 IS 26                                                                                                                                                    Page· I
                                                                                                    CONFIDENTIAL                                                            SNI 0008

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                                                                                                           SHAN NAMKEEN, INC
                                                                                                          Payroll Register
                                                                                          For the Period From Jan 1, 2014 to Dec 31, 2014
Foller Crderoa ll'lciudes 1) Employee IDs ROD03 Report order   is   by Check Date Report ,s prned on Detail Format
EmployHID                 Pay Type                   Pay Hr                   Rate          Pay Amt       Amount            Gron       Fecl_lncome     Soc_Sec      Midi
EmployH                                                                                                                   Advance      Soc_Sec_ER    Mlcllcare_E    FUT
Maaklcl SS No                                                                                                              SUI_ER
Releranca
Data
ROD03                        Reg,Jar                  2750                     800         220.00          203.17          220.00                         -13.64    -319
DIMAS RODRIGUES                                                                                                             ·119            ·1364           -3.19   •1.32
XXX-XX-1175
2643
2128/14

ROD03                        Regular                  24.00                    800         19200            177 32         19200                          -1190     •2.78
DIMAS RODRIGUES                                                                                                                             -1190          -278     -115
XXX·XX-1175
2850
317/14                                                                                                                         -1.04

ROD03                        Regular                  3200                     8.00        25600             3642           25600                         -1587     -3.71
DIMAS RODRIGUES                                                                                                            •200.00          -1587          -3.71    -1 54
XXX·XX-1175
2857
3114/14                                                                                                                        ·138

ROD03                        Regular                  40.00                    800         320.00            9552           320.00                        -1984     -464
DIMAS RODRIGUES                                                                                                            -200.00          -1984          -4 64    -1 92
XXX·XX-1175
2863
3121/14                                                                                                                        -1 73

ROD03                        Regular                  4000                     8.00        320.00          29552           320.00                         -19.84    -464
DIMAS RODRIGUES                                                                                                             -1.73           -1984           -464    -192
XXX-XX-1175
2871
3128/14

ROD03                        Regular                  29.00                    8.00        23200             1428           23200                         -1438     -338
DIMAS RODRIGUES                                                                                                            -20000           -1438          -336     -139
XXX·XX-1175
2812

4/4/14                                                                                                                         ·125

ROD03                        Regular                  32.00                    800         25600            236.42         25600                          -1587     -3 71
DIMAS RODRIGUES                                                                                                             ·138            -1587          -3 71    -1.54
XXX·XX-1175
2817
4/11/14

ROD03                        Regular                  24.00                    8.00        19200             77 32          19200                         ·11.90    -2.78
DIMAS RODRIGUES                                                                                                            -100.00          -1190           -278    -115
XXX·XX-1175
2622
4/18/14                                                                                                                        -1.04




12/8/IS al 14 29.IS 26                                                                                                                                                      Page· 2
                                                                                                              CONFIDENTIAL                                                    SNI 0009

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                             Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                          Page 138 of 293 PageID 1165
                                                                                                      SHAN NAMKEEN, INC
                                                                                                    Payroll Register
                                                                                    For the Period From Jan 1, 2014 to Dec 31, 2014
F•er Crrteroa includes 1) Employee IDs RO003 Report order ,s by Check Dale Report is pronled on Delad Formal.
EmployfflD                Pay Type                  Pay Hr              Rate          Pay Amt       Amount             Gron       Fed_lncome      Soc_Sec    Medi
Employee                                                                                                             Advance      Soc_Sec_ER    Medlcare_E   FUT
M•kedSSNo                                                                                                             SUI_ER
Reference
Data
RD003                        Regiur                  2400               800          192.00            7732            19200                        ·1190    ·2 78
DIMAS RODRIGUES                                                                                                       ·100.00          ·1190         •2.78   ·115
)()()(.)()(.1175
2677
4125114                                                                                                                   •1.04

RO003                        ReglAar                 2400               8.00         192.00           177 32           192.00                       ·11.90   -2.78
DIMAS RODRIGUES                                                                                                                        ·11.90        -278    ·115
XXX·XX-1175
2687
5/2/14                                                                                                                    ·1 04

ROD03                        Regular                 32.00              800          25600            13642            25600                        ·1587    -3 71
DIMAS RODRIGUES                                                                                                       -100.00          -1587         -3 71   ·1 54
XXX·XX-1175
2693
519114                                                                                                                    ·1.38

RO003                        RegiJ&r                 24.00               8.00        192.00           17732            192.00                       ·11.90   •2.78
DIMAS RODRIGUES                                                                                                         -1.04          -1190         •2.78   -115
)()()(.l()(.1175
2698
5115114

RO003                        ReglAar                 28.00               8.00        22400            206.86          22400                         ·1389    •3.25
DIMAS RODRIGUES                                                                                                        ·1.21           ·1389         -3.25   •1.34
XXX·XX-1175
2765
5123114

RO003                        RegiJ&r                 36.00               8.00        28800            26596           28800                         •17.86   -418
DIMAS RODRIGUES                                                                                                        ·156            .17 86        -418    .1 73
XXX·XX-1175
2773
5'30,l14

ROD03                        Regia                   40.00               800         320.00           19552            32000                        ·1984    -4.64
DIMAS RODRIGUES                                                                                                       -10000           -1984         -4.64   -192
)()()(.)()(.1175
2785
616114                                                                                                                    ·1 73

RO003                        ReglAar                 4000                8.00        32000            19552            32000                        ·1984    -464
DIMAS RODRIGUES                                                                                                       ·100 00          ·1984         -464    •1.92
XXX-XX.1175
2792
6113114                                                                                                                   ·1.73




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                                                                                                 SHAN NAMKEEN, INC
                                                                                                    Payroll Register
                                                                                    For the Period From Jan 1, 2014 to Dec 31, 2014
F••r Cr~er,a oncludes 1) Employee IDa ROD03 Report order IS by Check Dale Report IS printed r, Detail Formal
Employee ID               Pey Type                  Pey Hr              Rate         PeyAmt         Amount            Gron      Fed_lncome        Soc_Sec    Medi
Employff                                                                                                            Advance     Soc_Sec_ER      Medlcare_E   FUT
M•kedSSNo                                                                                                            SUI_ER
Relerence
Date
ROD03                     Regular                    4000               900          36000           332.46          360.00                         ·2232    -522
DIMAS RODRIGUES                                                                                                       ·1.94          ·2232           -5.22   •2.16
XXX·XX-1175
2799
6/20(14

ROD03                     Regular                    2900               9.00         261.00          241 04          26100                          ·1616    -378
DIMAS RODRIGUES                                                                                                       •141           0   1616        -3 78   ·1 57
XXX·XX· 1175
2858
6127/14

ROD03                     Regular                    3200               9.00         268.00          26596           26800                          -17 86   -418
DIMAS RODRIGUES                                                                                                       ·1 56          -17 86          -4.18   .1.73
XXX·XX-1175
2866
7/3/14

ROD03                     Regular                    32.00              900          26800           16596            288.00                        •17.86   -418
DIMAS RODRIGUES                                                                                                      ·100 00         .17 86          -4 18   •1.19
XXX·XX-1175
2873
7/11/14                                                                                                                  ·156

ROD03                     Regular                    3200               900          26800            16596           28800                         -1786    -4.18
DIMAS RODRIGUES                                                                                                      ·10000          .17 86          -418
XXX·XX·1175
2837
7/18/14                                                                                                                  ·156

ROD03                     Reguls                     4000               900          360.00          23246            36000                         ·22.32   •5.22
DIMAS RODRIGUES                                                                                                      -100 00         -2232           -522
XXX·XX-1175
2844
7/25/14                                                                                                                  ·194

ROD03                     Reg1&                      32.00              900          268.00           16596           268.00                        •1786    -418
DIMAS RODRIGUES                                                                                                      ·100.00         -17.86          -418
XXX·XX-1175
2884
8/1/14                                                                                                                   ·156

ROD03                        Regular                 40.00              9.00         360.00           332.46         36000                          -22.32   -5.22
DIMAS RODRIGUES                                                                                                       ·1.94          ·2232           ·S22
XXX·XX-1175
2903
8/22/14




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                                                                                                  SHAN NAMKEEN, INC
                                                                                                     Payroll Register
                                                                                     For the Period From Jan 1, 2014 to Dec 31, 2014
Flier Crdaroa rcludes 1) Employee IDs ROD03 Report order oa by Check Date. Report os pronlecl n Detael Format
Employee ID               Pay Type                  Pay Hr               Rate         Pay Amt        Amount            Gr-      FldJncome       Soc_Sec       Medi
Employff                                                                                                             Advance    Soc_Sec_ER    Medlcare_E      FUT
MnkldSSNo                                                                                                             SUI_ER
Rer.rence
Date
ROD03                        ReglAar                  3200               900          288.00          26596           288.00                      -1786       -418
DIMAS RODRIGUES                                                                                                        ·156          .17 86        -418
)0()(.)0(.1175
2908
8129114

ROD03                        Regular                  4000               9.00         36000           33246           36000                       ·2232       -522
DIMAS RODRIGUES                                                                                                        -1.77         -2232         -522
XXX·XX-1175
2920
9/5/14

ROD03                        ReglAar                  32.00              900          288.00          265.96          28800                       .17 86      -418
DIMAS RODRIGUES                                                                                                                      -1786          -418
XXX·XX-1175
2930
9/12/14

ROD03                        ReglAar                  32.00              900          28800           265.96          28800                       -17.86      -418
DIMAS RODRIGUES                                                                                                                      •17.86        -4.18
XXX·XX-1175
2937
9/19/14

ROD03                        ReglAar                  4000              1000          400.00           368.44         400.00          -096        ·2480       -580
DIMAS RODRIGUES                                                                                                                      -2480         -580
)0()(.)0(.1175
2944
9126/14

ROD03                        ReglAar                  3800              1000          380.00           350.93         380.00                      0   2356    -5.51
DIMAS RODRIGUES                                                                                                                      -2356            -5 51
XXX·XX-1175
2954
1013/14

ROD03                        ReglAar                  1850              1000          185.00           170.85          185.00                     .11 47      ·268
DIMAS RODRIGUES                                                                                                                      -1147          ·268
XXX·XX·1175
2960
10110114


ROD03                        Regt.lar                 2400              10.00         24000           22164           24000                       ·1488       -3.48
DIMAS RODRIGUES                                                                                                                      ·1488         -348
XXX·XX· 1175
2965
 10117/14




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                                                                                                         CONFIDENTIAL                                                   SNI 0012

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                                                                                                    SHAN NAMKEEN, INC
                                                                                                        Payroll Register
                                                                                   For the Period From Jan 1, 2014 to Dec 31, 2014
F•er Crdena n::ludes 1) Employea IDs ROD03 Report order II by Check Data Report is printed n Detail Formal.
EmploJeelD                Pay Type                 Pay Hr              Rat.         Pay Amt       Amount             Gron     Fed_lncome      Soc_Sec    Medi
Employff                                                                                                           Advance    Soc_Sec_ER    Medlcare_E   FUT
M•kedSSNo                                                                                                           SUl_ER
Reference
Date
RO003                       RaglAar                 24.00             1000          24000           22164           24000                       -1488    .348
DIMAS RODRIGUES                                                                                                                    -1488         -348
XXX-XX-1175
2970

1004114

RO003                       ReglAar                 2400              1000          24000           22164           24000                       -14 88   -348
DIMAS RODRIGUES                                                                                                                    -1488         -348
XXX·XX-1175
2981
10/31/14

RO003                       ReglAar                  16.00            1000          16000           14776           16000                        -9.92   -232
DIMAS RODRIGUES                                                                                                                     -9.92        -232
XXX·XX-1175
2985
11/7/14

RO003                       RagtJer                 2400              10.00         240.00          121.64           24000                      ·1488    -3.48
DIMAS RODRIGUES                                                                                                     -100.00        -1488         -3.48
XXX-XX-1175
2991
11/14114

ROD03                       ReglAar                  2400             10.00         240.00          171.64          240.00                      ·14.88   -3.48
DIMAS RODRIGUES                                                                                                     -50.00         -1488         -3.48
XXX-XX-1175
2996
11/21/14

RO003                       RaglJlar                2400              1000          24000           22164           24000                       -1488    -3.48
DIMAS RODRIGUES                                                                                                                    -1488         -3.48
XXX·XX-1175
2808
11/28/14

RO003                       Regular                  2400             10.00         24000           17164           240.00                      •1488    -348
DIMAS RODRIGUES                                                                                                     -5000          -1488         -348
XXX·XX-1175
2817
12/5/14

ROD03                       Regular                 2400              1000          24000           171.64          24000                       -14 88   -348
DIMAS RODRIGUES                                                                                                     -50.00         -1488         -3.48
XXX-XX-1175
2823
12/12/14




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                                                                                                      SHAN NAMKEEN, INC
                                                                                                     Payroll Register
                                                                                     For the Period From Jan 1, 2014 to Dec 31, 2014
Fllter Crderoa n:ludes 1) Employee IDs ROD03 Report order II by Check Date Report IS printed on Deta,1 Format
Emplovff ID               Pay Type                  Pay Hr              Rete          Pay Amt        Amount                    Fecl_lncorne     Soc_Sec    Medi
Employff                                                                                                             Advance   Soc_Sec_ER     Medlcare_E   FUT
M•keclSSNo                                                                                                            SUI_ER
Refwence
Date
ROD03                                                 3200              1000          320.00          245.52          32000                       -1984    -4.64
DIMAS RODRIGUES                                                                                                       .5000          ·19.84        -464
XXX·XX-1175
3528
12/19114

ROD03                                                 24.00             1000          24000           26399           34000                       •21.08   -493
DIMAS RODRIGUES                                      10000                            100.00                          -50.00         -21.08        -493
XXX·XX-1175
3534
12/26114




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                                                                                                                APP 375
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I

                 Shan Namkeen, Inc. Payroll Confirmation Record and Release Agreement


                  I, DIMAS RODRIGUEZ, do hereby state that I am employed with Shan Namkeen, Inc.
           doing general production work and at times I complete cleaning and other labor tasks as
           needed.

                   I am paid at the rate of $7.25/hour and have been paid at the rate of $7.25/hour since
           the inception of my employment with Shan Nam keen, Inc.

                   My average work week is 32 to 40 hours per week depending on the workload.

                    I have been paid in full for all hours worked by me since the inception of my
           employment with Shan Namkeen, Inc. I have no wage and hour, minimum wage, overtime
           wage, or any other claims whatsoever against Shan Namkeen, Inc. I un(ferstand that I am paid
           minimum wage as required by law, and that I have worked any overtime and as such I am
           entitled to the time and a half calculation for any number of hours since the inception of my
           employment with Shan Namkeen, Inc has been paid in full. I understand that I have had the
           opportunity to present any claims that I currently believe I have, if any, against Shan Namkeen,
           Inc. for wage and hour, minimum wage, overtime wage issues, or any other claims, to my
           supervisor at Shan Namkeen, Inc..

                   I affirmatively state that I have no claims whatsoever-against Shan Namkeen, Inc. or its
           agents, directors, officers, or any of my direct supervisors as of the date of signl ng of this Payroll
           Confirmation Record and Release.

             /      In the event that I later find that I have claims, known or unknown against Shan
           Namkeen, Inc., In exchange for the consideration provided to me by Shan Namkeen, Inc. as set
           forth herein below, I release waive, convey and assign any and all possible claims arising from or
           related to my employment through the date of execution of this Agreement. Such released
           claims Include, but are not limited to, claims for personal injuries and economic loss; claims for
           wages or benefits (e.g. vacation, sick days, personal days, short term disability, long term
           disability, pension or welfare benefits); claims pursuant to state or federal laws prohibiting
           dlscriminationfharassment/retallatlon/whistleblowing; claims pursuant to Chapters 21,61, and
           451 of the Texas Labor Code claims for breach of contract; tort claims; and any and all other
           claims, state or federal, statutory or common law, legal; equitable or declaratory, from the
           begln_nlng of time through the date of execution of this Agreement.

                   I have accepted consideration as follows from Shan Nam keen, Inc. In exchange for the
           releases set forth by me herein:                                    ·

           Shan Namkeen, Inc. has agreed to:

               1. To give the me a good reference on separation from employment provided that I have
                   not conducted myself in a manner that would justify termination for cause; and

               2. Pay me a one time bonus in the amount of $100.


           Payroll Confirmation Record and Release Agreement                                        Page 1 of2
                                                                                                                         DEPOSITION

                                                                                                                     I
           Confidential - Shan Namkeen, Inc.
                                                                                                                          EXHIBIT
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                                                                                                                     I
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       Shan Namkeen, Inc. has agreed to the above consideration in exchange for any and all releases
       of claims known or unknown that I may hold against Shan Namkeen. Inc. from the beginning of
       time through the date of this agreement. Mine, and Shan Namkeen, lnc.'s undersatndlng and
       acceptance of this agreement by the signatures of myself DIMAS RODRIGUEZ and of Shan
       Namkeen, Inc. herein below.

        Understood, Accepted, and Agreed.




                                                                  ro/q/1.S-.
                                                               Date I7




      ~-·
       Shailesh Patel, for Shan Namkeen, Inc.
                                                                 ro I 01
                                                               Date
                                                                            t 20 t r


        !




       Payroll Confirmation Record and Release Agreement                                 Page2of2
       Confidential - Shan Namkeen, Inc.




                                                CONFIDENTIAL                                           SNI ()004 ·
                                                 APP 377
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                                                                                              ~         t:2127'20141 -11212Q15
Employee Time Defail                                                                      Ea,plclwN;
                                                                                         Wo,tcGtioup:
                                                                                                 Job:
                                                                                             PafTp:


Enlplo,u IO:                                                                      Period: 12/27'2014-1/2/2015

                 T!!!l.!G                !i!II..Qa   f!Gull!tbNI   0/T l1AMI\   Ioli! HmMI
  12'5201-4 7:30.00AM       12'2!ln014 3:50:00 PM            U)         0.00          &33
  121301201'4 7:30:1)0 AM   12/D'4't14 4:00-.CD PU          uo          0.00          4.50
  121311Z01'4 7·20:00AM     12/lt/201-44:00.00 PU           1.61        0.00          l67
    fl2l20151-30.-00 AM       1/Zl201 $ 4·00.00 PM          ••50        o.oo          a.so
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                                                                                                                             EXHIBIT
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                                                           CONFIDENTIAL                                                              SNI 0090

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 Employff Tame O.tail                                                                    P9'1cld: 1/3/201$-11912015
                                                                                    En!poyM:
                                                                                   WoatGroup:
                                                                                         Job;
                                                                                       Paylype:


                                                                             Period: 1/3fl015-1/912015

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       11512011 7:30:00 AM    t /Sl'l0t5 4:00:00 PII    I.SO      0.00          e.so
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      1n/201 &7:30:00 AM      1n120,s 4:00:00 PM        uo          0.00        1.50
      1/8l2015 7:30:00 AM     1/8#2015 4:00-00 PM       uo          Q.00        &50
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Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                  Page 147 of 293 PageID 1174



 Employee Time Detail                                                                           Petiocl: 1lt0t2015 • 11161201$
                                                                                              Einplope:
                                                                                         WorllGroup:
                                                                                                   Job:
                                                                                              Pay-Type:


 Employee ID:                               Name:    Dimas Rodriguez             Period!       1110/2015 - 1/16'1015

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     1113'20157;30:00AM    1113/2015•:oo:ooPM            8.50          0.00           8-.50
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                                                          APP 380
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                                                                                                      P..tod: 1117/2015 • 1/2312015
Employee Time Detail                                                                              Efflp4oyee:
                                                                                              WoritGroup:
                                                                                                      Job:
                                                                                                  Pa,Type:


EmplOyae ID:                                Name:        Dimas Rodriguez              Period: 1/17/2015 • 1123/2015

                lD.111                IiDI.Dul     lh!auiaC l:iGIIII   Qlil:lml!I   I«al f:1oWJ
   1n8/2015 7:30:00 AM     11191.20154:00.00 PM               8.50           0.00         uo
   1/20l2015 7:20:00 AM   :tl2Cl2015 4:00.00PM                8.157          0.00         8.07
   1121®1$ 7:50:00AM      •11'21'201$ 4:00:00 PM              8.17          0.00          •• ,1
   1/22.Q015 7·30:00>M     112212015 4:00:00 PM               8.50          o.oo          a.so
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                                                                  APP 381
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                               Page 149 of 293 PageID 1176



                                                                                           P.tod: tl24/Z015 • 113012015
Employee Time Detait                                                                      E~:
                                                                                     WcnGroup:
                                                                                              Job:
                                                                                          ParTriw.


                                           Name:     Dimas Rodriguez           Period:      1/2-412015 • 1/30/2015

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  1127/2015 7:30:00 AM    1127/2015 4:00:00 PM           85)           o.oa       8.50
  t/2812015 7:30.00 Nit   t/28f20154:0D:00 PM            8.50          o.oo       8.51)
  1n9/2015 7:30:00 AM     1129f.Z016 4:octOO PM          &.!la         o.oo       &!50
  1 ~ 5 7;30:i>Q AMI      1130l201U:to:GO PM             1.97          0.00       8.67
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                                                            APP 382
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Employee Time Detall                                                                  Elnploy•:
                                                                                  WartcGnlup;
                                                                                           Job:
                                                                                      PayTJP9:


Employee I>:                             Name:   Dimas Rodriguez            Period: 1/31/2015 - 216fl015

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   2/3/2015 J-20:00 AM   21312015 S:60111> PM       9.50         0.00          e.so
   2Ul2015 7.30.00 AM    2'412015':00:00 PU         8.50         000           850
   2t5/2015 1-30:00 AM   2151201H00:00 PM           uo           0.00          uo
   21612D15 7:20:00 AM   2ISl2015 ,:00:00 PM        U7             o.oo        8.87




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                                                     APP 383
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                                                                                               Period: 21112015 .;mam1s
 Employee Tme Detail                                                                      EnqilaJN:
                                                                                         Wod(.Graup:
                                                                                                Job:
                                                                                             Pa,T,.,_:


Employee ID:                                   Name:   Dimas Rodriguez            Period: 2/712015- 2/13/2015

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    2tlt'2015 7:30:00AAI     Vi 1/2015 4:00:00 PM         8.50           0.00         B.50
    2112/2015 7:20:Q)Alil    2112fflJ'l5 J:50:00 PM       &50            0.00         8.50
    2t13'20157·20:GCJ AM     2113'20154:00:QO PM          8.67           0.00         8.67
                                                         25.87           0.00        25.87




211312015 ,:R07PM



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                                                            APP 384
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 Employee r1111e Detail                                                                         Period: zr.?112O1&-21211201
                                                                                            Etnplape:
                                                                                           Wofl(Group:
                                                                                                   Job:
                                                                                               htTn-:

 Employee ID:                                 Narae:     Dimas Rodriguez            Period: 212112015- 2'27/2015

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     2'251'201 $ T:20:00 AM   212512015 •:00:00 PM          8.67           Q.00         •.67
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2J27l2015 )-.M:35 PM



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  Employee Time Detail                                                                    Pellod: 2128120l5 • 31812(U
                                                                                        EmploJ!N:
                                                                                    WofllGtoap:
                                                                                            Job:
                                                                                        P"{Type:


                                          Name:     Dimas Rodnguez           Period: 2128/2015 • 3/6/2015

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      3W2015 7:Z0:00 ~
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                                                      14.00          0.00       t4.DO




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                                                        APP 386
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Employee Time Detail




Employee I>:                                 Name:       Dimas Rodriguel           Period: 3n12015. 311J1201s

                 lmU!!                 Iimt1Jld     Bmall•!:IQSll'S   mHDaS"I     I#Houts
     JN20151.50:0QAM         319/2G15 4: 10 00 PM             8.3'         0.00       833
    VI01201S 7:30:oGAM      311o.Q01 & 4-00~ PM               a.,o.        0.00       8.$0
    3111/2015 T:30:tlOAM    3/11'20454:00:00 PM               850          0.00       850
    31'12/2015 7.30-00 AM   3112n015 4:00:00 PM              8.50          0.00       a.so
    3,113/20157:20:00AM     311312015 4-00:00 PM             B.50          0.00       1.50
                                                            42.33          0.00




3/20mlt5 2:5&:2& PM                                                                                             Page 3ot5



                                                            CONFIDENTIAL                                                    SNI0099

                                                                 APP 387
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 Employee      rnna Detail                                                                 Period: 311412015 •3'20/20115
                                                                                         Emploree:
                                                                                     W«tanx.:
                                                                                              Jab;
                                                                                         ~Type:


 Employee ID:                               Name:   Dimas Rodriguez            Period:     3/14/2015- 3120/2.015

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    3/17/20151:20:0CI AM    31t71201 S4:00:00 PM       1.67          0.00         167
    311 B/2015 ?:20:00 AM   3118/2015 3:50:00 PM       8.50           0.00        uo
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                                                          APP 388
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 Employee Time Detail                                                                         Pariod: 312112015· "27/2015
                                                                                           Efflpfo,H:
                                                                                      WorkGroup:
                                                                                            Job:
                                                                                        hfTypr.


                                                                                Period: 312112015 • 3127/2015

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     312412015 11· t0:00 AM   3/Ml%015-4:00:00 PM          7.83        o.oo         7.83
     312S1201S 7,».00 NA      312612'1tt5 4:00:00 PM       8.67        0.00         8.67
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3127/2015 3:58:58 PII                                                                                              Page-hf!



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                                                             APP 389
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                                                                                                     ~          3r.28/2015-413/2015
 Employee Time Detail                                                                           ~;
                                                                                               WorllGmt.lp:
                                                                                                        Job:
                                                                                                   P"I T:,o.:


 Employee ID:                                    NarM:        Dimn Rodriguez

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     3131 /'201 s 7:20:00 AM   3131/2015 4:10:00 PM               8.83         000          8.83
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      A/2J201 S 7:20:00 AM      412/2015 .e:DO-(JC) PM            8.67         0.00        8.67
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                                                                 34.67         000        ~.67




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4/3/2015 3:59:32 PM



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Employee Time Detail                                                                          ~:
                                                                                         WorliG,oup:
                                                                                                  Job:
                                                                                              Pa,Typr.


Elllployee ID:                               Name:     Dimas RodrigUeZ            Penod; 41412015 • 4110/2015

                 IiuJCJ9.               ~           Rmulak'~(I    QlIHolll'S    Jg(afl:kln
     "71201 !5 7:20:00 AM    .f/1/201& 4:00:00 PN          1.87          0.00         4.67
     4111'2015 7:30:00A_,    4111201$4:00:00 PM            8.50          0.00         1.50
     41912015 7:20:00AM      ..,;,m1S l.5C)jJQ PM          8.50          0.00         UQ
    ~0t'2015 7:20:00NI      4110/201! 3:50:00 PM           uo            0.00         8.50
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~0l2015 3:51 :13 PM                                                                                                   Pagelaf6


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Employee Time Detail                                                                            Period: 411 ,12015 • ~71.ZOt5
                                                                                                ~:
                                                                                            WoitGroup:
                                                                                                    Job:
                                                                                                P-,Type:


                                               N1me:       Dimas Rodriguez            Period: 4/1112015- 4/17J2015

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  4/14120151:20:00 AM        41t.tll015l.-so:«>Pt.i            a.&o           o.oo       a.so
  .,1 !51201-5 7:2:0.00 AM   4115/2015 3:50:00 PM              8.50           0.00       8 50
  '-'16/2015 7:20·00.AM      411"2015 ~:G0.00 PM               8.87           D.00       8.67
  .t1111201s r·io:ooAM       41171201$ 3:50:00 PM
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Employee Time Detail                                                                        Pertod: 4118'2015 - ~ 1 5
                                                                                            ~:
                                                                                        WodGnlup:
                                                                                                Job:
                                                                                            P-,Type:


                                            Name:      Dimes Rodriguez            Period:    .e/1812015 - 4124/2015

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  ~1no1s 1:20:00 AAI        412112O15~00:00 PM             8.$7      000             U7
  ~.22t20151:20-00 AM       -4ml2015 4:00:00 PM            8.67      0.00            &67
  4'23/201~ 7.20:00AM       "'2312015 3:~00 PM             9.50          0.00        8.50
  412412015 7:20:00 PtltA   412<4/20154 00.QO PM           8.67          0.00        8.67




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 Employee Time Detail                                                                                Peffod: 4/Z5f2015 • S'tl2015
                                                                                                   EmpfarM-;
                                                                                               Wofk~
                                                                                                    Job:
                                                                                                Pa,T1pe;


 Employff D:                                Name:     Dimas Rodriguez                    Pettod: 4/25/2015-51112015

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    4128t2015 7:20:00 AM    "'2812D15 4:00;00 PM         U7                    0.0CJ        8.81
    4/2912015 7:20:CIO AM   ""2ta015 4:00:00 PM          8.67                  D.00         8.67
    4l30/201 S NO.'CIO AM   ~153:50:DD PtA               8.17                 0.00          t.17
     5'1l201!l 7:20:0GM.1    ~12015 3:SO-OOPM            1.50                 0.00          ,UO
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511'2015 3:54:H N                                                                                                           Peg93af5


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 Employee Time Detail                                                                                    Period: ~2(11$ - !lN2014
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                                                                                                 WodcGraup~
                                                                                                       Job:
                                                                                                     Pl)'Type:


 Employee ID:                                 ,._.:         Olmas Rodrigue:                Period: 5/2J2015 - Sl8J2015

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      5'5/2015 7·20:00AM       51512015 4'00:00 PM                8.67           000          U7
      IW/2015 7:20:00 AM       5'&20154:00.00 PM                  8.67           0.00         U7
      517/2015 7:10:00AM       517/2015 ,;00-00 PM                Ul             0.00         1.83
      518f.!015 7·20:00AM      51812015 4.00:00 PM                8.67           000          8&7
                                                                348,,I          000




5/1112015 3:M:28 PM                                                                                                           Page3of5


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                                                                     APP 395
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 Employee Time Detail                                                                                 Pwioct SIW2015 • 5115'2015
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                                                                                              Wortc~:
                                                                                                  Job:
                                                                                                   P;awTn,e:


 Employee ID:                                Name:        Dima& Rodriguez             Period: 5J9/2015 • 511512015

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     5/1112015 7:20:00 AM   511tl2015 4:00:00 PM             8.67          0.00            8.67
     0/12'2015 7:20:00 Ml   51f21201&4:0Q.1JOPM              8.67           000            8.67
     $11~15 7:10:00 NI      5'f3/201$A:00.'(IO PM            8.83           0.00           U3-
     51'1.W0157:20·00AI\I   Sflil/201$~00:00PM               8.67           0.00           U7
     6'15120151:30:00 AM    5'15l2015.tl;001JO PM            UO             0.00           8.50
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                                                            43.3" o.oo                   -63.34

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                                                                 APP 396
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 Employee Tame Detail




 Elhployee 10:                               Name:   Dimas Rodriguez            Period: S/1612015 • 5/2212015

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    5118/2015 NO OOAM       5118120t5 4:00:ctJ PM        5.33      0.00            833
    512012015 7:30:00 AM    5/2Cll2015 3:50:00 N         8.33          0.00        8.33
    512112015 7:30-00M4     5121120t5 '4:00:00 PU        a.so          0.00        8.50
                                                                       0.00       25.16




$IZ2/201512:31:04 PM                                                                                        Page3ofS .


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                                                           APP 397
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   Sl'l71201S1:20:00~                                       U1              o.oo         8.67
   ,aa,2015 M0:00 AM      51'l8120t5 i:!0:00 AA                                          8.50
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                          !~01~,-oo:OO PM
                                                           4284              0.00




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                                                                   CONFIDENTIAL

                                                              APP 398
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                                                                                                Perlad: 6!»'2015 • 61512015
  Employee Time Detail                                                                        Enipqee:
                                                                                          WakGroup:
                                                                                                   Job:
                                                                                              PaJT~:


                                              Harne:     Dimas Rodeiguez            Period: 5/30l2015 - 615/2015

                     Im:.18             Iiml.Q:li    AeqqlJ! l1Qm   Q(JHggt$       LPIHptp
       8'1/2015 7-10-00 AM    1511/20154·00-()()PM           8.13          D.00        U3
       8/2/2015 7:10:00 AM    ~'2015':00:00 PM               1.83          0.00        8.83
       "312015 7;10.00AM      613120tU:OO:OO PIii            8.83          0.00        1.93
       &'4'20151:tO:OOAU      ~154:0000FM                    8.83          Q.Q(I       8.83
       6151201$ 7.20:00AM     6N.Z01U.00:00 PM               8.67          D00         8.67
                                                            '3.99          0.00       43.99




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6'50015 4--(1$:31 PIii                                                                                                Page3af5



                                                           CONFIDENTIAL                                                          SNI 0111

                                                               APP 399
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Employee Time Detail                                                                         ,.rtoo: 61612015 - 6 1 t 2 / 2 0 1 5 " '
                                                                                            ~:
                                                                                       ~Group:
                                                                                               Job:
                                                                                            hyTyi»;


EmplopelO:                             Name:       Dimas Rodriguez              P•rio¢ 61612015- 811212015

               Im.JD               Ia.O.lll     eemec Moia    QIT Hguts       Tata1 HowJ
   611120t5&:30:00AM      M/20154:10:00PM             ·t.67          o.oo           9.67
   6/9120156:30:00AM       M/2015-4:10:00PM.          t.87           0.00           U7
  9f1~5 8:30:00 AM       6ll0l201S U0:00 PM •         9.33           0.00           9.33
  611112D1!8:10:00 AM    6/U/20154.00:00 PM           9.83           0.00           9.113
  6/t2/2015 6:30:00 AM


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                                                                                    9.57




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                                                          APP 400
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Employee Time Detail                                                                                P9riod: 6/13/2015 - Gl19120t5
                                                                                              Emplo,w.
                                                                                             WodcGroup:
                                                                                                       Job:
                                                                                                  Pay Typtt:


e.t~ID:                                     Name:      Dimas Rodriguez              PeriOd: 6113'2015 • 6/1912015

               D:IIUl                 D!!LQs.t     Ragulartitin    g£J:Hot.n     Tolal l;fgll(s
  6115/'20156:30.00 AM    &'1Sl2015 41IO:{l0 PM            9.50          0.00             9.50
  $/1tll2015 &:30.00 AM   6116'20t5 it-00:00 PM            '-fiO         0.00            uo
  $11712015 i,·20:00NI    Ol17J201S 41:DO'.OO PM           9.01          0.00            9.67
  6'19QOtS 15:10:00 ~     &'19/2015 4·.00:00 PM            9.13          0.00            9.83
                                                          31.50          0.1)0         31.SO




                                                          CONFIDENTIAL                                                              SNI 0113

                                                              APP 401
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                  Page 169 of 293 PageID 1196




 Employee Time Detail




                                              Name:     Dimas Rodriguez            Period: 6120/2015 • 6'2612015

                   lbJo                   !D..Ql!l 8'Mwt t:fOwa    Qtll:m!IIJ    Itt•lHofO
     tsrn/20t5 S:20:00 AM    6122/2015 -4:00:00 PIii        9.97          0.00        9.87
     5'2312015 6:20jJO ,\M   8/23/l01!i ,UO:DQ PM           9.57          0.00        9.67
     ~~6:10:00AM             6/2.4/2015 3:50:00PM          9.67           0.00        9.67
     eral2015 7:30:00 AM     612512015 4:00:00 PM          8.50           0.00        8.so
     61261201 S6:20-00 PM    Sl2&'201!14:00.00 PMI
                                                     ·-·
                                                           1.50
                                                          44.Dt     ---
                                                                     o.oo
                                                                          0.00        8.50
                                                                                     -.o,




6'2&121)15 3:47:IM PM


                                                         CONFIDENTIAL                                              SNI 0114

                                                             APP 402
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                 Page 170 of 293 PageID 1197




 Employee Time Detail




                                              Hanle:   Dimas Rodriguez            Period: 612712015- 7/ll2015

                  I.i:DGJll              lbllJM - - ttN1          Q{T tf9w:$    TQlal Hot,1$
   8129120156.20:00AII        61291201U.-,0:00PM          9.50           0.00          9.50
   &'30.l201 SIS: 10:00 AM    613012015 3:50:00 PM        9.87           0.00          967
    711/20158:20:00AIII        711'201$3:50:00PM          9.50           0.00          9.50
    7121201 H-30:00 AM         7JV201 U:OQ:00 PM          9.50           0.00          950
    713120t515·30;00AM         7/Y.?015•.00:00PM          UO             0.00          9.50
                                                         47.67           0.00        .f7.67



                                     f}p>,I'-




                                                                                                                Paga3of5


                                                       CONFIDENTIAL                                                   SNI0115

                                                          APP 403
 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                    Page 171 of 293 PageID 1198



                                                                                                  Petfod: 7W2015 • 7/10/201 S
 Employee rame Detail                                                                          e.llpCOfN:
                                                                                           Wodl.Gmup:
                                                                                                    Jc,~
                                                                                               Pa,Type:


 EmployM 11);                                 NMle:       Dima& RodrigUU             Period: 7/4/2015 • 7/10/2015

                  Ia.ID                  !lml.2l!t   B!!lll!l!:lbK!t   Qa:Hoi!tt   TotatHcNq
      7'8Q01 S T:50:0G AM     782015 4:10:00 PM                8.33         QQO         1.33
      7"Q015&;10:001'M        7"/20154:00:00 PM                U3           O.QO        9.83
      7IW2015 6:20:00 ~       11tiZOt!i 4:00:00 PM             9.&7         o.GO        t.61
      7llll2015 IUO :00 AM    ntl2015 ,:00:00 PM               9.67         0.00        9.t7
     7/1°"20156.10:00ltM     7/1Gi2015 -4:00:00 PM             9.83         0.00        9.&3
                                                             47.33          0.00       47.33




T/SQ/2015 4:01:13 PU



                                                             CONFIDENTIAL                                                       SNI 0116

                                                                  APP 404
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                     Page 172 of 293 PageID 1199



                                                                                                   P•riod: 7/11/201 $ - 1117/l015
 Employee Time Detail                                                                            e.npao,w:
                                                                                            Wor11Qroiq,:
                                                                                                      Job:
                                                                                                 Par,TJpe;


 fatp&oyN ID:                                                                       Period: 7/1112016- 7117/2015

                  IimJD                 IimJJM      Bllllllit HIHIII   Ollt!Awl   Tofil tltY11
    711'4l2015 7 20:00 All   7l14'2015 4·00:00 PM             U7           000           U7
    111512015 6:20:00 AM     7115'2015 4;00:00 PM              9.67        D.00          9.67
    71\6120'15 6:20:00 All   7/18'2015 B:SCtOO AM              uo          0.00          Z.50
    711Gl2015 9:50:00 AM     7/1612015 3:50:00 PM             e.oo         0.00          6.00
                                                             2U4           O.oD        26.84




7/17l2015 l:'3:35PM


                                                            CONFIDENTIAL                                                            SNI 0117

                                                                 APP 405
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                  Page 173 of 293 PageID 1200



                                                                                             Pllfod: 7/18'2015- 7/2412915
Employee Time Detall                                                                        Effl~
                                                                                       WorltCln,lql:
                                                                                               Job:
                                                                                            P~Typt:


Employee ID:                                 Name:   Dimas Rodriguez            Period: 7/18'201S-712-tl2015

                 IimRJ1J                Iilll.Qut Bai!ltNatn    QD:tb.111     ToblltfRurt
   7121120151:10.00 AM      7121/2015 •:GO:m PII        7.t)         0.00           7.83
   7/22t2015 7:40:00 AM     712212.0tS •:00-.00 PM      a.»            0.00         8.33
  7l.23t2015 7:AO:OO AM     7/23'2015~00:00 PU          Ul             o.oo         &.33
   712"'2011 't:30.-00 AM   712412D15.t:00:00PM         8.50           o.oo         1.$0
                                                       32.99           0.00




                                                        CONFIDENTIAL                                                        SNI0118

                                                           APP 406
     Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                    Page 174 of 293 PageID 1201



                                                                                                      P«tod: 7l2S'2015 • 7131/2015
     Employee Time Detail                                                                          em,,cov..:
                                                                                               Wari!Group:
                                                                                                        Job:
                                                                                                   flarTp,t.


                                                     ._:      Dimas Rodriguez            Period: 712512015- 7131/2015

                      Im.ID                  IiDI.S'.hll Btllllltfbll'S     0£IHocn    Iotaftf90
         7128120157:30:00 AM     7/2812G15 S:$0:00 PM               8.33        0.00        8.33
         7/29l2015 7:30:00 NI    7/29/201& 4.'00;00 PM              8.50        0.00        uo
         7'30f.2015 7'30:00 AM   7.13012015 4-00:00 PU              8.50        0.00        8.50
         7/3112016 8:30:00 AM    1/31/2015 4:00:00 lltl             uo          o.oo        7.50
                                                                   32.83        o.oo
                                          /.1                          -~
                                    ~kJ(lb
                                       "'-
                                           -----·
                                            -
                                                ,#         ••

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                                                                            ~




    7131'2015 ~0&:40 Ptl




•                                                                  CONFIDENTIAL                                                      SNI 0119

                                                                      APP 407
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                  Page 175 of 293 PageID 1202



                                                                                             Perfod: Ml201S• 81712015
Employee Tune De1ail                                                                     ~
                                                                                        WarllGraup:
                                                                                               Jab:
                                                                                          PayType:


                                            Name:      Dimas Rodriguez            Period: 81112015 • 81712015

                DaJD                  1lmlJM       Rllao.i.Hmn.   QlIHouts      TqtalHpms
   1!14'2015 7.:30:00 AM   8W20'15 3:50:Cll PM             8.33          0.00        &33
   tl5110tS 7:30:00 NA     Ml20153:50:COPM                 1.33          0.00        &.33
   IWl20l5 1:30:00 AM      9/8/2015 3:S0:00 PM             9.33          0.00        &.33
  117/2015 7·30:00 AM      917/2015 2:50:00 P'-'           7.33          D.00        7.33
                                                          32.32          0.00       32.32




                                                          CONFIDENTIAL                                                  SNI 0120

                                                             APP 408
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                             Page 176 of 293 PageID 1203



                                                                                           fl.edocl: f,'1/2015 - 8't•t2015
 Employee Time DetaH                                                                      E~
                                                                                      WotkGn,up:

                                                                                          ,.,r"":
                                                                                                Jab:



 1:mployff ID:                              Name:   Dimas Rodriguez            P«tod:       81812015 • 8/1412015

                 1imtJD                ~           ea.~        ca: Htwnl     TttaFHourt
    Bf1112015 7:30:00 AM    &'11'1015 3:30:00 PM      8.00            0.00        a.oo
    "12'2615 7.20:00 AM     8112ll015 3 : ~ PM         U3             0.00         U3
    31t312C115 7:30:O0.AU   8113/2015 5:00:00 PU       9.50           0.00         uo
    811412015 7:20:00 AW    ~4'2015 3:40:00 PM         a.33           0,00         8.33
                                                      34.18           0.00        34,15


                                                                             --·




t/2112016 t0'.37:~AM                                                                                                  Pqt4af6


                                                    CONFIDENTIAL                                                             SNI 0121

                                                       APP 409
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                                                                                             PeriOd: 8'15'201$-en1/2015
Employee Time De1ail                                                                     Enllplope:
                                                                                        WorttG,oup:
                                                                                               Jab:
                                                                                          PayTJP*:


Employee ll:                                Name:   Dimas Rodriguez             Period: 8/15/2015· 8121'2015

               Dnt.1n                 1lmuM Bmllli:fhfl        g{lHDt.-       Iotaltfoc/11
  811 ll20157'30:001M     8118120t5 3:50:00 PM         8.33           0.00           8.33
  8119'2015 7.24t00 AM    &'19/2015 UJ0:00 PM          8.67           0.00           8.87
  at20f201 $ f:S0:00 AM   IW20l2CU5 '-'{)0:00 PM       8.50           c:too          8.50
  8121/201 S 7:30:00 AM   S/21120154:00.00 PM          1.50           0.00           8.50
                                                      34.00           0.00          34.IJO




                                                                                                                  Pat,a4 of5


                                                    CONFIDENTIAL                                                          SNI 0122

                                                        APP 410
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                                                                                                 Period: 812212015 • 81281201
Employee Time Detail                                                                          EinpSo,N:
                                                                                          WcnGroup:
                                                                                                  Job:
                                                                                              Pa,Trpe:


Employee I>:                               Name:       Dimas Rodrigue%             Period: 8122/2015 -8128/2015

                 IimtJo              Dm.Qid       R@91MC l:IQwl   00:Houts       Total HQuQ
   8125.'2015 7:».00 NI   8'25l2015 •:CO:CJO PM            a.so          0.00          uo
                   *
   612612015 7:30:00      812612015 <l:G0:00 PM            8.SO          0.00          6.50
  8127/201 G7:30:00 ~     8127/2015 3:50:00 PM            8.33           0.00          8.33
  8129/2015 7:30:00AM     812812015 4:00:00 PM            8.50           a.oo          uo
                                                         33.83           O.CXI        33.83




                                                        CONFIDENTIAL                                                            SNI 0123

                                                            APP 411
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                 Page 179 of 293 PageID 1206



Employee Time Detail                                                                           Period: 8129124tt5 • 91-1/2015
                                                                                             Employe•:
                                                                                        WorkGraup;
                                                                                              Jab:
                                                                                          hflype;


Employee ID:                               Name:      Dimas Rodriguez             Per1od:     8129/2015- 914'2015

                lmU1                 IiDA.Qm      BmtttWfiolo    OJTHqp         IORIHgu,s
    8131/2015 8:20:00AM   8131'2015 3".50:00 PM          7.50           O.CKI        7.50
     911/20157:30-00 AM    8'1/2015 3:50'.00 PM          9.33           D.00         B.3S
     W2Q015 7:80:00 AM     tan015 3:50:00 PM             a.»            0.00         8-33
     913120157:~AM         913120154:00:00PM             1.50           0.00         9..50
     9i4/20157:30:00Mt     9Hl20154;0():0QPM
                                                  -------------
                                                         &50            0.00
                                                                        0. 00
                                                                                     8.50
                                                                                    &1.16




9141201U:03:1t PM


                                                      CONFIDENTIAL                                                              SNI0124

                                                          APP 412
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                      Page 180 of 293 PageID 1207



 Employee Time Detail




 Employee ID:                                 Nanw.        Dimas Rodriguez            Perlod: 9/5/2015 - 9/11'2016

                  l!mi.JD                ~           Bl!ILIIICl:tlllll   QlIHClufS   JgtaJHqp
      MJ201 $ 7:30:00 AM      9/8/101U:OO:OO PU                 uo            0.00        8-50
      W201~ 7:-40:DO AM       919121U5 3;50:QO PU               8.17          0.00       l17
     MQ/2015 7:20:00MI       9fl0l20154il0..1>0 PU              8.67          0.00       8.67
     W1 tl201S 7:30:00 AM    9111~1:5 •:00:00 PM                8.50          0.00        a.so

                            1-··.                              33.84          0.00       33.84




11'Hl2015 ):51:51 PM



                                                             CONFIDENTIAL                                            SNI 0125

                                                                  APP 413
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                                                                                                Ptdocl; 9/12t2015 • 9/18/2015
Employee Time Oet.aH                                                                          Emptor..:
                                                                                          w°"' Gcoup;
                                                                                                  Job:
                                                                                              PIIJTp:


Employee ID:                               Name:      Oinas Rodriguez             Period: 9112/2015-911812015

                Im.ID                 llDtjM      Bmldlc liw11   Clitilull     I otal tfocQ
  9'1512015 7:30:00 AM     9115/201!13:00:00 PM           8.33          0.00          8.33
  911612015 7:30:00 NA     9'16/2015<4:10:00PM            U7            0.00          &67
  9117/2015 7:30:00 AM     9/17/20154:00:00 PM            8.50          0.00          uo
  9'18/l01 $ 7:30:.00 AM   9/18'Z015 3:S0:00 PU           1.33          0.00          8.~
                                                         33.83          0.00         33.83




                                                        CONFIDENTIAL                                                            SNI0126

                                                            APP 414
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                              Page 182 of 293 PageID 1209



                                                                                            PWtod: 91'19/2015·9'2$12015
 Employee Tirne Detail                                                                    ~:
                                                                                      Work Gf'OUI):
                                                                                              ,kb:
                                                                                          PayType:


 Employee ID:                               Name:   Dimas Rodriguez            Period: 911912015 • 9/25J2015

                 IiDlJ!l               IisJM ftlOl•Holn        O.U:limll     IOflltiela
    912112015 7:30:00 /JM   t/21'2015 3:50:00 PM       us             0.00         8.33
    912212015 7:30:00 AM    9122/2015 3:50 00 p~       8.33           0.00         8.33
    tl23/201e 7:30:00 AM    1123l2015 3:20:00 PM       7.~            0.00         7.83
    ~r.zo,u:10:00 AM        t/2"'2015 4:10:00 PU       8.00           0.00         8.00
    9/2Si2015 7:30:00 AM    W25/2015 •:00:00 PM        8.50           0.00         8.50
                                                      ,o.tt                      40.99




1Gal2015 3:f0:05 PM



                                                    CONFIDENTIAL                                                          SNI 0127

                                                        APP 415
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                              Page 183 of 293 PageID 1210



Employee Time Detail



Employee ID:                               Name:   Dimas Rodriguez           Period: 9/2612O15-10/2J201o

               Imuo                   IimADsd BesP,yr ~       Qtl:Hcwm      TmlHQUI'$
  9"29/2015 7:31100 AM    9129Q015 .,t:OQ:00 PM       ,.so           0.00        8.50
  tl30/'2015 1:30:00 AM   9'J0/20t~ 3:50.00 PM        8.33           0.00        ~.33
  10fll2015 7:30:00 AM    1011/2015 4:00.110 PM       uo             0.00        uo
  10/2/2015 7:30:00 AM    10/2l20154:00:00 PN         8.50           0.00        a.ao
                                                     33.83           0.00       33.83




                                                    CONFIDENTIAL                                           SNI 0128

                                                        APP 416
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                Page 184 of 293 PageID 1211



Employee Tune Detail                                                                       Periad: 10l3l2015 - 1~15
                                                                                        Emploww.
                                                                                       WorkGtoup:
                                                                                                Job;
                                                                                            Par Type:


Employee ID:                                Name:    Dimas Rodriguez            Period: 10/ll2015 - 10/9/2015

                 IimUI                 IIDI..QI,(   ~t:w,       Ol[lt:luft    Ivtll Hours
    10/8'2015 7:20:00 AM   10N2015 3:50:00 PM           8.50           o.oo         1.60
    tOl'7l2015 7:30:00AM   1~120'f5 3:50.00 PM          8.33           0.00         8..33
    f0/8l201$ 7:30:00AM    1CWl2015 4.00:00 PM          8.50           o.oo         uo
    10/91201S 7:20:00AM    10/9'201$ 9:30:00 AM         Z.f7           o.oo         2.(7
                                                       27.50           0.00        27.50




10fl6Q010-4:04:21 PM



                                                      CONFIDENTIAL                                                    SNI 0129

                                                          APP 417
                              Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                                                                 Page 185 of 293 PageID 1212




                                      DIMAS RODRIGUES                                                                                                                                               Employee ID: RO::>03
                                                                                                                                                                                                    Social Sec f
                                                                                      T!lis Check                          Year t:.o Date
                        Gross                                                              320.0:l                              320.00                                                                      Hours                    Rate                                To-::al
                        Soc_St:!C                                                          -19.84                               -19 .84, Reg,:1ar                                                           32.00                   10.00                                320.00
                       Medicare                                                             -4.64                                -4.64




                   _-Net Check:             $295.52                                                                                                        Total                                           32.00                                                         320.00
                         Pay Pe=~od Beginning: Dec 27, 2Cl4                                                                                                                                               Check Da.:.e: 1/1/15
                            Pay Period Ending: Jan 2, 2015                                                                                                                                       Weeks in Pay Period: 1

                                                                                                                           SHi\ff NAMKEEN/INC
                                                                                                                           2731 NATIONAL QR
                                                                                                                           GARLAND. TX 75041

                                                                                                                              . Check Number:                         3543                                                             Jan 1. 201s
                                                                                                                                                                                                                           295.52


                              Tv.a Hundred Ninety-Fwe and 521100 Dollars

                                     . DIMAS RODRIGUES
                                       12879 S JOSEY LN 170
                                      FARMERS BRANCH, TX 75234




                                                                                                                                                                                                                              ·- ...        ·.
                                                                                                                                                                                                                                                                  ....

                                                                                                                                                                                                                                                             . ·: ·.·; ·.   -
                                                                                                                                                           ... ....:,....,::_. ....          Eroploy~e ID: R.OD0".3 ___                           . ·-
                                 D.I.MAS RODRIGllt:S
                                                                                                                                                                                             :So~l Sec               t
                                                                                Thl.11 CJ:ieck                        Year to Date                                                                                                  Ra~e                            Total
                                                                                                                                                                                                         Bours
                 Gross                                                                320_.oo                              320.00 .·
               ·_so·c_sec                                                              .:..19.84                          .-19.84 ~cralar                                                                                    10.00                                320.00
                                                                                                                                                                                                                                  _,, ...
                Medicare                                                                 -4.64                              -4.-64

                                                                                                                    ·.~:                                                                         - t.·~-::- -
                                       .... - , !
                                                                                                                                                                                                                                                                  DEPOSmON
                                                                                                                                                                                                                                                                    EXHIBIT
                                                                                                                                                                                                                                                                             {&

    .          Net-check:;;:_::                                                  ·$2~s:s2 . · ::-·-:::,-;.='~--_·;•·_.,Total                                                          -· --~ --; 32·.oo                    '=-··,.·f···· ~-i:~-:/.. :.-! 32~·.oo·. ·.::::·.·.
                          -               7-·                                     •                     . . ;       :.!-.~-:. -                       ·.                                           ..i;-.-:---        ••     ......-;•• :"',{••   ~-~-~---E"-.:."··~-"
                          Pay Period Begi.n!li.Dg: Dec 27, 2011. .                                                                                                                                  . .           Check Date: 1/1/15 ·:,.- '.. ·~                                     · ..
    ·~.t.·             .:.·              ••:        •       •        •          •·•     .     •         •       •   ···;.~~i_:.-         .. ·;·:,    • ·..•                • .·,,           • ·..-,~:.                •        ·.--!<"°'           ·."c·:. •:··.:!·':.. ~
~;:.-::·-~.it,~-~~~P-~1-~~~~:-;.Jan .~•- ..~~~~.,_,..,..~:..----., ~-- _. ~-·:.:,_!f~~~-P~Y-:,~~od:: 1_:,j' ":~.                                                                                                                                                   :.::··:;:.- .,__. _.__.,       ..
,!"·· ';:,~~.,~)~ ;_,,;,..,:,.r;_,-,:.;,,:.,,~,,:....:_- '''i(",.,'·.~:·.~i t~~)~=--~·.;::'.'t•';",'7'·- •i •'"!~ '¼:~';£; 3'-'· ' ..?:·.I!;;,·.·;- .
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~.:.-,:-:·:.,;;,,·..:-..,,....,,., .....
               , _ -~ .- ..J.·   '.!.---:,..: •.i -     •   ·,   ·   .-r.   •
                                                                                        ~-:·u,j.'.f~·"'
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                                                                                                                                                                            ,,,·,s:;;:l••;i'i,              ff,'···-..-,.~)....
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                                                                                                                                                      APP 418
       Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                  Page 186 of 293 PageID 1213




              DIMAS RQDRIGUES                                                         Employee ID: ROD03
                                                                                      Soc~al Sec         f
                                This Check          Year- to Date
     Gross                         320.00                    640 •.00                    Hours                     Rate            Total.
     Soc_Sec                       -19.84                    -39.€8 Regular              32. 00                   10.00            320.00
    Medicare                         -4.64                    -9.28
    Advance                        ·-50.00                   -SO.OD




    Net Check:              $245.52                                       Tot4           32. 00                                   320.00
        Pay Period Begin:ning: Jan 3, 2015                                                    Check Date: l/9/15
           Pay Period Ending: Jan 9,.2015                                            Weeks in Pay Period: l
                                                           --
                                                    SHAN NANKEEH. lf,IC·
                                                   2731 NATIONAL Cut
                                                   GARLAND, TX 75041

                                                          Check !\'umber.    3507                                  Jan 9, 2015



                                                                                                              .24552


       Two Hundred Forty-Five and 52/100 Dollars

              DIMAS RODRIGUES
              12871:l SJOSEYLN 170
              FARMERS-BRANCH. TX 75234




       .'DIMllS RODRIGUES                                                           En:p.!oyee ID: ROD03
                                                                                    So~ial Sec #
                            This Check         Year· to Date
                                                                                        Hours                     Rate           Total
  Gross                         320.00                    640.00
 · Soc_s~c                      -3.3.84                   -39.68 Requlu:                                       10.00             320.00
· ·Medicare                     . -4. 64                   -9. 28
   Advance-                     -50.00                    -SO.DO
                                                   ·:·.    ··:   ·.··-.                           ._;-._.._




                                                                          APP 419
           Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                         Page 187 of 293 PageID 1214




                                                                                              Employee r.>: ROD03
                                                                                              social Sec I
               DIMAS RODRIGUES
                                                          Year to Date                                                 !late                    l'otal
                                    This Check··                                                 Hours                                          320·.oo
                                        320·.oo             1,280.00                                                  10.00
                                                                                                 3~.00
      Gross                                                    -79.36 P.egular
                                      . -3.9.84
      Soc_sec                                                    -19.56
                                         -4.64
      Med~care                                                 '-1so.oo
                                        -so.oo
      Advance




                                                                                                                                                320.00
                                                                                Total             32.00
                             ~~45.52                                                                       Check Date: 1/23/15
      Net Check:
          Pay Period Beginning: •Jan 17, 2015                                                · We-1cs in Pay ?eriod: 1
             Pay Period Ending~ Jan 23, 2015
                                                            ·sHAN NAMKEEN, INC
                                                            2731 NATIONAL CIR
                                                            GARLAND, TX 75041
                                                                                                                           Jan23,2015
                                                                Check Number:      3518


                                                                                                                    245.52




          . Two
            . HundredForty-Five       and 521100
                                             . Dollars.
                 DIMA.3 RODRIGUES
                 12879 S J()SEY LN 170
                 FARMERS BRANCH, TX 75234




                                                                                               Empl.oyee ID: .ROD03
          .. ·-nIMAS -~oDRI:GtJE"S""' '=-~------·:..· •..• - .. -··----                        Social  Sec f.
                                                                                                                        · . Rate                 TotaJ.
                                      Th:.:s -check ·       Year to Date
                                                              1,280.00                                                   10.00                   320.00
                                             320.00                                                32.09
        Gross                                                    -79.36 ReC[Ular
                                             :-19-84
        soc_sec                                                    -18.56
                                            · -4.61
        Medicare                                                  -iso.-00· ·
                                             -.50.00
        Advance                            '•:   .
 .'




        Jlet   Check,                · · · $2•5- 52' : · · · "'-.~- ··      .· ,r,it.:i            · 32. 00 · ··' ·: · ··:'· •·. · ·   • . ·:·- · ·320.00' · .,.-. ··· '
 .. .       • Paj, Puiod        Begi,,oin,i;. J,. ·;:,, :io1S                           ,.          .: ·      Ch~~C »~i.; .l/23;{5
                                                                                                                           1
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;'ffi c-' ,.: , •.,q! P,.\, Period.l!odi;,;;f).,;;·23; ;01.5>·'             · · · ;, ' ·     ·· -..;,,; · in ..,. Perl.o1t ·                ·      · _-   · · ·            I

~1. ;QUt~ir~:01i8ll~ti.Bt1t:i.:i;1~;:,.~1iil~lit1                           APP 420
                Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                       Page 188 of 293 PageID 1215




                                                                                                Employee ID: ROD03
                  DI~ RODRIGUES                                                                 Sycial Sec f

                                     This Check          Year to Date                                                    Rate             Total
                                                                                                     liou=s
                                         320-00            1,600.00                                                     10.00             320.00
             Gross                                            -99 .20 Reg-.ila.r
                                                                                                     32.00
                                          -1::1.84
             Soc_Sec                                          -23.20
             Medicare                      -~.64
                                                             -150.00
             Advance




                                                                                                                                          320.00
                                                                             Total                   32.00
             Net Chee~:             $235.52                                                              Check Cate: !/30/15
                 Pay Period Beginning: Ja.., 24, 2015                                           weeks in Pay Period: 1
                    Pay Period Encing: Jan 30, 2015
                                                    SHAN NAMKEEN. INC
                                                    2731 NATIONAL CR
                                                    GARLAND, TX 75041
                                                                                                                           Jan 30, 2015
                                                                Ch~ Number:      3554


                                                                                                                     295.52



                Two Hundred Ninety-FIV8 and 52/100 Dollars                                                                                         r

                       DIMAS RODRIGUES
                       12879 S JOSEY LN 170
                       FARMERS BRANCH. TX ~34




                                                                                                 ~1r.ployee· ID: ROD03
                  DI~ ROD.F.IGUES                                   ...        ,.·    ": · .. _:.::.Social Sec: f.
                                                                                     . : . · ... .;--:.: B~~r~ _. ._-· .. :- 'R~te-        Total
                                      This Chec'k            Yea./to 'bate
                                           320.00        ..··. ·1., 6QO~ 00 :                                            10.00            320-00
             Gross                                                  -99.20 Recrular
                                                                                                      32. 00
             Soe_sec                       -19.84
                                          · -4.64_.               -23.2.0
             Medicare -
             Advance
                                                 .. ·-
                                                                                                                                                    -.......
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                                                                             APP 421
                  Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                           Page 189 of 293 PageID 1216




                                                                                                                                                 :.:mployee Iv: ROD03
                     DIMAS RODRIGUES                                                                                                             social sec i

                                                    This Check                          Year co Dace                                                                           Rate               Total
                                                                                                                                                     Hours
                                                        320.00                            1,920.00                                                                            10.00              320.00
               Gross                                                                             -119. 0 ~         Req:.llali
                                                                                                                                                     32.00
               Soc_Sec                                  -19.84
                                                         -4.64                                    :..27.84
               Medicare                                                                          -200.00
                                                        -50.:>o
               Advance
                                                                                                                                                                                                       ,;




                                                                                                                                                                                                  320.00
                                                                                                                       Total
               Net. Check:              $245.52                                                                                                                     Check Date: 2/6/15
                    Pay Period Beginning: Jan 31, 2015                                                                                           weeks in Pay Period: 1
                       ?ay Period End:.ng: Feb6,2015
                                                     StiAN MAMi<.EEN, i1'iC
                                                     2731 NATIONAL CIR
                                                     GARLAND, TX 75041 .
                                                                                                                                                                                Feb6; 2015
                                                                                               . Check Number:                   3523


                                                                                                                                                                            245.52



                  Two Hundred Forty-FM! and 52/100 Dollars

                         DIMAS RODRIGUES                                                                                                                                                           '.,
                         12879 S JOSEY LN 170
                         FARMERS BRANCH,.TX 75234




                                                                                                                                                 -Employ.ee ID: P.OD03 '
                     D:IM?\S RODRIGUES                                                                                                           Social Sec f
                                                                                                                                                                                 Rate              Total
                                                · This Check                                 Year to Date                                                  .Hours
                                                       320.00                                   14 920. 00                                                                     10.00              320.00
               Gross                                                                                                                                   32.00
                                                     . -19.84                                  • ·-119. 04 Reqular.
               soc_sec                                                                             -27.84
                                                       · -4. 64
               Medicare                                                                           -200. 00
               Advaiace
                                                               -so.oo



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                                                                                                  . -:·                                                32~..0ci                                   320. OB
                                                                                                                           l'otaJ. ·
                                         $245.52                                                                                                                        -Check Date: 2/6115
               Net .Chee~:
                    P~y ?eri.od Begi.nnillg: Jan 31.,. 2015                                                                                      Wee'ks.' in Pay Pe:dod: 1 ·

   :·.     i
. ·:.·f .....
                       Pa:Y Period Ending: Fel:> -6., '2015 ·
                          · ·:·:-- - _,. -: · :· _.\r- ··· r·= ---:r;~~-~~;:_};23
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            Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                    Page 190 of 293 PageID 1217




                                                                                                                                        Employee· ID: ROD03
                 UMAS RODRIGUES                                                                                                         social sec f

                                                                                                   Year to Date                                                              Ra-:.e                      Total
                                                       This Check                                                                             Hours
                                                                                                     2,160.00                                                            10.co                           240.00
                                                           240.0C                                                                             24.00
     GrO~S                                                                                             -133. 92 Regular
                                                           -14.88
     Soc_Sec                                                                                            -31.32
                                                            -3.48
     Medicare                                                                                          -200.00
     Advance




                                                                                                                                                                                                         240.00
                                                                                                                        Total                  24.00
                                                                     $221.64                                                                           Check Date: 2/13/15
     Net Check:
                 Pay ?eriod Beginn~~g: Feb 7, 2Cl5                                                                                      weeks in Pay Period: l
                    Pay Per i_od Ending : Feb 13, 2015
                            ·--- -.....                                                                 s°HAHNAMKEEtf1rc -
                                                                                                        2731 NATIONAL CIR
                                                                                                        GARLAND, TX 75041
                                                                                                                                                                               Feb 13, 2015
                                                                                                           Check Number:   3561


                                                                                                                                                                       221.64



                Two Hundr~dTwenty-Oneand 64/100 Dollars                                                                                                                                                                                 I
                          DIMAS RODRIGUES
                          12879 SJOSEYLN 170
                          FARMERS BRANCH, TX 75234
                                                                                                                                                                                                                                        I

                                                                                             · ·-·-,--~~. .:.-.:.·- ":---:- ·-, .. ····1;mpio;ee         xp:
                   DIMAS RODRIGUES                                                                                                           social Sec         t
                                                                                                                                                                                Rate                      Total
                                                                                                        Year to. Date                            Rours
                                                            Tb.is Check
                                                                                                           2,160.00                                                          10.00                        240.00
                                                                        240.00                                                                  24.00
     Gross                                                                                                  -133.92 Reqular
                                                                        -14.88
     Soc_Sec                                                                                                 -31.32
                                                                         -3.48
     Medicare                                                                                               -200.00
     Advance




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                                                                                       .··   ~- ·//··                             •.·                      '
                                                                                                                      _, Totu·                  21.00
                                                                     :$221.64                                                                         .Check Date: 2/1,3/15
     Net ~eek:
                  Pay Beriod Beginn!.n!r- Feb '• 2015                                                                                              in ~ Period: 1
                                                                                                                                                       ·..-·-·:
                                                                                                                                                            ;... _,,;.
                                                                                                                                                                                                                   •• -·. • .... !.-.


                ,. . .. .....- ~::< : : ' .:·.J:~f.:-~· .
         .. ,.·· . Pa~ Period, J:;nding: Feb '13.., 2015                                                                                                          ..                        ,t·. :_. .              ../ -~_-=f:.~-
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                                                                                                                        APP 423
   Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                             Page 191 of 293 PageID 1218




                                                                         E~loyee ID: ROD03
        DIMAS RODRIGUES                                                  so=lal Sec f

                          This Check·      Year to Date                                            Rate               Total
                                                                              Hours
                              240.00         2,400.00                                            :o.oo                240.00
Gross                                                                         24.00
                              -14.88 ·        · -148. 80 Reg-..u.ar
soe_Sec                                          -34 .80
                               .-3. ,0
Med:.eare                                       -200.00
Advance




                                                                                                                       240.00
                                                            Total             24.00
                          $221.64                                                 Checlc Date: 2/27/15
Ne-c cliedc:
     Pay Pe=iod Begin.~iog: Feb ~1, 2015                                 We~ks in Pay Period: 1
         Pay Peri_od Ending: Feb 27, 2015
                                          SHAN NAMKEEN; INC
                                          2731 NATIONAL CIR
                                          GARLAND, TX 75041
                                                                                                     Feb 27, 2015
                                                Check Number:   3571


                                                                                               221.64



    Two Hundr~dTwenty-One and 6411()0 Dollars

          DIMAS RODRIGUES
          12879 S JOSEY LN 170
          FARMERS BRANCH. TX 75234




                                                                         _, l!.'lllployee-- lll: ROD~3
        DIMAS RODRIGUES                                                    social Sect
                                                                                                         Rate              Total
                          This Check        Year to Date                         Rou;-s
                               240.00           2,400.00                                           10.00                   ·240.00
Gross                                                                           24.00
                               -14.S.8           -US. 80 Reqular
soc....Sec                                       -34.80
                                -3.48
Medicare                                        --200.00
Advance




                                                                                                                           240.00
                                                             Total              24.00
                              $221.64                                                    .Checlc Date: 2/27/15
Net Check:
    P.ay P.eriod Beginning: Feb 21~ 2015                                  weeks in Pay Period: 1
        _Pay Period Ending: Feb_.27-, .2015                                                                         ....
                                                .check Numl:)!!r: 3571                                          .
                                                                                                                ::_p~_Docs 0028 ..

                                                           APP 424
    Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                Page 192 of 293 PageID 1219




                                                                                                               Employee ID: R0:;)03
        DIMAS RODRIGUES                                                                                        social sec f

                                      11:is Check                     Year to Date                                                      Ra-:.e               Total
                                                                                                                  Hours
                                           160.00                       2,560.00                                                      10. 00                 160.C0
Gross                                                                     -158. 72 ;tegular                       16.00
                                            -9.92
Soc_sec                                                                    -37.12
                                            -2.32
Medicare                                                                  -200.00
Advance




                                                                                                                                                             160.00
                                                                                             Tot.al               16.00
                                         $147.76                                                                             Checlc Date: 3/6/15
Ne: Check:
     Fay P~riod Beginning: Feb 28, 2015                                                                        W~eks in Fay Period: l
        Pay Period Endi?g: Mar&, 2015
                                      SHAW NAMKEEN, INC
                                      2731 NATIONAL CIR
                                      GARLAND, TX 75041
                                                                                                                                          Mars, 2015
                                                                               Check t:,Jumber:   3577


                                                                                                                                    147.76



   · One Hu~red ~(!rty-Seven and 761100 Dollars

              DIMAS RODRIGUES
              12879 S JOSEY LN 170
              FARMERS BRANCH, TX 75234




                                                                                                               Employee ID: ROD03·
   -· . DIMAS RODllGUES                                                                                        Social Sec f                              •
                                                                                                                                         .Rate                Total
                                      This Check                      Year to Date·                                 Bours
                                           160".0.0                     2,560.00                                                       10.00                 160.00
Gross                                                                                                              16.00
                                              -9.92                       -158. 72 Requl.ar
Soc_sec                                                                    -37'.12
                                              -2.32
Medicare                                                                  -200.00
Adva:ice




                                                                                                                     . :--··.                                 1'60.09
                                                                                             Total.                16.·00
Net 'Check: · ·                          $147. 76                                                                               -Check Date:' 3/6/15
     Pay Period Beginning: Feb 2s. 2015                                                                        'lllee'ks in Pay Peri!)d: 1
        P~ Period 'Ending: Mar 6• .2015 ·
         ••    • •• ·•   ••   •   •       •    •   -·   -       • •    , . L ••• :•
                                                                                                   ... , ...          ~'{               • '·.~t;·:   I




                                                                                                    3517:
                                                                                                   . ......
                                                                               ·: Check 'Number:                                          \: .,_ - . .       .   . ~:. . . '.·: ~i' .
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                                                                                            APP 425
       Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                                                  Page 193 of 293 PageID 1220




                                                                                                                                                                 Employee ID: ROD03
               DIMAS RODRIGUES                                                                                                                                   Social sec t                                 ·
                                                      T!:iis Check                          Year to Date
                                                                                                                                                                      :ilo·..1rs                   Rate                     Total
  Gross                            ...                      400.0D
                                                             -0.38
                                                                                                    2,960.00
                                                                                                                 -0. 38 Regular                                        4C.OO                      10.00                     400.00
  Fec_Income
                                                            -24.80                                      -183.52
  Soc_Sec
                                                             -5.80                                       -42 .92
  Medicare
                                                          :-100. 00                                     -300.00
• Advance




                                                                                                                                                                      40.00                                                 400.00
                                                          $269.02                                                                    Total
  Net Check:
                                                                                                                                                                        Check Date: ~/13/15
        'Pay Period Beginning: Mar 7, 2015
                                                                                                                                                               Weeks in ~ay Period: l
                   Pay Per! od Ending : Mar 13, 2015
                                                                                             SH.~"J ~JKES."4, 1:-.'C
                                                                                             2731 NATIONAL CIR
                                                                                             GARLAND, TX75041
                                                                                                                                                                                                    Mar 13, 2015
                                                                                                        Check Number: 3581


                                                                                                                                                                                              269.02


       Two Hundred Sixty-Nine and 02/100 Dolars

                   DIMAS RODRIGUES
                   12879 S JOSEYLN 170
                   FARMERS BRANCH, TX 75234-




                                                                                                                                                            .. · '&:p,ployee ID: RODD~
          DIMAS RODRIGUES                                                                                                                                       Social ·~ec f-
                                                      This Check                          Year              to 'Date                                                   Bours                        Rate                    Total
                                                         . 40.0.00                                2, 960.~ DO
 Gross                                                                                                                                                                40.00                       10.00                 400.00
Fed,_Illcome                                                  -0.38                                         · -o.3s             Reqular
                                                            -24.S'J                                 :183.52'
Soc_Sec
Medicare                                                      -!LBO                                . -42.92
                                                          .a..100. 00 ..                        • -300. 00
Jicivance
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Net-~e-ck::.· ·.·.
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                                                         $269:02· ':- .
                                                                                                                     .::::~~-
                                                                                                                        -       . Total                              10.00
                                                                                                                                                                                                                                      . -~·:...:;.::·
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                                                                                                                                                                                   Chec'k Date: 3/13/lS
       Pay Pe~iod Beginning: Mar 1,, 2015·.
          ?ay Period Ending: Mar 13.; 2015 .
     -·:/-~ -.. . . .·.J/·:· . .              • •· i •
                                                ! :
                                                                   ::_ ;·~J?··: ;>Check
                                                                                    ,· :.- ':· Number·
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                                                                                                                                     APP 426
                   Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                        Page 194 of 293 PageID 1221




                                                                                                      Employee tD: ROD03
                        DlMAS RODlUG'JES                                                              Social Sec f

                                                                 Year to Cat:e                                                   Rate             Total
                                           This Check                                                    Hours
                                               320.00.                 3,280.00                                                 10.0:>            320.00
                Gross                                                     -0. 38 f,egular
                                                                                                         32.00
                Fac~Inccme ·                                            -203.36
                                               -19.84
                soc_Sec                                                  -47.56
                                                -4.64
                Medicare                                               ,_350:00
                Advar:ce
                                               -so.oo
                               '

                                                                                                                                                  320'.00
                                                                                         .Total          32.00
                                              $249.52                                                              Check Date: 3/20/15
                ~et Check~
                    Pay Period Beginning: 'Mar 14, 2015                                               Weeks in Pa~ Period: 1
                      . I?ay Period Ending: Mar 20, 2015
                                                                   Sf-lAN.NAlll1K.:E~•, iNC".
                                                                  ·.27-31 NATIONAL CIR
                                                                   GARLAND, T>.:75041
                                                                                                                                   Mar 20, 2015
                                                                             Check Nur.ibef;   3586


                                                                                                                              245.52



                    Two Hundred Focy-Five an.d 52/100 Dolla."s

                          DiMAS RODRIGUES
                          1287! S JOSEY LN 170
                          FARMERS BRANCH, TX 75234




                                              ·...
                                                                                                                   .·-:   .
                                                                 _. .,.,..    ---                     ·:Emplo}•ee·
                                                                                                       social sec f
                                                                                                                     ID:      RvDOJ,


                                                                                                                                    Rate           Total
                                           This Chec;lt           Year to ·Da-:e                           .Eours
                                                                    3,280.00                                                     10.00             320~00
                                               320.00                                                      32.00
                Gross                                                            -0.38- Reciular
                 FecLIDcC!me                                                  -?03.36
                ·soc_sec                        -19.84
                                                     -4.6!                     -41~56
                Me.dicare                                                     -350:00
                                                :-5D.00
                .Advance




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.-.'i}.:.'.
:_-s_:.;.-..:
                                                                                         APP 427
                      Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                    Page 195 of 293 PageID 1222




                             DIMAS 'rtODRIGUES                                                                                                     Employee ID: ROD03
                                                                                                                                                   Social Sect
                                                                 This Check                       Year to Date
                                                                          320.00                       3,600.00                                         Eours                 Rate                      Total
                .Gr.o,ss
                                                                                                            -C.3£1 R~ar                                 32.00                10.00                     320.00
                 Fed_Incor.ie
                 Soc_sec                                                 -19.84                         -223.20
                Medicare                                                    -4.6i                        -52.20
                Advance                                                                                 -350.00




                                       5295.52                                                                               Total                    32.00                                           320.00
               Net Check:
                   Pay Period Beginning: Mar 21~. 2015                                                                                                          Che~ Date: 3/27/15
                      Pay. Period Endin;i: M·ar27, 2015                                                                                           Weeks in Pay Period: l

                                                                                                  SHAN NAl'KEEN, INC
                                                                                                  2731 NATIONAL QR
                                                                                                  GARLAND, TX75041

                                                                                                       ct,eck Number: 3596                                                        Mar 27, 2015


                                                                                                                                                                        295.52

                      .                            .
                     Two Huodred Ninety-Five and 52/100 DoOars

                             .DIMAS RODRIGUES
                              12879 S JOSEY LN 170
                             FARMERS BRANCH.· TX ~5234




                                                                                      . ·:- -                                                                                           ...... _,
                                                .-:   :-:-.                                                                                                                :.•.
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                                              . .·. -·..                                                                                                                                                           . .. -.. -
                       DIMAS. ROD.RIGOES                                                                                                       !:mplzyee ::::0: ROD03
                                                                                                                                              ·social Seo i.
                                                              This C:!leck                      Year to Date                                          Hours                   :Rate                  Total
          Gross                                                   320.00                          3.,600.00
                                                                                                         -0.38 Recrular                             32.00·                10. 00                    320.00
          F.e_cLincome
                                                                    -19.84                            -;-223.20
          So~ec
          Medicare
                                              .                      -4.64                              -52.20
        . ~~~c~.                                      ~.·         . . ... _-. ;:                     -3§0.00 .'                                                                                                        .- ··




~'.:3     (;~~~l~to~~!~#~i!~{l~~li:n;~l£fllw~~-l~:i~
        We:tChec1c•.
          ·:· -P~y i>:r~od ·Be.~inning;
                                             : .":'             $2.95 52 • .:_
                                                                        M~          ii~· 2015 :
                                                                                                . •      :·:~,..       ::·yo:tal'""
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:;~.:.·.. ·:-=,,:12-;: ·. Pay      i'-ed:~ Ending:.                    ~ :1:il~.:          2015 . ·                ·-: : .. '~ , · . . · lfeeks in Pay Period: 1.                                 ·         ·.
~;,·:~ ;.nM~~~~-;;-c-:·-:~~!1r--~;,....:,..,. •· ··                                         ....;'i.f..,;.. ~~~•=nr:.:.. ,~_!-·~-: .... s.::...:!~~· ,_ ·,.:..--=-;.:"""~··.... _.,.:.;..,.~.,.;;.,. - ··¥,~:
!:,·:·..·..: =-=-~_;e:~,:r~•\.'tf-:;~~f;~; ,:•~~·-:;,f~£~'!:I                             t((1\1Ch·:~.~~:-.t~~~!.r~ J.:"!!:- ; \J :·~: ::~:.·:,·:-:~~.:    ·,;!..t;, ;;:..J')~i•l~,;.;~·1·~:-~:n1!,jr
·.,;.......: · -~_..,,)~...,,~ ~;.;1_~;: .i::_;-:.:--:!'!:.:··:·? z- :.:;.:· .;:7         .~.: -~~ ==- e~- uuu..'1:.1::.:. 3596·~:~7. ; ..._              · ~--'!"'·.. :; :!!-~ ·:!' ....:-: ;;.._,~!:.- , -
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                                                                                                                           APP 428
           Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                       Page 196 of 293 PageID 1223
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                                                                                                                                  Employee ID: ROD03
                                                                                                   :.ct
                                                                                         Year-to D;rte
                                                                                                                                  Social Sec# lOOC·XX-1175
                                                                                                                                   Hours              Rate                               Total
                                                         This Check
    Gross .                                                   320.09                       4,880.00 ReQUlar                         32.00           10.00                                320.00
    Fee;; .Income.                                                                              -0.38
    Soc.Sec                                                           -19.84                ·302.56
   Medicare                                                            .-4.64                 ·70.76
   Advance                                                                                  -500.00
                                                                                         •
                        '


  Net Check:                             $295.52                                                             Total                32.00                                                320.00
                      Pay Period Beginning: Apr 18, 2015                                                                                  Check Date: 4124/15
                        Pay Period Ending: Apr 24, 2015                                                                           Weeks in f'ay Pericid: 1




                       SHAA NAM.KEEN INC
                       2731 NATIONAL CIRCLE SUITE 101                                                               4021                                             Apr24, 2015
                       GARLAND, lX 75041
                           ·-·.·                                            •:   _.
                        .... t. ~                                                                                                            -~   :
                                                                                                                                                       295.52
                                                                                                                                                                                                . -~.:.

                                   .
           -Two Hundred Ninety-Five and 52/100 Dollars
                                                                  .

                   DIMAS RODRIGUES
                   128~_SJOSEYlN 170
                   FARMERS BRANCH, TX 75234
                            ·.· . ,




           ·.Dl~ASROD.RIGUES                                                                      .'       --==-"~-~·~:
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                                                                                                                            :_. ~'!1~.eJQ: RODp~.
                                                                                                                     · .... _, ... SodalSec#.XXX·XlC-1175
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                                                                                                                                                                   Rate        ....
                                                 This<:heclc ·                                                                   Hours                                                .Total
                             •                    .       :329,0Q                                      Reaular                    32.00                          10.00                 320.00
                                                                -19.84 ..                                                                              . ·_.-.:_.;... - . ::                              J
                                                        .···. -4.64
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                          Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                                                                     Page 197 of 293 PageID 1224
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                                                                                                                                                                                                                                           ·.··.
                            • DIMAS RODRIGUES                                                                                                                                                           Employee ID: ROD03
                                                                                                                                                                                                         Social Sec# xxx-xx-1175
                                                                              ThisChed<                                             Year to Date                                                          Hours              Rate                                                          Total
              . Gross                                                             320,00                                              5,200.00 Re!lulaf                                                          32.00                         10.00                                       320.00
                Fed Income                                                                                                                 .Q.38
                 Soc Sec
                Medicare
                                                                                          ·19.84
                                                                                           4.64                                            -~*..18
                Advance                                                                                                                    -500.00




               Net Check:                                   $29552                                                                                                 Total                                 32.00                                                                         320.00
                                         Pay Period Beginning: Ar;K 25, 2015                                                                                                                                              Check Date: 5/1/15
                                           Pay Pe~od Ending: May _1, 2015                                                                                                                                Weeks In         Pay Period: 1




                                             SHANNAMKEENINC               ,
                                             2731 NATIONAL CIRCLE.SUITE 101                                                                                                4028                                                            May 1, 2015
                      ··
                 ...-+'"'
                                             GAR,LA~D, TX 75041
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                          !wo Huridred Ninety-Five and 52/100 Dollars                                                                                                                                                                                                                                                 j




                                  DIMAS RODRIGUES
                                  12879 SJOSEYlN·170
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                                  FARMERS BRANCH, TX 75234
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                     :: Ol~S .ROD_RIGIJES
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                                                                                                                                                                                                     Sodal Sec # xxx-xx~175                                     ,.
                                                                      This     •Chad<'                                                                                                                 JioUIS                          .Rate              , ::'                        Total
          Gross .                                                              320.00                                                                           Reaular                                .32.00                         10.00                                            320.00
         .Fed lncome . _.- .
          ~Edie~.-~~-                                                          -29.84                                                                                  -_;: ~-
                                                                                                                                                                                                                                                           :'    -
                                                                                                                                                                                                                                                                .:··.. ~           -.-··                  -.
         Advance                                                                                                                                                                                                     ·•   t ... : ·.• :·                                           .   -~ ..        - ... •. ·.




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     Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                  Page 198 of 293 PageID 1225
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              DIMAS RODRIGUES                                                                                                   Employee ID: ROD03
                                                                                                                                Social Sec# xxx->OC-1175
                                          This Check     Year to Date                                                            Hours              Rate                                 Total
Gross                                         320.00        5,520.00 Reaul~                                                       32.00           10.00                                  320.00
Fed Income                                                       -0.38
Soo-Sec                                       -19.84         -342.24
Medicare                                       -4.64          -80.04
Advance                                                      -500.00




NetCneck:                               $295.52                               Total                                             32.00                                               320.00
                    ·pay Period Beginning: May 2, 2015                                                                                      Check Date: SIB/15
                       P.ay Period Ending: May 8, 2015                                                                              Weeks in Pay Perbd: 1



                                   .
                        SHAt,1 NAMKEEN INC
                      • 2731 NATIONAL CIRCLE SUITE 101                                 4032                                                                         May 8, 2015
                    .. .GARLAND._TX 75041
                                                                                 -.. -.·.
                                                                                                                                                     295.52-
...... -:--             ~----·· .·---                                   - ~-··                                              ·---:--         --------
   T~ Hundred "linety-Five and 52(1 f?E> Dollars

              DIMAS RODRIGUES
              12879 SJOSEYLN 170
              FARMER$ BRANCH, TX 75234
               .   ':




  -· 6lfyiAS:R0Dl:IIGUES··--                                   --
                                                                                                                            Soaal .Sec# ~-xx-1175
                                                                                                                                            ·.. •Rate                              Total
                                 ·• nus Clleck                                                                               Hours
                                                                                                                                                                                   320.00·
                                           320.00                       .Reauar                                               32.00              10.00
                                                                                                                                          .. ··,,,:·
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                                                                           APP 431
             Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                      Page 199 of 293 PageID 1226


                                                                            employee ID: ~OD03
                                                                            social Sect
        DIMAS RODRIGUES
                                               Year ·to Date                                                              r·o-:.a:!.
                                                                               Hours                Rate
                           Tr.is Check                                                                                    400.00
                                475.00
                                                  9,275.00                     40.00               10.00
                                                 .. -34 .92 Regula::-·                                                     75.00
Gross                            -7. 88                                         5. o:>             15.00
Fed__:I,ncome                                      -575.05 over..irne
                                -29 .45
soc_sec                          -6 .89
                                                   -134. 50
Medicare                                           -650.00
Advance


                                                                                                                                            .I
                                                                                                                           475.00
                                                                                45.00
                                                            Total
                          $430,78                                                         Check Date: 7/:0/15
-Net Chec)_c:
     P:Y ?er~od B~ginnir.g: J~l 4, 2015                                     Weeks in Pay Period: 1
          Pay ?eridd Ending: Jul10,2015
                                        ·SH.ll1! ~!.~.\YE.~f-!. !?-!C
                                         2731 NATIONAL CIR
                                         GARLAND, TX 75041
                                                                                                      Jul10,2015
                                                   Check Num!)er:    3643


                                                                                                  430.78

      ....
     Four Hundred lhiiy and 78/100 Dollars

              DIMAS RODRIGUES
              12879 S JOSEY. LN 170
              FARME~ BRANCH. TX 75234




                     •.



                                                                              Employee 'ID: .ROD03
                                                                              Social sect                                              .•
             DIMAS RODRIGUES
                                                                                                           :Rate. ·           Total
                                                 Year to Date                   ·     Hours
                               This Check
                                                   9, 2_75. 00                                       10.00
                                                                                                                             400 .oc
                                      475.00                                        40. DO                                    75. 00
  G1="0SS                                             .-34.92 Reaular                 5.00.          15. 00      •.
                                       -7.88
  Fect__Income                                       -5 75. 05 overtime
                                   -29.45
  Soc_SeC:                          ..;6 :s9         -134.50
  Medic.are                                          -65.0.00
· Advance·




                                                                                                                              175.00
                                                                                    • 45. 00
                                                                    Total
                                                                                               Check Date: 7/10/15
 .Ne~ Check:· .             $'30. 78
     . Pay ?er:.od 'Beginning: Ju'l 4, · 2015                                 Weeks in Pay Period:~
        • Pay·Period Ending: Jul 10~ 2015            L

                                                                                                                      PL_Docs 0030
                                                                APP 432
                 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                                                Page 200 of 293 PageID 1227




                             DIMAS .RODR:GUES                                                                                                                                     Employee ·ID: ROD03
                                                                                                                                                                                  Socia! Sec I
                                                                 This C!leck                           Year ~o Date
     Gross                                                           350 .00                             9,625.00                                                                    riours                     Rate                        Total
     FecL.Income                                                                                           ,-34 ._92 ?.egular                                                        35.00                     10.CO                       350.00
     Soc_Sec                                                           -21.70                             -596. 75 Ove.::t:ime                                                                                 15.00
     Medicare                                                           -5. 08                            -139. 58
   . Advan·ce                                                        ·t§Y                                ·-950. 00




    Net Check:                                                        $23.22 .                                                       Total                                         · 35.00                                                350 .oo
                     Pay Period Beg~nning: J-cl 1:, 201_5                                                                                                                                      Cbeclc Date: 7/17/15
                       · Pay.Period Ending: Jul 17, 2015                                                                                                                 Weeks in Pay.'?eriod: 1
                                                                                                      SHAN NAi\iKEEN, lNC ·
                                                                                                      2731 NATION.AL CIR
                                                                                                      GAR~P, TX 75041

                                                                                                              Check Number:                  3655                                                                  Jul 17, 2015




     · · T~enty-Three
          .           an.d 22(1 oo Dollars
                                     . ..                        .
                                                                                                                                                                                                           23.22

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                       DIMAS RODFUGUES
                       12879 S JOSEY.LN -170
                     • FARMERS BRANCH, TX 75234




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                                                                                                                                                                   ... . .        ----.....
             DIMAS RODRIGUES                                                                                                                                            Employee ID: ROD03
                                                                                                                                                                        Social Sec f
                                                        l'hi·s Check                         Year to Date
 Gross                                                        350.00                                  .9,.625. 00                                                                  Hours                      Rate                     Tota:!.
 Fed.J.ncome                                                                                              -34 .92 Recrular                                                    35.00                        10.00                       350.0~
 ·Sot:_sec ·                                                     -21.10                                .:..596. 75 Overtime                                                                                15.0i)
 Medic-are                                                     -5.08                                   -1..39.58
'Advance                                                    -.300. 00 .                                .:.950. 00

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N.et Checlc: . ·                                          · $23 • .22                                                 · l'otal                                               35. 00                                                   35.o::oo . -~
     Pa~.P~riod B~gim::~g:                                           Ju1·1l~          2015                                                       s-        . ,: .                    · Check Date: 1117/1S
                                                                                                                                                                                                                      . .. •
                 P~y Peri-od ~dillg_: Jul l'J, · .20.!5                                                                                                            Weeks in Pay Period: .1
                                                                                ·. ·.··t.           '01.eclc'Numl>er:-
                                                                                                             . . .     3655
                                                                                                                                 APP 433
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           Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                        Page 201 of 293 PageID 1228



             DIMAS RODRIG"ES                                                                                                                 Employee rD: ROD03
                                                                                                                                             Social Sec f
                                   This Cr.eek                        Year to Date
   G1.-oss                                320.00                        9., 945. 00                                                                  Hours•                           Rate               Total
   Fed.....Income                                                           -34 .32 Regular                                                          32. 00                          10.J0              320.00
   So<;:_Sec                             -~9.84                          -616.59 Overtime                                                                                            15. 00
   Medicare                               -4.64                               -144.22
  .Advan.ce                             -250.:)0                        -1,200.00




  Net Check:              $45 .52'                                                                      Total                                        32. 00                                            320.00
      Pay Period 3eginni~q: Jul 18, 2015                                                                                                                            Chee~ Date: 7/24/15
         Pay Period Ending: Jul24,2015                                                                                                  Weeks in Pay Period_: 1
                                                                 :.·.sM.Ui:-.W.t:<EEN, !~C··- ·· ,
                                                                     2731 NATIONAf:. CIR
                                                                     GARLAND, TX 75041

                                                                          Check Number:                           3662                                                                Jul 24, 2015



                                                                                                                                                                         .. 45.52


        Forty-Five and 52/100 Dollars

             DIMAS RODRIGUES.
             12879 S JOSEY LN 170
             FARMEF.:S BRANCH, TX ;5234




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        !>IMAS RODRIGlJES                                                                                                            Employee ID: ROD03
    ....                                                                                                                             Social Sec#
                               This Chec'k                     Year to Date.
Gross                                                                                                                                    ·     Hours                                Rate              Total
                                    320.00                           9., 945. oo
Fed_Income                                                               -:34.92 lleCflllar                                                  32. 00                         10.00                    :320.00
Soc_sec                             -19.84                            -616. 59 Overtime                                                                                    ,15. 00
Me6.ic~e.                            -1.64                          ~144.22
Advance                                                           -1;200.1)0
                                  ~o                                                                                     -~

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   Check:                                                                                     Total                                      32.00                                                       320.00
            .                              .            .
   Pay Period :Beginning: .Jul 18., 2015                                ..,,._       ..,,                                                 Check Date: 7/24115
                                                                       .·.:
      Pay P~o<:I End!.ng: .J~.i 24. 2015                                                                                         Wee~ in'Pay·?eriod: 1

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                                                                                          . ··.·•·
                                                                                 . ~ r . : 3.662
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                                                                                                   APP 434
                    Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                        Page 202 of 293 PageID 1229
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                                                                                                                                                                                            . .. ,

                         DI~.AS RODRIGUES                                                                                                 Employee·ID: ROD03
                                                                                                                                          Social Sec f
                                                        This Check             Year.to Date
          Gross                                             310 • .00            10,255.00                                                    Bo-:1rs            Rate              Tota!.
          Fed...,.Income                                                             -34.92 Recp1.ar·                                         31.00            10. 00              310.00
          Soc_Sec                                         ' -19 .22               ·-635.81 Overtime                                                            15. 00
          Medicare                                           -4.50                 -148. 72
          Advance                                          -250.00               -1,450.00




                                                  ...
          Ne,: Check:                $36.28                                                               Total                              31.0'0                               310·. 00
               Pay Perio4 Be~inning: Jul 25, 2015                                                                                            Check Date: 7/31/15
                  Pay Peri~d E!l.ding: Jul 31, 2015                                                                                 Weeks in Pay ?eriod: 1
                                                                              SHAN NAM~EtJ; JNC
                                                                              2731 NATIONAL CIR
                                                                              GARLAND, TX 75041

                                                                                  O,eck Number:             3674                                                 Jul31, ?')15

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          .. . .. .                                               :   ~
                                                                                                                                                         36.28
               .. ·:.;                                                                         -..·-·-
             Thirty-Six an~ 28/1 Oo Dollars

                   · DIMAS RODRIGUES
                     12879 SJOSEYLN 170 ·
                     FARMERS BRANCH, TX 75234




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                               . ~-               This 'Check             iear· to      ~ate·
                                                                                                                                           Hours               Rate,            Total
                                                                                                                                                                                        .
Gross                                                   310.00.              J..O, 255.-00
                                  •'
Fecl..;Income              •    ,I'    •                                          -3,.92 Reqular                                         :.31.0Q .. ·.                          310.QO.
                               ···-        .,..                                                                     -:   ...                     . :-
                                                                              . _-63S. 81 -OV.~~e                  . :.        ,·   ..
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                  Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                Page 203 of 293 PageID 1230


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                                                                                                                E~ployee-ID: ROD03
                  PIMAS RODRIGUES.                                              ,.
                                                                                . >·                            Social Sect
                                               !his Check                    Yea:- 'to Date
      .Gross                                       330.00                     10,885.00                            Hours             Rate                 Total
   Fed_Income                                                                      -34.92 Regular                  33.00            10. 00               330.00
   Soc_Sec                                              -20.46                   -674. 87 overtime                                  15. 00
   Medicare                                                 -4. 79               -157.86
   Advai1:ce                                        . ·-200. 00               -1,650.00




   Ne-: Check:                                       $104.75                                          Total       . 33. 00                               330.00
             Pay Period Beginning: Aug 8, 2015                                                                          Check Date: 8/14/15
                Pay .Pe=iod Ending: Aug 14, 2015 ,                                                             Weeks in Pay 'Period: 1
                                                                            , SHAN NAMKEE."i. !NC
                                                                              2731 NATION.Al CIR
                                                                              GARLAND, TX 75041

                                                                               a,~ Number: 3690                                         Aug 14, 2015



                                                                                                                               104.75
   ···-·

        One Hundred Fo_ur and 75/100 Dolars

                  OIMAS .RODRIGUES
                  12879 S JOSEY lN 170 .                         .
              _· FARMERS BRANCH,~ 752~.

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          DIM.\S ROI:>lUGUES                                                                                  Employee ID: ROD03
            :.•
                                                                                                              Soci~l Sec i
                                         This Check                     Year to Date                                                                   To-cal
                                                                                                                  Hours                 Rate
Gross                                        330.00                     .· 10# B85. 00
Fed_1.~.c?me                                                                   -:-3~-:92 ReQUl.ar                33. 00 ·      1:0. 00                 330.oq.
~o.c_sec·.                                         · -20.46                              OYertim_e' ·                          15. 00                                      ·r




                                                                                                   APP 436
               Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                           Page 204 of 293 PageID 1231


                                                                                       Employee ID: ROD03
              DL~ RODRIGUES                                                            social Sec f

                                        This Ch.ack    Year to Date                                             Rate               Total•
                                                                                          Hours
                                            320.00      11,205.00                                              10.00               320.C0
 G=os~                •.                                    -34.92 Regular                32 .oo
 Fec_Income                                                                                                    15. 00
                                            -1'3.84.       -6-94. 71 overtime
 Soc_Sec                                                   -·162.50
                                             -4.64
 Medicare                                                -1,.650.00
 Advance




                                                                                                                                   320 .00
                                                                        rotal             32. 00
 Net Check:                                $295.52                                                      Check Date: 8/2:;,/1_5
     Pay ?eriod Beglnni~g: Aug 15, 2015                                                Weeks in Pay -Per~od: 1
        Pay Pe=iod Ending: Aug 21, 2015
                                      . _ SHAN NAMKEEN, INC
                           •.                           2731 NATIONAL CIR
                                                        GARLAND, TX 75041
                                                                                                                  Aug 21, 2015
                                                           a,eck Number:     3699


                                                                                                             -295.52
 • • • A.




            Two Hundred Niney-Five and 52/100 Dollars

                 DIMAS FiODalGUES"
                 12879 S JOSEY LN 170
                 FARMERS BRANCH, TX T:l234
                                                                                                   .•
                                                                                                                  ..
                                                                                                                                   -   ... ,. .•




                                                                                       Employee· IO: ROD03
              D_IMAS RQDRIG,PES                                                        social Sec i
                                                                                                                              -:
                                                        Year _t.o Date                                             ,:late          Total
                                        This Cb~ck                                          .Sours
                                            320.00       11,205.00                                              10.00              3~0.00
 Gross                                                       -34.92 Reqular                32. 00
  Fed_lncome                                                                                                    15.00
                                            -19.84          -694. 71 Overtime
  Soc_Sec· •                                                -162.50
                                             -4. 6-4
· Medicare                                               -1,6,50.00
  Advance



                                ...•.
                                                                                                                                   320.00
                                                                         Total             32~ 00·
'.llOet Check:
                                           .$295.52                                               :Check' Date: 8/21/15
  .-         Pay "Period B~'g.inning: A"llg 15, 2015                                   weeks in Pay Period: 1
                Pay·Period Ending: Aug 2+, 2015

                                                           -Cb e ck Number:: 3 6'9"9                                        PL_Does 0041
                                                                       APP 437
                 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                         Page 205 of 293 PageID 1232



                                                                                     Emp~oyee ID: RODC3
                DIM/'.S RODRIG.JES                                                   Socia~ Sec f·

                                     This Check         Year to Da.:e                                                                    Tota:.
                                                                                       · Ho-:.1=-s              Rate
                                         400.00           11,925.00                                                                      f00,00
·   Gross                                                                               40.00                  10:00
                                          .-0.38.            -35.3~ Reg,.1lar
    Fed_Income                                                                                                 15. 00
                                         -24.80             - 739. 35 Overtime
    soc_Sec                                                 :.: 72. 94
    Medicare                               -5 .. 80
                                        -200. 00          -1,e59.oo
    A::ivanc~

                                                                                                            -- -· - - - . - - - --   ~




                                                                                                                                         400.00
                                                                        Total           40.00
    Net Check~                          $169.02
                                                                                              Check Date: 9/1/15
        Pay Period Begi:ming: Aug 2S, 2015                                          Weeks ir. Pay Period: .1
            Pay Perie~ J:;r.ding: Sep 4, 2015
                                                SH.~.M UP..!.~lCEEM, lli!I'
                                                2731 NATIONAL CIA
                                              . GARLAND, TX75041
                                                                                                                  Sep 4, 2015
                                                           Check Number:     3721


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                                                                           . i
                                                                                                           169.02 .                      I••


           ,.,-: ..
         .t!·


       · One l;ilundrP-d $ixty-Nine and 02/100 Dolars


                  DIMAS RODRIGUES
                  1-2879 S JOSEY LN 170
                  FARMERS BRANCH, TX 75234




                                                                                    · Empioyee ·m: ROD03·
           ..CI~ RODRIGUES                                                            Soc~~l Sect
                                                        Yea:r -:.o Date                                            Rate                  'Io-tal
                                     This Check                                           Rours
                                         400.00           11,925.00                                                                      400.00·
    Gross                                                                               .40. 00               10.00
                                          -5.3.8            · -35:30 .Reaular
    FeLJncome.                                                                                                15.00
                                         -24.80              -:739.35 Ove?;time
    Soc_Sec
                                          -5.80              -172.94
    Medica;-e
                                       _-200. OG.         -1., 850. 00
    Adva.--ice

                         •.




                                                                                                                                         400. OQ
                                                                        Total           40.QO
         C'.beck:                      $16.9. 02
                                                                                                     -t:ae·ck Date: .9./{/l~-
        . Pay Peri-od Beginning: Aug ;29, 2015
                                                                                    Weeks in P~y Pe49d: 1
              ~ay Period Ending: $ep 4¥·2015
                                                                                                                                 PL_Docs 0042
                                                                        APP 438
             Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                         Page 206 of 293 PageID 1233


                          .
             DIMAS RODRIGUES
                                                                                                   Emp:l.oyee ID: ROD.03
                                                                                                   social Sec f

                               This Check                     Year 'CO :>ate                                                                               Total
                                                                                                      Hours                      Rate
                                   320.00                      12·, 245.CO                                                                                 320.00
 Gross                                                                                                32. 00                    10.00
                                                                    -35.30 Reg~ar
 Fec!_Income-                                                                                                                  ·1~. 00
                                   -19.84                         -759.19 OVerti.Jr,e          ;
 soe_sec
                                    --'.64                        -177.58
 Medicare
                                                               -1,aso.oo
 Advance




                                                                                                                                                           320:00
                                                                                   Toc.a,l            32. OD
 Net Check:                       $295.52
                                                                                                                Check Date: 9/~l/15
     ?ay Per~od Begin.~ing: Se? 5, 2015                                                            Weeks in Pay ?eriod: 1
        Pay Period Ending: Sep 11, 2015
                                       - S!·t~.N NAM~K. !NC.
                                         2731 NATIONAL CIR
                                        ·GARLAND, TX 75041
                                                                                                                                  _Sep 11, 2015
                                                                 Check Null'!ber:       3732


                                                                                                                             295.52                          ..
                                                                                                                                                           .....   ,._   .•
  _. -- .-
 ...·                                                                                          ,
    · T-wo ~undred Ninety~Five and 52/100 Dollars                                            ---                       ,.



              · DIMAS RODRIGUES
                12878 S-JOSEY LN 170
             . .FARMERS BRANCH, TX 75234

                                                                 ,f.   ••      •   ••




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                                                                                                   Employee II>:            ROD03                                                         ·I
                                                                                                                                                                                           I
        .. _DIMAS ROD!qGUE.S                                                                       Social Sec-f
                                                                                                                                                                                           j
                               This Check                     Year to Date                            · Hours                       Rate·.                . Total
                                   .32-0.00                      12,245.00                                                                                _ 320 .00
· Gross·                                                                                              32. 00 ·                 10.00
                                                                 .  -35~30 R~qular
  Fed_Inc;:ome                       . :~                      ·· .-159.19 Overtime
                                                                                                                               15. 00
                                   -19.84
S~p_sec
                                     -4.64                         -177.58
Medicare·
                                                               -~. 850.., 00
Ad~c~


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                                                :.       ..                                                                                                    :     :    .-·-       ..
                     ·.
                                                                                                                                                           3·20.00
                                                                                   Total              32.00
    _Check: ..                    $295.52
                                                                                                               -:check Date; :9/2.1/15
         ::P~:, Perfod Begi~in9:: Sep '5_.,_ ~015
                                                                                                   Weeks in    :P.ay        l?erl:'od: 1
              .2ay P~riodEnding: Sep li.· 2015
                                              ... ". ...
                                                     :

                                                                 Checlc .Number: 3 73.2                                                        ... · PL_Docs 904~                ·
                                                                                   APP 439
              Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                              Page 207 of 293 PageID 1234



               .                                                                                                             Employee· ID: ROD03
              DIMAS RODRIGUES                                                                                                Social sec f.

                                          This Check       Year to Dat~                                                                                                  ilate               Total
                                                            12,565.00                                                                   Hours
 Gross                                        320,00                                                                                    32.00                        10. 00                  320.00
·Fed_Income
 Soc_Sec
                                      .       .:.19 .84
                                                                -35.30 Regular
                                                              -779.03 Overtime
                                                                                                                                                                     15.00

                                               -4.64          .-182.22
 Medi!=are
                                                            -1,850.00
 Advance




                                                                                                                                        32. 00                                               320.C0
 ~et Check:              $295.52
                                                                                                                                     .check Date: 9/l8/15
     Pay Period Begi::ming: Sep 12, 2015
                                                                                                                            Weeks in Pay Period: l
        Pay Period Ending: Sep18,2015
                                       SHAN NAf.,IKEEN, !N.C
                                                             2731 NATIONAL CIR
                                                             GARLAND, TX 75041
                                                                                                                                                                           Sep 18,2015
                                                                   Check Number:. 3738


                                                                                                                                                                   295.52.
·....                                 •
   •    -T~-Hunqred ~inety-Five 'and 52/100 Dollars
                      ...
                   DIMAS RODRIGUES
                   12879 S JOSEY LN .170
                   FARMERS BRANCH, TX 75234


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        .,.
                                                                                                                             Employe~ ID: ROD03
          DIMAS RODRIGUES                                                                                                    Social Sect
                                                           Year to Date                                                                  Hours                             Rate              Total
                                          This Check
                                              320.00           12', 565.00.                                                                                                                  320.00
 Gross                                                                                                                                  32.00                            10.00
                                                                   --35.30 Re<rolar
 Fed_lncome                                                                                                                                                              15.00
                                             -19.84              -779.03 -overtime
 So6_s~c
                                              -4.64                -.182.22
_Medicare
                                      •                        -1 .. ~so.oo
Adv~_ce.
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                                                                                                                                                                                             320.00
                                                                                                                                   · 32. 00
        Check:                              ~295.52                                        -Total
                    ...
        . ~ay Peri_od Beginnµig:. S~p 12, 2015
 · · ·. Pay..     Period En~ Sep· 18, 201s·                         : ~- · .                 · '            :


z::;2:•~jt}~>i::I:~ hrt~i:§~i~,:,,';'fk,·                                                   APP 440
        Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                               Page 208 of 293 PageID 1235


                                                                                   Employee ID: ROD03
       DIJl"..AS RODRIG:JES                                                        Social Sec f

                          · This Check           Year to Date                                        Rate               Tot.al
                                                  13,275 .-0:J
                                                                                      Hours
Gross                             320.00                                                            10. 00             320.00
                                                                                      32.00
                                                      -.35.30 Regula=
::ed_:i:nco:ne                                                                                      il.5.00
                                  -19.84            -823.05 ov.e.--time-
soc_sec                                             -:;.92.52
Mecicare                           -4.64
                                                  -i, 9·sG. 00
Advttce




                                                                                                                        320.00
                                                                  Totai               32.00
Net Cileck:                      $295.-52
                                                                                             Check Date: 10/2/1S
    ?ay Period Begfnning: Sep 26, 2015
                                                                                   Wee.ks in Pay .Period: 1
        ·pay Period Ending: Oct 2, 2015
                                                 .S~.A~ ~.aM~N..1~.-
                                                 2731 NATIONAL CIR
                                                 ~ARLAND, TX75041
                                                                                                         Oct 2, 2015
                                                    Check Number: '315Q...
                                                                   7,7-Sb

                                                                                                  295.52



    Two Hundred Ninety-Five and 52/100 Dollars

          DIMAS RODRIGUES
          12879 S JOSEYLN 170                                ':
        · FARMERS BRANCH, TX 75234




                                                                                   Employee ID: .ROD03
      DIMAS RODRIGUES                                                              social Sec t
                                             Year to Date                              ·Hour.!?          Rate           Total
                              This Check
                                  320.00          13.,275.pO                                                           320.00
Gross                                                                                 32.00         10.00
                                                       -35.30 Re~ar
Fed_lncome·                                                                                         15. 00 .
                                  -:!.9.84           -823. 05 (?vertime
So 7_Sec
                                    -4.64            -192_.si
.Medicare
                                                  -1.,.95.0. 00
Advance




                                                                                      32.00
                                                                                              .                        32-0.00
                                .$295.52                          .Total
     Check:                                                                                  Check Date: 10/2/15
     Pay ~eri~d Beginning~ Sep 26, 2015                                      "'.   wee1cs in Pay Period: 1
        ?ay Period Endi~g: Oct 2. 2015

                                                    -check ~wnber:.3750                                            PL_Docs 0045   . I

                                                                  APP 441
     Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                      Page 209 of 293 PageID 1236



 a~sSSN                               1 Wages. tips, Dlhlr                 2 Federal lnai:ne lax wHhneld      .a Employee's SSN                    1~ tips. Clfw componsation 2 Fedora! Income ,.. wi1111eld
                                                       13 535.00                               35.30                                                             13,535.00                                35.30
 O                                    3 Soaal secu,ly W8QN                 .. Social S8Cllflly lax WIIINJd    0MB No. 1 ~                          3 Social aeaalty....               4 Sac:ial sea.r,tyt8J<Ylittl>elc:
                                                       13,535.00                            839.17                                                               13.535.00                            ·839.17
 b En.,.-idorilic:ali:innur.ber 11 MalbN wages aid tipa                    6 Med:care ta>i Wllhhelc:I         lb ~odenlilic:alionnunbar 5 Medcn--andffps                              &Medc:atwi..~
                                                       13 535.00                            196.29                                                               13,535.00                             196.29
 c Employel's ,._.,,._ address. and ZIP code                                                                  c en.,toye(I-. adlhse. and ZIP code

    SHAN NAMKEEN, I3JC                                                                                         SHAN NAMKEEN, INC
    2731 NATIONAL CIRCLE SUITE 101                                                                             2731 NATIONAL CIRCLE SUITE 101
    GARLAND.                                                       TX 75041                                    GA.-:u.AND                                                       TX         75041
 8~SfntlWlleandr.itfal                             ilaslname                                     Suff.
                                                                                                                                                    17 Social secuity Ups
 .llmS
    14221 HERITAGE CIRCLE
                                                   !RO.DRl!Jlm.S........                                 ·-   • ~ - - llnit name and 1nibal                      jl.asl name
                                                                                                              .J:!Il:fA.S______________....lROD.RIGWS .. ··-·-··------1
                                                                                                                                                                                                               S<..lf.

    #3-2019
    FARMERS BRA..T>lCH                                            TX 75234                                     14221 HERITAGE CIRCLE
 f E............1 addren and ZIP code                                                                          #3-2019
 dCGnlrolnumbet                   7 Soc:lal NQ.lily lips                • Allocaled tips                       FARMERS BRANCH                                                  TX 75234
                                                                                                               f Employee'• adcnss and ZIP code
 9                                  100apendentcn benellls              11~plans                              13         !: D                           ~D                               ~D
12a                                                     140hr                                                 t
               !'
12b            '                                                                                              1211                                                   1400w
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12c

12d
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            ~          0                  ~o •ages.                            ~D                     1"'·--·-··-------------i
                                                                                                      12d   i
 1SSlafe ~astaelDrunber                           16 Slale           bps, e1c.    17Slafeini:ometa.           1aSlala    ~statelDnumbet    etc.            tax16 ,_,, ...... fips.              17 State WlCOffl8
 OM0M.l     >00HM0-0
                                                                               ... ··-·..--·--·...·-- -·-1---··-·-·--····-· ..--··-··-··--·····-···--l·-----1
        I                                                                                                            I
11 l.oc:alwages. bps. etc. 19 l.ccal income tax              211 Locally-                                     11 Lacalwagas. lips. etc.    19Localincomea

-..-·"--··--··"· ··-                                      .. ·-·"·"-··-·--··---..-·---·-
                                                                                                              m      w-2--T·- 2 D15                                                 ~ d.. . . . _ , _ _ _
                                                                                                                                                         C.,,Z·T• .. ~ - ........... -.Cllr,•1-1-Ta-..

a ..,_sssN                            1.,,_11ps.olher                     2,_._.. ...........                 a ,,,,.,,.,y,,nSSN                   1 wages,°""' - -                   Z. - - mane a Ml1l8ld
                                                   13.535.00                                  35.30                                                              13 535.00                               35.30
0MB No. 1545-0008                     3 Saaalseani,...ages                .. _,;.,. saa.rily t a x ~          OMBHo 1545-0008                      3SocillMCUrily-..agas             14Soc:oalsaa.tlylaK~
                            13 535.00         839.17                                                                                                             13 535.00                             839.17
b.,.__..._......, 16Madlcaawageaandaps ,_.,ax_....,                                                           b    ~                      1M1mer   e ._.waguandbpa                    • Macfca-atar'Mll11afd
                                                    13 535.00                              196.29                                                                13 535.00                             196.29
C    £mploywr's name, adcnss, and ZIP code                                                                    c ~ - , addrNI. and ZIP code
  SHAN N&~, INC                                                                                               SHAN NAMKEEN, INC
  2731 NATIONAL CIRCLE SUITE 101                                                                               2731 NATIONAL CIRCLE SUITE 101

 GARLAND                                                           TX 75041                                   GARLAND                                                          TX       75041
e emi:,ic,,wsfnt,,.,..all1 ir1'al                 I !Ml,-                                        Su!f.        • Emplayws Int nane and iniUal                 l l.asl name                                     Sult.
..:o.r&s...                         --···--lR!:Um.I.G.UES.____                                                ~S.---··--·--·-·-·--.1.RQDB.I.i;iUJ::::i.._____________________
 14221 HERITAGE CIRCLE                                                                                        14221 HERITAGE CIRCLE
 #3-2019                                                                                                      13-2019
 FARMERS BRANCH                                                   TX        75234                             FARMERS BRANCH                                                   TX      75234
t .,......_.., addrese __. ZJPcode
d Contml rwmber                    7 Sodal ~ bps                        IAlocaladlips
                                                                                                 .
9                                  10 Dlpandn en benefits              11 Nancpllledplono                     t                                                                     11 ~ plall

12a                                                     140lhlr                                               12a                                                  140ther

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14 Slate ~sstate ID IUllber
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                                                                                                              15 State ~ • stu ID number
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                                                                                                                                                              11 Slate wages. bps, etc.          Slallt income 1mc


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18 l.ccal Mlgl!S, lip,, lie. 191.ocalRanei..                 :Dt.oc:allynanw                                  ,. Local 1llllgN. !lps, elC. 19 Local incanl lax
                                                                                                                                                                                              EXHIBIT
-· -                           ....--·--·-..·-- ---·--·-                                                      ·-----·-- -·----- ·--                                                                   l/
                                                          Copy C • For EIIPLOYEFS RECORDS.



                                                                                                                                                                                         PL_Docs 0053
                                                                                                        APP 442
                                 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                        Page 210 of 293 PageID 1237
    •                                                                                 SHAN NAMKEEN, INC
                                                                                          Payroll Register
.                                                                         For the Period From Jan 1, 2015 to Dec 31, 2015
        Filter Criteria includes: 1) Employee IDs ROD03. Report order Is by Check Date. Report Is pnnted in Detail Forma


        Employee ID                               Pay Type        Pay Hrs         Rate        Pay Amt         Amount         Gross    Fed_lncome       Soc_Sec         Medicare
          Employee                                                                                                         Advance    Soc_Sec_ER    Medlcare_ER        FUTA_ER
            MaskedSS No                                                                                                     SUI_ER
              Reference
                Date
        ROD03                                     Regular            32.00       10.00          320.00          295.52      320.00                       -19.84           -4.64
          DIMAS RODRIGUES                                                                                                                  -19.84         -4.64           -1.92
            XXX-XX-1175                                                                                                       -1.73
              3543
                1/1/15

        ROD03                                     Regular            32.00       10.00          320.00          245.52      320.00                       -19.84           -4.64
          DIMAS RODRIGUES                                                                                                   -50.00         -19.84         -4.64           -1.92
            XXX-XX-1175                                                                                                      -1.73
              3507
                1/9/15

        ROD03                                     Regular            32.00       10.00          320.00          245.52      320.00                       -19.84           -4.64
          DIMAS RODRIGUES                                                                                                   -50.00         -19.84         -4.64           -1.92
            XXX-XX-1175                                                                                                      -1.73
              3511
                1/16/15

        ROD03                                     Regular            32.00       10.00          320.00          245.52      320.00                       -19.84           -4.64
          DIMAS RODRIGUES                                                                                                   -50.00         -19.84         -4.64           -1.92
            XXX-XX-1175                                                                                                      -1.73
              3518
                1/23/15

        ROD03                                     Regular            32.00       10.00          320.00          295.52      320.00                       -19.84           -4.64
          DIMAS RODRIGUES                                                                                                                  -19 84         -4.64           -1.92
            XXX-XX-1175                                                                                                       -1.73
              3554
                1/30/15

        ROD03                                     Regular            32.00       10.00          320.00         245.52       320.00                       -19.84           -4.64
          DIMAS RODRIGUES                                                                                                   -50.00         -19.84         -4.64           -1.92
            XXX-XX-1175                                                                                                      -1.73
              3523
                                                                                                                                                                        DEPOSITION
                2/6/15

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                                                                                                                                                                  I EXHIBIT
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                                                                                     SHAN NAMKEEN, INC
                                                                                   Payroll Register
                                                                   For the Period From Jan 1, 2015 to Dec 31, 2015
Filter Criteria includes· 1) Employee IDs. ROD03. Report order is by Check Date. Report 1s printed 1n Detail Forma


Employee ID                                Pay Type        Pay Hrs         Rate        Pay Amt          Amount         Gross    Fed_lncome       Soc_Sec     Medicare
 Employee                                                                                                            Advance    Soc_Sec_ER    Medicare_ER    FUTA_ER
   MaskedSS No                                                                                                        SUI_ER
      Reference
        Date

RO003                                      Regular            24.00       10.00           240.00         221.64       240.00                       -14.88       -3.48
 DIMAS RODRIGUES                                                                                                                     -14.88         -3.48       -1.44
   XXX-XX-1175                                                                                                          -1.30
     3561
       2/13/15

ROD03                                      Regular            24.00       1000            240.00         22164        24000                        -14.88       -3.48
 DIMAS RODRIGUES                                                                                                                     -14.88         -3.48       -1.44
   XXX-XX-1175                                                                                                          -1.30
     3571
       2/27115

RO003                                      Regular             16.00      10.00           160.00          147 76      160.00                         -9.92      -2.32
 DIMAS RODRIGUES                                                                                                                      -9.92          -2.32      -0.96
   XXX-XX-1175                                                                                                          -0.86
     3577
       3/6/15

ROD03                                      Regular            40.00       10.00           400.00         269.02        400.00         -0.38         -24 80       -5.80
 DIMAS RODRIGUES                                                                                                      -100.00        -24.80          -5.80       -2.40
   XXX-XX-1175                                                                                                          -2.16
     3581
       3/13/15

ROD03                                      Regular             32.00      10.00           320.00         245.52       320.00                        -19 84      -4.64
 DIMAS RODRIGUES                                                                                                      -50.00         -19.84          -4.64      -1.92
   XXX-XX-1175                                                                                                         -1.73
     3586
       3/20/15

ROD03                                      Regular             3200       10.00           320.00         295.52       320.00                       -19.84       -4.64
 DIMAS RODRIGUES                                                                                                                     -19.84         -4.64       -1.92
   XXX-XX-1175                                                                                                          -1.73
     3596
       3/27/15




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                                                                                   SHAN NAMKEEN, INC
                                                                                  Payroll Register
                                                                  For the Period From Jan 1, 2015 to Dec 31, 2015
Fitter Cntena includes: 1) Employee IDs. ROD03. Report order 1s by Check Date. Report 1s printed in Detail Forma


EmployNID                                 Pay Type        Pay Hrs         Rate        Pay Amt         Amount         Gross    Fed_lncome       Soc_Sec     Medicare
 Employee                                                                                                          Advance    Soc_Sec_ER    Medlcare_ER    FUTA_ER
   MaskedSS No                                                                                                      SUI_ER
     Reference
       Date
RO003                                     Regular            32.00       10.00          320.00          245.52      320.00                        -19.84      -4.64
 DIMAS RODRIGUES                                                                                                    -50.00         -19.84          -4.64      -1.92
   XXX-XX-1175                                                                                                       -1.73
     4003
       4/3/15

RO003                                     Regular            32.00       10.00          320.00          245.52      32000                        -19.84       -4.64
 DIMAS RODRIGUES                                                                                                    -50.00         -19.84         -4.64       -1.92
   XXX-XX-1175                                                                                                       -1.73
     4010
       4/10/15

ROD03                                     Regular            32.00       10.00          320.00          245.52      320.00                        -19.84      -4.64
 DIMAS RODRIGUES                                                                                                    -50.00         -19.84          -4.64      -1.92
   XXX-XX-1175                                                                                                       -1.73
     4015
       4/17/15

RO003                                     Regular            32.00       10.00          32000           295.52      320.00                        -19.84      -4.64
 DIMAS RODRIGUES                                                                                                                   -19.84          -4.64      -1.92
   XXX-XX-1175                                                                                                        -1.73
     4021
       4/24/15

ROD03                                     Regular             32.00      10.00          320.00          29552       320.00                        -19.84      -4.64
 DIMAS RODRIGUES                                                                                                                   -19.84          -4.64      -1.92
   XXX-XX-1175                                                                                                        -1 73
     4028
       5/1/15

ROD03                                     Regular             32.00      10.00          320.00          295.52      320.00                        -19.84      -4.64
  DIMAS RODRIGUES                                                                                                                  -19.84          -4.64      -1.92
    XXX-XX-1175                                                                                                       -1.73
      4032
        5/8/15




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                                                                                  SHAN NAMKEEN, INC
                                                                                  Payroll Register
                                                                  For the Period From Jan 1, 2015 to Dec 31, 2015
Filter Cntena includes: 1) Employee IDs: ROD03. Report order Is by Check Date. Report is pnnted in Detail Forma


EmployHID                                 Pay Type        Pay Hrs        Rate        Pay Amt         Amount         Gross    Fed_lncome        Soc_Sec     Medicare
 Employff                                                                                                         Advance    Soc_Sec_ER     Medicare_ER    FUTA_ER
   MaskedSS No                                                                                                     SUI_ER
     Reference
       Date
ROD03                                     Regular            40.00      10.00          400.00          36902       400.00          -0.38          -24.80      -5.80
 DIMAS RODRIGUES                                                                                                                  -24.80           -5.80      -2.40
   XXX-XX-1175                                                                                                       -216
     4040
       5/15/15

ROD03                                     Regular            24.00      10.00          240.00          221.64      240.00                         -14.88      -3.48
  DIMAS RODRIGUES                                                                                                                 -14.88           -3.48      -1 44
    XXX-XX-1175                                                                                                      -1.30
      4048
        5/22/15

ROD03                                     Regular            40.00      10.00          400.00          36902       40000            -0.38         -24.80       -5.80
 DIMAS RODRIGUES                                                                                                                  -24.80           -5.80       -2.40
   XXX-XX-1175                                                                                                       -2.16
     3623
       5/29/15

ROD03                                     Regular            40.00      10.00           40000          294.02      400.00          -0.38          -24.80       -580
  DIMAS RODRIGUES                                                                                                  -75.00         -24.80           -5.80       -2.40
    XXX-XX-1175                                                                                                     -2.16
      4055
        6/5/15

ROD03                                     Regular            40.00      10.00           400.00         369.02      400.00          -0.38          -24.80       -5.80
  DIMAS RODRIGUES                                                                                                                 -24.80           -5.80
    XXX-XX-1175                                                                                                      -2.16
      4070
        6/19/15

ROD03                                     Regular            40.00      10.00           400.00         355.78      475.00          -7.88          -29.45       -6.89
  DIMAS RODRIGUES                         Overtime            5.00      15.00            75.00                     -75 00         -29.45           -6.89       -0.24
    XXX-XX-1175                                                                                                     -2.57
      4063
        6/24/15




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                                                                                   SHAN NAMKEEN, INC
                                                                                  Payroll Register
                                                                  For the Period From Jan 1, 2015 to Dec 31, 2015
FIiter Criteria includes: 1) Employee IDs ROD03. Report order 1s by Check Date. Report 1s pnnted in Detail Forma


Employee ID                               Pay Type        Pay Hrs         Rate        Pay Amt         Amount         Gross    Fed_lncome       Soc_Sec     Medicare
  Employee                                                                                                         Advance    Soc_Sec_ER    Medicare_ER    FUTA_ER
    MaskedSS No                                                                                                     SUI_ER
      Reference
        Date
ROD03                                     Regular            40.00       10.00          400.00         443.13       490.00          -9.38        -30.38       -7.11
  DIMAS RODRIGUES                         Overtime            6.00       15.00           90.00                                     -30.38         -7.11
    XXX-XX-1175                                                                                                       -2.65
      3629
        6/26/15

ROD03                                     Regular            40.00       10.00          400.00         430.78       475.00          -7.88        -29.45       -6.89
  DIMAS RODRIGUES                         Overtime            5.00       15.00           7500                                      -29.45         -6.89
    XXX-XX-1175                                                                                                       -2.57
      3636
        7/3/15

ROD03                                     Regular            40.00       10.00          400.00         430.78       475.00          -7.88        -29.45       -6.89
  DIMAS RODRIGUES                         Overtime            5.00       15.00           75.00                                     -29.45         -6.89
    XXX-XX-1175                                                                                                       -1.08
      3643
        7/10/15

ROD03                                     Regular            35.00       10.00          350.00           23.22       350.00                       -21.70       -5.08
  DIMAS RODRIGUES                                                                                                   -300.00        -21.70          -5.08
    XXX-XX-1175
      3655
        7/17/15

ROD03                                     Regular            32.00       10.00          320.00           4552        320.00                       -19.84      -4.64
  DIMAS RODRIGUES                                                                                                   -250.00        -19.84          -4.64
    XXX-XX-1175
      3662
        7/24/15

ROD03                                     Regular            31.00       10.00          310.00           36.28       310.00                       -19.22      -4.50
  DIMAS RODRIGUES                                                                                                   -250.00        -19.22          -4.50
    XXX-XX-1175
      3674
        7/31/15




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                                                                                    SHAN NAMKEEN, INC
                                                                                   Payroll Register
                                                                   For the Period From Jan 1, 2015 to Dec 31, 2015
FIiter Criteria includes. 1) Employee IDs ROD03. Report order 1s by Check Date. Report 1s printed in Detail Forma


Employee ID                               Pay Type         Pay Hrs        Rate         Pay Amt         Amount         Gross    Fed_lncome       Soc_Sec     Medicare
 Employee                                                                                                           Advance    Soc_Sec_ER    Medicare_ER    FUTA_ER
    MaskedSSNo                                                                                                       SUI_ER
      Reference
        Date
ROD03                                     Regular             30.00      10.00           300.00         277.05       300.00                        -18.60      -4.35
  DIMAS RODRIGUES                                                                                                                   -18.60          -4.35
    XXX-XX-1175
      3684
        817/15

ROD03                                     Regular             33.00      10.00           330.00          104.75       33000                        -20.46      -4.79
  DIMAS RODRIGUES                                                                                                    -200.00        -20.46          -4 79
    XXX-XX-1175
      3690
        8/14/15

ROD03                                     Regular             32.00       10.00          320.00         295.52       320.00                        -19.84       -4.64
  DIMAS RODRIGUES                                                                                                                   -19.84          -4.64
    XXX-XX-1175
      3699
        8/21/15

ROD03                                     Regular             3200        10.00          32000           295.52      320.00                        -1984        -4.64
  DIMAS RODRIGUES                                                                                                                   -19.84          -464
    XXX-XX-1175
      3714
        8/28/15

ROD03                                     Regular             40.00       10.00          400.00          169.02       40000          -0.38         -24.80       -5.80
  DIMAS RODRIGUES                                                                                                    -200.00        -24.80          -5.80
    XXX-XX-1175
      3721
        9/4/15

ROD03                                     Regular             32.00       1000           320.00          295.52      320.00                        -19.84       -4.64
  DIMAS RODRIGUES                                                                                                                   -19.84          -4.64
    XXX-XX-1175
      3732
        9/11/15




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                                                                                      SHAN NAMKEEN, INC
.                                                                                    Payroll Register
                                                                     For the Period From Jan 1, 2015 to Dec 31, 2015
    Filter Crltena includes. 1) Employee IDs ROD03. Report order 1s by Check Date. Report 1s pnnted 1n Detail Forma


    EmployNID                                 Pay Type        Pay Hrs        Rate        Pay Amt         Amount         Gross    Fed_lncome       Soc_Sec     Medicare
     Employee                                                                                                         Advance    Soc_Sec_ER    Medlcare_ER    FUTA_ER
       MaskedSSNo                                                                                                      SUI_ER
          Reference
            Date
    RO003                                     Regular            3200       10.00          320.00          295.52      320.00                       -19.84       -4.64
     DIMAS RODRIGUES                                                                                                                  -19.84         -4.64
       XXX-XX-1175
         3738
            9/18/15

    ROD03                                     Regular            39.00      10.00           390.00         260.16       39000                        -24.18      -566
      DIMAS RODRIGUES                                                                                                  -100.00        -24.18          -5.66
        XXX-XX-1175
          3743
            9/25/15

    ROD03                                     Regular            32.00      10.00           32000          295.52      320.00                        -19 84      -4.64
      DIMAS RODRIGUES                                                                                                                 -19.84          -4.64
        XXX-XX-1175
          3750
            10/2/15

    ROD03                                     Regular            26.00      1000            260.00                      26000                        -16.12       -3.77
      DIMAS RODRIGUES                                                                                                  -240.11        -16.12          -3.77
        XXX-XX-1175
          3761
            10/9/15




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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


    DIMAS RODRIGUEZ, and all                         §
    others similarly situated under                  §
    29 u.s.c. 216 {b),                               §
    Plaintiff,                                       §
                                                     §
    v.                                               §           Cause No.
                                                     §
    SHAN NAMKEEN, INC.,                              §
    and SHAILESH PATEL                               §
    Defendants.                                      §


                           COMPLAINT UNDER 29 U.S.C. §§ 201- 216
                        OVERTIME AND MINIMUM WAGE VIOLATIONS

         Plaintiff, DIMAS RODRIGUEZ, on behalf of himself and all others similarly situated under

    29 U.S.C. § 216(b), through undersigned counsel, files this Complaint against Defendants SHAN

    NAMKEEN, INC. and SHAILESH PATEL and alleges:

     1. This is an action arising under the Fair Labor Standards Act 29 U.S.C. §§ 201-216.

    2. Plaintiff was a resident of Dallas County, Texas at the time that this dispute arose.

    3. The Defendant SHAN NAMKEEM, INC. is a corporation that regularly transacts business

         within Dallas County. Upon information and belief, the defendant company was the joint

         FLSA employer for Plaintiffs respective period of employment ("the relevant time period").

    4. The individual Defendant SHAILESH PATEL is a corporate officer and/or owner and/or

         manager of SHAN NAMKEEM, INC. (the "Defendant Corporation") who ran the day-to-day

         operations of the Defendant Corporation for the relevant time period and was responsible for

         paying Plaintiff's wages for the relevant time period and controlled Plaintiff's work and

         schedule and was therefore Plaintiffs employer as defined by 29 U.S.C. § 203(d).

     5. All acts or omissions giving rise to this dispute took place in Dallas County in the Northern

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                                                                                                      DEPOSITION
                                                                                                        EXHIBIT
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        District of Texas.

                             COUNT I. FEDERAL OVERTIME WAGE VIOLATION

    6. This action arises under the laws of the United States. This case is brought as a collective

        action under 29 U.S.C. § 216(8). It is believed that the Defendants have employed other

        similarly situated employees like the Plaintiff who have not been paid overtime and

        minimum wages for work performed in excess of 40 hours weekly from the filing of this

        complaint back three years.

    7. This Court has jurisdiction pursuant to 28 U.S.C. § 1331 as this case is brought pursuant to

        The Fair Labor Standards Act, 29 U.S.C. §§ 201-219 (section #216 for jurisdictional

        placement).

    8. 29 U.S.C. § 207(a)(l) states, "if an employer employs an employee for more than forty hours

        in any work week, the employer must compensate the employee for hours in excess of forty

        at the rate of at least one and one halftimes the employee's regular rate .... "

    9. Plaintiff, DIMAS RODRIGUEZ, worked for Defendants as a delivery driver and laborer

        from on or about June 15, 2013 through on or about October 9, 2015.

     10. Defendants' business activities involve those to which the Fair Labor Standards Act applies.

        Both the Defendants' business and Plaintiff's work for the Defendants affected interstate

        commerce for the relevant time period. Plaintiff's work for the Defendants affected interstate

        commerce for the relevant time period because the materials and goods that Plaintiff handled

        and/or used on a constant and/or continual basis and/or that were supplied to Plaintiff by the

        Defendants to use on the job moved through interstate commerce prior to and/or subsequent

        to Plaintiff's use of the same. Plaintiff's work for the Defendants was actually in and/or so

        closely related to the movement of commerce while he worked for the Defendants that the


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       Fair Labor Standards Act applies to Plaintiff's work for the Defendants.        Defendants'

       business involves commercial food manufacturing.

    11. Upon information and belief, the Defendant Companies had gross sales or business done in

       excess of $500,000 annually for the years 2011, 2012, 2013, and 2014.

    12. Upon information and belief, the Defendant Companies' sales or business done is expected to

       exceed $500,000 for the year 2015.

    13. Furthermore, Defendants regularly employed two or more employees for the relevant time

       period who handled goods or materials that travelled through interstate commerce, or used

       instrumentalities of interstate commerce, thus making Defendants' businesses an enterprise

       covered under the Fair Labor Standards Act.

    14. From on or about June 15, 2013 through on or about October 15, 2013, Plaintiff, DIMAS

       RODRIGUEZ, worked an average of 3 completely unpaid hours per week delivering goods

       for the Defendants. In addition to the minimum wage violation set forth below, Plaintiff

       claims the half-time overtime rate for any such overtime hours worked above 40 hours as

       required by the Fair Labor Standards Act based on the Federal Minimum Wage of $7.25 per

       hour.

    15. From on or about October 16, 2013 through on or about October 9, 2015, Plaintiff, DIMAS

       RODRIGUEZ, was paid an average straight-time rate of $9.00 per hour, but worked an

       average of 3 completely unpaid hours per week delivering goods for the Defendants. In

       addition to the minimum wage violation set forth below, Plaintiff claims the half-time

       overtime rate for any such overtime hours worked above 40 hours as required by the Fair

       Labor Standards Act based on either the Federal Minimum Wage of $7.25 per hour or his

       regular average wage for this period of$9.00 per hour.



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    16. From on or about June 15, 2013 through on or about October 15, 2013, Plaintiff, DIMAS

       RODRIGUEZ, was paid an average straight-time rate of $5.00 per hour and was required to

       work off the clock an average of eight (8) hours per day on an average of three Saturdays or

       Sundays per month for which he was always paid in cash at his straight-time rate of $5.00 per

       hour only. In addition to the minimum wage violation set forth below, Plaintiff therefore

       claims the half-time overtime rate for any such overtime hours worked above 40 hours as

       required by the Fair Labor Standards Act based on the Federal Minimum Wage of $7.25 per

       hour for each overtime hour worked.

    17. From on or about October 16, 2013 through on or about October 9, 2015, Plaintiff, DIMAS

       RODRIGUEZ, was paid an average straight-time rate of $9.00 per hour, but was required to

       work off the clock an average of eight (8) hours per day on an average of three Saturdays or

       Sundays per month for which he was always paid in cash at his straight-time rate only.

       Plaintiff therefore claims the half-time overtime rate for any such overtime hours worked

       above 40 hours as required by the Fair Labor Standards Act based on his regular average

       straight-time wage of$9.00 per hour for each overtime hour worked.

    18. Defendants willfully and intentionally refused to pay Plaintiff's overtime wages as required

       by the Fair Labor Standards Act as Defendants knew of the overtime wage requirements of

       the Fair Labor Standards Act and recklessly failed to investigate whether Defendants' payroll

       practices were in accordance with the Fair Labor Standards Act. Defendants remain owing

       Plaintiff these wages since the commencement of Plaintiff's employment with Defendants

       for the time period specified above.


       Wherefore, Plaintiff requests double damages and reasonable attorney fees from Defendants,

    pursuant to the Fair Labor Standards Act as cited above, to be proven at the time of trial for all

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    overtime wages still owing from Plaintiff's entire employment period with Defendants or as

    much as allowed by the Fair Labor Standards Act along with court costs, interest, and any other

    relief that this Court finds reasonable under the circumstances. The Plaintiff requests a trial by

    jury.

                         COUNT II. FEDERAL MINIMUM WAGE VIOLATION

        COMES NOW PLAINTIFF, through Counsel, and re-adopts the factual and jurisdictional

    statements in paragraphs 1-18 above and further states:

    19. 29 U.S.C. § 206(a){l) states ".. an employer must pay a minimum wage of $5.15/hr to an

        employee who is engaged in commerce ..." (29 U.S.C. § 206(a)(l)]". On July 24, 2007

        Federal minimum wage was raised to $5.85/hr. On July 24, 2008, Federal minimum wage

        was raised to $6.55/hr. On July 24, 2009, Federal minimum wage was raised to $7.25/hr.

    20. From on or about June 15, 2013 through on or about October 15, 2013, Plaintiff worked on

        the clock for an average of 32 hours per week for which he was paid an average of $5.00 per

        hour. Said payment of wages is in violation of the Fair Labor Standards Act as said payment

        did not meet the applicable Federal Minimum Wage required for said period of time.

        Therefore, Plaintiff claims the difference between the amount paid to Plaintiff and the

        applicable Federal Minimum Wage for each hour worked in a workweek.

    21. From on or about June 15, 2013 through on or about October 9, 2015, Plaintiff, DIMAS

        RODRIGUEZ, worked an average of 3 completely unpaid hours per week delivering goods

        for the Defendants. Said failure to pay wages is in violation of the Fair Labor Standards Act

        as said payment did not meet the applicable Federal Minimum Wage required for said period

        of time. Therefore, Plaintiff claims the difference between the amount paid to Plaintiff and

        the applicable Federal Minimum Wage for each completely unpaid hour worked.


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    22. Defendants willfully and intentionally refused to pay Plaintiffs minimum wages as required

        by the Fair Labor Standards Act as Defendants knew of the Federal Minimum Wage

        requirements of the Fair Labor Standards Act and recklessly failed to investigate whether

        Defendants' payroll practices were in accordance with the Fair Labor Standards Act.

        Defendants remains owing Plaintiff these wages since the commencement of Plaintiffs

        employment with Defendants for the time period specified above.



        Wherefore, Plaintiff requests double damages and reasonable attorney fees from the

     Defendants pursuant to the Fair Labor Standards Act and as cited above, to be proven at the time

    of trial for all minimum wages still owing from Plaintitrs entire employment period with

     Defendants or as much as allowed by the Fair Labor Standards Act -whichever is greater along

    with court costs, interest, and any other relief that this Court finds reasonable under the

     circumstances. The Plaintiff requests a trial by jury.


                                                              Respectfully submitted,

                                                       By: Isl Robert Manteuffel
                                                          J.H. Zidell, Esq.
                                                          Texas Bar No.: 24071840
                                                          Email: zabogado@aol.com
                                                          Robert L. Manteuffel
                                                          State Bar No. 12957529
                                                          Email: rlmanteuffel@sbcglobal.net
                                                          Joshua A. Petersen
                                                          Texas Bar No. 24085524
                                                          Email: josh.a.petersen@gmail.com

                                                              J.H. ZIDELL, P.C.
                                                              6310 LBJ Freeway, Ste. 112
                                                              Dallas, Texas 75240
                                                              Tel: (972) 233-2264
                                                              Fax: (972) 386-7610


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                                                   APP 455
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     Robert Manteuffel
     6301 LBJ Freeway, Ste. 112
     Dallas, TX 75240                                                     Date: Feb. 05, 2016


     Dear Mr. Manteuffel,

     I would just like to inform you that I would like to dismiss the labor case that file against Shan Namkeen,
     Inc. and no long want to pursue any more.

     I thought about the case and realized that I was paid in full and there is not any payment, salary or
     overtime payment that they owe to me and also I acknowledged receive of payment for my proper time
     during my employment.

     I took step of filing the case because I was in stress, uncomfortable and angry due to my personal issues
     and may told you something which are not correct. There was no issue what so ever with Shan
     Nam keen, Inc. They do not owe me any overtime payment and I never work of the clock ever during my
     employment.

     I am feeling bad now that I should not have field this false case.

     Please, I requesting you to dismiss this case immediately and send me the confirmation .

     I am also sending copy of this letter to Shan Namkeen, Inc.



     Sincerely,




     Dimas Rodriguez.




                                                                                                        i      DEPOSITION
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                    Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                          Page 224 of 293 PageID 1251




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       Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                                                                                                                                   Page 225 of 293 PageID 1252


 a E:r.plo>"'a's SSN                                             1 Wages, tips,         ot.'>ei; compensaUoc               2   i:cederaJ inco.me tax w!jhh~ld                                  a Employee's. s.sN                                               1 Wages, lip;;. other _co'f'pensation .2 Fed,;ia! income fax withheld ·
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 c Employers name, .address, am/ .ZJP code                                                                                                                                                    c Eniploy~~sname, at!dr'es!i, and ZIP code
   S2 BROTHERS, INC                                                                                                                                                                            s2: BROTHERS, INC
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   ,54 BROTHERS, INC                                                                                                                                                                           S2 BROTHE:RS, INC
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                  Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                                         Page 226 of 293 PageID 1253
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                                                                                                           b Employer identification. no. (EIN)
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                    Carrollton, TX 75006
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                   JOHNSTON TEMPORARY SERVICES                                                                                                                                                                                 6 Medfcare,tax withheld

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                   RbDRIGUEZ, :DIMAS
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                   Carrollton, TX 75006
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     r:opy .c.:...F.ar EMPLQYE!:'S RECORDS (See              Notice to Emp/Qyt!e c;,n, the t)ac::k          at Copy         B.)                             0MB      No. ~545--0008                             XX-XXXXXXX                     Dept of the Treasury - IRS




                                                                                                           7 Social security tips                                   1: W;iges1 . tip.s•. otlier- ccry_tpensafion               2: -Federal In.come tax withbe.ld:
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                   JOHNSTON TEMPORARY SERVICES                                                                                                                                                                                5 'Medicare ·1ax, wittlheld

                  P.O. BOX 9700

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                                                                                                                   APP 459
 Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                     Page 227 of 293 PageID 1254


                                            Garcia & King TRI TAX
                                                        192$ 8 Beltlfr1e·Rd Suite250
                                                           Caitoliton, TX 75006
                                                             GK@Trit;ixx:com     ..
                                                Phdne: (977i5~04444 /. Fax: (972)530°4444




   Februaty lJ ; 2016

    Dimas Rodriguez Inguanzo & Ana. M/!fia D La Cruz
  · l910SJos~yAptl59 .
   Carrollton, TX 75006

   Subject: Preparation of Your 2015 Yax Returns

  Dimas Rodriguez lnguanzo & Ana Maria D La Cruz;

   Thank you for oboosing Ga1tia & King TRI TAX to assist you with your 20 I5 taxes, ihfs letter confirms the terms of
   our engager,Mnt with -you anti outlines the nature and extent of the 1,ervices w~ will provide.

   \ve will prepare your 2015 federal and state income tax, retu(i')s.• We will depend on you to provide the foforrnatioh
   we need to prepare cornplete·and acc.urate returns, We may ask you to clarify some items but wUI pot auditor
   otherwise verify the' data you submit. An Organizer is enc.losed to help you coilect the data required for :your r~tum.
 · The Organizer will help yoµ avoid overlooking important infonnatior1. By l!Sing it, y9u wHI contribute to efficient
   preparaJion pf your returns and help minimize th~ cost of our services.           · ·                            ·

  We will perform accounti·ng services only as 1j13ecled to prepar!3 your tax returns. Our work wiJJ hot,include
  pi:ocedures· to fio,d .defalcafions or other irregularities. Accordingly, our engage111ent should not be relied upon to
  disclose .errors; fraud, or other niegal ads;. though it may be necessary for you to, darify some of the information you
  submit. We will, of course; inform you of any materiaJ errors, fraud, or other illegal acts w~ discover.

  Th.e law imposes penalties when taxpayers underestimate their tax Jiability. Please call us if you have concer:ns: about
  such pena!Hes.

  SJ10uJd we encounter in;shi:1,ces of µncleat ta.x Jaw~.or ot potential con_flicts in the iilterpretation of the law, we wi11
  outli11e the reasonabfe. courses of action a:nci th.e risks and consequences o.f each, We will ultimately adopt, ¢ti your
  behalf; the alternative you sel¢ct,                                  .                                            .

 Our fee.wil1 he based on the time reqUJ.red at standard billirlg rates plus out-of-pocket expenses;. Invoices are due, and
 payable upon presentation. To the ~¥tent pe:nnitted by state law, an interest charge may .be added to all accounts not
 paid Within thirty (30)days.                                                         ·

 We will return your original :records to you at the end of this ehgagetnent. You s&o.uld securely store these records,
 alougwitlr all supporting doc'uttients, canceled checks, etc., .as these items may later be needed to prove accuracy and
 co:rnpleteness ofa return. Wewfll retain copies ofyour recor~ imd outwork papers for your engagement foj seven
 years, after which these docurnents will be destroyed.

 Our e11<gagernetit to p.r:epar~ your:2015 tax returns will conclude W.ith the delivery of the:completed reti.ims to ypu (if
 paper-fift.ng), or your signature1}nd our subsequent submittal of your tax return (if e-fi1ing). Ifyou have not selected
 toe-file your .ret4rns with our offic.e, you wiil be solely responsible t-0 file the returns With the appropriate ~ing
 authorities. Review all ta.;<.srettu-n.dqcm;nents care.fully before signing them.

 To affirm that this Jettetcorrectly stHnmarizes your understanding ofthe arrange1:n.ents for this work, p ,. f
                                                                                                                       DEPOSITION
                                                                                                                        EXHIBIT
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L=========±;=========================:::tlf
                                                                                                               PL_Docs 0054

                                                             APP 460
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                              Page 228 of 293 PageID 1255


  enclosed copy of this letter in the space indicated and return it to us in the envelope provided.

  We appreciate your confidence in us. Please call (972)530-4444 if you have questions.

 Sincerely,




 Maria Cuellar
 Garcia & King TRI TAX

 (Both spouses must sign for preparation of joint returns.)

 Accepted By:




 Taxpayer



Spouse


Date




                                                                                                      PL_Docs 0055
                                                       APP 461
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        Name(s) as S"°"41 on rewm
                                    I                Account Transaction Summary
                                                                                                                              YCIIKIO~
                                                                                                                                         2015
        DIMAS RODRIGUEZ INGUANZO                              &   ANA LA CRUZ                                                 XXX-XX-2745
       Account #1
       Financia1 Institution Name                                 CHASE BANK
       Routing Transit Number                                     111000614
       Account Number                                             689765951
       Account Type                                               Checking
       Federa1 Deposit                                                    926
       Net Deposit                                                        926




       PLEASE VERIFY BANK INFORMATION
       1. Bank Name
       2. Bank Routing Transit Number
       3. Bank Account Number
       4. Bank Account Type

       This infonnatlon Is used to deposit'your refund or to pay any amount due. If you have provided Incorrect Information,
       or you have closed the account, you are responsible.

       I have reviewed the above information and certify that this information is correct and authorize   Garcia   & K:..ng   TRI l'AX
       to use this account to deposit my refund.




                                                              Date                                                                  Date



DO_PMT.LD


                                                                                                                                     PL_Docs 0056
                                                                         APP 462
       Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                   Page 230 of 293 PageID 1257
.I
           F01m   8879                                              IRS e-fi/e Signature Authorization                                                                     0MB No. 1545-0>74
                                                                     I> Do not send to the IRS. This Is not a tax return.
           0eper1men1 aftha Traasa.,y
           1n:ema1 Reva~ SeMCe
                                                                             11>   Keep this form for your records.
                                             I> Information about Fonn 8879 and its instructions is at www.irs.gov/form8B79.
                                                                                                                                                                                 2015
           Submission Identification Number (SID)        ~
                                                                                                                                      Social security numl>et'

                            DIMAS RODRIGUEZ INGUANZO
           Spouse's name                                                                                                             Spouse's social security ,..mber

                   ANA MARIA DLA CRUZ
        I Part I I Tax Return Information - Tax Year Ending December 31, 2015                                                 (Whole Dollars Only)
              1     Adjusted gross income (Form 1040, line 38; Form 1040A, line 22; Form 104OEZ. rme 4)      · • • • • • • • .                      • • .        ~1--lf---'2;;...;;.9....._7;...0~8__
             2     Total tax (Fonn 1040, line 63; Form 1040A. line 39; Form 104OEZ, One 12) •• , • • • • • • • • • • • • •                         • • •     ..._2---1-------
             3     Federal income tax withheld (Form 1040, line 64; Form 1040A, line 40; Form 1040EZ. line 7)    • • • • • • •                     • • •            3                     37
             4
             5
                   Refund (Form 1040, fine 76a; Form 1040A, tine 48a; Form 104OEZ, fine 13a; Form 1040-SS, Part I, line 13a)
                   Amount you owe (Form 1040, line 78; Form 1040A, line 50: Form 1040EZ, line 14)    • , • • • • • •• • • •
                                                                                                                                                      , •
                                                                                                                                                   • • •     --------'---
                                                                                                                                                             1--4---1.------9-2_6__
                                                                                                                                                                   5
       I' Part 111         Taxpayer Declaration and Signature Authorization (Be sure you get and keep a copy of your return)
       Under penalties of perjuiy, I declare that I have examined a copy of my electronic Individual income tax return and accompa"Ying schedules and statements
       for-:he lax year ending December 31, 2015, and to the beslof my knowledge and belief, ii is true, cared, and complete. I further declare that the amounts
       In Part I above are the amounts from my electronic lllCOflle tax return. I consent ~ allow my Intermediate service provider, transmitter, or electronic return
       onginator (ERO) to send my return to the IRS and to receive from the IRS (a) an acknowledgement of receipt or reason for rejection of the transmission, (b) the
       reason for any delay in processing the return or refund, and (c) the date of any refund. It applicable, I authorize the U.S. Treasury and Its designated Flnanclal
       Agent to initiate an ACH eledrcllic funds withdrawal (direct debit) entry to the financial inslitutlon account indicated In "tie lax preparation software for payment
       of my 'ederal talces C7Ned on this return ano/or a payment of estimated tax. and the financial institution to debit the entry to this account This authonzalion 1s to
       remain 1n lull force and effect until I notify the U.S. Treasury Financial Agent to terminate 1he aulhorizatlon. To revoke (cancel) a payment, I must contact the U.S.
       Treasury Financial Agent at 1-888-353-4537. Payment cancellation requests must be received no later than 2 business clays prior to the payment (settlement)
       date. I also authorize the llnanc:ral institutions involved in the Processing of the electronic payment of taxes to receive confidential infcrmaHon necessary to
       answer inquiries and resolve issues related to the payment I further acknowledge tr.at lhe personal identification number (PIN) below is my signature for my
       electronic income tax return and, if applicable, my ElectJOnic Funds Wllhdrawal Consent



       Taxpayer's PIN: check one box only                RTN= 1110.0 0 614                         Acct=Ends in 0614
            ~      !authorize     Garcia        &    King TRI TAX                               to enter or generate my PIN          82 7 4 5
                                                       EROflnnname                                                                Enter five digits, but do
                  as my signature on my tax year 2015 electronically filed income tax return.                                     not enter all zeios

            0     I wiH enter my PIN as my signature on my tax year 2015 electronically filed income tax return. Check this box only if you are
                  entering your own PIN and your retum is filed using the Practitioner PIN method. The ERO must complete Part 111 below.

      Yours,gnature I> _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date I> _ _ _ _ _ _ _ _ _ _ _ __


      Spouse's PIN: check one box only
            ~ I authorize        Garcia        &    King TR! TAX                                toenterorgeneratemyPtN              88837
                                                      ERO llnn nane                                                              Enter five digits, but do
                  as my signature on my tax year 2015 electronically filed income tax retum.                                     not enter all zeros

           0      I will enter my PIN as my signature on my tax year 2015 electronically filed income tax retum. Check this box only if you are
                  entering your own PIN and your return is filed using the Practitioner PIN method. The ERO must complete Part Ill below.

      Soouse'ssignature ,,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                     Date I>
                                                                                                                                           -------------
                                             Practitioner PIN Method Returns Only - continue below
     IPart Ill I           Certification and Authentication - Practitioner PIN Method Only

     ERO's EFIN/PIN. Enter yoUf six-digit EFIN foUowed by your five-digit self-selected PIN.                                       754146-75414
                                                                                                                                                    Do not enter all zeros
     I certify that the above numeric entry is my PIN. which is my signature for the tax year 2015 electronicaly filed income tax return for
     the taxpayer(s) indicated above. I confirm that I am scbmilbng this return in accordance with the requirements of the Practitioner PIN
     method and Publication 1345, Handbook for Authorized IRS e-fi/e Providers of Individual Income Tax Returns.

     ERO's signature I> _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                      Date,,.    02-11-2016
                                                  ERO Must Retain This Form - See Instructions
                                          Do Not Submit This Form to the IRS Unless Requested To Do So
     For Paperwork Reduction Act Notice, see your tax return instructions.                                                                                              Form 8879 (2015)
     EEA

                                                                                                                                                                    PL_Docs 0057
                                                                                         APP 463
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       Form                              Oepat1ment of 1ha TrwasL.tY-ln:emal Revenue Service

      1040A                              U.S. Individual Income Tax Return (99>                                                                2015                    IRS   Use Only - Do r.at write ..- staple II lhfs space.
      YCU' first name 111d inNlal                                                  ustname                                                                                                     0MB No. 1545-0074
                                                                                                                                                                                    Your social security number

      DIMAS                                                                         RODRIGUEZ INGUANZO
      If a Jl)int mm. spo..se'c ftm name and Initial                               Laslname                                                                                         Spouse's social secwlly number

      ANA MARIA D                                                                   LA CRUZ
      Home addrus (n,.,mber and slreel).
      1910          s JOSEY
                                                                                                                                                            I Ap no
                                                                                                                                                                   ::_59
                                                                                                                                                                                            Make sure the SSN(s) above
                                                                                                                                                                                            and on fine 6c are correct
      c;ty, lo,w, or post office, state, ond ZIP eode. If you nave a latetgn adaess, also COl!1liew spac8S below (see .inslludi:m~                                                    Presidential Electton Campa,gn
                                                                                                                                                                                 Check here If you, cryot1 spouse iffilong
      CARROLLTON
   Fore,gn country name
                                                                                            ':'X
                                                                                                   I Foreign provinc:e/slale.tol.r11\I
                                                                                                                                         75006
                                                                                                                                                    I Foreign poslal oodG
                                                                                                                                                                                 jo11Uy, wart S3 lo go to :hia lund Checking
                                                                                                                                                                                 a box below ..i11101 e"8nge your lex o-
                                                                                                                                                                                 refund.             n n    You         Spouse
                                                                                                                                               LJ
                                                 l-2!
   Filing                                1               Single                                                                            4        Head of -.sanold {wieh qUGl:t,ng pe,son). (SH instnJdlona)

                                                         Married filing Jointly (even if only one had income)
                                                                                                                                                         f8'rly~
                                                                                                                                                    If Iha        person 11 a ch, but not your dependan~
                                                                                                                                                                                    T
   status                                2                                                                                                          enter os cn1 s name here.

                                         3 _             Married toling - f e l y Ei1ter spouse's SSN above and
  Chea< only
  one box.                                               run .,..,. here.   T                                                              5   lJ Q<Jaf.fylng ..,dow(er) wilh d e ~ chi<! (see insuudlors)
                                             a     !RI Yourself.            If someone can daim you as a dependent. do not check
  Exemptions                             6


                                             b      X        Spouse
                                                                            box Sa.
                                                                                                                                                                                               }     Boxes
                                                                                                                                                                                                     checked on
                                                                                                                                                                                                     la and&b
                                                                                                                                                                                                     No. ot cllllclnn
                                                                                                                                                                                                     onkwho:
                                                                                                                                                                                                                         2
                                                                                                                                                                                                                        ---
                                                                                                                                                                                                     • Hvedwith
                                                                                                                                                                                                     I/OU                    2
                                                                                                                                               SON                                                   • didnotllve
                                                                                                                                                                                                     with you due
                                                                                                                                               SON                                                   to divorce or
                                                                                                                                                                                                     separation
                                                                                                                                                                                                     (see instr)
                                                                                                                                                                                                     Dependents
                                                                                                                                                                                                     on 6c: not
                                                                                                                                                                                                     entered above




 Income
                                     7
                                             d          Total number of exemptions claimed.

                                                        Wages. salaries. tips, etc. Attach Form(s) W-2.                                                                                    7
                                                                                                                                                                                                    ~~--.
                                                                                                                                                                                                    Addnumbefs




                                                                                                                                                                                                             29,708
 Attach
 Form':/sW-2
 here.          o                    8a             Taxable Interest Attach Schedule B if required.                                                                                     Ba
 attach                               b             Tax-exempt interest Do not include on line Ba                                              8b
 Form(s)
 1099-R if tax                       9a             Ordinary dividends. Attach Schedule B if required.                                                                                  9a
 was                                  b             Qualified dividends (see instructions).                                                    9b
 withheld.
                                    10              Capital gain cf,slributions (see instructions).                                                                                     10
 If you :!Id not                    11 a            IRA                                                                                  11b Taxable amount
 get a W-2, see                                     distributions.                  11a                                                      (see instructions).                       11b
 lnstruc!ions.
                                    12a             Pensions and                                                                         12b Taxable amount
                                                    annuities.                      12a                                                      ("see instructions).                      12b

                                    13             Unemployment compensation and Alaska Permanent Fund dividends.                                                                      13
                                    14a            Social security                                       14b Taxable amount
                                                   benefits.          14a                                      (see instructions).                                                     14b

                                    15             Add fines 71hrough 14b (far right column). This is your to~ Income.
                                                                                                                                                                                •      15                   29,708
Adjusted
                                16                 Educator expenses (see instructions).                                                       16
gross
income                          17                 IRA deduction (see Instructions).                                                           17
                                18                 Sb.Jdent loan interest deduction (see instructions).                                        18

                                19                Tuition and fees. Attach Form 8917.                                                          19
                                20                Add lines 16 through 19. These are your total adjustments.                                                                          20

                      21     Subtract Une 20 from line 15. This is your adjusted gross Income.                                                                                  •     21                    29,708
For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions.                                                                                                         Form 1040A (2015)
EEA

                                                                                                                                                                                                PL_Docs 00S8
                                                                                                            APP 464
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      Form 104OA(2015)            DIMAS RODRIGUEZ INGUANZO & ANA LA CRUZ                                                                                                                              Page 2
      Tax, credits,                                                                                                                                                  22                    29 7C8
      and                     23a     Check {       You were bom before January 2, 1951,                   Blind } Total boxes
      payments                        If:           Spouse was born before January 2, 1951,                Bffnd   checked II> 23a
                                  b If you are married fiting separately and your spouse itemizes
       Standard                       deductions, check here                                                                    .. 23b
       Deduction
       for.
                             24       Enter your standard deduction.                                                                                                 24                    12 600
       • People who
       check any
                             25      Subtract line 24 from line 22. If line 24 is more than line 22, enter -0-.                                                      25                    17,108
       box on !ine           26      Exemptions. MulliplY $4,000 by the number on line 6d.                                                                           26                    16,000
      23aor23bor             27      Subtract Rne 26 from line 25. If line 26 is more than line 25, enter -0-.
      who can be
      claimed as a                   This is your taxable income.                                                                                        ....        27                      1 108
      dependent,
      see                    28      Tax, including any alternative minimum tax (see instructions}.                28                     11~
      instructions.          29      Excess advance premium tax credit repayment Attach
       • All others:                 Form 8962.                                                                    29
      Single or
      Married filing
                             30      Add lines 28 and 29.                                                                                                        30                                111
      separately,            31      Credit for child and dependent care expenses. Attach
      $6,300                         Form 2441.                                                                    31
      Married filing         32      Credit for the elderly or the disabled. Attach
      Jointly or                     Schedule R.                                                                   32
      Quallfying
      widoYJ(er)             33      Education credits from Form 8863, line 19.                                    33
      $12,600
                             34      Retirement savings contributions credil Attach Form 8880.                     34
      Head of
      household,         35         Child tax credit Attach Schedule 8812, if required                             35                    :11
      $9,250
                         36         Add lines 31 through 35. These are your total credits.                                                                      36                                111
                         37         Subtract hne 36 from line 30. If tine 36 is more than line 30, enter -0-.                                                   37                                      0
                         38
                         39
                                    Health care: individual responsibmty (see instructions). Full-year coverage                                   I I 38
                                    Add line 37 and line 38. This is your total tax.                                                                            39                                      C
                         40         Federal income tax withheld from Forms W-2 and 1099.                   40                              37
                         41         2015 estimated tax payments and amount applied
   If you have
   a qualifying                     from 2014 return.                                                          41
   child, attach
   Schedule             42a         Earned income credit (EiC).                                                42a                                       NO
   EiC.                    b Nontaxable combat pay election.             42b
                        43   Additional child tax aedrt. Attach Schedule 8812.                                 43                       889
                        44          American opportunity credit from Form 8863, iine 8.                        44
                        45          Net premium tax credit. Attach Form 8962.                                  45
                        46          Add lines 40, 41. 42a, 43, 44, and 45. These are your total payments.                                          ...          46                               926
 Refund                 47          If line 46 is more than line 39, subtract One 39 from line 46.
                                                                     Jd.                                                                                        47                              926
 Direct
 deposit?
                                                                                                                                                                48a                             926

                                  =
 See
 instructions
 and fill In
 48b,48c,               ... d
 and4&:t or            49         Amount of line 47 you want applied to your
 Fonn 8888.
                                  2016 estimated tax.                                                         49
 Amount                SO         Amount you owe. Subtract line 46 from tine 39. For details ?" hoW to pay,
 you owe                          see instrudions.                                                                                                II-       50
                       51         Estimated tax penalty (see instructions).                                   51

Third party                  Do you want to allow another person to discuss this return with the IRS (see instrucbons)?           LJ
                                                                                                                              Yes. Complete the foRowing.
                             Oestgnee's name                                                   PhcnellO
designee
                       ...                                                                           ..
                                                                                                                        Personal ldenlificalian
                                                                                                                                ffllllber (PIN)                  ...       I
Sign
here                                                                                                                                                                    Oaylime phone l1uri>ef
                         Your signature                                           :>ate                   Yos occupalion


                       ~ ~~.:!- ra~-.~m~s~
Joint return?                                                                    02-11-2016                                                                          630"-618-6741
See Instructions.                                                                                                                                                      If lhe IRS senl yau an ldenaly
                                                                                  Oale                    Spous•'• OCQ41alion                                          PIDtecban PIN, _ , l nere
Keepaa>py
l'or your records.                                                                                                                                                     (He lnsl)

                         88837                                                   )2-11-2016                                                                               I I I I I I
                         Preparer's sv,ati.,re                                                            b2-11-2 0 16J
                                                                                                            Dale                Chee~ ..
                                                                                                                                self.employed
                                                                                                                                                  u             if     PTIN
                                                                                                                                                                          P01688771
Paid                     P,..rrp,:wepare(,,,.,,.     Maria Cuellar                                                                                                            . -=- ~::-' .~- •.: · ·,·::·
preparer                Flrm'snarn.         ...      Garcia & Kina TRI TAX                                                                        F"trm'sEIN
use only                Finn's.-            ...      1925 E Beltlir:e Rd Suite 250                                                                Pncneno.
                                                     Carrollton, TX 75006                                                                                            972-530-4444
EEA                                                                                                                                                                        Form 1040A~015)
                                                                                                                                                                          PL_Docs 0059
                                                                                      APP 465
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                                Garcia & King TRI TAX
                                            1925 E Bcltline Rd Suite 250
                                               Carrollton, TX 75006 -
                                                 GK@Tritaxx.com
                                    Phone: (972)530-4444   I Fax: (972)530-4444




   Dimas Rodriguez fnguanzo & Ana Maria D La         --~ioii:;~fi;;~;_.
                                                     '"='=-.,.................-,-+-----------------1
   Cruz
   1910 S Josey Apt 159                             -~-......_.'-+-_________. . _____.____
                                                     ~,l;Jlle;"·~·-:-::·i·              February 11, 2016
                                                     r.='-:---~--::--,=-:+------------=-=-:--:-"-,-~----~
                                                     ~fh91_1~t;;:?/:                       (630)618-6741
   Carrollton, TX 75006                              ,.E-miji:-~'~·::=.

                           Your 2015 ta.x return was prepared by Maria Cuellar.

   Description                                                                                           Fee
   Federal And Supplemental Forms
    Fonn 1040A               U.S. Individual Income Tax Return
    Form 8812               Additional Child Tax Credit
    Fonn 8879               E-File Siirnature Authorization
    Form 9325               General Jnfonnation for Electronic Filing
    WkshtTTLGl              All Source Gross Income Computation
    Form W-2                Waf!.e and Tax Statement
    Fonn W-2                Wa,;re and Tax Statement
    Form W-2                Wage and Tax Statement
    Wksht 8812              Form 8812 Worksheet-Child Tax Credit
    W-2 Listing             Listing of All Forms W-2
    WkshtCTC4               Form 8812 Worksheet- Earned Income Cale

  Total Forms                                                    11          Forms Subtotal           185.00
                                                                             20% Discount             -37.00
                                                                             Subtotal                 148.00
                                                                             Total Balance Due        148.00


                        Payment due upon receipt. Thank you for your business!




                                                                                                 PL_Docs 0060
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                                       Garcia & King TRI TAX
                                                      192S E Beltline Rd Suite 250
                                                         Canollton, TX 75006
                                                           OK@Tritaloc.com
                                             Phone: (972)530-4444 I Fa"t: (972)530-4444




 February 11, 20 I6

 Dimas Rodriguez lnguanzo & Ana Maria D La Cruz
 1910 S Josey Apt 159
 Carrolkon, TX 75006

 Your privacy is important to us. Please read the following privacy policy.

 We collect nonpublic personal infonnation about you from various sources, including:

 * Interviews regarding your tax situation

 * Applications, organizers, or other documents that supply such information as your name, address, telephone
 number, Social Security Number, number of dependents, income, and other fa.'{-related data

 * Tax-related documents you provide that are required for processing ta.x returns, such as Forms W-2, I 099R, 1099-
 INT and I099-DIV, and stock transactions

We do not disclose any nonpublic personal information about our clients or fonner clients to anyone, except as
requested by our clients or as required by law.

We restrict access to personal information concerning you, except to our employees who need such information in
order to provide products or services to you. We maintain physical, electronic, and procedural safeguards that comply
with federal regulations to guard your personal information.

If you have any questions about our privacy policy, please contact us.

Sincerely,




Maria Cuellar
Garcia & King TRl TAX




                                                                                                     PL_Docs 0061
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                                      Garcia & King TRI TAX
                                                    l925 E Beltline Rd Suite 250
                                                       Carrollton, TX 75006
                                                         GK@Tritaxx.com
                                           Phone: (972)530-4444 I Fax: (972)530-4444




 February 11, 2016

 Dimas Rodriguez lnguanzo & Ana Maria D La Cruz
 1910 S Josey Apt 159
 Carrollton, TX 75006

 Dimas Rodriguez lnguanzo & Ana Maria D La Cruz:

I   Return Tvve                        I           Refund/Balance Due          I Transaction Method              I
I   Federal Income Tax                 I                      $926 Refund      I Direct Deoosit to **0614        I

The following retum(s) wilt bee-filed and do not need to be mailed to the taxing authority:

Federal Income Tax

Sincerely,




Maria Cuellar
Garcia & King TRI TAX




                                                                                                            PL_Docs 0062
                                                       APP 468
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·I
                                            SEND A FRIEND!

            !Name                                                                                    Date



       One of the nicest compliments our clients can give us is a referral.
       For each new paying client you refer to us, we will pay you $20.
       Thank you for your business.

       Garcia & King TRI TAX                                           Yo~Name           DI~..AS RODRIGU~Z INGUANZO & A
       1925 E Beltline Rd Suite 250                                         Address      1910
                                                                                          - - -S-JOSEY
                                                                                        -CARROLLTON,    APT
                                                                                                  - - -TX
                                                                                                        -   "159
                                                                                                          -75006
                                                                                                              -----
       Carrollton, TX 75006
       (972) 530-4444                                                      Preparer's
                                                  Name Maria Cuellar
           HAVE YOUR FRIENDS BRI~G THIS COUPON IN WITH THEIR TAX INFORMATION.
                                          (subject to larms and conditions)




                                         SEND A FRIEND!
                                                                                                    Date



      One of the nicest compliments our clients can give us is a referral.
      For each new paying client yo~ refer to us, we will pay you $20.
      Thank you for your busi~ess.

      Garcia & King TRI TAX                                          YourName           DI?vi..AS RODRIGUEZ INGUANZO       &   A
      1925 E Beltline Rd Suite 250                                         Address      1910 S JOSEY APT 159
      Carrollton, TX 75006                                                              CARROLLTON, TX 75006
      (972) 530-4444                                                  Preparer's
                                                 Name Maria Cuellar
          HAVE YOUR FRIENDS BRING THIS COUPON IN WITH THEIR TAX INFORMATION.
                                        (SIJllied 10 1em1s a,d condHiona)




                                       SEND A FRIEND!
                                                                                                   Date



     One of the nicest compliments our clients can give us is a ~eferral.
     For each new pay~ng client you refer to us, we will pay you $20.
     Thank you for yo~~ business.

     Garcia & King TRI TAX                                         YourName          DIMAS RODRIGCEZ INGUANZO          &       A
     1925 E Beltline Rd Suite 250
     Carrollton, TX 75006
     (972) 530-4444
                                                                       Addre~


                                                                    Preparer's
                                                                                  ------------------------------
                                                                                     1910 S JOSEY APT 159
                                                                                     CARROLLTON, TX 75006
                                                ~me Maria Cuellar
         HAVE YOUR FRIENDS BRING THIS COUPON ~N WITH THEIR TAX INFOR."IATION.
                                      (subjecl IO tenns and con:lilions)

                                                                                                            PL_Docs 0063
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                                                                                                                                                   0MB No. 1545-007 4
      SCHEDULE 8812
      (Form 1040A or 1040)
                                                                       Child Tax Credit
                                                         • Attach to Form 1040, Form 1040A, or Form 1040NR.                                                2015
      Departmetc of the Trnsu,y                       • lnfonnatlon about Schedule 8812 and Its separate lnsfructlons ls at                          Allachment
      lntetral Revenue SeNice (99)                                          www.hs.gov/schedule8812.                                                 SaQuance No.   47
      Name{s)$hawnonreum                                                                                                              Your social security numb«

      DIMAS                                                       ANA LA CRUZ
       ..art I·_                                                         ndent(s) with an ITIN (Individual Taxpayer Identification Number)
                         Comp/eta this part only for sach dspsndsnt who hss an mN and for whom you are claiming the chDd tax credit
                         ff your dependent is not a qualifying child for the credit, you cannot include that dependent in the calculation of this credit
      CAUTION
     Answer the following questions for each dependent listed on Fonn 1040, line 6c; Form 1040A. line 6c; or Fonn 1040NR, ine 7c, who has an ITIN
     (Individual Taxpayer Identification Number) and that you indicated is a qualifying child for the child tax credit by checking column (4) for that
     dependent

   A For the first dependent identified with an mN and listed as a qualifying child for the child tax credit, did this child meet the substantial
         presence test? See separate instructions.


                       Oves                      D No
  B      For the second dependent identified wih an ITIN and Dsted as a qualifying chHd for the child tax credit, did this child meet the substantial
         presence test? See separate instructions.


                       Oves                      D   No
  C      For the third dependent Identified wiln an ITIN and listed as a qualifying child for the child tax credit, did this child meet the substantial
         presence test? See separate instructions.


                      Oves                     NoD
  D For the fourth dependent identified with an ITIN and listed as a qualifying child for the child tax creatt, did this chHd meet the substantial
    presence test? See separate instructions.


                      Oves                      O No
  Note: If you have more than four dependents identified with an mN and listed as a qualifying child for the child tax credit, see separate instructions
              and check here     • • • • • • • • , , , • • • • • • • , • • , , • • • , • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • •                0
 I P.art II I Additional Child Tax Credit Filers
  1       If you file Fonn 2555 or 2555-EZ stop here, ~~cannot claim the additional child tax credit.                       -
          If you are required to use the worksheet in Pub. 972, enter the amount from line 6 of the Child Tax
         Credit Worksheet in the publication. Otherwise.
         1040 filers:       Enter the amount from line 6 of your Child Tax Credit Worksheet (see the                                   1                   2.,000
                            Instructions for Form 1040, line 52).
         1040A filers:     Enter the amount from line 6 of your Child Tax Credit Worksheet (see the
                           lnstruc6ons for Form 1040A. line 35).
         1040NR filers:    Enter the amount from line 6 of your ChHd Tax Credit Worksheet (see the
                           Instructions for Form 1040NR, line 49).                                                         _
 2       Enter the amount from Fonn 1040, &ne 52: Form 1040A, tine 35; or Form 1040NR. &ne 49                          • • •           2                     111
  3      Subtract line 2 from One 1. If zero. stop; you cannot take this credit     • • , •                     •      • •      •      3                     889
 4 a Earned income (see separate instructions)            • •           • • • •        • • • , 4a               2 9, 7 0 8
   b Nontaxable combat pay (see separate
      instructions) •              • • •      •                  I
                                                              ,____.    I
                                                                4b _ _ _ _ _ _ _ _ _-t .,
 5    Is the amount on fine 4a more than $3.000?                                               '
       0   No. Leave Une 5 blank and enter -0- on 6ne 6.
        [RIYes. Subtract $3,000 from the amount on line 4a. Enter the resuh                      5              2 6, 7 0 8
 6    Multiply the amount on line 5 by 15% (.15) and enter the result               • •                                •                    4,006
      Next. Do you have three or more qualifying children?
       [29 No. If line 6 is zero, stop; you cannot take this credit. Otherwise, skip Part Ill and enter the smaller of
                 fine 3 or line 6 on line 13.
       0   Yes. If Hne 6 is equal to or more than r11e 3, skip Part Ill and enter the amount from line 3 on fine 13.
                 Otherwise. go to fine 7.
For Paperwork Reduction Act Notice, see your tax return instructions.                                         Schedule 8812 (Form 1040A or 1040) 2015
EEA


                                                                                                                                              PL_Docs 0064
                                                                             APP 470
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  Schedule 8812 (Form 1040Aor 1040) 2015                                                                                                                     Page2
 rPa.r.t.011       Certain Filers Who Have Three or More Qualifying Children
     7    Withheld social security, Medicare. and Additional Medfcare taxes from                                                 ~~
                                                                                                                                 7.or-;:,
          Fonn(s) W-2. boxes 4 and 6. If married fling jointly, include your spouse's                                            ,~;~ ~
          amounts wl1h yours. If your employer withheld or you paid Additional                                                  .. ··-
          Medicare Tax or tier 1 RRTA taxes, see separate instructions         ... - . .             7
                                                                                                                                   -1,·
  8       1040 filers:        Enter the total of the amounts from Fonn 1040, lines                                              ~:~--~
                              27 and 58, plus any taxes that you identified using code                                          :~J·-t~·
                             "UT'' and entered on line 62.
                                                                                             ~
                                                                                                    8                  -        ~~/~
                                                                                                                                :-. =i.:r-
          1040A filers:      Enter-0-.
                                                                                                                               i.='.::'1_·
          1040NR filers: Enter the total of the amounts from Fonn 1040NR,                                                      ~:f~
                             lines 'n and 56. plus any taxes that you identified using                                         ~--~~
                             code "UT'' and entered on line 60.                                                                ~
  9      Add lines 7 and 8         ..             . ..              ...          .. -               9                          fF.·--
 10      1040 filers:        Enter the total of the amounts from Form 1040. lines        -                                       ~
                                                                                                                                     .   ..
                                                                                                                                ;5.--_:
                             66a and 71.                                                                                       ~'1'~-:-
                                                                                                                                =-ri:.
         1040A fflers:       Enter the total of the amount from Form 1040A, Une                                                T_•: •_:-
                                                                                                                                   ...
                                                                                                                               :..-- -:.-.
                            42a. plus any excess social security and tier 1 RRTA
                                                                                             ~
                                                                                                    10                         ··:-..-·.
                                                                                                                               . ,: .. ,-
                            taxes withheld that you entered to the left of line 46
                            (see separate instruC:lons).

                                                                           ... - . .. . ..
         1040NR filers: Enter the amount from Form 1040NR, line 67.
 11      Subtract line 10 from 6ne 9. If zero or less, enter -0-                             . .. .                              11
 12      Enter the larger of line 6 or 6ne 11         ..           . .. . ..     . .. .. . . . ..                                12
         Next. enter the smaller of line 3 or rme 12 on line 13.                                                               ~.,-=.. :~- -~].:- -=:.:i:~!. .~~i:;:;t.
JeirtlV::I        Additional Child Tax Credit
13       This is your additional child tax credit                .... . . . .                ....        ..       ...      I     13           I             889
                                                                                                                                     Enter this amount on
                                                                                                                                     Form 1040, line 67,
                                                                                                                                     Form 1040A, line 43, or
                                                                                                                                     Form 104CNR. line 64.

EEA                                                                                                           Schedule 8812 {Form 1040A·or 1040) 2015




                                                                                                                                                  PL_Docs 0065
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                                           Preparer's Summary of Affordable Care Act                                                  2015
        Name(s) as showrJ on ,erum                                                                                        Soc,al Secunly Numbar

        DIMAS RODRIGUEZ INGUA~ZO & ANA LA CRUZ
               Definition of codes for each month:                                  ExA- Coverage considered unaffordable
                MC - Marketplace Coverage - shown on screen 95A                     Ex B - Short coverage gap (less than 3 months)
                OC - Other coverage - shown on screen 8965                          Ex C - Noncillzen or was living abroad
                ECN - Exemption Certificate Number - shown on screen 8965           Ex D - Member of health care sharing minislly
                EX - Exemption code claimed - shown on screen 8965 or               Ex E - Member of Indian tribe
                       automatically applied by the software - see right column     Ex F - Incarcerated after disposition of charges
                blank - No coverage and no exemption - ISRP is due and              Ex G - Self-only unaffordable or nonMedicaid-expans1on state
                         computed on WK_89651                                       Ex H - Added .to household or died during year

        Name                         Jan       Feb      March     April      May    June       July      Aug      Sept       Oct          Nov      Dec
       DIMAS RODRIGUEZ Ex C                  Ex C       Ex C      Ex C       Ex C   Ex C     Ex C       Ex C     Ex   C      Ex C        Ex C      Ex C
       ANA MARIA D LA C Ex C                 Ex C       Ex C      Ex C       Ex C   Ex C     Ex C       Ex C     Ex C        Ex C        Ex C      Ex C
       ALEJANDRO RODRIG oc                   oc         oc        oc         oc     oc       QC         oc       oc          QC          oc        oc
       DIMAS HERNANDEZ QC                    OC         QC        QC        oc      oc       QC         QC       oc          oc          oc        oc




ACANOTES.LD

                                                                                                                                   PL_Docs 0066
                                                                          APP 472
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                                                                  Department or lhe Treasury - Internal Revenue Service
        Form   9325                                 Acknowledgement and General Information for
    (Rev. January 2016)
                                                      Taxpayers Who File Returns Electronically
               Thank you for participating in IRS e-file.                     Taxpayername      Dil'A..AS RODRIGUEZ INGUANZO & ANA LA C

                                                                              Taxpayer address (optional)
                                                                              1910 S JOSEY APT :59
                                                                              CARROLLTON, TX 75006
          1.   ~     Your federal income tax return for            2 015                      was filed electronically with the    I RS
                     Submission Processing Center. The electronic filing services were provided by          Garcia          &
                                                                                                                                  --------
                                                                                                                                  King TRI TAX

          2.   D     Your return was accepted on      _ _ _ _ _ _using a Personal Identification Number (PIN) as your electronic
                     signature. You entered a PIN or authorized the Electronic Return Originalor (ERO) to enter or generate a PIN
                     for you. The Submission ID assigned to your return is

          3.   D    Your return was accepted on _ _ _ _ _ _ _. Allow 4 to 6 weeks for the processing of your return.
                    The Earned Income Credit or a dependent's exemption on your return may be reduced or disallowed due to a
                    child's name and social security number mismatch.


         4. D       Your electronic funds withdrawal payment request was accepted for processing.


         s. D       Your electronic funds withdrawal payment request was not accepted for processing. Refer to the "If You Owe
                    Tax" section.

         s.    D    Your Form 4868, Application for Automatic Extension of lime to File U.S. Individual Income Tax Return, was
                    accepted on _ _ _ _ _ _ _ _ _ . The Submission ID assigned to your extension
                    rs
                         -----------
                          DO NOT SEND A PAPER COPY OF YOUR RETURN TO THE IRS.
                         IF YOU DO, IT WILL DELAY THE PROCESSING OF THE RETURN.

                                              If You Need to Make a Change to Your Return
      If you need to make a change or c01Tect the return you filed electronically, you should send a Form 1040X, Amended U.S.
      Individual Income Tax Return, to the IRS Submission Processing Center that processes paper returns for your area. The
      address is available at www.irs.gov, or you can call the IRS toll-free at 1-800-829-1040.

                                                   If You Need to Ask About Your Refund
     The IRS notifies your Electronic Return Originator (ERO) when your return is accepted, usually within 48 hours. If your
     return was not accepted, the IRS notifies your ERO of the reasons for rejection. If it has been more than three weeks
     since the IRS accepted your return and you have not received your refund, go to wwwjrs.gov and click on 'Where's My
     Refund?" to view your refund status. Excepbon: If box 3 above is checked, please alow 4 to 6 weeks for processing of your
     return. A notice wiU be sent to you advising of changes to your return.

     Also, you can call the TeleTax rne at 1-800-829-4477, for automated refund information. You should have available the
     first social security number shown on your retum, your filing status, and the exact amount of the refund you expect.
.
'    TeleTax gives you the date for maDlng or depositing your refund. You should receive your refund check within 30 days of
     the date given by TeleTax, or within one week of that date, if you chose direct deposit If you do not receive it by then, or if
     Tele Tax does not give your refund information, can the Refund Hotline at 1-800-829-1954.




                                                                                                                                       Form 9325 (Rev. 1-2016)


                                                                                                                                           PL_Docs 0067
                                                                           APP 473
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                     The IRS uses refunds to cover overdue taxes and notifies you when this occurs. The Fiscal Service offsets refunds
                     through the Treasury Offset Program to cover past due child support, federal agency non-tax debts such as student loans
                    and state income tax obligations. Fiscal Service sends you an offset notice if it applies your refund or part of your refund
                    to non-tax debts. If you have questions about the offset. contad the agency identified in the notice. You may also call the
                    Treasury Offset Program CaN Center at 1-800-304-3107, if you have additional questions.

                                                                                  If You Owe Tax
                    If your return has a balance due, you must pay the amount you owe by the prescribed due date. If you paid by eledronic
                    funds withdrawal (arect debit) or by credit card. no voucher is needed. The credit card service providers will charge a
                    convenience ~ based on the amount of texes you are paying. The fees and the type of credit or debit cards accepted
                    may vary between providers. You w,u be told the amount of the fee during the transaction and you will be gil/en the option
                    to either continue or end the transaction. For infonnation on paying your taxes electronically, including by credit or debit
                    card, go to www.irs.gov/e-pay.

                   If you are not paying eledronically you may use Form 1040-V, Payment Voucher, which you can obtain from your
                   Electronic Return Originator. If the IRS does not receive your payment by the prescribed due date, you will receive a
                   notice that requests run payment of the tax due, plus penalties and Interest. If you can not pay the amount in full, complete
                   Form 9465, Instalment Agreement Request, which you may file electronicaRy. To apply for an installment agreement
                   online, go to www.irs.gov. You may also order Form 9465 by cal6ng 1-800-TAX-FORM (1-800-829-3676). If approved, the
                   IRS charges a user fee to set up an installment agreemenL

                                        If You Need to Inquire About Your Electronic Funds Withdrawal Payment
                   You may call 1-888-353-4537 to inquire about the status of your electronic funds withdrawal payment. If there is a change
                   to the bank account information included on your return, you should can this number to cancel a scheduled payment You
                   should have available the social security number of the first person Usted on the tax return, the payment amount, and the
                   bank account number. Cancellation requests must be received no later than 11 :59 p.m. E.T. two business days prior to
                   the scheduled payment date.

                                                                      Tax Refund Related Financial Products
                  Finanoal institutions offer a variety of financial products to taxpayers based on their refunds. Contracts for financial
                  products are between you and the financial institution. The IRS is not associated with the contract. If you have questions
                  about tax refund related products, contact your Elecb'onic Retum Originator or the lender.

                                                                   Instructions for Electronic Return Originators

                  Une 2 - PIN Presence Indicator - Check box 2 if the taxpayer entered a PIN or authonzed the ERO to enter or generate
                  the PIN for the taxpayer, and the Acknowledgement Fde PIN Presence Indicator is a "Practitioner PIN,• "Self-Select PIN"
                  or "Online Filer PIN.• Form 8879, IRS e-file Signature Authorization, is required if the ERO enters or generates the PIN or
                  if the Practitioner PIN method is used. Use Form 8453, U.S. Individual Income Tax Transmittal for an IRS e-flle
                  Return, to send required paper forms or supporting documentation listed next to the form check boxes (do not
                  send Forms W-2, W-2G, or 1099R).
r
                 Une 3 - Exception Processing - Check box 3 if the Acl<nowledgement File Acceptance Code equals "Exception.• The
                 acceptance code indicates that this return has been previously rejected and this subsequent submission still has invalid
                 data.

                 Line 4 - Payment Acknowledgement literal - Check box 4 if the taxpayer requested to use electronic funds withdrawal to
                 pay the balance due, and the Acknowledgement File Payment Acknowledgement Literal field equals "Payment Request
\I               Received."


                 Line 5 - Payment Acknowledgement Literal - Check box 5 if the taxpayer requested to use electronic funds withdrawal to
                 pay the balance due. and the Acknowledgement File Payment Acknowledgement Literal field does not equal "Payment
                 Request Received.• If box 5 is checked, inform the taxpayer that he/she must pay by check, money order, debit card, or
                 credit card.

                 iole: EROs can use the Acknowledgement File information, translated by the transmitter, to complete Fonn 9325.

     \
     I
     \
         I
         I             ~S RODRIGUEZ INGUANZO & ANA LA CRUZ
                                                                                                                                                   Form 9325 (Rev. 1-2016)
             I
             \                                                                                                                                      PL_Docs 0068

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                                     Notes about the return
                                                                                   PAGE 1
             Name(s)                                                         Your social security number
              DIMAS RODRIGUEZ INGUANZO & ANA LA CRUZ

             NAME TOO LONG TOE-FILE.
             Name was shortened to: D RODRIG~EZ INGUANZO & A LA CRUZ
             Per Publication 1346, error reject code 0033, ~he name line cannot have
             ~ore t~a~ 35 characters. The name was automatically shortened for the
             return to bee-filed successfully.
            016 VERIFY CTC ELIGIBILITY. Chi:ct Tax Credit cannot be taken for a child
                over the age of 16.
            039 STATE WAGES IGNORED: You have :eft the "ST" field and the "Employer's
                state ID number" field blank on screen W2. The resident state selected
                on screen 1 is a state without income taxes; therefore, the amoant
                entered in box 17, "State wages," on screen W2 will be dis=egarded by
                the software.
            134 W-2 I) DIFFERS FROM 1040 ID. 7he W2 screen contains an ITIN/SSN in
                the override field. We suggest going to the SCH to attach a note
                {select item "X" from the "Type of attachment ... " drop list) to
                accompany the return explaining why the ID numbers do not match. The
                note will appear in View mode as an "EF NOTE."
                Ose Field Help on the W2 screen for more information.




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     I                                                                        PL_Docs 0069
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          EFSTATUS                                          EF Transmission Status
                                                                                                                           2015
                                                             (Keep for your records)
   Neme(s) as.,_,, on '9lum                                                                                    Yout soc:181 security number

   DIMAS        RODRIGUEZ :!NGUANZO                   &   ANA LA CRUZ

   The following wiU be transmitted to the IRS.                 I&) 1040   04868       02350      D 9465 D Fonn 56

   The following state returns will be transmitted:




 The following returns have been suppressed or are not eligible and will NOT be transmitted.




EFNotes




EFSTATUS.LD
                                                                                                                     PL_Docs 0070
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                                                                     W-2 Detail Listing                                    2015

                       Nama(s) as shown on relu'TI                                                                    Social Sea,rity No.

                       DIMAS RODRIGUEZ INGCANZO & ANA ~A CRUZ
                                                                                     FEDERAL                      STATE
                       TIS                           Emoloyer Name          Gross       W/H         State Code   Gross                  W/H
                       T SHAN ~...:.'.fKEEN INC                             13,535             35
                       s S2 BROTHERS ,INC                                   15,080
                       T ~OHNSTON TEMPORARY SERVICES                         1,093              2      TX          1,093
                             roaxpayer Totals                               14,628             37                  1,093
                             ,pouse Totals                                  15,080
                             OCotals                                        29,708             37                 1,093




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                  I                                                                                                   PL_Docs 0071
                                                                           APP 477
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              Forms 1040, 1040A                                          Child Tax Credit Worksheet
                  1040NR                                                               Keep for your records.
                   Name(s) as shown on nwm                                                                                                 Your soc,a1 security numbw

              DIMAS RODRIGUEZ INGUANZO                                    &    ANA LA CRUZ
              CAUTION!            • To be a quaNfying child for the child tax credit, the child must be under age 17 at the end of 2015
                                 and meet the other requirements listed in instructions.
                                 • If you do not have a qualifying child, you cannot claim the child tax credit.
 P-'ar._t:1   1.         Number of quafffying children:                       1 X $1,000. Enler the result                                           1                  1,000
              2.         Enter the amount from Form 1040, lne 38; Form 1040A, fine 22; or Form 1040NR, tine 37.               2 ___     2_9..._,_7.....
                                                                                                                                                  0_8
              3.        1040 Filers. Enter the total of any -
                        • Exciusion of income from Puerto Rico, and
                        • Amounts from Form 2555, lines 45 and 50; Form 2555-EZ, line 18;
                        and Form 4563, line 15.
                        1040A and 1040NR Filers. Enter -0-.
                                                                                                                    }          3



              4.        Add lines 2 and 3. Enter the tolal.                                                                    4         29i708
              5.       Enter the amount shown below for your filing status.




              6.
                       • Married filing joinlly- $110,000
                       • Single, head of household, or qualifying widow(er) - $75,000
                       • Married filing separately- $55.000
                       Is the amount on line 4 more than the amount on line 5?
                                                                                                                    }         5        110,000

                       l&I No. Leave fine 6 blank. Enter -0- on line 7.
                       0   Yes. Subtrad line 5 from line 4.                                                                   6
                           If the result is not a multiple of $1,000, increase it to the next multiple of $1,000.
                           For example, increase $425 to $1.000, increase S1 ,025 to $2,000, etc.
           7.          Multiply the amount on line 6 by 5% (.05). Enter lhe result.                                                                 7                          0
           8.          Is the amount on line 1 more than the amount on fine 77
                       0No.STOP
                          You cannot take the chffd tax credit on Form 1040, line 52; Form 1040A, line 35; or Form 1040NR, line 49. You also
                          cannot take the additional child tax credit on Form 1040, line 67; Form 1040A, line 43; or Form 1040NR, line 64.
                          Complete the rest of your Form 1040, Form 1040A, or Form 1040NR.
                    !&I  Yes. Subtract line 7 from line 1. Enter the result Go to Part 2 below.                                              s          ____1_.,__o_o_o
~~r_!.2·  9.           Enter the amount from Form 1040. line 47; Form 1040A, line 30; or Form 1040NR. ffne 45.                               9                    111
         10.           Add the foOowi'lg amounts from:
                         Form 1040           or     Form 1040A          or     Form 1040NR
                             Line48
                             Line 49                  Line 31
                                                                                 Line 46
                                                                                 Line47
                                                                                                                              +
                                                                                                                              +
                                                                                                                                   -------
                             Line 50                  Line 33                                                                 +
                                                                                                                                   -------
                             Line 51                  Line34                     Line 48                                      .
                             Form 5695, line 30·                                                                              + _ _ _ _ _ __
                             Form 8910, line 15                                                                               + _ _ _ _ _ __
                             Form 8936; line 23                                                                               + _ _ _ _ _ __
                             Schedule R, line 22                                                                              + _ _ _ _ _ __


                                                                                                         Enter the total.    10 _ _ _ _ _ __
       11.          Are you claiming any of the following credits?
                   •    Mortgage interest credit, Fonn 8396.
                   •    Adoption creart, Form 8839.
                   •   Residenllal energy efficient property credit, Form 5695, Part I.
                   •   District of Columbia first-time homebuyer credit, Form 8859.




       12.
                   I&!
                   0
                       No. Enter the amount from line 10.
                       Yes. If you are filing Form 2555 or 2555-EZ, enter the amount from line 10. Otherwise, complete
                       the Line 11 Worksheet. later, to figure the amount to enter here.
                   Subtract line 11 from line 9. Enter the result.
                                                                                                                                     }         11

                                                                                                                                                       1=1=1-
                                                                                                                                               12 ______
       13.         Is the amount on Rne 8 of this worksheet more than the amount on line 12?
                   0 No. Enter the amount from One 8.                                          }      This is your


      TIP
                   ~ Yes. Enter the amount from tine 12. See the TIP below.                           child tax credit.

                         You may be able to take the additional child tax credit on Form 1040, fine 67; Form 1040A, line 43;
                                                                                                                                               13
                                                                                                                                                    --------          111
                                                                                                                                                    Emar !has amaunt on
                                                                                                                                                    Fann 1040, line 52;
                         or Form 1040NR, Une 64, only if you answered "Yes" on Une 13.                                                              Fann 1040A, line 35;
                         • First, complete your Form 1040 through line 66a (also complete tine 71), Form 1040A lhrough line 42a,                    or Fonn 1040NR. line 49.

                         or Form 1040NR through lne 63 (also, complete line 67).

                         •    Then, use Parts II through IV of Schedule 8812 to figure any additional chld tax credit.
   Wl(_8812.LD

                                                                                                                                                        PL_Docs 0072
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                                              1040 and 1040NR Filers -Earned Income Worksheet
                                                                                                                                           2015
                                                                      (Keep for your records)
 Nama(s) as shown 011 re"m                                                                                                     Your social security number

 DI~..AS RODRIGUEZ INGUANZO & ANA LA CRUZ
 Before you begin:
   •     Use this worksheet only it you were sent here from the Line 11 Worksheet earlier in this publication or line
         4a of Schedule 8812, Child Tax Credit.
  •      Disregard community property laws when figuring the amounts to enter on this worksheet
  •      If married firing jointly, include your spouse's amounts with yours when completing this worksheet.

  1. a. Enter the amount from Form 1040, ine 7, or Form 1040NR, fine 8 • • • • • • • • • ••••• , • • • • , • • • • • • 1a. _ _2c..;..9.,_,_7_0'-8~
     b. Enter the amount of any nontaxable combat pay received. Also enter this amount on Schedule 8812, line 4b.
        This amount should be shown in Form(s) W-2, box 12, with code Q           . . . . . . . . . . . . . . . . . . . . . . . . 1b.
        Next, If you are filing Schedule C, C-EZ, F, or SE. or you received a Schedule K-1 (Form 1065 or Form
        1065-B), go to line 2a. Otherwise, skip lines 2a through 2e and go to line 3.
  2. a. Enter any staMory employee income reported on line 1 of Schedule C or C-EZ            • • • • • • • • • • • • • • . • • • 2a. _ _ _ _ _ __
       b. Enter any net profit or (loss)from Schedule C, line 31; Schedule C-EZ. fine 3; Schedule K-1 (Form 1065), box
            14, code A(otherthan farming): and Schedule K-1 (Form 1065-B), box 9, code J1.· Reduce any Schedule K-1
            amounts as descnbed in the instructions for completing Schedule SE in the Partner's Instructions for Schedule
            K-1. Do not include on this fine any staMory employee Income or any other amounts exempt from
           self-employment tax. Options and commodities dealers must add any gain or sub1ract arrt loss (in the normal
                                                                                                                          . . . . . 2b.
           course of dealing in or trading section 1256 contracts) from section 1256 contracts or related property
       c. Enter any net farm profit or (loss) from Scheduler, line 34, and from farm partnerships,
                                                                                                                                          ------
           Schedule K-1 (Form 1065), box 14, code A! Reduce any Schedule K-1 amounts as described
           in the instructions for completing Schedule SE In the Partners Instructions for Schedule K-1
           Do not include on this line any amounts exempt from self-employment tax           • • • ••••• 2c.
       d. If you used the farm optional method to figure net earnings from self-employment. enter the
                                                                                                                  ------
          amount from Schedule SE, Section B, &ne 15. Otherwise, skip this line and enter on line 2e
          the amount from line 2c •• , ••••• , , •••••• , , • • • • • • • • • • • ••••• 2d. _ _ _ _ __
     e. If line 2c Is a profit, enter the smaller of fine 2c or line 2d. If line 2c is a (loss), enter the (loss) from line 2c • • • • • • 2e. _ _ _ _ __
 3. Combine lines 1a, 1b, 2a, 2b, and 2e. If zero or less, stop. Do not complete the rest of this worksheet Instead,
    enter-0- on line 2 of the Line 11 Worksheet or 6ne 4a of Schedule 8812, whichever applies                                    ••••• 3.         29,708
4. Enter arrt amount included on line 1a that is:
    a. A scholarship or fellowship grant not reported on Form W-2                • , • • • • , , • • • • • • • • 4a. _ _ _ _ __
    b. For work done while an inmate 111 a penal institution (enter "PRI" and this amount on the
        dotted line next to line 7 of Form 1040 or ruie 8 of Form 1040NR) • • • , • , • • , • • • •• 4b. _ _ _ _ __
    c. A pension or annuity from a nonqualified deferred compensation plan or a nongovernmental
        section 457 plan (enter "OFC· and this amount on the dotted tine next to line 7 of Form 1040
        or 6ne 8 of Form 1040NR). This amount may be shown in box 11 of your Form W-2. If you
        received such an .amount but box 11 is blank, contact your employer for the amount
        received as a pension or annuity        • , , , • • , • , • • , , • • • • • , • • • • • • • • , • 4c- _ _ _ _ __
5. Enter the amount from Form 1040, line 27, or Form 1040NR, line 27                 • • • • , • , , • • • • , , 5.
6. Acid rmes 4a through 4c and 5           • • , , , , • • , • • • • • • • • • • • • , • , , • • , • , , • , • • • , • • • • • • 6.
7. Subtract line 6 from line 3 •• • , • • , • • • • • • • • • • , • • • , • • • • • • • • • • • • • • • • • • • • • • • • • 7.                29,708
         • If you were sent here from the Line 11 Worksheet. enter this amount on line 2 of that worksheet
         • If you were sent here from Schedule 8812, enter this amount on One 4a of that form.
* If you have any Schedule K-1 amounts and you are not required to ffle Schedule SE. complete the appropriate line(s) of
Schedule SE, Section A. Put your name and social security number on Schedule SE and attach it to your return.




                                                                                                                                    PL_Docs 0073
                                                                         APP 479
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                                                    Carryover Worksheet
                                   List of items that will carryover to the 2016 tax return                                                                                                2015
                                                                                (Keep for your records)
    Name(s) as ar.ov.n on l9CUm                                                                                                                                               Your social •curily n..,,a,er

    DIMAS RODRIGUEZ INGUANZO                                     &       ANA LA CRUZ
    Itemized Deductions                                                                                                                                                                  Carryover Amount
   Contributions subject lo 100% of AGllimitalions      • • • • • • • • • • • • • • • • • , • • • •                               •   •   •   •   •   •   •   •   •   •   ••••
   Contributions subject to 50% of AGllimitations     • • • • • • • • • • • • • • • • • • • • • • •                               •   •   •   •   •   •   •   •   •   •   • • • •
   Contlibutions subject to 30% of AGI limitations (50% capital gains appreciated property)   • • ,                               •   •   •   •   •   •   •   •   •   •   • • • •
   Contributions subject to 30% of AGllimitations     • • • • • • • • • • • • • • • • • • • , • • •                               •   •   •   •   •   •   •   •   •   •   • • • •
   Contributions subject to 20% of AGI Rmitations (30% capital gains appreciated property)    • • • • • • • • • • • • • • • • •
   Taxable state and local refunds Ip Form 1040, One 10 , , , ••••••••• , , ••••••••••••••••••••
   Statenocal taxes paid In 2016 to flow to the Schedule A      • • , • • • • • , • , • • • • • , • , , • • • • • • • • • • • •
   Preparer Fee to flow to the Schedule A • • • • • • • • • • • , • • , • • • • • • • • , • , • • • • • • , • , • • • •••                                                                                148
   State donations and contributions canyover              • • • • • • • • • • • • • • • • • , • • • • • • • • • • • • • • • •
   State overpayment applied to next year • • • • • • • • • • • • • • • • • • • • • • • • • • • , . • • • , • • • • • • • • •


   Expenses
   Office in home operating expenses • • • • , • • • • • • • • •                     •   ,   •   •   •   •   • • • •   • , • • • • • • • • • • • • • • • • •
   Office in home excess casually losses and depreciation • • • •                    •   •   •   •   •   •   • • • •   . • • • • • • • • • • • • • • • • • •
   DisaDowed investment interest expense      • • • • • • • • • ••                   ,   •   •   •   •   •    AMT      ________                    Reg. Tax
   Section 179 expense • • , • • • • • • • • • , , , • • • • • •                     •   •   •   ,   ,   •   • , • •   • • • • • • • • • • • • • , • • • • •
  Operating expenses, from Form WK_E, Sch E- Rental limitation on deductions when used for personal use
  Excess depreciation, from Form WK_E, Sch E • Rental Rmitation on deductions when used for personal use


  Losses
  Short-term capital loss • • • • • , • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • •
  Long-term capital loss • • • • • • • • • • • • , • • • • • , • • • • • • • • • • • • • • • • • • • • • • • • • • • • • •
  Net operating loss • • • • •••• • • ••• • • • • • • • • • ••• • • • AMT _ _ _ _ _ _ _ _                         Reg. Tax
  Nonrecaptured net section 1231 losses • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • •


  Credits
  Mortgage interest credit • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • •
  Credit for prior year minimum tax • • • • • • • • • • • • • • , • . • , • , • • • • · • • • • • , , , • • • • • , • • , •
  Foreign Tax credit ••••••••• , •••• , •• , • , •••• , • , • • AMT _ _ _ _ _ _ _ _                               Reg. Tax
  District of Columbia first time home owner's credit , • , , • • • • , , , • , • • • , • • • • • • • • • • • • • • • • • • •
  Res. energy efficient property credit   • • • • , • , • • • • • • • • • • • • • • • • • , • • • • • • • • • , • • • • • • ,

 other
 overpayment app6ed to next year's estimates         •   •   ,   •   •   • • • , •   •   •   •   • • • • • • • • • • • • • • • • • • • • • • • , •
 Federal tax liablily for 221 0 calculation • , •   •    ,   •   •   •   • • • , ,   ,   •   ,   • • , • , , , • • • • • , • , • • • • • • • • , •                                                            0
 State tax liabffily for state 221 Ocalculation •   ,    •   ,   ,   ,   • • , , •   ,   •   •   , , , , • , • • • • • • • • • • • • • • • • • • •
 IRA basis • • • • • • • • • • • • • • • • • •      •    •   ,   •   •   • ~ • • •   •   •   •    Taxpayer                                Spouse



 Passive Activity




At Risk Limitations




WK l".ARRVln
                                                                                                                                                                                    PL_Docs 0074
                                                                                     APP 480
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·I
    I                                                      Account Transaction Summa                                                             2015
                Na,,,e(s) as shDVm on "'ILm                                                                                      YourlONurroer

                DIMAS RODRIGUEZ INGUANZO & ANA LA CRUZ                                                                            XXX-XX-2745
               Account #1
               Financial Institution Name     £ SANK
               Routing Transit Number           614
               Account Number                  0614
               Account Type               Checking
               Federal Deposit                                                 926
               Net Deposit                                                     926




I
I
I


I
I




I




               PLEASE VERIFY BANK INFORMATION
               1. Bank Name
               2. Bank Routing Transit Number
               3. Bank Account Number
               4. Bank Account Type

               This information is used to deposit your refund or to pay any amount due. If you have provided incorrect lnfonnation,
               or you have closed the account, you are responsible.


               I have reviewed lhe above information and certify that this information is correct and authorize Garcia   &   King TRI TAX
               to use this account to deposit my refund.




                                                                   Date                                                                    Date



        DD_PMT.LO


                                                                                                                                           PL_Docs 007S
                                                                               APP 481
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         Form            8965                                           Health Coverage Exemptions                                                       0MB        No. 1545-0074

                                                                  ~ Attach to Form 1040, Form 1040A. or Form 1040EZ.
                                                                                                                                                         2015
         Department :sf the Treasury
         lnemalR_...s.,,,,ce                 ~   Information about Form 8965 and its separate instructions is atwww.irs.gov/fonn8965.                    Attachment
                                                                                                                                                         Sequence No.
                                                                                                                                                                             ]S
         Name as shoWrl on relum                                                                                                 Y111.r soaal seanily number
             DIMAS RODRIGUEZ INGUANZO
      Complete this form if you have a Marketplace-granted coverage exemption or you are claiming a coverage exemption
      on your return.
                              M~rketplace-Granted Coverage Exemptions for Individuals. If you and/or a member of your tax household
                              have an exemption granted by the Marketplace, complete Part I.
      ··i' :::..::._
                                                         (al                                             (bl                                            (C)
     ::;-=;;~;:                                                                                          SSN
     :--·.          --                             Name of lndvfdual                                                                 Exemption Certificate Number



              1


              2



             3



             4



             5



          6
 r.P:a~IH                    Coverage Exemptions Claimed on Your Return for Your Household

         7a Are you claiming an exemption because your household income is below the fling threshold?                                               0     Yes          l&I   No



 l~•rtm -~3                   Coverage Exemptions Claimed on Your Return for Individuals. I you and/or a member of your tax
 ·                       -    household are claiming an exemption on your return, complete Part Ill.
 ..          .:-::.:
  ·;~--:~.
 • • •       T. '
                                       (a)                        (b)
                                                                              (c)      (di
                                                                           Exemption Full
                                                                                             (e)   (f)    (gl   (hi   (II   (D     (kl      (I}    (ml        (n)      (o)    (p)
       . ·-                                                      SSN                         Jan                                          Aug Sept Oct
     ... .    ·-              Name of lndiVldual
                                                                             1ype     Year
                                                                                                   Feb   Mar    Apr   May June     July                               Nov    Dec




         8                                                                   C        X


         9                                                                   C        X


     10



     11



     12


 13
For Privacy Act and Paperwork Reduction Act Notice, see your tax return Instructions.                                                                Form 8965 (2015)
EEA



                                                                                                                                                  PL_Docs 0076
                                                                                 APP 482
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.I                                                    Household Income Worksheets for Form 8965 and
                                                                                                                                                                 2015
I           Name as SllO'M'I on return
                                                              Flat Dollar Amount Worksheet
                                                                              (Keep for your records)
                                                                                                                                                    Social Seeurily Number

                DIMAS RODRIGUEZ INGUANZO
                                                                        Household Income Worksheet
            1. Enter your adjusted gross income (AGI) from Fonn 1040, fine 38; Form 1040A, line 22; or Fonn 1040NR, line 37                    • • • 1. ______2""9'--'-,_7....;0;_8;;__
            2. Enter any tax-exempt interest from Form 1040, Une Sb; Form 1040A, line Bb; or
                Form 1040NR, line 9b , • , , ••• , , , •••••• , , , ••• • ••••••• • • • • 2. _ _ _ _ _ __
            3. Enter any amounts from Form 2555, lines 45 and 50, and Form 2555-EZ, tine 18
                                                                                      -------                           3.
           4.
           S. Modified AGI. Add fines 2 through 4
                                                                                      -------
                                                          ....................................... s. ------'-0_
                                                                                                                        4.

           6. Amount from Dependents' Combined Modified AGI Worksheet, line 5 • • • • • • • • • • • • • • • • • • • • • • • • 6. - - - - - - , - -
           7. Household income. Add lines 1, 5, and 6. Enter here and on the Shared Responsibilty Payment Worksheet, fine 7   7. _ _ _2_9_,_7_0_8_

        8. Premiums paid through a salary reduction arrangement     • • , • • • • • • • • • • • • •      8. _ _ _ _ _ __
        9. Household income for computing Coverage Exemption "A". Add lines 7 and 8 • • • • • • • • • • • • • • • • • • • • 9. _ _ _2_9_,_7_0_8_
      10. Non-taxable social security received by taxpayers and dependents who were required to file a retum   • • • • • • • • 10. _ _ _ _ _ __
      11. Household income for computing Coverage Exemption "G" for residents of a state that did not
           expand Medicaid. Add lines 7 and 10       • , •• , • • • • • • • • • • • , • , •••••••• , • • • • • • • • • • 11. _ _ _2-'-9.._,_7-'0'-8'--


                                                      Dependents' Combined Modified AGI Worksheet - Line 2b
       1. Enter the AGI for your dependents from Form 1040, ine 38; Form 1040A, fine 22; Form 1040EZ, fine 3; and
          Form 1040NR, line 37 , • , • , • , , , , , • , , • , • , • , • , • , • , • , , •• , , • • • • •                             • •• , • • 1. - - - - - - -
       2. Enter any tax-exempt interest for your dependents from Form 1040, line Bb; Form 1040A,
          line 8b; Fonn 1040EZ, the amount written to the left of the tine 2 entry space; and
          Form 1040NR. line 9b , • • • , • , • • • • • • • • • , • • , • • • • • • • • • • • • • • 2.
       3. Enter any amounts for your dependents from Form 2555, ffnes 45 and 50, and
                                                                                                                         -------
          Form 2555-EZ, line 18 •••••• • • • • • • • • • • • • • • • • , ••• , , , • , • , , 3. _ _ _ _ _ __
       4. Add lines 2 and 3    ••• , • • • • • • • • • • • • , ••• , •• , • • • • • • • • • • • • • • • • • • • • • • • • 4.
       5. Add lines 1 and 4. Enter here and on l;lousehold Income Worksheet, line 6
                                                                                                                                                          -------
                                                                                                  • • • • • • • • • , • • , • • • , • • • • 5. _ _ _ _ _ __

             The FBlng Thn1Shold for this return Is       • • • • • • • . • • , • • • • • • • • • • • • • • • • • • • • • • • • • • •                             20,600
             The Federal Poverty Line for this household is                                                                                                       23,850
             Household income (Household Income Worksheet, line 11) as a pen:entage of Federal Poverty Line                                                          125

                                                                      Flat Dollar Amount Worksheet
            CAUTIONI       Do not complete this worksheet unless the amount on line 1O of the Shared Respansibfflty Pavment Worksheet is less than $975.
                                                                                                                                            Yes                         No
       For each month, is the amount on fine 5 of the Shared Responsibility Payment Worksheet
                                                                                                                                     Enter the amount            Enter the amount
       less than the amount on line 1Oof the Shared Responsibility Payment Worksheet?*
                                                                                                                                       from line 10                from line 5
       1.       January           .        . .                   . .                 .. . .
       2.       Febniary        ... . . . . . .                                           .
       3.       March             .         .         . .         .                               .         .
       4.       Apnl  . . .. .                    .        .                  .. .           . .. . . . .
       5.       May        .        . .. .        .      .                             .          . .
       6.       June                . .         .      .        . .           . ... . .                     .
      7.        July                . ..               .          . . .                        .            .
      8.        August           .      . .         .           . .           .              ... . .        .
      9.        September           .. .                            .                        .      .
      10.       Odober           . .          .       ..            .                                  . .
      11.       November .          . ...                                 . . .             . .           .
      12.       December         .        .                                     .           ..         .    .
      13.       Add the amounts in each column .         .                .         .                 . . .
      14.       Add the amounts on 6ne 13 both columns. Enter the result on line 11 of the Shared
                                            of
                Responsibirrty Payment Worksheet .           .          .. .             . .          ...     .                                .      .
      •If the amount on tine 1 of the Shared Responsibility Payment Worksheet is -0- for any month, leave both columns of Ulis worksheet blank for that monlh.
     WK_81652.LD
     EEA

                                                                                                                                                           PL_Docs 0077
                                                                                      APP 483
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             Name{s) as shown 'lf'I ratim
                                            I   Federal Supportina Statements         2015          PG01
                                                                                     Your Sodal Sea,nty Number

             DIMAS RODRIGUEZ INGUANZO & ANA LA CRUZ
I                                               All Source Gross Income                     WK TTLGI
I            Description                                                                         Amount
             Wages ar..d tips                                                                    29,708
I            Total                                                                               29,708
i
I




    STM.LO


                                                                                                PL_Docs 0078

                                                         APP 484
                                         Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                                                Page 252 of 293 PageID 1279
             ,,.. . 11:.N                   1 vvagog. ups. otnor ~ u o n             ~   ~-""""""lax wiune1u               • 1:mp10yM's ::S:iN                              1 Wages. ups. Oll19J compensauon               ~   ~eaar111 1ncomo lBX Wllnn8IO
                                                              15,080.00                                                                                                                      15,080.00
OM8 No 1545-0008                            3 :saaol sacufly wagea                   4 Socia! aecuity laX wllhheld         0MB No. 15'16-0008                              I ~ Social 89QJ!lly wages                       4-         secunty l8X Wlltheld
                                                              15 080.00                              934.96                                                                                  15,080.00                                         934.96
b Employer         "*'"""'"Mln runber ;6 Meclc8re wages and Upa                      6 MeCIClll'& lax wolhhald             b    "''l""I'"' .,.. ...1ca11or111,.m....        v   , - e wagu 110U lips                       6 . _ . la>< wMhheld
                                                              15 080.00                              218.92                                                                                   15 080.00                                        218.92
C   Employe(a .-. and ZIP code                                                                                             C    Employer's name. addrna. and ZIP code
    S2 BROTHERS, INC                                                                                                        S2 BROTHERS, INC
    2731 NATIONAL CIR                                                                                                       2731 NATIONAL CTR

    GARLAND                                                                    TX     75041                                 GARLAND                                                                             TX             75041
• en.,loyee'a llrsl nane and inlllal                         i Lall nama                                    Suff.           • El'IIPOY"·• ftrsl name and lnlllal                             ; Last name                                                sun.
.. ~.M/1,R !A............................P tl,A. ,<;.RUZ................................................                   .PiNA..~RlA...........................lL.LJ..A...~RU.Z...................................................
                                                                                                                            14221 HERITAGE CIR# 3-209
                                                                                                                                                                                                                                                                          ,..
   14221 H~RlTAGE CIR ff 3-209
    FJ\RMF.RS BRANCH                                                           TX        75234                                 FARMERS BRANCH                                                                   ·rx            75234
f    e-·•   address aid z1n code                                                                                               f .,.............. eddroaa """' Zin code
d Con11ol number              7 Soclal eeolily tips                                 OAloc:aledlipa                             d Conllol number                      7 Social security Ups

 9                                        10 Oependenl care benenta                 11 NcrqJalllled plans                      9                                           10 Oependertl ca,e .,_fill

1211                i                                               14011,er                                                1211                                                                     14 Olhar
                                                                                                                                               !
12b ........... ~ ...............................................                                                              "26 ............ •...............................................
                    i                                                                                                       1
                                                                                                                            ,2c .............
                                                                                                                                                !i' ..............................................
 '.~~. . . . . . !. . . . . . . . . . . . . . . . . .:. . . . ..
 12d
                                                                                                                               ................. 1.....- ...................................... ..
                                                                                                                               12d

    13                                               Rellremenlo                                                               13
                                                    plan
    16 Stale Ernploye(salale 10 number                        16 Stale wagos, Ups, ale        17 Slate Income lax              1& Slat• Emoloyat's slate 10 number                             18 Stale wages. Ups. etc.              17 Slale incnme 1'1X
    .......!..........................___................................................................................ ........1........................................................................................................- · - -
             I                                                                                                                         I
    18 Luc:al wages, lips. elc. 19 Local "-ne tall                        20 Locally name                                      18 Local wages, 1:ps. elc             11 I.Deal Income lax                  20Locallyname




     r....       W-2 ,,...     ,JT.. -             2 a14                Copy C. For EMPLOYEE'S RECORDS.                         - W-2 ,..,.,n.,_ 2 a14                                                                      ..-~--
     1 hi• ncnnatlDn is being furnished lo Iha trurnlll Revenue Service. If \l!IU lll!l reQIJlred lo ma a lax
                                                                                                                                                    een                                         Z• To It fltcl Wlh Eni,top•'• Slate, Cir. ort.oclle,1tom1T11: . . . t1.
     relurn.. a neallgenc:e paiialty or olher sanctoon may be unpoaad on youll lhis lncatne Is 1""8ble anrt
     you 1•11 to r,p11,1 11




                                                                                                                                                      APP 485
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                                                                                                                        -·-   ·--------- ....
             . ---   ...   ---·




                                  GARCIA      1~ T       R 1. T ..Ax·
                                  &Kt['..'G /,#A     tN<.:OME TAX. REAL ES"rATE

                                    97 -530-4444     1925 E. eeitllne Rd Suite 250 (2nd Fir)
                                      ,· .-                   ·        carrolllon,'!X 75006




......   -




                                                                APP 486
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                                                                BANK PRODUCT INFORMATION
    BANK -=RB=---                                                                                                                   EFIN 807105
    Date Applcation Signed      0 2 - 0 9 - 2 0 15                                                               Franchise/Network EFIN

    Taxpayer(s) lnfonnatlon:
    Taxpayer DIMAS RODRIGUEZ INGU.ANZO                                                           Spouse ANA MARIA               DLA CRUZ
    SSN   XXX-XX-2745          DOB                                                               SSN XXX-XX-8837                     DOB
    Home Phan!! (Evening)                                                                        Home Phone (Evening)
    WoricPhone(Daytime) 63 0- 618- 6741                                                          Worl< Phone (Daytime)
    CeRPhone                                                                                     Cell Phone
    Email _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                           Email
                                                                                                       ----------------
                                                                           Dollar Summary
                     This section is intended to provide estimated payment and fee amounts based on anticipated amounls. These are
                  only estimates. AclUal amounts wil be determined once the product request llas been processed. Antlc:pated state
                  disbursements are in no parllcular order. Some states alSburse funds In a more timely manner than others. State
                  disbursements may arrive prior to federal disbul'5efl1Mts.
                                                                                                                  Refund Transfer

                              Federal Refund                                                                        s    2!001.00

                              Selected Federal Amount                                                               $    2 I 001. 00
                              Selected State Amount                                                                 $

                                 AccountFee                                                                35.00
                                 Additional Deposit Fee

                              Total Projected Bank Fee                                                              $         35.00

                                 Tax Preparation                                                          192 .DO
                                 Franchise/Network Fee paid to
                                                                                                                                                  '
                             Total Preparer Fees                                                                  $         192.00

                                Software Fee paid to           Drake Software                             13.95
                                Additional Fee withheld on behalf of:
                                    RAYE KING JR                                                          36.00
                                Audit protection fee
                                Audit proleclion franchlselnetwaf< fee paid to

                                Audit prolection document prep fee paid to

                             Total Other Fees                                                                    $ ___4_9_._9_5
                                  Proje(;ted Checks (after fees)

                                        Refund Transfer (Approx. 2 wks)                           s     1,724.05
                                        State Refund Transfer                                     $ _ _ _ _ __
                                                                                                  $ _ _ _ _ __
                                        State Refund Transfer
                                        state Refund Transfer                                     $ _ _ _ _ __




 Other Information:

Account Data fur Refund Transfer1o Pe,sonal Account
 RTN _ _ _ _ _ _ DAN _ _ _ _ _ _ _ _ __
                                                                             Type of Account:   D Checking D Savings
Money Clip Card:
 Acccunt Number                                                                                                D Yes~         No

Taxpayer Signalure
Spouse Signature                                                                                                   ----------
                                                                                                                  Date

                                                                                                                  Date----------


                                                                                                                                PL_Docs 0081
                                                                    APP 487
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   Form 8879
                            tRs·e-file Signature Authorization                  01'!B Ne>. 1Ji4$.jj07.4
                             > Do not send to. the IRS. This is .not a ~ retym,
       Department of lt)e Trsasury                                     > Ke-ep this form fqtyour records.                                                                                                     2014
       )ntem.;il Rev_enue :~ervice             > Information a.boutForrn 8879 and its instructions is at www.frs.                                              ovlfo.rrn887!;l.

       Supmission !d~riiiflcation Number (SID)                    ~        00-807105-501115
                                                                                                                                                                    Social secUrity nU(Jlber ·

                             DIM.~S RODRIGUEZ ING1JANZO
       ·Spouse's name,

                            ANA MARIA D LA CRUZ
      IA?atf:J}',J         Ta:X Return lriform::itjon -Tax Year Ending December 31; io14                                                                   (V\lhole Dollars Ohly)
           1        .Adjusted gross income (!=onn•1040; lintJ3!:l; Forjli 1Q40A, line 22; Fotm 104QEZ, 11rie4)                                                                                _1_1-,-~·-"'2-'8"-.L...::.
                                                                                                                                                                                                                 ,3-=9:...,4-=-----
           2         Total tax (FoFTi1 1040, line 63; Fonn·104QA, line ;39; FOJTTJ t04Q~. Une 12)                                                                                             t -.2_·,-+-----,,------
          l          Federal inrome'tax·witJ,held (Foiin 1040, line 64(Forrn 1040A, line 40; FofTTl 104QEZ, lirie 7)                                                                             ~
                                                                                                                                                                                              i---~-1------,-----
                                                                                                                                                                                                                          1
          4          Refund (FollT! 1040,'line 7(:)a; Form 1040A, fine 48a; Form 104og line 13a; form 1040-$$., Part: r, line 13a)                                                               .4            2 ,. 0 0 i
                                                                                                                                                                                              r-----c+c-c-c,----~--~-
          5         Amount you owe (F'omi fQ40, line 76; Form 104QA, line SQ; Forni 1040EZ, line 14)                                           •• , , , , • • • •                                .5
      ld;:c1'!;{:'IJi~ Taxpayer Declarafioh ahd Siqnatur~ Authodzation (Be sure vou qef and keep a ~oov of your return)
       Undet penalties of perjury, I dec,J;;,re that I have examined a tppy Of'my electronic indlvidll?I inc9tn<;> t~ return and accompanying schedules and i;tati,menl$
      for the ·tax:year ending Qeceti-iber ~1. 2!)14, and to !he best of my knowledge and relief, itls. true, correc(, ;ind complete. ffurtner declare thaMhe amounts
      in Part I above are fhe amounts from     my      elecifoni6 ihtome !4X return, I consimt to aflQw my'intermediate s,ervite provider, :t,ai1Smiher. Or el.ectronio return
      origiriator (ERO) to send .fliY _return t9 the IRS and to receiva froin the IRS (ii) an acknovilEi<:jge,ment of receipt or rE!l;lSOn. for rejection oftl\e Jfansmis·sroo,. (bj the
      reason for any delay in precessing lh!! retµm or refund;.a_ncf.(c) ;he date of any refund. If applicable, 1:auihorize ih;, tJs Tiea:,ury ;ind 1(,, i;lesignated Financial
      Agent to jni.tiate an. ACH electronic·funds Wiilidra\val (direct debitj eniryto the financial institufion accountindicated jr. the !<1)( preparation soft.vare (or·payment
      ofmy federal taxes owed dn tJ\is return.;lr,dlor a payment of estimated tax, and tlie:ffnam;ial insUhrtiqn to debit f/le .entry to this account This authorization· i;; to
      remain in full force and effect until I iiotify'the l/.S, Treasury F'Jnancia! Agent to terminate the: a}ithorjzatioli,,Tei re\!Qke (cancel) <1. payment. I mu,stcontact the US.
      Treasury Financial Agent at 1-888~35:l-453,7. Paymot,f cancellatipn req4es'ts in.U.S\ be rec:;eivep no later than 2 business d;.jr&·prior lo the payment (settlement)
      date. I also.auJhori~e .the finan_dal insti\utions,involved ln the processing of tl)e electronic p;i_yment ot!axes to receive confidential information necessary to
      answer inquiries ana resolve issues related to the payment ·1furth;,r ackf10\Yledge that,the personal ii:Jeiitificafipn number {PIN) below i~ my signature for my·
      elecirt:inip incorne /ax:returr1 a,:,d, if-applicable, rny Electronic Funds.Wiihdrawal Consent                                                                .            .




   Taxpayer's PlN:cbeck .oneooxonfy                                     R'I'I\f=O~J.901809                             Acct=E,n ds in 2 745
         I]         I.authorize    Garcia            &;      King TRI TAX                                           to enter or generate my PIN                    82 74 5
               ·                                               ERO firm name '                                                                                  Entet.fivedigits, ~qtdo
                   as my signature on my taxyear2Q14 electroniqalJy filed incoin~ tax return.                                                                   r-i.ot enter a·1j z.eros·

         0         J Will enter my PIN as. my signature.op tnYt.ixyear2014 efeci:ronicallyfileq income t.ax return. Check.this box: only if yoli are
                   entering ynorown· PiN an_d your return is filf¥1 LI$iiig the Practitioner PIN method. The                                    ERO must completei Part Ill below.
                                                                     Qigitai)y signed hi' DiMAS . .
                                                                     RODRIGUEZ ING:UANZO@8879
                                                                     Date. 20 IS,02.,Q~, It .0~.4'8;-06.00                                                      Date, ~ -
                                                                                                                                                                        · -------------


  Spouse's PIN: check on£l box qnly
        I]         I authorize '   Garcia        & K:ing TRI TAX                              to enter or generate my PlN                                         99999
                                                    EROtir'.f11n;,f!ie                                                                                          i;nt.er ~v~ digiti;, but do
                   as my signature on:my tqxyear 401.4 ,elilctronicijl[y filed income tal(retum.                                                               not e.l)ter all.zeros

        D          r will enti,r my PIN 9s my signature on lnY ~xYear 2014 electronicaJ!y filed i[woma tax return. Checkthis box only if you i;ire
                   enterinl;J yoµr own PH'! an.d your reltlrh is filed :usinQ the Practilioner PIN method. The ERO must complete Part lfl below.

                                            '•Q µ_       J.d Li 11 ·u2. ! D!gitally signect·.i,y ANA;MARIA D
  S     ' ' · 1u · )!,
   pouse 5 signa re · _ __ _
                            "'-                      .        ·"'i        LACRUZ@887Q                              . .                                         Date>
                                                                        -fB'laactetacc.z<fe;1'155'.91llzc!     1,a~s;:,
                                                                                                        .9!99.trr:  , z2'z-i6l6E;'5.~&e~ - - , - - - - - - -
                                                                                                                                                                         ---------------
                                              'Pra.ctjtioner PJN Meth9d._Retum$- O.nly • continue below
 [F?a'rtdJ(/              Certifice3tfoo and ALithenticati-011 ~ Practitioner PIN Metho!:I Only

 ERO's l:FIIIJJP(N:. :Enter your·six.rji~lt EFl,N folfo:,yep by yol,fr'fiv:e-uigit self-selected PJN,                                                            807105-807l0
                                                                                                                                                                                  bo not enter a.o.z,fr-0s
 I certify tha( th~ above numeric eot,y"is my'PIN, which is tny sign<jture for the fa,( year2014 electronically filed 1ncome. tax return for
 ~ l;axpayer(li) indicated aboVe. I .i:ofifirm that I a:rn submltti!iQ, thi$ return in.aroordance ·with the requirements ofthe Practitioner PIN
 rriettlod ano Publicatjon 1345, Handbook for Authorized lR.S e-ffle Providers of Jndivi,;iucif Income Tax Returns,.

 ERO's signature ..               R'gcy King Jr                                                                                                                Date~
                                                                                                                                                                        ---------------
                            :ERO Must Retain This Form - Se:e r11structtons-                                                                                                                          I     DEPOSmON
-------------~D~~~N~o~t~S~u~b~.·~~
                                · · ~il~T~h~i~s~F~~~r~m~t~o~t~h~e~l~R~S_U~n~.l~e~ss-'--R~.~~tQ~u~e~s~te~d~T~o~._D~o_s~··~o_____ ij
                                      Act Notite, see yourtax re.tum_instructio11s.
                                                                                                                                                                                                               jgBIT
For .flaperwqrkReduction

EEA                                                                                                                                                                                                   I
                                                                                                                                                                                                      §




                                                                                                                                                                                          PL_Docs 0082
                                                                                                  APP 488
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                            Consent to Disclosure of Tax Return Information
   _____________________ ("we," "us" and "our")
   Printed name of tax preparer
   Federal law requires this consent form be provided to you.
   Unless authorized by law, we cannot disclose your tax return information to third parties for
   purposes other than the preparation and filing of your tax return without your consent. If you
   consent to the disclosure of your tax return information, Federal law may not protect your
   tax return information from further use or distribution.

   You ate not required to complete this form to engage our tax return preparation
   services. If we obtain your signature on this form by conditioning our tax return
   preparation services on your consent, your consent will not be valid. If you agree to the
   disclosure of your tax return information, your consent is valid for the amount of time
   that you specify. If you do not specify the duration of your consent, your consent is valid
   for one year from the date of signature.
   You have indicated that you are interested in applying for a Refund Transfer from Republic
   Bank & Trust Company ("RB"). In order to have your bank product application processed by RB,
   we must disclose all of your 2014 tax return information to RB. You may request a more limited
   disclosure of tax return Information, provided that you authorize disclosure of all of the information
   required by RB to consider your application.

   If you would like us to disclose your 2014 tax return information to RB for this purpose,
   please sign and date your consent to the disclosure of your tax return information.
  By signing below, you (including each of you if there is more than one taxpayer) authorize us to
  disclose to RB all of your 2014 tax return information so that RB can evaluate and process
  your application for a bank product. You understand that if you are not willing to authorize us to
  share your tax information with RB, you will not be able to obtain a bank product from
  RB, but you can still choose to have your tax return prepared and filed by us for a fee.
  Printed Name of Taxpayer:           DIMAS RODRIGUEZ INGUANZO

  Taxpayer Signature: ___'lJv         ~,4       ~~-MYl!~,89..!ll>y~~:,e;,~-Rool,64RIGUl--ez--------
                                                ~ ,~,9~,l!ll    es,se                                 Date: - - - - - -

  Printed Name of Joint Taxpayer:           ANA MARIA D LA CRUZ
    . traxpayer s·Ignature:___'"",, 0"1.-.0..1..l-e~-~ei!~e1:e2:llil9i9-11~1'H~l&:1't
  Jom                                              Olglla~rJ!'o~byANAMARJAo                               oate: _ _ _ __
                                                                                 1~-eiee1:e1.ee11--------

  If you believe your tax return information has been disclosed or used improperly in a manner
  unauthorized by law or without your permission, you may contact the Treasury Inspector
  General for Tax Administration (TIGTA) by telephone at 1-800-366-4484, or by email at
  complaints@tigta.treas.gov.




                                                                                                       PL_Docs 0083
                                                    APP 489
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   Februazy 09, 2015

   Dimas Rodriguez Inguanzo & Ana Maria D La Cruz
   1910 S Josey Apt 159
   Carrollton, TX 75006

   Subject Preparation of Your 2014 Tax Returns

   Dimas Rodriguez Inguanzo & Ana Maria D La Cruz:

   Tilank you for choosing to assist you with your 2014 taxes. This letter con:fums the terms of our engagement with you
   and outlines the nature and extent of the services we will provide.

  We will prepare your 2014 federal and state income tax returns. We will depend on you to provide the information we
  need to prepare complete and accurate retums. We may ask you to clarify some items but will not audit or otherwise
  verify the data you submit. An Organizer is enclosed to help you collect the data required for your return. The
  Organizer will .help you avoid overlooking inportant information. By using it, you will contribute to efficient preparation
  of your returns and help minimize the cost of our services.

  We will perform accounting services only as needed to prepare your tax returns. Our work will not include procedures
  to find defakations or other irreguJarities. Accoroing)y, our engagement shouJd not be relied upon to disclose errors,
  fraud, or other illegal acts, thougli it may be necessary for you to clarify some of the information you submit. We will, of
  course, inform you of any material errors, fraud, or other illegal acts we discover.

  The law imposes penalties when ta."'{1)3.yers underestimate their tax liability. Please call us if you have concerns about
  such penalties.                                           ·

  ShouJd we encounter instances of unclear tax law, or of potential conflicts in the intexpretation of the law, we will
  outline the reasonab1e courses of action and the risks and consequences of each. We will ultimately adopt, on your
  behaH: the a1temative you select

 Our fee will be based on the time required at standard billing rates plus out-of-pocket expenses. Invoices are due and
 payable upon presentation. To the extent pennitted by state law, an .interest charge may be added to all accomrts not
 paid within thirty (30) days.

 We will return your original records to you at the end of this engagement You shoukl securely store these records,
 along with an supporting documents, canceled checks, etc., as these items may later be needed to prove accuracy and
 completeness of a return. We will retain copies of your records and our work papers for your engagement for seven
 years, after which these documents \111-ill be destroyed.

 Our engagement to prepare your 2014 tax returns will conclude with the delivery ofthe completed returns to you (if
 paper-filing), or your signature and our subsequent submittal of your tax return (if e-:filing). If you have not selected to
 e-:file your returns with our office, you will be solely responsible to file the returns with the appropriate ta.wg




                                                                                                          PL_Docs 0084
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   authorities. Review all tax-return documents carefully before signing them.

   To affinn that this letter correctly summarizes your understanding of the arrangements for this work, please sign the
   enclosed copy of this letter in the space indicated and return it to us in the envelope provided

   We appreciate your confilence in us. Please call if you have questions.

   Sincerely,




   (Both spouses must sign for preparation ofjoint returns.)

   Accepted By:



  Taxpayer


  Spouse


  Date




                                                                                                     PL_Docs 0085
                                                     APP 491
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                                                                             Page 259 of 293 PageID 1286




   February 09, 2015

   Dimas Rodriguez lnguanzo & Ana Maria D La Cruz
   1910 S Josey Apt 159
   Carrollton, TX 75006

   Dinas Rodriguez Inguanzo & Ana Maria D La Cruz:

     Return Type                          I        Refund/Balance Due       I Transaction Method            I
     Federal Income Tax                   I              $'2,001 Refund     I RT                            I

  Sign and date these retum(s) and mail them on or befure the filing deadline to the address provided:

  Federal Income Tax
  Department of the Treasury
  Internal Revenue Service
  Austin. TX 73301-0015

  Sincerely,




                                                                                                     PL_Docs 0086
                                                     APP 492
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                                                 SEND A FRIEND!
                                                                                                         Date



  One of the nicest compliments our clients can give us is a referral.
  For each new paying client you refer to us, we will pay you $20.
  Thank you for your business.

                                                                            YourName          DIMAS RODRIGUEZ INGUANZO          &    A
                                                                              Address         1910 S JOSEY APT 159
                                                                                              CARROLLTON, TX 75006
                                                                                Preparer's

         HAVE YOUR FRIEND BRING THIS COUPON IN WITH THEIR TAX INFORMATION.          ~~--------------------
                                                (sutuect ID tems and conditions)




                                               SEND A FRIEND!
                                                                                                        Date



 One of the nicest compliments our clients can give us is a referral.
 For each new paying client you refer to us, we will pay you $20.
 Thank you for your business.

                                                                          YourName           DIMAS RODRIGUEZ INGUANZO          & A
                                                                                Acilrass     1910 S JOSEY APT 159
                                                                                             CARROLLTON, TX 75006
                                                                           Preparer's

     HAVE YOUR FRIEND BRING THIS COUPON IN WITH THEIR TAX INFORMATION.
                                                                               Name
                                                                                           --------------
                                              (subjedlD larma ana conditions)




                                             SEND A FRIEND!

     I
     Name
                                                                                                       Date



 One of the nicest compliments our clients can give us is a referral.
 For each new paying client you refer to us, we will pay you $20.
 Thank you for your business.

                                                                        YourName           DIMAS RODRIGUEZ INGUANZO            & A
                                                                            Address 1910 S JOSEY APT 159
                                                                                           CARRO~LTON, TX 75006
                                                                         Preparer's
                                                                                Name
    HAVE YOUR FRIEND BRING THIS COUPON IN WITH-=TH=E=r=R,,........T='.AX=-=-=IN'""'F=o=RMA=="""T=r=-o=Nc-=--.- -
                                            (subject :o terms and conditions)




                                                                                                                PL_Docs 0087
                                                   APP 493
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      Fonn                             Department of Iha Treasury- lnlemal Revenue S.rvic:e
      1040A                                   .
                                       U S. Individual Income Tax Return                                       (99)               2014                                         -                          .,
                                                                                                                                                               IRS Use Only Do not write orslaDle . 11M sspace.
      Your tnt name and initial                                                Last name                                                                                               0MB No.1545-0074
                                                                                                                                                                          Your soclal security number

      DIMAS                                                                     RODRIGUEZ INGUANZO
      If ajoint return, spouse's first name and 11ftial                        Laatname                                                                                   Spouse's social aacurlty number

      ANA MARIA D                                                               LA CRUZ
      Home address (number and screet). If you have a P.0. box, see ins1Nctions.

      1910 S JOSEY                                                                                                                                 I Apli"°~9
                                                                                                                                                                           . . . Make sure the SSN(s) above
                                                                                                                                                                                 and on line 6c are amect.
   City. IOWII or post office, slate, and ZJP code. ,f you have a fore,gn address. also complele spaces below (see IIIS1ructlcf1S).                                           Pres1c1entia1 Electlon Campaign
      CARROLLTON                                                                        TX                                7 SO O6                                         Checkhe,e dyou. or your spouse llftling
   -'-"-'-'----''-----"'------------------,-------------------1
   Foreign counlly name              Foreign provlnce/srale/cou,ty Fme,gn postal code
                                                                                                                                                                          joinlly,WMlt$3l0goto lhosfund. Checlclng
                                                                                                                                                                          a box below w,1 not change your l8lC or
                                                                                                                                                                          refund.
                                                                                                                                                                                                    You          Spouse

   Filing                              1            Single                                                                    4          Head of housahold (wilh qualfying pefSOl"I). (See :nslructions.)
                                                                                                                                         If lhe qualifYlng penon Is a duld lili,not yoc.r dependent.
   status                              2            Married fling jointly (even if arty one had income)                                  enter lhis c:Mod's name here.        T
                                       3            Married filing sepan,taly. Enllt( spouse's SSN above and
   Check only
   one box.                                         fuD name h818.   'f                                                      5    LJ     Quallf/ing wldow(er) wilh dependent c:hlld (see Instructions I


                                                  lli Yourself.
   Exemptions                          6a

                                              b    Spouse
                                                                       If someone can claim you as a dependent, do not check
                                                                       box.Sa
                                                                                                                                                                                       }       a-
                                                                                                                                                                                               checlcedon
                                                                                                                                                                                               6aand6b
                                                                                                                                                                                               No. of children
                                                                                                                                                                                               on&cwho:
                                                                                                                                                                                                                 _2_

  If more than six
                                              c Dependents:                                                                             (3) Dependent's
                                                                                                                                       -elationship lo you                                 •     Hvodwlth
  dependents, see~(1;:..I_Fnt;.;.;.;;neme=------'La;;;.s;;.ct..;.;~ame;;.;..;.._ _ _ _ _-+                                                                                                     you                  4
  instructions.                                                                                                                   SON                                                      •      did nol llve
                                                                                                                                                                                               wtlhyoudult
                                                                                                                                  S01'1                                                        to divorce or
                                                                                                                                                                                               separation
                                                                                                                                  S01'1                                                        (aff instr)
                                                                                                                                  DAUGBTBR                                                 0-denta
                                                                                                                                                                                           Dnllc not
                                                                                                                                                                                           anlered above




                                          d        Total number of exemotions claimed.                                                                                                     =. .,
                                                                                                                                                                                           Add numbers           r;i
                                                                                                                                                                                                                 J
 Income
                                      7            Wages, salaries, lios, etc. Attach Form(s} W-2.                                                                                 7                  28,394
 Attach
 Fonn~W-2
 here. so                           Sa            Taxable interest Attach Schedule B if required.                                                                              8a
 attach                                   b       Tax-exempt interest Do not Include on line Sa.                                   8b
 Form(s)
 1099-R if tax                      9a            Ordnary dividends. Attach Schedule B if required.                                                                            9a
 was                                      b       Qualified dividends (see instructions).                                          9b
 withheld.
                                  10              Capital gem dislribulfons (see inslnlclions).                                                                                10
 If you did not                   11 a            IRA                                                                     11b Taxable amooot
 get a W-2, see
                                                  dlslnbu11ons.                 11a                                                (see instructions).                        11b
 insln.lctions.
                                  12a             Pensions and                                                            12b Taxable amount
                                                  annuities.                    12a                                                (see lnstJtJctions).                       12b

                                 13               Unemployment compensation and Alaska Permanent Fin:! dividends.                                                             13
                                 14 a             Social security                                          14b Taxable amount
                                                  benefils.           14a                                       (see instructicrlS}.                                          14b

                                 15            Add lines 7 through 14b (far right column). This Is your total income.
                                                                                                                                                                         .,   15                    28,394
Adjusted
                                 16               Educator expenses (see instructions)                                            16
gross
income                           17               IRA deduction (see instn.Jdions).                                               17
                                 18            Student loan Interest deduction (see instructions).                                18

                                19             Tuillon and fees. Attach FOITTI 8917.                                              19
                                20             Add lines 16 through 19. These are your total adjustments.                                                                     20


                     21      Subtract line 20 from Hne 15. This is your adjusted gross Income.                                                                           ., 21                     28,394
For Disclosure, Privacy Ad., and Paperwork Reduction Act Notice, see separate Instructions.                                                                                                FOITTI 1040A (2014)
EEA




                                                                                                                                                                                    PL_Docs 0088
                                                                                                  APP 494
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       Form 1040A(2014) DIMAS RODRIGUEZ                                        INGUANZO & ANA LA CRUZ                                                                                                                Page2
      Tax, credits,            22       Enter the amount from One 21 (adiusted                   income .                                                                                                 28 394
                                        ~{
        nd                                                                                                             B6nd } Total boxes
      a
      payments                 23a                      S ouse was born before Janua                2, 1950,           BHncl  checked I),               23a
                                   b If you are married filing separately and your spouse itemizes
       Standard                         deductions, check here                                                                                     I),· 23b
       Deduction              24       Enter      r standard deduction.                                                                                                             24                    12 400
       for-
       • People who           25       Subtract ffne 24 from rme 22. If line 24 is more than Hne 22, enter-0-.                                                                     25                     15,994
       check any
       !:>ox on line          26       Exemptions. Multiply $3,950 by the number on line 6d.                                                                                       26                     23,700
       23a or 23bor
       who can be
                              27       Sub1ract One 26 from rine 25. If line 26 is more than line 25, enter-0-.
       daimedas a                  This is your taxable Income.                                                                                                             I),    27                                     0
       dependent.
       see                    28   tax, including any alternative minimum tax (see Instructions).             28                                                     0
       111Strucllons.         29   Excess advance premium tax credit repayment. Attach
       • All oChers:               Form 8962.                                                                 29
       Single or              30   Add lines 28 and 29.                                                                                                                            30
       Married filing
       separately,            31   Crecfll for chl1d and dependent care expenses. Attach
       $6,200                      Form 2441.                                                                31
      Married filing         32   Credit for the elderly or the disabled. Attach
      jointly or
      Qualifying                  Schedule R                                                                 32
      widow(er)              33   Educatioo aecflts from Form 8863, line 19.                                 33
      $12,400
                             34   Retirement savings ronlnbulions aedil Attach Form 8880.                    34
      Head of
      'iousehold,            35   Chic! tax crecflt Attach Schedule 8812, If reqlired                        35
                             36   Add lines 31 through 35. These are your total credits.                                                                                           36
                             37   Subtract lne 36 from One 30. If line 36 is more than lne 30, enter-0-.                                                                          37                                  0
                             38   Health care: Individual responsibility (see instructions~ Full-year coverage                                                       1 I 38
                            39   Add One 37 and line 38. This is your total tax.                                                                                                  39                                  0
                            40    Federal fnoome tax withheld from Fams W-2 and 1099.                       40                                                    1
                            41   2014 estimated tax payments and amount appied
      If you have
      equalifytng                from 2013 relllm.                                                          41
      child, attach
      Schedule              42a Earned income credit (EiC).                                                 42a                                                             NO
      EiC.                     b Nontaxable combat pay eledla'I.                 42b
                            43   Additional chDd tax credit Attach Schedule 8812.                           43                                      2,000
                            44       American opportunitY aedlt from Fam 8863, line 8.                                      44
                            45       Net premium tax credit Attach Fonn 8962.                         45
                            46       Add lines 40, 41, 42a, 43, 44, and 45. These are your total paYments.                                                            I),         46                      2,001
 Refund                     47       If line 46 is mae than line 39, subtract line 39 tom llne 46.
                                     This is the amount ou ov aid.                                                                                                                47                      2,001
 Direct                                                                                                                                                     I),                   48a                     2,001
 deposit?
 See
 inslructions
 and fill in
 48b,48c,
 end 48d or             49          Amount of line 47 you want applled to your
 Formssaa
                                    2015estlmamdtax.                                                 49
 Amount                 50          Amount you owe. Subtract line 46 from fine 39. For details on how to pay,
 you owe                            see instruclions.                                                                                                             .. 50

                             Do you want 1D allow another l)elS()l"I to disaJss this retun with the IRS (see instrudlons)?                               Yes. Complete the following.                           X No
 Third party
                                                                                                               Pho,,eno                           p.,_,. idenlfficalion
 designee
                                                                                                                                                  number(PINJ          JI-                     I
                            Under penaldes of perjury. I dedara 1hat I have .-nined :his ralum and 8CC04!'fl8IIYln schedules and stat-,ts. and lo lhe bes1 of my knowledge
 Sign                       and belief, they a:a lrue, correct, ana accurate'1 list all amoulllS anj sources of income I 19C91Yed dUrillg Iha 1B year. Declaralion of prepa,er (Cllhar
                                                                          or
                            lhan the :a.pay.,) is baud on al lnlormallon which the preparer has     any     k'10WledgL
 here                       Your s,gnatura                                               I     Data                      Your occupation                                        Oayllme phOne number

Joint return?           ~        82745                                                    02-09-2015                                                                                   ~30-618-6741
See instructk:lns.                                                                                                   Spouse's occupadon                                                 If lhe IRS sent you an ldsntity
                            Spousn signatute. If a jalrJ ,elum, -   must Sign.            Cele
Keep a copy                                                                                                                                                                            ,Proledion PIN, err.er II here
for your records.                                                                                                                                                                       (see inst.}

                                 99999                                                   02-09-2015                                                                                       ! I I I I I
                            P•epa,..s signatu,e                                                                       Io....                     ,c,_11-LJit
                                                                                                                                                   self-e,npll!yed
                                                                                                                                                                                        PTIN


Paid                        Print/Type p,eparvs name
                                                                                                                                                                                               ..   :.-
                                                                                                                                                                                   ··.
preparer                    Firm's name         I),                                                                                                               Flm·sEIN               I),
use Qnly                    F"lff'l's address   .                                                                                                                 Phone no.


EEA                                                                                                                                                                                             Form 1040A (2014)


                                                                                                                                                                                  PL_Docs 0089
                                                                                        APP 495
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                               Page 263 of 293 PageID 1290




                    Customer Name                                                Customer Information
     Dimas Rodriguez Inguanzo & Ana Maria D La
     Cruz                                                      Date:                                  February 09, 2015
     1910 S Josey Apt 159
                                                               Phone:                                    (630)618-6741
     CarrolltQn, TX 75006
                                                              E-mail:
                                             Your2014 taxremm was prepared by.

     Descriution ofChar,:es                                                                                      Price
     llederal AodSuuolemental Forms
       Fonn 1040A                  U.S. Individual Inca~ TaxRetum
       Fonn8812                    Additional Child Tax Credit
       Fonn8879                    E-File -·         Authorization
       Fonn9325                    Geneial  JnfoIIIBtion for Flectronic Filing
       WkshtTTLGI                  All Source Gross Jncoo:e Connutation
       FonnW-2                     Wage and Tax Statetrent
       FonnW-2                     Waf!.e and TaxState~nt
       Fin Asst Fee               Financial Product Assistance Fee
       Wl<sht8812                 Form 8812 Worksheet-Oilli Tax Credit
       WkshtCTC4                  Fenn 8812 Worksheet - F.amed Jnco~ Ca!c

    TotalFonm                                                           10        Forms Subioea.l              240.00
                                                                                  2()0/4 Discount               -48.00
                                                                                  Subtotal                     192.00
                                                                                  Total Balance Due            192.00         :


                                                     Like Us:
                                            www.Facebookcom/EasyRefund




                                                                                                                          -




                                                                                                      PL_Docs 0090
                                                      APP 496
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   February 09, 2015

   Dimas Rodriguez Inguanzo & Ana Maria D La Cruz
   1910 S Josey Apt 159
   Carrollton, TX 75006

   Your privacy i'3 important to us. Please read the following privacy policy.

   We collect nonpublic personal .infonnation about you from various sources, including:

   * Interviews regarding your fa."'{ situation

  * Applications, organii.ers, or other documents that supply such infonnation as your name, address, telephone number,
  Social Security Nwnber, mnnber of dependents, income, and other tax-related da:ta

  * Tax-related documents you provne that are required for processing tax returns, such as Forms W-2, 1099R, 1099-
  ~1 and 1099-DIV, and stock transactions

  We do not disclose any nonpublic personal information about our clients or fonner clients to anyone, except as
  requested by our clients or as required by Jaw.

  We restrict access to personal information concerning you, except to our employees who need such information in
  order to provne products or services to you. We maintain physicaL electronic, and procedural safeguards that comply
  with federal regu]ations to guard your personal information

  If you have any questions about our privacy policy, please contact us.

  Sincerely,




                                                                                                     PL_Docs 0091
                                                      APP 497
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                           Page 265 of 293 PageID 1292
                                                                                                                                                            0MB No. 1545-0074
       SCHEDULE 8812
       (Form 1040A or 1040)
                                                                            Child Tax Credit
                                                              .. Attach to Fonn 1040, Fonn 1040A, or Form 1040NR.                                                2014
       0ep8rtrnent of 1he Treasury                      lt-   Information about Schedule 8812 and Its separate Instructions Is at                            Attachment
       Internal Revenue SeMCe (99                                              wwwJns.    vlschedule8812.                                                          nceNo.   47
       Name(s) shown an return                                                                                                             Your soclal secwlly number

       DIMAS
                                                                                                            Individual Tax a er Identification Number
          . I             Complete lhis part only for each dependent who haS an mN and for whom you are clairring the child tax credit
                          If your dependent is not a qualifying child for the credit, you camot include that dependent in the calculation of this credit.
       CAUTION

    Answer the following quesliais for each dependent&sted on Form 1040, line6c; Form 1040A, line Sc; or Form 1040NR, Rne 7c, who has an mN
    ~ndMdual Taxpayer Identification Number) and that you lndlc:aled Is a qualifying ctild for the child tax aedit by checking column (4) for that
    dependent.

   A For the first dependent idenbfied wilh an mN and listed as a qualifying child for the child tax credit, did this child meet the substantial
           presence test? See separate inslructions.

                        Oves                       DNo
   B      For the second dependent identified wilh an ITIN and listed as a qualifying ctild for the child tax credit, did this child meet the substantial
          presence test? See separate instrucllons.

                        Oves                       D   No
   C      For the third dependent Identified with an ITIN and listed as a qualifying chHd for the child tax credit, did this child meet the substantial
          presence test? See separate instructioos.


                       Oves                       D   No
   D      For the fourth dependent Identified with an ITIN and listed as a quallfying child for the child tax credit, cld this cht1d meet the substantial
          presence test? See separate instNclions.


                       Oves                       D No
  Note: If you have more than four dependents identified with an ITIN and listed as a qualifying cht'ld for the child tax aedit, see the instructions
             and check here      • • . • • • • • • • • • • • • • • • • • • • • • . • • • • • • . . • . • • • • • • • • • • • • . . • • • • • • • • a--                      D
  IParl·U.J Additional Child Tax Credit Filers
   1       1040 filers:          Enter the amount from lile 6 of your Child Tax Credit Worksheet (see the                        -
                                 ~ for Form 1040, lile 52).
           1040A filers:         Enter the amourt from fine 6 of your Child Tax Creart Worksheet (see the
                                 Instructions for Fonn 1040A, line 35).
           1040NR filers:        Enter the amount from file 6 of your Child Tax Credit Worksheet (see the                            •      1                    2,000
                                 lnslrudions for Form 1040NR. line 49~


           If you used Pub. 9n, enter the amount from line 8 of the Child Tax Credit Worksheet In the pubication.               -
   2  Enter the amount from Form 1040, line52; Form 1040A, line 35; or Form 1040NR. Hne49                            •     •     •   •      2
   3  Subtract line 2 from line 1. If zero, stop; you cannot lake this credit   • • • • • • •                        •         • •          3                   2,000
  4 a Earned income (see separate Instructions)         • • •                  • • • 4a                                  28 , 394
    b Nontaxable combat pay (see separate                                              ,,~..,~::

  5      :::on
         0
                              Hne    ~ ~~~.~
           No. Leave line 5 blank and enter.(). on lne 6.
                                                                •     I 4b I                           f1~
                                                                                                       Gl
         I]Yes. Sublract$3.000 from the amount on line 4a Enter the result                         5              2 5, 3 94
  6    Multiply the amount on line 5 by 15% (.15) and enter the result                  • • • • • • • • •            • • •      6             3,809
       Next. Do you have three or more qualifying children?
      ~ No. If line 6 is zero, stop; you cannot take this credit Othefwtse, skip Part Ill and enter the smaller of
                  line 3 or line 6 on fine 13.
        D Yes. If fine 6 is equal to or more than line 3, skip Part Ill and enter the amount from Une 3 on line 13.
                  Otherwise, QO lo line 7.
 For Paperwork Reduction Act Notice, see your tax return Instructions.                                          Schedule 8812 (Form 1040A or 1040) 2014
 EEA




                                                                                                                                                PL_Docs 0092
                                                                             APP 498
    Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                  Page 266 of 293 PageID 1293
        Schedule8812 Fom11040Aor1040 2014                                                                                                              Pa e2
           eart          Certain Filers Who Have Three or More Quar                       n Children
           7    Withheld social security, Medicare, and Additional Medicare taxes from
                Form{s) W-2, baxes4 and 6. lfmarried filing jointly, Include your spouse's
                amounts with yours. If your employer withheld or you paid Adolfional
:               Medk:are Tax or tier 1 RRTA taxes, see separate lnstrucllons     ........                7
!       8       1040 filers:      Enter the total of the amounls fi'cm Form 1040, lines


l
                                  27 and 58, plus any taxes that you identified using cooe •
                                  "UT" and entered on line 62.                                          8

I               1040A filers:     Enter-0-.
                1040NR filers: Enter the total d the amam1s from Form 1040NR,

I                                 Ones 27 and 56, pus any taxes that you identified using
                                  cooe i.rr and entered on fine 60.
        9      Add lines 7 and 8      ..............................                                    9
       'fO     1040 fliers:       Enter the total of the amcun1s from Form 1040, rines
                                  66aand71.
               1040A filers:      Enter the total of the amount 6om Form 1040A, line
                                 42a, plus any excess social security and lier 1 RRTA                  10
                                 taxes wllhheld that you enlered to the left of line 46
                                 (see separate inslructions~
               1040NR filers: Enter Ille amount from Form 1040NR, line 67.
      11       Subtract Une 10 fran line 9. If zero or leSS, enter.().                                                             11
      12       Enter the larger of line 6 or line 11         • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • •   12
               N     enter the smaller of line 3 or line 12 on line 13.
      :P-aif .,         Additional Child Tax Credit
      13       This is your additional child tax credit                                                                            13              2,000
                                                                                                                                     Enter this amount on
                                                                                                                                    Foon 1040, line 67,
                                                                                                                                    Form 1040A, line 43, or
                                                                                                                                    Foon 1040NR, fine 64.

                                                                                                                  Schedule 8812 (Form 1040A or 1040) 2014




                                                                                                                                    PL_Docs 0093
                                                                         APP 499
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                                                                     Department of the Treasury - Internal Revenue Service
      Form 9325
      (Rev. Januay2014)
                                                      Acknowledgement and General Information for
                                                        Tax a ers Who File Returns Electronicall
                Thank you for participating in IRS e-file.                        Taxpayername DIMAS RODRIGUEZ INGUANZO & ANA LA C

                                                                                  Taxpayer address (optional)
                                                                                  1910 S JOSEY APT 159
                                                                                  CARROLLTON, TX                       75006

           1.   ug     Yourfederallncometaxretumfor               2014                         wasfiledelectronicaltywilhthe              AUSTIN
                                                                                                                                         --=-------
                       Submisslon Processing Center. The electronic filing seivices were provided by        Gare i a &                   King TRI TAX

           2.   0     Your return was ao:epted on       _ _ _ _ _using a Personal ldentllica1ion Number (PIN) as your eleclronic
                      slgnalure. You entered a PIN or authorized the Eleclronic ReOJm Originator (ERO) to enter or generate a PIN
                      for you. The Submission ID assigned to your retum is

           3.   0     Your return was accapted on       _ _ _ _ _ _ • AJ'tow 4 to 6 weeks for the processing of your retum.
                      The Eamed Income Credit or a dependent's exemption on yot;r return may be reduced or disallowed due to a
                      child's name and social security number mismatch.

          4. 0        Your electronic runds wfthdrawal payment was accepted.

          5. 0        Your electronic funds withdrawal payment was not accepted. You must pay the balance due by the prescribed
                      due date. Refer to the "If You Owe Tax" section.

          6.    0     Your Form 4868, Application for Automatic Extension of lime to File U.S. Individual Income Tax Return, was
                     accepted on _ _ _ _ _ _ _ _ . The Subnissioo ID assigned to your extension
                     is
                          ----------
                     PLEASE DO NOT SEND A PAPER COPY OF YOUR RETURN TO THE IRS.
                        IF YOU DO, IT WILL DELAY THE PROCESSING OF THE RETURN.


                                                If You Need to Make a Change to Your Return
       If you need to make a change <X carect the retum you flied eleclronically, you shoUld send a Foon 1040)(, Amended U.S.
       Individual Income Tax Relum, to the IRS Submission Processing Center that processes paper retums for your area. The
       address is available at www.irs.gov, oryou can call the IRS toll-free at 1-800-829-1040.

                                                     If You Need to Ask About Your Refund
      The IRS notifles your Eledronlc Return Orfglnalor (ERO) when your 1911m is accepled, usually within 48 hours. If 'JOX
      retim was not accepted, the IRS notifies your ERO of the reasons for rejection. If it has been more than three weeks
      since the IRS accepted your retum and you have not received your refund, go to wwwjrs.gov and click on "Where's My
      Refundr to view your refund status. ~ If box 3 above is checked, please al'tow 4 to 6 weeks fa- processing of your
      return. A notice wil be sent to you advising of changes to 'JOUr reum.

      Also, you can call the TeleTax line at 1-000-829-4477, fa- automated refund Information. You should have available the
      first social security ntm)81" shown on your reun, your filing status, and the exact amount af the refund you expect.
      TeleTax gtVeS you the date fa-maling «depositing your refund. You should receive your refund check within 30 days af
      the date given by TeleTax, or within one week of thet date, if you chose direct deposit. If you do not receive It by then, or if
      TeleTax does not give your refund infamalion. can the Refund Holfine at 1-800-829-1954.




EEA                                                                                                                                        Form 9325 (Rev. 1-2014)




                                                                                                                                            PL_Docs 0094
                                                                           APP 500
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                      Page 268 of 293 PageID 1295
    The IRS uses refunds to cr:Ner overdue taxes and notifies you when this OCaJrs. The Fiscal Service offsets refunds
   lhroUgh the Treasury Offset Progam to caver past due dlild support. federal agency non-lax debts sudl as student loans
   and state income tax obrigations. Fiscal Service sends you an offset notice if it applies your refund or part of your refund
   to non-tax debts. If you have questions about the offset, contact the agency Identified In the notice. You may also call the
   Treasury Offset Program call Center at 1-800-304-3107, if you have additional questions.

                                                                   If You owe Tax
    ff your return has a balance due, you must pay the amourt you owe by the presaibed due date. If you paid by eleclronic
   funds withdrawal (direct debit) or by aedlt card, no voucher is needed. The aedlt card service providers wil charge a
   convenience fee based on the amount of taxes you are paying. The fees and the type of credit or debit cards accepled
   may vary between providers. You will be told the amount of the fee di.ling the transacllon and you wi'ft be given the option
   to eilher continue or end the transaction. For infonnalion on paying your taxes eleclronically, inckJdfng by credit or debit
   card, go to www.r.;.gav/e-pay.

   If you are not paying eleclronically you may use Form 1040-V, Payment Voucher, which you can obtain from your
  Eleclronic Retum Originator. If the IRS does not receive your payment by the presaibed due dale, you will receive a
  notice that requests fua payment of the tax due, plus penalties and interest. If you can not pay the amount in full, complete
  Form 9465, Installment Agreement Request. which you may file efeclronicaly. To apply for an Installment agreement
  onnne, go to www.irs.gav. You may also order Form 9465 by caling 1-800-TAX-FORM (1-800-a29-3676). If approved, the
  IRS charges a user fee to set up an inslallment agreement.

                        If You Need to Inquire About Your Electronic Funds Withdrawal Payment
  You may call 1-888-353-4537 to inqui'e about the sta1us of your eleclronic funds wilhdrawaf payment If there is a change
  to the bank account Information included on your relum, you should call 'this number to cancel a scheduled payment You
  should have available the social security n.Jmber of the first person listed on the tax return, the payment amount, and :he
  bank account number. Cancellation requests must be received no later than 11:59 p.m. E.T. two business days prior to
  the scheduled payment dale.

                                                      Tax Refund Related Financial Products
 Financial institutioos offer a variety of financial products to taxpayers based on their refunds. Contracts for financial
 products are between you and the financial institution, The IRS is not associated with the contract. If you have questions
 about tax refund related products, contact your Electronic Return Originator or the lender.

                                                   Instructions for Electronic Return Originators

 Line 2 - PIN Presence Indicator - Check box 2 if the taxpayer entered a PIN or authorized the ERO to enter or generate
 the PIN klrthe taxpayer, and the Acknowledgement Fife PIN Presence Indicator is a "Practitioner PIN," "Self-select PIN"
 or "Online Fifer PIN." Form 8879, IRS e-life Signature Authorization. is required If the ERO entens or generates the PIN or
 if the Practitioner PIN method is used. Use Form 8453, U.S. lndMdual Income Tax Transmittal for an IRS a-file
 Return, to send required paper forms or supporting documentation listed next to the fonn check boxes {do not
 send Forms W-2, W-2G, or 1099R).

 Line 3 - Exception Processing - Check box 3 if the Acknowledgement Ale Acceptance Code equals '"Exception.• The
 acceptance code indicates that this return has been previously rejecled and this subsequent submission sliU has invald
 data.

Line 4 - Payment Acknowledgement Literal - Check box 4 if the taxpayer requested to use electronic funds withdrawal to
pay the balance due, and the AcknOV1Aedgement FBe Payment Acknowledgement Literal field equals "Payment Request
Received."

Line 5 - Payment Acknowledgement Literal - Check box 5 if the taxpayer reouested to use electronic funds withdrawal to
pay the balance due, and the Acknowledgement File Payment Acknowledgement Uleral field does not equal "Payment
Reqtiest Received." If box 5 is checked, infonn the taxpayer that he/she must pay by check, money order, debit card, or
creditcarcl.

Note: EROs can use the Acknowledgement Ale information, translated by the transmitter, to complete Form 9325.




DIMAS RODRIGL"EZ INGUANZO                              &   ANA LA CRuZ
                                                                                                                                  Form 9325 (Rev. 1-2014)



                                                                                                                                    PL_Docs 0095
                                                                        APP 501
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                           Notes about the return                          PAGE 1
   Name(s)                                                           Your social sea.irity number
   DIMAS RODRIGUEZ INGUANZO    &   ANA LA CRUZ

   NAME TOO LONG TOE-FILE.
   Name was shortened to: D RODRIGUEZ INGUANZO       &   A LA CRUZ
   Per Publication 1346, error reject code 0033, the name line cannot have
   more than 35 characters. The name was automatically shortened for the
   return to bee-filed successfully.
  016 VERIFY CTC ELIGIBILITY. Child Tax Credit cannot be taken for a child
      over the age of 16.
  039 STATE WAGES IGNORED: You have left the "ST" field and the "Employer's
      state ID number" field blank on screen W2. The resident state selected
      on screen 1 is a state without income taxes; therefore, the amount
      entered in box 17, "State wages," on screen W2 will be disregarded by
      the software.
  134 W-2 ID DIFFERS FROM 1040 ID. The W2 screen contains an ITIN/SSN in
      the override field. We suggest going to the SCH to attach a note
      (select item 11 X11 from the "Type of attachment ... " drop list) to
      accompany the return explaining why the ID numbers do not match. The
      note will appear in View mode as an "EF NOTE."
      Use Field Help on the W2 screen for more information.
 221 DEPENDENT NOT MARKED AS STUDEN'I'. A depe~dent between the ages of 19
     and 24 is not designated on the return as a student. You may want to
     check the dependent's status with your client.

 439 HEALTH CARE COVERAGE EXEMPTION "G". Coverage exemption "G" is
     available to eliminate the Individual Shared Responsibility Payment
      (ISRP) for people who lived, at any time during the tax year, in a
     state that did not expand Medicaid and whose household income is less
     than 138% of the federal poverty level (see bottom of WK 89652). The
     states that did not expand Medicaid coverage are: AL, AK~ FL, GA, ID,
     IN, KS, LA, ME, MO, MS, MT, NC, NE, NH, OK, PA, SC, SD, TN, TX, UT,
     VA, WY, and WI. Because the resident state is one if these qualifying
     states, the program has applied coverage exemption "G" to everyone on
     the return. If a person on the tax retu~ did not live in any of these
     states at any time during the tax year, create a screen 8965 for tr.at
     person and select 11 x 11 from the drop list in the "Exemption beir..g
     claimed on return" column, to prevent that person from claiming
     coverage exemption 11 G11 •




                                                                      PL_Docs 0096
                                     APP 502
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             EFSTATUS                                        EF Transmission Status
                                                                                                                     2014
                                                               (Keep for vour records)
    Name(s) a shOwn on return                                                                             Your soclal security number

    DIMAS RODRIGUEZ INGUANZO                           &   ANA LA CRUZ

    The following wm be transmitted to the IRS.                  D 1040 0 4868 02350 0 9465 0         Form 56



    The following state returns wlll be transmitted:




  The following returns have been suppt8SS8d or are not ellgible and wlll NOT be transmitted.




  Ef Notes
     The Federal 1040 has a ~essage Page.




 EFSTATUS.LD




                                                                                                          PL_Docs 0097
                                                             APP 503
1·     Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17 Page 271 of 293 PageID 1298
          Forms 1040, 1040A         Child Tax Credit Worksheet
                       1040NR                                                                          records.

I                  Name(s) as st-, on re111m

                DIMAS RODRIGUEZ INGUANZO                                      &   ANA LA CRUZ
                                                                                                                                            Your soclal security number


                CAUTION! • To be a qualifying child for the child tax credit, the child must be under age 17 at the end of 2014
                         and meet the other requirements &sled in inslrucllons.
                         • If you do not have a guallfying child, you cannot daim the child tax aedil
      f~         1. Number of qualifying children:                     2    X $1,000. Enter the result                                                   1                  2,000
                 2.       Enter the amcult from Fonn 1040, One 38; Form 1040A, fine 22; or Form 1040NR. One 37.              2 _ _....a2'-8'-' -3'-9'-4~
                 3.      1040 Fliers. Enter the total of any -
                         • Exclusion of income from Puerto Rico, and
                         • Amounts from Form 2555, lines 45 and 50; Form 2555-EZ, line 18;
                         and Foml 4563, lile 15.
                         1040A and 1040NR Fliers. Enter -0-.
                                                                                                                   ]         3



                 4.     Add lines 2 and 3. Enter the total.                                                                  4            28,394
                 5.      Enter the amount shown below for yourfillng s1alus.




                6.
                        • Mamed fifing jointly- $110,000
                        • Single, head of household, or qualifying widow(er)- $75,000
                        • MaTiecl filing separately- $55,000
                        Is the amount on line 4 more than the amount on rine 5?
                                                                                                                   }         5         110,000


                        Ix! No. Leave One 6 blank. Enter -0- on fine 7.
                        D   Yes. Subtract fine 5 from line 4.                                                               6
                            If the result is not a rrulliple of $1,000, increase it to the next multiple of $1,000.
                            For example, lnaease $42510 $1,000, Increase $1,02510 $2,000, etc.
              7.        Multiply the amount on line 6 by 5% (.05). Enter the result                                                                  7                          0
              8.        Is the anount on line 1 more than the amount on line 7?
                       0No.STOP
                         You cannottakethechDd tax aedlta, Fonn 1040, line52; Fonn 1040A, line35; or Form 1040NR, llne49. You also
                         camct take the additional child tax a-edit a, Focm 1040, Une 67; Form 1040A, line 43; or Form 1040NR, line 64.
                            Complete the rest of )'Olli' Fam 1040, Form 1040A, or Form 1040NR.
                       Ix! Yes. Subtract fine 7 from line 1. Enter the result Go to Part2 below.                                                     8 _ _ _ _2_,....o_o..;...o
     _Pa~Jl 9.         Enter the amount from Form 1040, fine 47; Form 1040A, One 30; or Form 1040NR, line 45.                                        9
                                                                                                                                                         -------
            10.        Add the foll!Ming amounts from:
                           Form 1040           or    Form 1040A          or       Form1040NR
                              Une48                                                Une46                                    +
                              Une49                    Une31                       Une47                                    +
                                                                                                                              -------
                            UneSO
                            Une51
                                                       Une33
                                                       Une34                       Une48
                                                                                                                            +
                                                                                                                            +
                                                                                                                              -------
                            Form 5695, line 30                                                                                  -------
                                                                                                                            + _ _ _ _ _ __
                            Form 8910, line 15                                                                              + _ _ _ _ _ __
                            Form 8936, Hne 23                                                                               + _ _ _ _ _ __
                            Schedule R, line 22                                                                             + _ _ _ _ _ __


                                                                                                        Enlerthetotal.   10 - - - - - -
           11.        Are you claiming any of the following credits?
                      • Mortgage interest credit, Fonn 8396.
                      • Adoption credit, Form 8839.
                      • Residential energy efficient property aedit, Form 5695, Part I.
                      • District of Columbia first-time homebuyer credit, Fonn 8859.



          12.
          13.
                      ml
                      D
                          No. Enter the amount from line 10.
                          Yes. Complete the Line 11 Worksheet on the next page to figure the amount to enter here.
                      Sublract r111e 11 from Hne 9. Enter the result
                      Is the amount on line 8 of this worksheet more than the amOIM'lt on Hne 12?
                                                                                                                                       J        11

                                                                                                                                                12
                                                                                                                                                     -------
                      D No. Enter the amount from line 8.                                      }     This Is your


          TIP
                      IZJ Yes. Enter the amount from line 12. See the TIP below.                     child tax credit.

                           You may be able to take the additional child tax crvdlt on Fonn 1040. fine 65; Form 1040A, fine 39;
                                                                                                                                               13
                                                                                                                                                     -------
                                                                                                                                                     Enter this amount on
                                                                                                                                                     Fonn 1040, llne 52:
                           or Fonn 1040NR, line 63,-only if you answered -Yes• on fine 13.                                                           Fonn 104QA, line35;
                           • Fll'St. complete your Fam 1040 through line 64a (also t'OlllPlele ine 69). Form 1040A !trough line 38a,                 or Fonn 1040NR. line 49.

                           or Form 1040NR through line 62 (also, amplete line 65).
                           • Then, use Parts II through IV of Schedula 8812 to figure any additional child tax aedit.
        WK...A12.LD




                                                                                                                                                 PL_Docs 0098
                                                                                      APP 504
    Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                    Page 272 of 293 PageID 1299
                                                   1040 and 1040NR Filers-Earned Income Worksheet
                                                                                                                                                 2014
       Name(s) as shown an rerum                                                                                                     Your soclal sec:urtty number

       DIMAS RODRIGUEZ INGUANZO                               &   ANA LA CRUZ
       Before you begin:                           .:
I       •    Use 1hls worksheet only if you were sent here from the Line 11 Worksheet earlier in this publication or Bne
             4a of Schedule 8812, Child Tax Credit
        •    Disregard community property laws when figuring the amounts to enter on this worksheet

I       •    If married filing jointly, include )'Ollr spouse's amounts with ya.rs when oompleting this worl<sheet.

          1. a. Enter the amount from Form 1040, line 7, or Fonn 1040NR. fine 8               • • • • • • • • • • • • • • • • • • • • . • . • • • 1a. _ _2_8_,_3_9_4_
               b. Enter the amount of arry nontaxable cxmbat pay received. Ns/J enter this amourt on Schedule 8812, line 4b.
I                    This amount should be shown in FOllTl(s) W-2, box 12, with code Q             • • • • • • • • • • • • • • • • • • • • • • • • 1b. _ _ _ _ __
                     Next, if you are flHng Schedule C. C-EZ, F, or SE, or you received a Schedule K-1 (Fonn 1O65or Fenn

I
I
                     1O65-B~ go to Ina 2a. Otherwise, skip lines 2a through 2e and go lo line 3.
         2. a. Enter any stalutoly employee income reported on line 1 of Scheck.de C or CEZ                     • • • • • • • • • • • • • • • • • • 2a. _ _ _ _ __
              b. Enter any net profit or (loss) from Schedule C, line 31; Schedule C-EZ, Nne 3; Schedule K-1 (Form 1065), box
                    14, code A (other than farming); and Schedule K-1 (Form 1065-B), box 9, codeJ1." Reduce any Schedule K-1
                    amounts as descnbecj in the instructions for completing Schedule SE in the Partnets Instructions for Schedule
                    K-1. Do not include on this line any statutory employee income or any other amounts exempt from
                    self-employment tax. Options and commodities dealers must add any gain or subtract any loss (111 the normal
                    course of dealing in or trading section 1256 contracls) from section 1256 con1rads or related property            • • • • ••• 2b. _ _ _ _ __
              c. Enter any net farm profit or (loss) from Schedule F, rine 34, and from farm partnerships,
                    Schedule K-1 (Fam 1065), box 14, code A.* Reduce any Schedule K-1 amounts as described
                   in the instructions for completing Schedule SE In the Partner's Instructions for Schedule K-1.
                   Do not include on this line any amounts exempt from self-employment lax                • • • • • • • • 2c. _ _ _ _ __
              d. If you used the farm op1ional method to figure net earnings from self-employment. enter the
                   amount fran Schedule SE, Sedlon B, line 15. Otherwise, skip this hand enter on llne 2e
                   the amount from line 2c • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • 2d. _ _ _ _ __
             e. If line 2c Is a profit, enter the smaller of rine 2c or line 2d. If line 2c Is a (loss), enter the (loss) from line 2c • • • ••• 2e. _ _ _ _ __
        3. Combine lines 1a, 1b, 2a, 2b, and 2e. If zero or less, stop. Do not complete the rest of this worlcsheet Instead,
             enter~ on Hne 2 o( the Line 11 Worksheet or lile 4a of Schedule 8812, whichever applies                   • • • • • • • • • • • • • • 3.     28,394
       4.. Enter arry amount included on ine 1a that is:
            a. A scholarship or fellowship grant not reported on Fam W-2               • • • • • • • • • • • • • • • • 4a. _ _ _ _ __
            b. For work clone while an inmate in a penal institution (enter "PRI" and this amount on the
                  dotted line next to line 7 of Fam 1040orlne SofForrn 1040NR)             ••••.••••••••• 4b. _ _ _ _ __
            c. A penslal or anooity from a nonquatified deferred compensation plan or a nongovernmental
                  section 457 plan (enter "OFC" and this amount on the dolled ine next to line 7 of Form 1040
                  or Hne 8 of Fenn 1040NR). This amount may be shown In box 11 of yoor Form W-2. If you
                  received such an amount but box 11 ls blank, contact your employer for the amount
                  received as a pension or annuity         • • • • • • • • • • • • • • • • • • • • • • • • • • • • • 4c. _ _ _ _ __
      5. a. Enter any amount Included on line 3 that is also included on Form
                 2555, line 43, or Form 2555-EZ, line 18. Do not include any amount
                 that is also included on line 4a, 4b, or 4c above       • • • • • • • ••• 5a. _ _ _ _ __
           b. Enter the por1ion, if any, of the amount from Form 2555, line 44 that you
                 also Included on Schedule E in partnership net income or (loss) or
                 deducted on Fenn 1040, line 27 or Form 1040NR. nne 27; Schedule C;
                 Schedule C-EZ; or Sdledule F • • . • . • • . . . • • • . • . • . . Sb. _ _ _ _ __
           c;. Subtract fine 5b from line 5a         . . . . . . . . . . . . . . . . . . . . . . . . • . . . . . . 5c.
      6. Enter the amount from Foon 1040, One 27, or Form 1040NR, line 27                 • • • • • • • • • • • • •• 6.
                                                                                                                       ------
     7. Add lines 4a through 4c, 5c, and 6 • • • • • • • • • • • • _ • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • 7.
     8. Subtract llne 7 from line 3 • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • 8.                     28,394
                   • If you were sent here from the Line 11 Worlcsheet, enter this amoont on line 2 of that WOlf<sheet.
                   • If you were sent here from Sc:hedt..le 8812, enter this amount on 6ne 4a of that form.
     • If )'OU have any Schedule ~1 amounts and you are not required to file Schedule SE, complete the appropriate Une(s) of
     Schedule SE, Seclion A. Put your name aoo social security nurTtler a, Schedule SE and attach It to your retun.



     WK_CTC4.LD




                                                                                                                                     PL_Docs 0099
                                                                          APP 505
    Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17 Page 273 of 293 PageID 1300
                                         Carryover Worksheet
                        List of items that will carryover to the 2015 tax return 2014
                                                                                for     records
        Name(s) es shown on ,atum                                                                                                     Your social security nulllbet

         DIMAS RODRIGUEZ INGU.ANZO                             &   ANA LA CRUZ
        Itemized Deductions                                                                                                                      cartyove,Amount
t      Contributions subject lo 100% of AGI limitations        • • • • • • • • • • • • • . • • . • • •. • • • • • • • • • . • • • . •


I
       Contributions subject lo 50% of AGI lirnitalions      • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • •
       Contnbutlons subject to 30% of AGI limHallons (50% capital gains appreciated property)        • • • • • • • • • • • • • • • • •
       Contributions subject to 30% of AGJ Dmilalions       • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • •
       Contributions subject lo 20% of AGJ mtallons (30% capital gains appreciated property)         • • • • • •• • • • • . • • • ••
       Taxable state and local refunds to Form 1040, fine 10       • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • . •
       Statenocal taxes paid in 2015 to flow lo the Schedule A         • • • • • • • • •• • • • • • • • • • • • • • • • • • • • . • •
       Preparer Fee to flQw to the Schedule A       • • • • • • • • • • • • • • • • , • • • • • • • • • • • • • • • • • • • • • • • •                           192
       State donations and conbibutlons canyover          • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • •• • • • •
       Stale overpayment app8ed to next year        • • • • • • • • • • • • • • • . . • • • • • • • • • • • • • • • • • • • •• • • •

       Expenses
       Office in home operating expenses     • • • • • • • • • • • • . • • • • • • • • . • • • • . • • • • • •     •• • • • • • • • .
       Office in home excess casualty losses and depredation     • • • • • • • • • • • • • • • • • • • • • • •     • • • • • • • • • •
       Disallowed investment interest expense . • . . . • • . . • • . • • • • • • . • . . • . • . • • • • •        •••• •. •• . .
       Section 179 expense • • • • • . . • • . • • • • • • • • • • • • • • • • • • • • • • • • • • • • • •         • • • • . . • • • •
       Operating expenses, from Form WK_E, Sch E - Rental limilallon on deductions when used fa' personal use            • • • • • • •
       Excess depreciation, from Form WK_E. Sch E - Rental lirmatlon on deductions when used for personal use

       Losses
       Short-term capital loss      • • • • • • • • • • • . . • • • • • • • • • • • • • • . • • • • • • • • • • • • • • • • • • • • .
       Long-term capital loss . • • • • • . • • • • • • • • • . • • . • • • • • . • • • . • • • • • • • • • • • • • • . • • • •
       Net operating loss • • • • • • • • • • • • • • • • • _ _ _ _ _ _ _ AMT • • • • • • • • • • • • • • • • •
       Nonrecaptured net section 1231 losses • • • . . • • • • • • • • • • • • • • • • • • • • • • , • • • • • • • • • • • • •

      Credits
      Matgage Interest credit • • • • • • • • • . • • • • • • • . • • • . • • . • · · • • • •      • • • • · • • • • • • • • · · • •
      General business aedit.{should be carried bad< before being carried folwan:I)    • • • •      • • • • • • • • • • • • • • • • •
      Credit fa' prior year minimum tax  • • • • • • • • • • • • • • • • • • • • • • • • • • •     • • • • • • • • • • • • • • • • •
      Foreign Tax atldit • • • • • • • • • • • • • • • • • • _ _ _ _ _ _ _ AMT                   •••••••••••••••••
      District of Columbia first time home owner's credit  • • • • • . • • • • • • • • • • • • • • • • • • • . • • • • • • • • • •
      Res. energy efficient property aedit     • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • . • • •


      Other
      Overpayment appled lo next year's estimates • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • •
      Federal tax ffabi&ty fa' 2210 calculation      • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • • •                                0
      State tax liability for slate 2210 calculalial     • • • • • • • • • • • • . • • • • • . • • • • • • • • • • • • • • • • • • • •
      IRAbasis • • • • • • • • • • • • • • • • • • • • • • • • • • • • • . • Taxpayer _ _ _ _ _ _ _                          Spouse



      Passive Activity




     At Risk Limitations




                                                                                                                                      PL_DocsOl00
                                                                         APP 506
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                      Page 274 of 293 PageID 1301


        Name(s) as shown on 1911,m
                                     I               Account Transaction Summarv                                                  2014
                                                                                                                     Yaur ID Number

        DIMAS RODRIGUEZ INGUANZO                               &   ANA LA CRUZ                                       XXX-XX-2745

        ***** Republic Bank Product ******
        You are getting this message because you have chosen a bank product.
        A temporary accoW1t has been setup by RB through which the refund
        product will be routed:
       Account #1
       Financial Institution Name REPUBLIC BANK AND TRUST
       Routing Transit Number           809
       Account Number             ~745
       Account Type
      ·Federal Deposit                                                2,001
       Net Deposit                                                    2,001

       The preparer will issue a check for the total refund {minus fees).
       ***** End of Bank Product ******




       PLEASE VERIFY BANK INFORMATION
       1. BankName
       2. Bank RCllting Transl Number
       3. Bank Account Number
       4. Bank Account Type


       This information ls used to deposit your refund or to pay any amount due. If you have provided incorrect Information,
       or you have closed the account, you are responsible.


       I have reviewed the aboVe infamation ax! certify that this inbrmatlon is oorrect and aulhorfze
       to i..se this account to deposit my refund.




oo_PMT.LO




                                                                                                                           PL_Docs 0101

                                                                      APP 507
r'   Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                            Page 275 of 293 PageID 1302
                                 8965                                         Health Coverage Exemptions ·                                                      0MB No. 154~74

I
i
               Form

               Department al the Treaswy
                                                                     ., Attach to Form 1040, Form 1040A. or Form 1040EZ.
                                                                                                                                                                2014

I              lntemal Revenue Service
               Name as shown an return
                                                 II- Information about Form 8965 and Its se      te Instructions is at www.irs.
                                                                                                                                        Your social sean1ly _number
                     DIMAS RODRIGUEZ INGUANZO
I             Complete this form if you have a Marketplace-granted coverage exemption or you are claiming a coverage exemption
              on your return.
              i;#~t-i              Marketplace-Granted Coverage Exemptions for Individuals: If you and/or a member of your tax household
                                   have an exemption aranted bvthe Mrk
                                                                    a etolace, como1e
                                                                                   Ite Part I.
              r~"t~
              •,-,:.~\f:: ..
              ;. "--:----4:-~:
                                                               a
                                                        Name af lncllvldual
                                                                                                                  b
                                                                                                                 SSN
                                                                                                                                                               C
                                                                                                                                            Exemption Certificate Number



I                    1


I                    2


I                   3


I                  4



                   5



                  6
          i: P.art.fli .I         Coverage Exemotions for Your Household Claimed on Your Return:

               7a Are you claiming an exemption because yoor household income is belatl the filing tlvesholcl?                                            D        Yes

                 b Are you claiming a hardship exemption because your gross income is below the ling fhreshold?              • • • • • • • • • • •        D        Yes    Cg    No
      ~Parfllli ,.·:J              Coverage Exemptions for Individuals Claimed on Your Return: If you and/or a member of your tax
                                   household are claiminQ an exemotion on vour return comolete part 11.
                                                                                                     I
      '   ~. . ..
                :~
      ~~::·,:t·..                           a                           b
                                                                                       C
                                                                                 Exemption   FuU
                                                                                                 d
                                                                                                      e     f      g    h     I    J       k        I      m          n    0         p
      ~-:~,,,;'.':                 Name of Individual                  SSN                           Jan   Feb   Mar   Apr   May June            Aug     Sept
      ~- ~.    .::-~:..:                                                           Type      Year
                                                                                                                                          July                     Oct    Nov   Dec




                8                                                                  G         X


               9                                                                   G         X


           10                                                                      G         X


           11                                                                     G          X


          12                                                                      G          X


      13
     For Privacy Act and Paperwork Reduction Act Notice, see your tax return Instructions.                                                                  Form 8965 (2014)
     eeA




                                                                                                                                                    PL_Docs 0102

                                                                                   APP 508
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                                                        171/276 of 293 PageID 1303
    Forin                               Oepartm~~of th¢ Tre.aso;y - ·Jnt~al H,evenue ServiGS

    1040A                               U.S. Individual Income Tax Return ,ss>                                                     2013                            IRS'.Use Only - Do not write or staple ih ibis spaca
    Your firstname .and initiai                                              Last name                                                                                                     .OMB No. 1545'-0074
                                                                                                                                                                               Your So~Jal ~~ct,1rify nµmbef

    DIMAS                                                                     RODRIGUEZ INGUANZO
    If a joinlretum, spouse's first name and Initial                         last name

   ANA MARIA D                                                                LA CRUZ
   /-fdrlii,. address' {number and street); If you have 'l P. Q. box,. see ipstructions:

   1910 S JOSEY
   Ciiy, iiown or post office, s'.ate, and ZIP code. ~ you have a foreign address, also CO!"plete spaces oelcw {see ins!ruciibns),.
                                                                                                                                                     I 1::,9
                                                                                                                                                       Apl no~..               . . Make s~re the ~S~(sJ above
                                                                                                                                                                                         and gn hne     6t are corre.c t




  Filing                                1         Single                                                                       4   LJ      Head oi h91:JS~old (Witt.I 9uaiitying per~Qh ), (~~~ jns.truct)ons.)
                                                                                                                                           ~ the quahfy1ng person ,s a cliud but l'\Ot your aependen~
                                                                                                                                                                                                                           .

  status                               2 ] .Married filing jointly (even if orily one had           income)                                enter this child's llam~ her.e..       T · ·
                                       3 __, ·Married niing sepa(ately. Ent~r spbU5e'S SSN ab~e aril
  Checkohly,
  ont,<boX,                                       tui!nam.eheni.   T                                                           5   LJ o,ia1ify1n~ WidoW(e.rl with depl;lldenf chll(l (see in$tnictioiisJ
                                                                    If someone can <;laimyou as a dependent; do not check
  Exemptions
                                                                                                                                                                                            }
                                                                                                                                                                                                    Boxes
                                                                                                                                                                                                    checked on
                                                                    box.6a ..                                                                                                                       6'iariifsb ·      2
                                            b   X      Spouse                                                                                                                                       No. ofchlidren·
                                                                                                                                                                                                    0:n.6cwho.:


                                                                                                                                                                                                                      4




 lnci:>ine
                                         d       Totai number of exemptions clatmed.
                                                                                                                                                                                                   Add n!Jltlbim;.
                                                                                                                                                                                                   OJ1lines,..
                                                                                                                                                                                                   abQve         ..   Q
                                    7            Wages, salaries, tip$, etc. Attach Form(s)      w"2.                                                                                  7                   15,743
 Attach     ,
 Form(sl     w.2
 h(l"re.Afso                        !fa          Taxable 1nteri,st, Ait.icn Sched.uJe B ii required.                                                                               Bi!
 attach                                 b Tax-exempllnteresL D9 .not include on line Ba_ .                                            Bb
 Form(s)
 10~9-R. iHax                       9a          .. Ordinary dividends. Attach Scheduie B if required . •.                                                                          9a
 was                                    h        Qllafilied dividends (.see instructions)_                                          9b
 wi_tl:theld.,
                                  10             Capital gain i;li$tiibutions (see instructions).                                                                                  to
 it. you.did not                  11a            IRA                                                                        t1b       Taxab.le amount
 get aW-2, see                                   dist)ibuti9ns,               11a                                                     (Sf;)e iostructiorisr                        11b
 instruclions.
                                  12a           Pensions and                                                               12b· Taxable ampunt
                                                 annuities.                  12a;                                                     (see instruciiqns).                         12b


                                  1~;           unemployment cgrnp.e nsation arid Alaska Permanent Fund dividends.                                                                 13
                                  14a           Social securliy ·                                                          14b Taxable amount
                                                benefits.                     14a                                                     (see instructions).                         14b

                                                                                                                                                                              .j,;· 15
                                  15            Add Jines 7 thrOUgh 14b {far right cO)Urnn). 1his iS your totai          frico.me,                                                                         15 143



                                                                                                                                                                                            'i ,~
Adjusted                                                                                                                                                                                              DEPOSITION
                                  16            Ed.uca.t or expenses {see Instructions)                                            16
gross                                                                                                                                                                                                   EXHIBIT
                                  17            !RAcfeducfion (see/n$tructions),                                                   17
-income
                                  18            Studentloan inierestqeduption (see instructions).
                                                                                                                                                                                             ~
                                                                                                                                                                                             "'w
                                                                                                                                                                                             z
                                                                                                                                                                                             ll.
                               19               Tuifion and fees.,Attach Farin 8917 . .                                            19 ·
                               20               Add lines. 16 through 19. These are yourtotal adjustments.                                                                        20


                               21               Subtract fine 20 from line 15. This is your adjusted gross           inco.me.                                                 ,.. 21                     15,743
For Disciosura, Privacy Ai;:t, and Paperwork Reduction Act Notice, see separate instructions.                                                                                                      Form 1040A (2013)
Ei=A'




                                                                                                                                                                                             PL Docs 0111

                                                                                                 APP 509
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      Fonn 1040A(2013)            DIMAS RODRIGUEZ INGUANZO & ANA LA CRUZ                                                                                                                                   Page2
   Tax, credits,             22      Enter the amount from rine 21 adjusted         income .                                                                                  22                    15 743
   and                      23a Check {         You were born before January 2. 1949,               Blind } Total boxes
   payments                      if:            Spouse was born before January 2, 1949,             Blind   checked ,. 23a
                               b If you are mafried filing separately and your spouse itemizes
      Standard                   deduclions, check here                                                               Ii> 23b
      Deduction
      for-
                            24   Enter your standard deduction.                                                                                                               24                    12 200
       • People who
                            25 Subtract line 24 from fine 22. If line 24 is more than line 22, enter.()...                                                                 25                       3,543
      check any             26 Exemptions. Multiply $3,900 by the number on 6ne 6d.                                                                                        26                   23,400
      box on line
      23aor23bor
      who can be
      claimed as a
                            27


                            28
                                 Sublract line 26 from line 25. If line 26 ls more than
                                    This is your taxabfe Income.
                                    Tax, including any aRematiVe minimum tax (see instructions).
                                                                                                        rine
                                                                                            25, enter.()...
                                                                                                                                                                      .    'Zl
                                                                                                                                                                           28
                                                                                                                                                                                                            0
                                                                                                                                                                                                            0
      dependent,
      see                   29      Credit for child and dependent care expenses. Attach
      instrudions.
                                    Form 2441.                                                                                29
      • All olliers:
                            30      Credit for the elderly or the disabled. Attach
      Single or
      Married filing               ScheduleR.                                                                                 30
      separately,           31     Education credits from Form 8863, line 19.                                                 31
      $6,100
                            32     Retirement savings contributions credit. Attach
   Married filing
                                   Fonn8880.                                                                                  32
  ~ng                       33     Child tax credit Attach Schedule 8812, if required.                                        33
  Wldow(er)
  $12,200                   34     Add lines 29 through 33. These are your total credits.                                                                                 34
  Head of                   35     Subtract line 34 from One 28. If lne 34 is more than line 28, enter -0-. This is
  household,
  $8,950                           your total tax.                                                                                                                        35                                0
                            36     Federal income tax withheld from Forms W-2 and
                                    1099.                                                                                    36
                          37       2013 estimated tax payments and amount applied
  If you have
  a 9ualjfying                     fi'om 2012 retum.                                                                         37
  child,aflach
  Schedule             ,.......;38a;.;;;.;;.__;;;;Ea;;;.med=..;..;lnc=ome.;.;.;;..credlt==.:.CBC;;;;;..;;.,).:;...__ _ _ _ _ _ _ _ _.....:.38a=---------:NO
  EiC.                                 b Nontaxable combat pay
                                              election.                                                                 38b
                          39       Add'dlonal chid tax credit Attach Schedule 8812.                  39                                               1,911
                          40       American opportUnily aedit fi'om Form 8863, Une 8.                40
                          41       Add lines 36, 37, 38a, 39, and 40. These are your total payments.                                                                "' 41                           1,911
 Refund                   42       If line 41 is more than lile 35, subtract line 35 from lne 41.
                                   This IS the amount                id.                                                                                                  42                        1 911
 Direct                   43a                                                                                                                                 ..          43a                       1 911
 deposit?
 See                      ... b
 IOSUUClicns
 and fill In
43b, 43c,
and43dor
                         .,.d     =::         lxlxlxlxlxlxlxlxlxlxlxlxlxlxlxlxlxl
                         44 Amount of line 42 you want applied to your
Fonn8888.
                                  2014 estimated tax.                                                44
Amount                   45       Amount you OW9. Subtract line 41 from line 35. For details on how to pay,
you owe                          see inslructions.                                                                                                                 "' 45
                         46      Estimated tax pens see instructions .                                 46
                             Do you want to alloW another person to discuss this return with the IRS (see instructions)?                                    Yes. Complete the fo0owing.                X   No
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                                                                                            APP 510
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                          Page 278 of 293 PageID 1305
      Form     W7  -                                                     Application for IRS Individual
                                                                        Taxpayer Identification Number
      (Rev August2013)                                                                                                                                                                           0MB No. 1545-0074
      ~ o f the Treeuy
                                                   • For use by Individuals who are not U.S. citizens or pennanent residents.
      lntemal Ra-SeMCI                                                                          • See Instructions.
   An IRS individual taxpayer identification number (111N) Is for federal tax purposes only.                                                                                       FOR IRS USE ONLY
                                                                                                                                                                                           I          I         I
   Before you begin:
  • Do not submit this fonn if you have, or are efigible to get, a U.S. social security number (SSN).
  • Getting an ITIN does not change your immigration status or your right to work in the United States
  and does not make you eligible for the eamed income credit.
  Reason you are submitting Form W-7. Read the ,nstructions for the box you check. Caution: If you check box b, c, d,
  e, f, or g, you must file a tax retum with Form W-7 unless you meet one of the exceptions (see instructions}.
      ~ D Nonresident alien required to get ITIN to clain tax treaty benefit
      b ~ Nonresident alien filing a U.S. tax retum
      c D U.S. resident alien (based on days present in the United States) filing a U.S. tax return
      d D     Dependent of U.S. citizen/resident alen }                              Enter name and SSN/ITIN of U.S. citizen/resident alien (see instructions)                                    •
      e D     Spouse of U.S. citizen/resident alen                                                                                                                                                    -----
      f D    Nonresident alien student, professor, or researcher filing a U.S. tax return or daiming an exception
      g D    Dependent/spouse of a nonresident alien holding a U.S visa
      h D    0ttier   csee instructions> ..,
             Additional information for a and t Enter treaty country                         ....                                      and treaty article number •
                                  1a First name                                                         Middle name                                                 Last name
  Name
  (see instructions)                  ANA                                                               MARIA                                                       DE LA CRUZ INGUANZO
                                  1b First name                                                         Mlddename                                                   Last name
  Name at birth if
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                              6f Enter. IRSN or ElN         ...                                                                                                                                               end
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For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                    Form W-7 (Rev. 8-2013}
EEA




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                                                                                                APP 511
  Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                          Page 279 of 293 PageID 1306




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                                                        APP 513
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                                                                                   Page 281 of 293 PageID 1308

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                              Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                  Page 282 of 293 PageID 1309


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                                                                  APP 515
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17                                Page 283 of 293 PageID 1310




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                                  call 1-800-Stamp24. lio to
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                                     APP 516
Case 3:15-cv-03370-BK Document 69-7 Filed 11/15/17     Page 284 of 293 PageID 1311

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      DIMAS RODRIGUEZ INGUANZO     &
      ANA MARIA D lA CRUZ
      1910 S JOSEY APT 159
      CARROLLTON TX 75006




      of your fax. Your faxed signatureCs) will become a permanent part of
      your filing. Don't send another copy by mail. Doing so could delay
      the processing of your return. Be sure to put your taxpayer
      identification number on each page faxed. Your cover sheet must
      contain the following information:

     Date:
     Attention:  ICO Rejects Team - AUSPC
     BATCH 27354,15
     IRS control number:

     Your name:
     Your taxpayer identification number:
     (social security number/employer identification number>
     Tax Period:
     Number of pages faxed:

     Whenever you write, include this letter and provide in the spaces
     below_your telephone number with the hours we can reach you. Keep a
     copy of this letter for your records.

     Your Telephone Number:    (
                                       )   ___________          Hours

     We apologize for any inconvenience and thank you for your
     cooperation.


                                             Sincerely yours,




                                             Darryl F. Krebs
                                             Mgr., Input Corrections Operations

    BATCH 27354,15




    Enclosures:
    Copy of this letter
    Envelope




                                                                         PL_Docs 0106
                                       APP 517
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                       Supporting Doc:umentation
                                                                      can be used to

                                                                     Foreign
                                                                      status
                                                                              establish:

                                                                                    Identity
                                                                                                    c.,      Do not use the mailing address in the instructions for
                                                                                                             your tax return.

                                                                                                  Private delivery services. If you use a private delivery service
                                                                                                ~osubmit your Form W-7, use the following address:
       Passport (lhe only stand-alone docwnent)                           X            X

       U.S. Cilizenship and lmmlgrallon SeMces (USCIS)                                                  Intemal Revenue Service
       photo identification                                               X            X                ITIN Operation
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       U.S. mllitaly iden1Jffcaflon card                                               X

       Foreign driver's license                                                       X             In person. You can apply for an ITIN by bringing your
                                                                                                   completed forms and documentation to any IRS Taxpayer
       Foreign milltaly rdentiftcatlon card                              X            X
                                                                                                    Assistance Center in the United States or IRS office abroad.
      Nallonal ldentilicaUon card (must be current and contain                                     Designated IRS Taxpayer Assistance Centers (TACs) will be
      name, photograph, address, dale of blllh, and expiration                                     able to verify passports and National ID documents and return
      dale)                                                             X             X
                                                                                                   themirnmediately. See IRS.gov for a list ot designated TACs
      U.S. stale ldenllflca!ion card                                                  X            that are available for assistance in completing applications and
      Foreign voter's regislralion card                                 X             X
                                                                                                   willforward documents to our processing center in Austin,
                                                                                                   Texas, for processing. Information on our overseas offices can
      Civil birth cerllflcate                                          .'ft           X            befoundin.Pub. 1915 or at IRS.gov•
      Medical records (valid only for dependents under age 6)          x-             X
                                                                                                   Throug h an acceptance agent. You also can apply through
      School records (valid ant{ for dependents under age 14                                       an Acee ptance Agent (AA) authorized by the IRS. An AA can
      (under age 18 if a student))                                     x"            X      l      help you complete and file Form W-7. To get a Hst of agents, visit
                                                                                                   IRS.gov and enter •acceptance agent program• in the search
      • Can be used to establish foreign stali,s only if they are foreign docllments.
                                                                                            I      box at th e top of the page. A Certified Acceptance Agent (CAA)
                                                                                                   can verify the original and, also, certified copies of identifying
     Note. Original documentation submitted for a dependent must                                  documents for primary and secondary applicants. The CAA
     include a civil birth certificate (unless a passport ,s submitted).                          should return the documents immediately after reviewing their
                                                                                                  authenticity. The CAA must attach a standard copy of the
        Keep a copy of your application for your records.
                                                                                                  identifying documents reviewed. The copies of the documents
    When To Apply                                                                                 and the Certificate of Accuracy must be attached to the Form
                                                                                                  W-7. The CAA must submit the original or certrfied document
    Complete and attach Form W-7 when you file the tax return for                                copies with dependent applications for an ITIN. An AA will need
    which the ITIN is needed. However, if you meet one of the                                    to submit originals or certified copies for all applicants when
    exceptions described later under h. Other, complete and submit                               identifying documents are required. Even if an exemption to
    Form W-7 as soon as possible after you determine you are                                     submit original identifylng documents applies (e.g., military
    covered by that exception.                                                                   dependents), the CAA or AA wiU still need to submit standard
                                                                                                 copies of either the original or certified copies of the documents.
        Allow 6 weeks for the IRS to notify you of your ITIN (8 to 10
    weeks if you submit documents during peak processing periods
    (January 15 through April 30) or if you are filing from overseas).                           Specific Instructions
    If you have not received your ITIN or correspondence at the end
    of that time, you can call the IRS to find out the status of your                            If you are completing this form for someone else, answer the
    application (see Telephone help, earlier).                                                   questions as they apply to that person.



   m         You cannot electronically file (e-flle) a return using an
             /TIN in the calendar year the mN is issued; however,
            you can e-file returns in the following years. For
   example, ff you apply for and receive an mN in 2014, you may
   note-file any tax return using that /TIN (111Cluding prior year
                                                                                                 Reason For Applying
                                                                                                 You must check the box to indicate the reason you are
                                                                                                 completing Form W-7. If more than one box applies to you,
                                                                                                 check the box that best explains your reason for submitting Form
                                                                                                 W-7.
   returns) until 2015.
                                                                                                Note. If you check box •a• or   "f:then box "h" may also be
   ff you need to file multiple year returns, you can either attach                             checked. If appOcable, you also must enter the treaty country
   them all to your Form W-7 and submit them to the IRS, or file just                           and treaty article. For more information on treaties, see Pub.
   the tax return which is due and wait until you receive your /TIN to                          901, U.S. Tax Treaties.
   file your prior year returns on paper. However, no returns may be                            a. Nonresident alien required to get an ITIN to claim tax
   e-filed In the calendar year in which you receive the /TIN.                                  treaty bene{it. Certain nonresident aliens must get an ITIN to
   Where To Apply                                                                               claim certain tax treaty benefits even if they do not have to file a
                                                                                                U.S. tax return. If you check this box to claim the benefits of a
   By malL Mail Form W-7, your tax return (or other documents                                   U.S. income tax treaty with a foreign country, also check box h.
   required by an exception), and the documentation descnbed in                                 On the dotted fine next to box h, enter the appropriate
   item (3) and listed in the chart under How To Apply, earlier to:                             designation for Exception 1 or 2, whichever applies (see
                                                                                                Exception 1 and Exception 2, later). Identify the exception by its
       Internal Revenue Service                                                                 number. alpha subsection, and category under which you are
       mN Operation                                                                             applying (for example, enter "Exception 1d-Pension Income• or
       P.O. Box 149342                                                                          "Exception 2d-GambDng Winnings"). Submittal of orig,nall
       Austin, TX 78714-9342                                                                    certified copies of identifying documents for applicants using the

   Form W-7 (Rev. August 2013)




                                                                                                                                                 PL_Docs 0107
                                                                                  APP 518
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    DI:-!AS RODRIGUEZ INGUANZO & ANA MARIA DLA CRUZinvoice Date: 02/26/2014
    1910 S JOSEY APT 159
    CARROLLTON, TX 75006




   Description of Charges                                                               Price

   Federal and Supplemental Forms
   Forn 1040A    -U.S. Individual Income Tax Return                             $        98.00
   Form. 8812     -Additional Child Tax Credit                                           35.00
   Fo~ 9325      -General Infor.nation for Electronic Filijg
   Fo=:n W-2     -Wage and Tax Statement
   For:n W-2     -Wage and Tax Statement
   FOD!I W-7     -Application for ITI~                                                   85.0C
   Wksht 8812    -Form. 8812 Worksheet - Child Tax Credit
   Co~parisor.   -Tax Year CO!!tparison Sheet
   W~s~t CTC4    -For:n 8812 Worksheet - Earned Income Cale                              10.00
   Total Forms : 9                                       Forms Subtotal         $     228.00

                                                         20\ Discount                   (45.60)

                                                         Total Balance Due      $    182.40




                                                                              PL_Docs 0108
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         mi
                    Department of Treasury                                                                                       Notice                         CPS66
                    Internal Revenue Service                                                                                     Notice date                    March 24, 2014
                    PO Box 149342
         IRS        Austin, TX 78714-9342
                                                                                                                                 To contact us                  Phone 1-800-908-9982
                                                                                                                                                                International calls:
                                                                                                                                                       267-941-1000
                                                                                                                                 Case reference number
                                                                                                                                 Date of birth         January 4, 1968
                                                                                                                                 Page3 of3

                    INTERNAL REVENUE SERVICE
                    PO BOX 149342
Kf~                 AUSTIN, TX 78714-9342
~                   11•111 11••l111111•11 1"1•111•11 11•d•1l1 11 ll1••111 111M1111 111•1


003057




         Respoose -F-orm-                            _ #- - -
                                                                                                                                                                . ·-·   .'""'.(.




         Complete this form, and mail it to us so we                                       Provide your contact infoonation
         receive it by May 8, 2014. If you use the
         enclosed envelope, be sure our address shows                                      If your address has changed, please _make the changes below.
         through the window.                                                               ANA MARIA DE LA CRUZ
                                                                                           1910 SJOSEY APT 159
                                                                                           CARROLLTON TX 75006




                                                                                                                        'j - ~   ID'a.m.                                               l'J   a.m.
                                                                                           Primary phone
                                                                                                                    mo,":"?      a p.m.
                                                                                                                                           Secondaiy phone        Best nme to ca1I
                                                                                                                                                                                       Dp.m.




         1. Complete the information                                                       Please indicate your date of entiy into the United States (Form W-7, line 6d).
           missing from the W-7 you                                                           0\- \a-200~
           previously submitted                                                            Date of enliy (MM/00/YYYY)


       2. Send this Response form to us Mail your Response form to us along with any documentation so we receive it by
      ___ . _ _ _ _ _,__ _ _ _ _ _ -~~~l,.Q.11:._!f ~.!!'.l!..~~f.!r~i:i ~~~.19~, O)~il_Y.01,!r p~la9~-~-t~~ acid£~ on_ . _
                                                                                           this form.




                                                                                                                                                             PL_Docs 0109

                                                                                           APP 520
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                   Department of Treasury                                                                              Notice                  CP566



       "
                   Internal Revenue Service                                                                            Notice date             March 24, 2014
                   PO Box 149342                                                                                       To contact us           Phone 1·800-908-9982
       IRS         Austin, TX 78714-9342                                                                                                       International calls:
                                                                                                                                               267-941-1000
                                                                                                                       Case reference number
                                                                                                                       Date of birth         January 4, 1968
                   003057.280183,3230.3533 1 MB 0.435 701                                                              Page 1 of 3
                   111M II' •• ,... ,, I11111h1111,I 11 •I 1•1111 11111 1111I' II 111111I' ii
                                                                       1




                   ANA MARIA DE LA CRUZ
                   1910 SJOSEY APT 159
                   CARROLLTON TX 75006
003057 ·




      · !n response to your !r.dividual Taxpayer Identification Number application

       We need information from you to process your Form W-7
       We received your application for an Individual                         What you need to do immediately
       Taxpayer Identification Number (ITIN) (Form W-7)
                                                                              Provide the information that was missing from your application
       but can't process it until you send us information
                                                                              • Review your copy ot the ITIN application (form W-7) and make sure you answered
       that is missing from your application.
                                                                                all the questions.
                                                                              • Complete the Response form at the end of this notice, and mail it to us (envelope
                                                                                endosed) with your documentation so we receive it by May 8, 2014.

       If we don't hear from you                                              If w~ don't receive your Response form by May 8, 2014, your application will be
                                                                              denied. To have an ITIN assigned, you would have to submit a new application (Form
                                                                              W-7).

       Additional information                                                 • Visit www.irs.gov/cp566. You can also find the following online:
                                                                                • Form W-7 instructions (see "How to Apply and Specific Instructions for acceptable
                                                                                   documentation·)
                                                                                - Understanding Your IRS !ndividual Taxpayer Identification Number (ITIN)
                                                                                   (Publication 1915)
                                                                                • U.S. Tax Guide for Aliens (Publication 519)
                                                                              • You may qualify for assistance from a professional tax assistant at a Low Income
                                                                                Taxpayer Clinic that provides help at little or no charge. For additional information,
                                                                                dowpload the low Income Taxpayer Clinic List (Publication 4134) from www.irs.gov
                                                                                or call 1-800-829-3676 to request a copy.
                                                                              • For tax forms, call 1-800-TAX-FORM (1-800-829-3676).
                                                                              • Keep this notice for your records.
                                                                              If you need assistance, please don't hesitate to contact us.




                                                                                                                                               PL_Docs0ll0

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'
                                    UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF TEXAS
                                          DALLAS DMSION


       DIMAS RODRIGUEZ, and all                          §
       others similarly situated under                   §
       29 u.s.c. 216 (b),                                §
       Plaintiff,                                        §
                                                         §
       v.                                                §          Cause No. 3:15-cv-3370-BK

       SHAN NAMKEEN, INC.,                               §
       and SHAILESH PATEL                                §
       Defendants.                                       §

                                  PLAINTIFF'S INITIAL DISCLOSURES

              NOW COMES Plaintiff through the undersigned, and makes the following Initial

       D~sclosures pursuant to the Federal Rules of Civil Procedure, Rule 26(a).

                                             GENERAL STATEMENT

              As Plaintiff continues to obtain further information and documents through discovery and

       trial preparation, Plaintiff reserves the right to supplement and/or amend these disclosures as

       necessary and appropriate.

       F.R.C.P. 26(a)(l)(A}(i)-the name, and if known, the address and telephone number of each
       individual likely to have discoverable information-along with the subjects of that
       information-that the disclosing party may use to support its claims or defenses, unless the use
       would be solely for impeachment

       RESPONSE:

       The above-captioned Plaintiff.

       The above-captioned Defendants.

       Those persons listed in Defendants' initial disclosures filed or to be filed, and any other perso~~ll!l!!!!I~~--.
       identified in Plaintiff's or Defendants' discovery or identified in other pleadings, motions,    , DEPOSITION
       depositions.                                                                                      j  EXHIBIT
                                                                                                         I   i,

       PLAINTIFF'S INrnAL DISCLOSURES                                                           PAGE lOF3




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    Plaintiff is not sure exactly what facts those individuals know but believe each of them has some
    degree of knowledge of Defendants' payment practices and Plaintiffs hours and duties.
    Plaintiff has knowledge regarding, inter alia, his job duties, pay and schedule generally.


   F.R.C.P. 26{a){l}{A){ii)- a copy-or a description by category and location-of all documents,
   electronically stored information, and tangible things that the disclosing party has in its
   possession, custody, or control and may use to support its claims or defenses, unless the use
   would be solely for impeachment.

    RESPONSE:

    Plaintiff's Counsel have in their possession:

       1. W-2's and copies ofW-2's.
       2. Paystubs and copies of paystubs.

    F.R.C.P. 26{a){l}{A){iii}- a computation of each category of damages claimed by the disclosing
    party-who must also make available for inspection and copying as under Rule 34 the
    documents or other evidentiary material, unless privileged or protected from disclosure, on
    which each computation is based, including materials bearing on the nature and extent of injuries
    suffered.

   RESPONSE:

   The following estimate is only preliminary and based on the allegations contained in the
   Complaint. This estimate is subject to change as discovery is ongoing.

    Overtime Damages for Dimas Rodriguez:

   Overtime damages as set out in Exhibit A attached hereto plus liquidated damages in an equal
   amount under 29U.S.C. § 216(b).

   Minimum Wage Damages for Dimas Rodriguez:

    Minimum damages as set out in Exhibit A attached hereto plus liquidated damages in an equal
    amount under 29 U.S.C. § 216(b).


   Total Damages for Dimas Rodriguez= Total damages for overtime and minimum wage
   violations as set out in Exhibit A attached hereto plus liquidated damages in an equal
   amount under 29 U.S.C. § 216(b), attorney's fees, and costs.




   PLAINTIFF'S INITIAL DISCLOSURES                                                         PAGE20F3




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    F.R.C.P. 26{a){l){A){iv)- for inspection and copying as under Rule 34, any insurance
    agreement under which an insurance business may be liable to satisfy all or part of a possible
    judgment in the action or to indemnify or reimburse for payments made to satisfy the judgment

    RESPONSE:

           Plaintiff is currently unaware of such an insurance agreement




                                                  Robert L. Manteuffe
                                                  Email: rlmanteuffel    global.net
                                                  Texas Bar No. 12957529
                                                  J.H. Zidell
                                                  Texas Bar No. 24071840
                                                  J.H. ZIDELL, P.C.
                                                  6310 LBJ Freeway, Ste. 112
                                                  Dallas, Texas 75240
                                                  Tel: 972-233-2264
                                                  Fax: 972-386-7610




                                          Certificate of Service

            I hereby certify that a true and correct copy of the foregoing instrument was served via
    facsimile and certified mail or first class mail, on this the 8th day of April, 2016 upon the below
    listed counsel of record:

    Leonard I. Margolis
    MARGOLIS LAW FIRM
    5300 Town and Country Blvd, Suite 170
    Frisco, Texas 75034
    Tel: 972-294-0200
    Fax: 469-605-2938




    PLAINTIFF'S INITIAL DISCLOSURES                                                           PAGE30F3




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              PLAINTIFF'S INITIAL DISCLOSURES


                                        EXITTRIT A

   The following estimate is only preliminary and based on the allegations contained in the
   Complaint. This estimate is subject to change as discovery is ongoing.

   Overtime Damages for Dimas Rodriguez:

      -   Completely unpaid hours during period June 15, 2013 through October 15, 2013

   Overtime based on Federal Minimum Wage rate of$7.25 per hour= $3.63/hr. half-time rate

   $3.63/hr. x 3 half-time overtime hours per week x 17 weeks= $185.13


      -   Weekend hours paid at straight time only during period June 15, 2013 through October
          15, 2013

   Overtime based on Federal Minimum Wage rate of $7.25 per hour= $3.63/hr. half-time rate

   $3.63/hr. x 8 half-time overtime hours per week x 12 weeks= $348.48


      -   Completely unpaid hours during period October 16, 2013 through October 9, 2015

   Overtime based on average wage rate of $9.00 per hour= $4.50/hr. half-time rate

   $4.50/hr. x 3 half-time overtime hours per week x 103 weeks= $1,390.50


      -   Weekend hours paid at straight time only during period October 16, 2013 through
          October 9, 2015

   Overtime based on average wage rate of $9.00 per hour= $4.50/hr. half-time rate

   $4.50/hr. x 8 half-time overtime hours per week x 72 weeks= $2,592.00


   Total Overtime Damages for Dimas Rodriguez= $4,516.11



   PLAINTIFF'S INITW. DISCLOSURES                                                             EXIIIBITA




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   Minimum Wage Damages for Dimas Rodriguez:

   -   Completely unpaid time during period June 15, 2013 through October 9, 2015

   Minimum wage deficiency based on Federal minimum wage of $7.25/hr- average effective rate
   of $0.00/br = $7.25/hr

   $7.25/hr x 3 hours per week x 121 weeks= $2,631.75


   -   Deficiency for time paid at $5.00/hr during period June 15, 2013 through October 15, 2013

   Minimum wage deficiency based on Federal minimum wage of $7.25/hr- average effective rate
   of$5.00/hr = $2.25/hr

   $2.25/hrx. 32 hours per weekx 17 weeks= $1,224.00


   Total Minimum Wage Damages for Dimas Rodriguez= $3,877.50


   Total Overtime and Minimum Wage Damages for Dimas Rodriguez= $8,393.61




   PLAINTIFF'S INITIAL DISCLOSURES                                                      EXHIBITA




                                               APP 526
